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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al., 1                            Case No. 24-12480 (JTD)

                                   Debtors.                      (Jointly Administered)


                                            AFFIDAVIT OF SERVICE

       I, Nicholas Vass, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.
       On December 17, 2024, at my direction and under my supervision, employees of Kroll
caused the following document to be served (1) by the method set forth on the Core/2002 Agenda
Service List attached hereto as Exhibit A, and (2) by the method set forth on the Notice Parties
Service List attached hereto as Exhibit B:

       •      Notice of Proposed Sale of Assets, Bidding Procedures, Auction and Sale Hearing [Docket
              No. 454] (the “Sale Notice”)

       On December 31, 2024, at my direction and under my supervision, employees of Kroll
caused the Sale Notice to be served by the method set forth on the Supplemental Notice Parties
Service List attached hereto as Exhibit C.


1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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Dated: January 2, 2025
                                                                   /s/ Nicholas Vass
                                                                    Nicholas Vass
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on January 2, 2025, by Nicholas Vass, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ Cindy C. Hosein-Mohan
Notary Public, State of New York
No. 01HO6295177
Qualified in Nassau County
Commission Expires December 30, 2025




                                              2
                                                                            SRF 84604 & 84905
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                                                                                                                            Exhibit A
                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

                                      DESCRIPTION                                                  NAME                                            ADDRESS                                           EMAIL         METHOD OF SERVICE
                                                                                                                         Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A.
                                                                                                                         Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP,                                                  919 North Market Street                                  heilmanl@ballardspahr.com
Continental Realty Corporation, Federal Realty OP LP, FR Grossmont, LLC,                                                 11th Floor                                               roglenl@ballardspahr.com
Prime/FRIT Mission Hills, LLC, and ShopOne Centers REIT, Inc.                  Ballard Spahr LLP                         Wilmington DE 19801                                      vesperm@ballardspahr.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2,                                                  Attn: Kevin M. Newman
Inland Commercial Real Estate Services LLC, Kempner Properties, LLC,                                                     Barclay Damon Tower
National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa                                                  125 East Jefferson Street
Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates  Barclay Damon LLP                              Syracuse NY 13202                                        knewman@barclaydamon.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2,                                                  Attn: Niclas A. Ferland
Inland Commercial Real Estate Services LLC, Kempner Properties, LLC,                                                     545 Long Wharf Drive
National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa                                                  Ninth Floor
Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates  Barclay Damon LLP                              New Haven CT 06511                                       nferland@barclaydamon.com     Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2,                                                  Attn: Scott L. Fleischer
Inland Commercial Real Estate Services LLC, Kempner Properties, LLC,                                                     1270 Avenue of the Americas
National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa                                                  Suite 501
Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates  Barclay Damon LLP                              New York NY 10020                                        sfleischer@barclaydamon.com   Email
                                                                                                                         Attn: Kevin G. Collins
                                                                                                                         222 Delaware Avenue, Suite 1200
Counsel to Drink LMNT, Inc.                                                    Barnes & Thornburg LLP                    Wilmington DE 19801                                      kevin.collins@btlaw.com       Email
                                                                                                                         Attn: Kevin G. Collins, Mark R. Owens
                                                                                                                         222 Delaware Avenue, Suite 1200                          kevin.collins@btlaw.com
Counsel to Elanco US Inc.                                                      Barnes & Thornburg LLP                    Wilmington DE 19801                                      mark.owens@btlaw.com          Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates,
Pasan LLC, Esan LLC, Fundamentals Company LLC, Muffrey LLC,
Fundamentals Company, Kinpark Associates, Laurie Industries Inc., Alisan                                                 Attn: Ericka F. Johnson
Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                             600 N. Market Street, Suite 400
Roseff LLC                                                                     Bayard, P.A.                              Wilmington DE 19801                                      ejohnson@bayardlaw.com        Email
                                                                                                                         Attn: Kevin M. Capuzzi, Juan E. Martinez
                                                                                                                         1313 North Market Street, Suite 1201                     kcapuzzi@beneschlaw.com
Counsel to Babson Macedonia Partners, LLC                                      Benesch Friedlander Coplan & Aronoff LLP Wilmington DE 19801‐6101                                  jmartinez@beneschlaw.com      Email
                                                                                                                         Attn: Benjamin Potts, Mae Oberste
                                                                                                                         500 Delaware Avenue
                                                                                                                         Suite 901                                                benjamin.potts@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass          Bernstein Litowitz Berger & Grossmann LLP Wilmington DE 19801                                      mae.oberste@blbglaw.com       Email
                                                                                                                         Attn: Jeroen van Kwawegen, Thomas James
                                                                                                                         1251 Avenue of the Americas                              jeroen@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass          Bernstein Litowitz Berger & Grossmann LLP New York NY 10020                                        thomas.james@blbglaw.com      Email
                                                                                                                         Attn: Scott Blakeley
                                                                                                                         530 Technology Drive
                                                                                                                         Suite 100
Cousnel to Doctor's Best Inc                                                   Blakeley LC                               Irvine CA 92618                                          SEB@BlakeleyLC.com            Email




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                                                                                                                              Exhibit A
                                                                                                                        Core/2002 Service List
                                                                                                                       Served as set forth below

                                      DESCRIPTION                                                NAME                                               ADDRESS                                              EMAIL        METHOD OF SERVICE
                                                                                                                           Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L.
                                                                                                                           Williams                                                mike.schaedle@blankrome.com
Counsel for Wilmington Trust, National Association, as Prepetition First Lien                                              1201 N. Market Street, Suite 800                        stanley.tarr@blankrome.com
Agent and DIP Agent                                                           Blank Rome LLP                               Wilmington DE 19801                                     jordan.williams@blankrome.com   Email
                                                                                                                           Attn: Kimberly A. Evans, Irene R. Lax
                                                                                                                           222 Delaware Ave
                                                                                                                           Suite 1120                                              kim@blockleviton.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass        Block & Leviton, LLP                          Wilmington DE 19801                                     irene@blockleviton.com          Email
                                                                                                                           Attn: Kristen N. Pate
                                                                                                                           350 N. Orleans Street
                                                                                                                           Suite 300
Counsel to Brookfield Properties Retail Inc                                  Brookfield Properties Retail Inc              Chicago IL 60654‐1607                                   bk@bpretail.com                 Email
                                                                                                                           Attn: Shawn M. Christianson
                                                                                                                           425 Market Street, Suite 2900
Counsel to Oracle America, Inc                                               Buchalter, A Professional Corporation         San Francisco CA 94105‐3493                             schristianson@buchalter.com     Email
                                                                                                                           Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in                                                      222 Delaware Avenue, Suite 1030
interest to DDR Carolina Pavilion, LP, Sylvan Park Apartments, LLC           Burr & Forman LLP                             Wilmington DE 19801                                     jfalgowski@burr.com             Email
                                                                                                                           Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
Counsel for CTO24 Carolina LLC, as successor in interest to DDR Carolina                                                   50 North Laura Street, Suite 3000                       esummers@burr.com
Pavilion, LP, Sylvan Park Apartments, LLC                                    Burr & Forman LLP                             Jacksonville FL 32202                                   drobbins@burr.com               Email
                                                                                                                           Attn: James H. Haithcock, III
                                                                                                                           420 N. 20th Street, Suite 3400
Counsel to Comenity Capital Bank                                             Burr & Forman LLP                             Birmingham AL 35203                                     jhaithcock@burr.com             Email
                                                                                                                           Attn: Richard J. McCord
                                                                                                                           90 Merrick Avenue
                                                                                                                           9th Floor
Counsel to 3644 Long Beach Road LLC                                          Certilman Balin Adler & Hyman, LLP            East Meadow NY 11554                                    rmccord@certilmanbalin.com      Email
                                                                                                                           Attn: Mark L. Desgrosseilliers
                                                                                                                           Hercules Plaza
                                                                                                                           1313 North Market St, Suite 5400
Counsel to Hilco Merchant Resources, LLC                                     Chipman Brown Cicero & Cole, LLP              Wilmington DE 19801                                     desgross@chipmanbrown.com       Email
                                                                                                                           Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC,                                                 901 Main Street, Suite 6000
VS Tempe, LLC, Vestar‐CPT Tempe Marketplace, LLC                             Clark Hill PLC                                Dallas TX 75202                                         ahornisher@clarkhill.com        Email
                                                                                                                           Attn: Karen M. Grivner
                                                                                                                           824 N. Market Street, Suite 710
                                                                             Clark Hill PLC                                Wilmington DE 19801                                     kgrivner@clarkhill.com          Email
                                                                                                                           Attn: John D. Landwehr
                                                                                                                           231 Madison Street
Counsel to Missouri Boulevard Investment Company                             Cook, Vetter, Doerhoff & Landwehr, P.C.       Jefferson City MO 65101                                 jlandwehr@cvdl.net              Email
                                                                                                                           Attn: Belkys Escobar
                                                                                                                           One Harrison Street, SE, 5th Floor
                                                                                                                           PO Box 7000
Counsel to County of Loudoun, Virginia                                       County of Loudoun, Virginia                   Leesburg VA 20177‐7000                                  belkys.escobar@loudoun.gov      Email
                                                                                                                           Attn: William L. Siegel
                                                                                                                           901 Main Street, Suite 3900
Counsel to Krober Supply Chain US, Inc                                       Cowles & Thompson, P.C.                       Dallas TX 75202                                         bsiegel@cowlesthompson.com      Email




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                                                                                                                             Exhibit A
                                                                                                                       Core/2002 Service List
                                                                                                                      Served as set forth below

                                      DESCRIPTION                                                    NAME                                            ADDRESS                                  EMAIL                  METHOD OF SERVICE
                                                                                                                          Attn: Brian L. Shaw
                                                                                                                          123 North Wacker Drive
                                                                                                                          Suite 1800
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23            Cozen O'Connor                            Chicago IL 60606                                 bshaw@cozen.com                        Email
                                                                                                                          Attn: Marla S. Benedek, Kaan Ekiner
                                                                                                                          1201 N. Market Street
                                                                                                                          Suite 1001                                       mbenedek@cozen.com
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23            Cozen O'Connor                            Wilmington DE 19801                              kekiner@cozen.com                      Email
                                                                                                                          Attn: Christopher P. Simon
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc.,                                               1105 North Market Street, Suite 901
Sunwarrior Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC          Cross & Simon, LLC                            Wilmington DE 19801                              csimon@crosslaw.com                    Email
                                                                                                                          Attn: Kevin S. Mann
                                                                                                                          1105 North Market Street, Suite 901
Counsel to Kawips Delaware Cuyahoga Falls, LLC                                  Cross & Simon, LLC                        Wilmington DE 19801                              kmann@crosslaw.com                     Email
                                                                                                                          Attn: Stephen B. Porterfield
                                                                                                                          2311 Highland Avenue South
                                                                                                                          P.O. Box 55727
Counsel to Kings Mountain Investments, Inc.                                     Dentons Sirote PC                         Birmingham AL 35255‐5727                         stephen.porterfield@dentons.com        Email
                                                                                                                          Attn: Christopher M. Winter, James C. Carignan
                                                                                                                          1201 N. Market Street, Suite 501                 cmwinter@duanemorris.com
Counsel to Ahuja Development LLC                                                Duane Morris LLP                          Wilmington DE 19801                              jccarignan@duanemorris.com             Email
                                                                                                                          Attn: Michael T. Gustafson
                                                                                                                          320 South Canal Street, Suite 3300
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates      Faegre Drinker Biddle & Reath LLP         Chicago IL 60606                                 mike.gustafson@faegredrinker.com       Email
                                                                                                                          Attn: Patrick A. Jackson
                                                                                                                          222 Delaware Avenue, Suite 1410
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates      Faegre Drinker Biddle & Reath LLP         Wilmington DE 19801                              patrick.jackson@faegredrinker.com      Email
                                                                                                                          Attn: Brian E. Farnan, Michael J. Farnan
                                                                                                                          919 North Market Street
                                                                                                                          12th Floor                                       bfarnan@farnanlaw.com
Counsel to Ad Hoc Group of Freedom Lenders                                      Farnan LLP                                Wilmington DE 19801                              mfarnan@farnanlaw.com                  Email
                                                                                                                          Attn: Erin P. Severini, Joy D. Kleisinger
                                                                                                                          3300 Great American Tower
                                                                                                                          301 East Fourth Street                           eseverini@fbtlaw.com
Counsel for WPG Legacy, LLC                                                     Frost Brown Todd LLP                      Cincinnati OH 45202                              jkleisinger@fbtlaw.com                 Email
                                                                                                                          Attn: Sloane B. O’Donnell
                                                                                                                          Union Trust Building
                                                                                                                          501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                            Frost Brown Todd LLP                      Pittsburgh PA 15219                              sodonnell@fbtlaw.com                   Email
                                                                                                                          Attn: Lorenzo Nunez
                                                                                                                          PO Box 183853
Counsel to ACAR Leasing LTD d/b/a GM Financial Leasing                          GM Financial Leasing                      Arlington TX 76096                               Customer.service.bk@gmfinancial.com    Email
                                                                                                                          Attn: Anthony W. Clark, Dennis A. Meloro
                                                                                                                          222 Delaware Avenue
                                                                                                                          Suite 1600                                       Anthony.Clark@gtlaw.com
Counsel to Arizona Nutritional Supplements                                      Greenberg Traurig, LLP                    Wilmington DE 19801                              Dennis.Meloro@gtlaw.com                Email
                                                                                                                          Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County                                             Attn: Property Tax Division
Port of Houston Authority, Harris County Hospital District, and Harris County                                             P.O. Box 2848
Department of Education (hereinafter “Harris County”)                         Harris County Attorney’s Office             Houston TX 77252                                 taxbankruptcy.cao@harriscountytx.gov   Email




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                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

                                      DESCRIPTION                                                NAME                                             ADDRESS                                                   EMAIL                  METHOD OF SERVICE
                                                                                                                         Attn: Phillip W. Nelson
                                                                                                                         150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                              Holland & Knight LLP                        Chicago IL 60606                                              phillip.nelson@hklaw.com                 Email
                                                                                                                         Centralized Insolvency Operation
                                                                                                                         P.O. Box 7346
IRS Insolvency Section                                                       Internal Revenue Service                    Philadelphia PA 19101‐7346                                                                             First Class Mail
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield
Properties Retail, Inc., Curbline Properties Corp., First Washington Realty,                                             Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick   KDWBankruptcyDepartment@kelleydrye.com
GCP Boom LLC, JLL Property Management (Franklin Mall), Kite Realty Group,                                                3 World Trade Center                                          rlehane@kelleydrye.com
L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A. Owner LLC, and SITE                                             175 Greenwich Street                                          jraviele@kelleydrye.com
Centers Corp.                                                                Kelley Drye & Warren LLP                    New York NY 10007                                             aselick@kelleydrye.com                   Email
                                                                                                                         Attn: Michelle Leeson, Paralegal, Collections Specialist,
                                                                                                                         CFCA
                                                                             Ken Burton, Jr., Manatee County Tax         1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                     Collector                                   Brandenton FL 34205‐7863                                      legal@taxcollector.com                   Email
                                                                                                                         Attn: Scott A. Bachert
                                                                                                                         1411 Scottsville Road
Counsel to Frontier Bel Air LLC, Frontier Dania LLC, Frontier Osceola LLC,                                               P. O. Box 9547
Frontier Dover LLC, Frontier Kissimmee LLC                                   Kerrick Bachert PSC                         Bowling Green KY 42102‐9547                                                                            First Class Mail
                                                                                                                         Attn: J. Daniel Albert, Michael McCutcheon
                                                                                                                         280 King of Prussia Rd                                        dalbert@ktmc.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass        Kessler Topac Meltzer & Check LLP           Radnor PA 19087                                               mmcutcheon@ktmc.com                      Email
                                                                                                                         Attn: Connor K. Casas
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and Kirkland & Ellis LLP Kirkland & Ellis         333 West Wolf Point Plaza
BCHQ Owner LLC                                                             International LLP                             Chicago IL 60654                                              connor.casas@kirkland.com                Email
                                                                                                                         Attn: Steven N. Serajeddini P.C.
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and Kirkland & Ellis LLP Kirkland & Ellis         601 Lexington Avenue
BCHQ Owner LLC                                                             International LLP                             New York NY 10022                                             steven.serajeddini@kirkland.com          Email
                                                                                                                         Attn: Domenic E. Pacitti
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and                                               919 N. Market Street, Suite 1000
BCHQ Owner LLC                                                             Klehr Harrison Harvey Branzburg LLP           Wilmington DE 19801‐3062                                      dpacitti@klehr.com                       Email
                                                                                                                         Attn: Morton R. Branzburg
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and                                               1835 Market Street, Suite 1400
BCHQ Owner LLC                                                             Klehr Harrison Harvey Branzburg LLP           Philadelphia PA 19103                                         mbranzburg@klehr.com                     Email
                                                                                                                         Attn: Jeffrey Kurtzman
                                                                                                                         101 N. Washington Avenue
                                                                                                                         Suite 4A
Counsel to Oxford Valley Road Associates, L.P.                               Kurtzman Steady LLC                         Margate NJ 08402                                              kurtzman@kurtzmansteady.com              Email

                                                                                                                         Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
                                                                                                                         919 Market Street Suite 1800                                  landis@lrclaw.com
                                                                                                                         P.O. Box 2087                                                 mcguire@lrclaw.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders            Landis Rath & Cobb LLP                      Wilmington DE 19801                                           erogers@lrclaw.com                       First Class Mail and Email
                                                                                                                         Attn: Andrew Sorkin
                                                                                                                         555 Eleventh Street NW
                                                                                                                         Suite 1000
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent               Latham & Watkins LLP                        Washington DC 20004                                           andrew.sorkin@lw.com                     Email
                                                                                                                         Attn: James Kstanes, Timothy Beau Parker
                                                                                                                         330 N Wabash Avenue
                                                                                                                         Suite 2800                                                    james.ktsanes@lw.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent               Latham & Watkins LLP                        Chicago IL 60611 Canada                                       beau.parker@lw.com                       Email



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                                                                                                                                Exhibit A
                                                                                                                          Core/2002 Service List
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                                      DESCRIPTION                                               NAME                                                   ADDRESS                                         EMAIL           METHOD OF SERVICE
                                                                                                                             Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin   Jennifer.Ezring@lw.com
                                                                                                                             1271 Avenue of the Americas                           James.Ktsanes@lw.com
Counsel to the ABL Secured Parties                                           Latham & Watkins LLP                            New York NY 10020                                     andrew.sorkin@lw.com             First Class Mail and Email
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield
Properties Retail, Inc., Curbline Properties Corp., First Washington Realty,
GCP Boom LLC, JLL Property Management (Franklin Mall), Kite Realty Group,                                                    Attn: Susan E. Kaufan
L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A. Owner LLC, and SITE                                                 919 N. Market Street, Suite 460
Centers Corp.                                                                Law Office of Susan E. Kaufman                  Wilmington DE 19801                                   skaufman@skaufmanlaw.com         Email
                                                                                                                             Attn: Diane W. Sanders
Counsel to Nueces County, Mclennan County, Kerr County, Hidalgo County,                                                      PO Box 17428
City of McAllen                                                              Linebarger Goggan Blair & Sampson, LLP          Austin TX 78760‐7428                                  austin.bankruptcy@lgbs.com       Email
                                                                                                                             Attn: Don Stecker
                                                                                                                             112 E. Pecan Street, Suite 2200
Counsel to Bexar County, City of El Paso                                     Linebarger Goggan Blair & Sampson, LLP          San Antonio TX 78205                                  sanantonio.bankruptcy@lgbs.com   Email
                                                                                                                             Attn: John K. Turner
                                                                                                                             2777 N. Stemmons Freeway
                                                                                                                             Suite 1000
Counsel to Dallas County                                                        Linebarger Goggan Blair & Sampson, LLP       Dallas TX 75207                                       dallas.bankruptcy@lgbs.com       Email
Counsel to Hopkins County, Kaufman County, Sulphur Springs ISD, Rockwall
CAD, Tarrant County, Navarro County, Smith County, Ellis County, City of
Sulphur Springs, Wise County, Tom Green CAD, Grayson County, Gregg                                                           Attn: John Kendrick Turner
County, Prosper ISD, Town of Prosper, City of Carrollton, Northwest ISD, City                                                3500 Maple Avenue
of Allen, City of Wylie, Lewisville ISD, Allen ISD, City of Frisco, Irving ISD,                                              Suite 800
Parker CAD                                                                      Linebarger Goggan Blair & Sampson, LLP       Dallas TX 75219                                       dallas.bankruptcy@lgbs.com       Email

Counsel to Cypress‐Fairbanks ISD, Harris County, Galveston County,
Montgomery County, Ford Bend County, Katy ISD, Harris CO ESD # 08, City of
Houston, Montgomery County, Harris CO ESD # 48, Lone Star College
System, Harris CO ESD # 16, Harris CO ESD # 11, Houston ISD, Galveston                                                       Attn: Tara L. Grundemeier
County, Harris CO ESD # 09, Cypress‐Fairbanks ISD, Deer Park ISD, Fort Bend                                                  PO Box 3064
County, Houston Comm Coll System, City of Pasadena, Jefferson County        Linebarger Goggan Blair & Sampson, LLP           Houston TX 77253‐3064                                 houston_bankruptcy@lgbs.com      Email
                                                                                                                             Attn: Michael S. Etkin, Michael Papandrea
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc.,                                                  One Lowenstein Drive                                  metkin@lowenstein.com
Sunwarrior Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC           Lowenstein Sandler LLP                          Roseland NJ 07068                                     mpapandrea@lowenstein.com        Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet
Central Appraisal District, Bowie Central Appraisal District, Denton County,
Guadalupe County, Hays County, Midland Central Appraisal District, City of                                                   Attn: Julie Anne Parsons
Waco/Waco Independent School District/La Vega Independent School                                                             700 Jeffrey Way, Suite 100
District, and Williamson County                                              McCreary, Veselka, Bragg, & Allen, P.C.         Round Rock TX 78665                                   jparsons@mvbalaw.com             Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet
Central Appraisal District, Bowie Central Appraisal District, Denton County,
Guadalupe County, Hays County, Midland Central Appraisal District, City of                                                   Attn: Julie Anne Parsons
Waco/Waco Independent School District/La Vega Independent School                                                             P.O. Box 1269
District, and Williamson County                                              McCreary, Veselka, Bragg, & Allen, P.C.         Round Rock TX 78680‐1269                              jparsons@mvbalaw.com             Email
                                                                                                                             Attn: David A. Shapiro
                                                                                                                             33 N. LaSalle Street
                                                                                                                             Suite 1400                                            dshapiro@mckenna‐law.com
Counsel to Parm Golf Center LLC                                              McKenna Storer                                  Chicago IL 60602                                      service@mckenna‐law.com          Email
                                                                                                                             Attn: Nicole C. Kenworthy
                                                                                                                             6801 Kenilworth Avenue, Suite 400
Counsel to Prince George's County, Maryland                                  Meyers, Rodbell & Rosenbaum, P.A.               Riverdale MD 20737‐1385                               bdept@mrrlaw.net                 Email



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                                                                                                                        Core/2002 Service List
                                                                                                                       Served as set forth below

                                      DESCRIPTION                                              NAME                                                   ADDRESS                                             EMAIL              METHOD OF SERVICE
                                                                                                                           Attn: Joseph H. Baldiga, Shannah L. Colbert
                                                                                                                           1800 West Park Dr., Suite 400                               jbaldiga@mirickoconnell.com
Counsel to New Westgate Mall LLC                                           Mirick, O’Connell, DeMallie & Lougee, LLP       Westborough MA 01581                                        scolbert@mirickoconnell.com        Email
                                                                                                                           Attn: Rachel B. Mersky
                                                                                                                           1201 N. Orange Street, Suite 400
Counsel to Kimco Realty Corporation, 2205 Federal Investors, LLC           Monzack Mersky and Browder, P.A.                Wilmington DE 19801                                         rmersky@monlaw.com                 Email
                                                                                                                           Attn: Carl N. Kunz, III, Christopher M. Donnelly
Counsel for RCG‐PSC Camp Creek Owner, LLC, University Realty Associates,                                                   500 Delaware Avenue, Suite 1500                             ckunz@morrisjames.com
LLC                                                                        Morris James LLP                                Wilmington DE 19801                                         cdonnelly@morrisjames.com          Email
                                                                                                                           Attn: Deborah M. Perry
                                                                                                                           500 N. Akard Street
                                                                                                                           Suite 4000
Counsel to BC Exchange Salt Pond                                           Munsch Hardt Kopf & Harr, P.C.                  Dallas TX 75201‐6659                                        dperry@munsch.com                  Email
                                                                                                                           Attn: Timothy J. Fox, Esq
                                                                                                                           844 King Street, Suite 2207

                                                                           Office of the United States Trustee for the     Lockbox 35
United States Trustee for the District of Delaware                         District of Delaware                            Wilmington DE 19801                                         timothy.fox@usdoj.gov              First Class Mail and Email
                                                                                                                           Attn: Brian J. McLaughlin
                                                                                                                           222 Delaware Avenue
                                                                                                                           Suite 1105
Counsel to Rockfirm, LLC                                                   Offit Kurman, PA                                Wilmington DE 19801                                         Brian.McLaughlin@offitkurman.com   Email
                                                                                                                           Attn: Tammy Jones
                                                                                                                           320 Robert S. Kerr
                                                                                                                           Room 307
Counsel to Oklahoma County Treasurer                                       Oklahoma County Treasurer                       Oklahoma City OK 73102                                      tammy.jones@oklahomacounty.org     Email
                                                                                                                           Attn: Bradford J. Sandler, Colin R. Robinson
                                                                                                                           919 North Market Street, 17th Floor
                                                                                                                           P.O. Box 8705                                               bsandler@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                   Pachulski Stang Ziehl & Jones LLP               Wilmington DE 19899‐8705                                    crobinson@pszjlaw.com              Email
                                                                                                                           Attn: Robert J. Feinstein, Alan J. Kornfeld, Theodore S.
                                                                                                                           Heckel                                                      rfeinstein@pszjlaw.com
                                                                                                                           780 Third Avenue, 34th Floor                                akornfeld@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                   Pachulski Stang Ziehl & Jones LLP               New York NY 10017                                           theckel@pszjlaw.com                Email
                                                                                                                           Attn: Joseph C. Barsalona II
                                                                                                                           824 North Market Street
                                                                                                                           Suite 800
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass      Pashman Stein Walder Hayden, PC                 Wilmington DE 19801                                         jbarsalona@pashmanstein.com        Email
                                                                                                                           Attn: Jayme Goldstein, Jeremy Evans, Isaac Sasson, Daniel   jaymegoldstein@paulhastings.com
                                                                                                                           Fliman                                                      jeremyevans@paulhastings.com
                                                                                                                           200 Park Avenue                                             isaacsasson@paulhastings.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders          Paul Hastings LLP                               New York NY 10166                                           danfliman@paulhastings.com         First Class Mail and Email
                                                                                                                           Attn: Nicholas A. Bassett
                                                                                                                           2050 M Street NW
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders          Paul Hastings LLP                               Washington DC 20036                                         nicholasbassett@paulhastings.com   Email
                                                                                                                           Attn: Hiram Gutierrez
                                                                           Perdue, Brandon, Fielder, Collins & Mott,       P.O. Box 2916
Cousnel to Brownsville Independent School District                         L.L.P                                           McAllen TX 78502                                            edinburgbankruptcy@pbfcm.com       Email
                                                                                                                           Attn: Laura J. Monroe
                                                                           Perdue, Brandon, Fielder, Collins & Mott,       PO Box 817
Cousel to Lubbock Central Appraisal District Midland County                L.L.P                                           Lubbock TX 79408                                            lmbkr@pbfcm.com                    Email



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                                                                                                                    Core/2002 Service List
                                                                                                                   Served as set forth below

                                      DESCRIPTION                                             NAME                                               ADDRESS                                             EMAIL       METHOD OF SERVICE
                                                                                                                        Attn: Sergio E. Garcia
                                                                                                                        3301 Northland Drive
Counsel to Kerrville Independent School District, Copperas Cove             Perdue, Brandon, Fielder, Collins & Mott,   Suite 505
Independent School District                                                 L.L.P                                       Austin TX 78731                                         sgarcia@pbfcm.com             Email
                                                                                                                        Attn: Melissa E. Valdez
                                                                                                                        1235 North Loop West
                                                                            Perdue, Brandon, Fielder, Collins & Mott,   Suite 600
Counsel to Magnolia Independent School District and City of Montgomery      L.L.P.                                      Houston TX 77008                                        mvaldez@pbfcm.com             Email
                                                                                                                        Attn: Alysia Córdova
                                                                            Perdue, Brandon, Fielder, Collins and Mott, P.O. Box 9132                                           acordova@pbfcm.com
Counsel to Potter County Tax Office and Randall County Tax Office           L.L.P.                                      Amarillo TX 79105                                       amabkr@pbfcm.com              Email
                                                                                                                        Attn: Elisa Hyder
                                                                                                                        Three Logan Square
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc. and Mars                                                  1717 Arch Street, Suite 2800
Fishcare North America, Inc.                                                Polsinelli PC                               Philadelphia PA 19103                                   ehyder@polsinelli.com         Email
                                                                                                                        Attn: Shanti M. Katona, Katherine M. Devanney
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc. and Mars                                                  222 Delaware Avenue, Suite 1101                         skatona@polsinelli.com
Fishcare North America, Inc.                                                Polsinelli PC                               Wilmington DE 19801                                     kdevanney@polsinelli.com      Email

                                                                                                                       Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
                                                                                                                       1313 N. Market Street                                    jryan@potteranderson.com
                                                                                                                       6th Floor                                                bhaywood@potteranderson.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent              Potter Anderson & Corroon LLP              Wilmington DE 19801                                      esulik@potteranderson.com     Email
                                                                                                                       Attn: L. Kate Mason
                                                                                                                       411 E. Wisconsin Avenue
                                                                                                                       Suite 2400
Counsel to Whirlpool Corporation                                            Quarles & Brady LLP                        Milwaukee WI 53202                                       Katie.Mason@quarles.com       Email
                                                                                                                       Attn: John H. Knight, Amanda R. Steele, Alexander R.
                                                                                                                       Steiger
                                                                                                                       One Rodney Square                                        knight@rlf.com
                                                                                                                       920 North King Street                                    steele@rlf.com
Cousnel to B. Riley Principal Investments, LLC and its affiliates           Richards Layton & Finger PA                Wilmington DE 19801                                      steiger@rlf.com               Email
                                                                                                                       Attn: Steven Fox
                                                                                                                       Times Square Tower Suite 2506
                                                                                                                       Seven Times Square
Counsel to Hilco Merchant Resources, LLC                                    Riemer & Braunstein LLP                    New York NY 10036                                        sfox@reimerlaw.com            First Class Mail

Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn
Station LLC, Harvest Station LLC, Village Mooresville Station LLC, Fairfield
Station LLC, Lakewood (Ohio) Station LLC, Shoregate Station LLC, Hartville
Station LLC, Jensen Beach Station LLC, Chapel Hill North Station LLC, Five
Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton
Village Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station                                             Attn: Monique B. DiSabatino, Mark Minuti
LLC, Rainbow Station North LLC, Southfield Station LLC, Stone Gate Station                                             1201 North Market Street, Suite 2300
LLC, Valrico Station LLC, Wheat Ridge Station LLC, Summerville Station LLC,                                            P.O. Box 1266                                            monique.disabatino@saul.com
and Phillips Edison & Company, Beral, LLLP, Laurel Lakes, LLC                Saul Ewing LLP                            Wilmington DE 19899                                      mark.minuti@saul.com          Email




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                                      DESCRIPTION                                                 NAME                                          ADDRESS                                              EMAIL          METHOD OF SERVICE

Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn
Station LLC, Harvest Station LLC, Village Mooresville Station LLC, Fairfield
Station LLC, Lakewood (Ohio) Station LLC, Shoregate Station LLC, Hartville
Station LLC, Jensen Beach Station LLC, Chapel Hill North Station LLC, Five
Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton
Village Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station                                              Attn: Turner N. Falk
LLC, Rainbow Station North LLC, Southfield Station LLC, Stone Gate Station                                              Centre Square West
LLC, Valrico Station LLC, Wheat Ridge Station LLC, Summerville Station LLC,                                             1500 Market Street, 38th Floor
and Phillips Edison & Company                                                Saul Ewing LLP                             Philadelphia PA 19102                                  turner.falk@saul.com              Email
                                                                                                                        Attn: Bankruptcy Department
                                                                                                                        Brookfield Place
                                                                            Securities & Exchange Commission ‐ NY       200 Vesey Street, Suite 400                            bankruptcynoticeschr@sec.gov
Securities and Exchange Commission                                          Office                                      New York NY 10281‐1022                                 nyrobankruptcy@sec.gov            First Class Mail and Email
                                                                                                                        Attn: Bankruptcy Department
                                                                                                                        One Penn Center
                                                                            Securities & Exchange Commission ‐          1617 JFK Blvd, Suite 520
Securities and Exchange Commission                                          Philadelphia Office                         Philadelphia PA 19103                                  secbankruptcy@sec.gov             First Class Mail and Email
                                                                                                                        Attn: Alan J. Taylor
                                                                                                                        29100 Northwestern Highway, Suite 240
Counsel to Brookdale Shopping Center, L.L.C. ( Creditor/Landlord)           Segal McCambridge Singer & Mahoney          Southfield MI 48034                                    ataylor@smsm.com                  Email
                                                                                                                        Attn: J. David Forsyth
                                                                                                                        400 Poydras Street
                                                                                                                        Suite 2550
Counsel to Shanri Holdings Corporation                                      Sessions, Fishman & Nathan, LLC             New Orleans LA 70130                                   jdf@sessions‐law.com              Email
                                                                                                                                                                               bateman@sewkis.com
                                                                                                                                                                               patel@sewkis.com
                                                                                                                        Attn: Gregg Bateman, Sagar Patel, Michael Danenberg,   danenberg@sewkis.com
                                                                                                                        John R. Ashmead, Gregg S. Bateman, Andrew J. Matott    ashmead@sewkis.com
Counsel to the DIP Agent, Wilmington Trust, National Association, as                                                    One Battery Park Plaza                                 bateman@sewkis.com
Prepetition First Lien Agent and DIP Agent                                  Seward & Kissel LLP                         New York NY 10004                                      matott@sewkis.com                 First Class Mail and Email
                                                                                                                        Attn: Eric S. Goldstein                                egoldstein@goodwin.com
                                                                                                                        One Constitution Plaza                                 bankruptcy@goodwin.com
Counsel to Sayville Plaza Development, LLC                                  Shipman & Goodwin LLP                       Hartford CT 06103‐1919                                 bankruptcyparalegal@goodwin.com   Email
                                                                                                                        Attn: William F. McDonald III
                                                                                                                        10920 Via Frontera, Suite 220
Counsel to ShopCore Properties and its related entities                     ShopCore Properties                         San Diego CA 92127                                     wmcdonald@shopcore.com            Email
                                                                                                                        Attn: Ronald M. Tucker
                                                                                                                        225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities              Simon Property Group, Inc.                  Indianapolis IN 46204                                  rtucker@simon.com                 Email
                                                                                                                        Attn: Dana S. Plon
                                                                                                                        123 South Broad Street, Suite 2100
Counsel to Paoli Shopping Center Limited Partnership, Phase II              Sirlin Lesser & Benson, P.C.                Philadelphia PA 19109                                  dplon@sirlinlaw.com               Email
                                                                                                                        Attn: Joseph H. Lemkin
                                                                                                                        PO Box 5315
Counsel to Peoria Rental Properties, LLC                                    Stark & Stark, P.C.                         Princeton NJ 08543                                     jlemkin@stark‐stark.com           Email
                                                                                                                        Attn: Sabrina L. Streusand
                                                                                                                        1801 S. MoPac Expressway, Suite 320
Counsel to Dell Financial Service L.L.C.                                    Streusand, Landon Ozburn & Lemmon, LLP      Austin TX 78746                                        streusand@slollp.com              Email




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                                                                                                                        Core/2002 Service List
                                                                                                                       Served as set forth below

                                      DESCRIPTION                                                 NAME                                                 ADDRESS                                           EMAIL             METHOD OF SERVICE
                                                                                                                           Attn: William A. Hazeltine
                                                                                                                           919 N. Market Street
                                                                                                                           Suite 420
Counsel to Whirlpool Corporation                                               Sullivan Hazeltine Allinson LLC             Wilmington DE 19801                                       whazeltine@sha‐llc.com             Email
                                                                                                                           Attn: Charles S. Stahl, Jr.
                                                                                                                           2525 Cabot Drive
                                                                                                                           Suite 204
Counsel to Raymond Leasing Corporation                                         Swanson, Martin & Bell, LLP                 Lisle IL 60532                                            cstahl@smbtrials.com               Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates,
Pasan LLC, Esan LLC, Fundamentals Company LLC, Muffrey LLC,
Fundamentals Company, Kinpark Associates, Laurie Industries Inc., Alisan                                                   Attn: Jeffrey Rhodes
Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                               2001 L Street, NW, Suite 500
Roseff LLC                                                                     Tayman Lane Chaverri LLP                    Washington DC 20036                                       jrhodes@tlclawfirm.com             Email
                                                                                                                           Attn: Bradshaw Rost
                                                                                                                           4504 Walsh Street, Suite 200
Counsel to Creditor, Parkridge Center Retail, LLC                              Tenenbaum & Saas, P.C.                      Chevy Chase MD 20815                                      BRost@tspclaw.com                  Email

                                                                                                                           Attn: Christopher S. Murphy, Assistant Attorney General
                                                                                                                           Bankruptcy & Collections Division
                                                                                                                           P.O. Box 12548
Counsel to the Texas Comptroller of Public Accounts                            Texas Attorney General's Office             Austin TX 78711‐2548                                      christopher.murphy@oag.texas.gov   Email
                                                                                                                           Attn: Louis F Solimine
                                                                                                                           312 Walnut Street
                                                                                                                           Suite 2000
Counsel to LU Candlers Station Holdings, LLC                                   Thompson Hine LLP                           Cincinnati OH 45202‐4029                                  Louis.Solimine@ThompsonHine.com    Email
                                                                                                                           Attn: Michael B. Pugh
                                                                                                                           2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                      Thompson O'Brien Kappler & Nasuti PC        Peachtree Corners GA 30092                                mpugh@tokn.com                     Email
                                                                                                                           Attn: Stephen B. Gerald
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a                                                          200 Continental Drive, Suite 401
Amazing Herbs                                                                  Tydings & Rosenberg LLP                     Newark DE 19713                                           sgerald@tydings.com                Email
                                                                                                                           Attn: David C. Weiss & Ellen Slights
                                                                                                                           U.S. Attorney's Office
                                                                                                                           1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                     U.S. Attorney for Delaware                  Wilmington DE 19801                                                                          First Class Mail
                                                                                                                           Secretary of the Treasury
                                                                               U.S. Securities and Exchange Commission ‐   100 F. Street NE
Securities and Exchange Commission                                             Headquarters                                Washington DC 20549                                       secbankruptcy@sec.gov              First Class Mail and Email
                                                                                                                           Attn: Geoffrey J. Peters
                                                                                                                           5475 Rings Road
                                                                                                                           Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                    Weltman, Weinberg & Reis Co. LPA            Dublin OH 43017                                           bronationalecf@weltman.com         Email
                                                                                                                           Attn: Bojan Guzina
                                                                                                                           111 S. Wacker Dr., Suite 5100
Counsel to the Second Lien Secured Parties; HoldCo Lenders                     White & Case LLP                            Chicago IL 60606                                          bojan.guzina@whitecase.com         First Class Mail and Email
                                                                                                                                                                                     cshore@whitecase.com
                                                                                                                           Attn: J. Christopher Shore, Samuel P. Hershey, Andrew     sam.hershey@whitecase.com
                                                                                                                           Zatz, Erin Smith, Brett Bakemeyer                         azatz@whitecase.com
                                                                                                                           1221 Avenue of the Americas                               erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                     White & Case LLP                            New York NY 10020‐1095                                    brett.bakemeyer@whitecase.com      Email




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                                                                                                                  Served as set forth below

                                     DESCRIPTION                                              NAME                                             ADDRESS                                          EMAIL      METHOD OF SERVICE
                                                                                                                      Attn: Thomas Lauria
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group                                              200 South Biscayne Boulevard, Suite 4900
of Freedom Lenders                                                         White & Case LLP                           Miami FL 33131                                          tlauria@whitecase.com     First Class Mail and Email
                                                                                                                      Attn: Debra M. Sinclair, Matthew A. Feldman, Betsy L.   dsinclair@willkie.com
                                                                                                                      Feldman, Joseph R. Brandt                               mfeldman@willkie.com
                                                                                                                      787 Seventh Avenue                                      bfeldman@willkie.com
Counsel to Debtors and Debtors In Possession                               Willkie Farr & Gallagher LLP               New York NY 10019                                       jbrandt@willkie.com       Email
                                                                                                                      Attn: Edmon L. Morton, Matthew B. Lunn, Allison S.
                                                                                                                      Mielke, Shella Borovinskaya                             emorton@ycst.com
                                                                                                                      Rodney Square                                           mlunn@ycst.com
                                                                                                                      1000 N. King Street                                     amielke@ycst.com
Counsel to Debtors and Debtors In Possession                               Young Conaway Stargatt & Taylor, LLP       Wilmington DE 19801                                     sborovinskaya@ycst.com    Email




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                                                                                                      Notice Parties Service List
                                                                                                      Served as set forth below

ADRID                                            NAME                                       ADDRESS                           CITY     STATE POSTALCODE      EMAIL       METHOD OF SERVICE
29479929 Aberdeen City Finance Department                                      60 North Parke Street                 Aberdeen          MD   21001                    First Class Mail
                                                                               1930 University Parkway
29487714 Aiken County Assessor's Office                                        Suite 2400                            Aiken             SC   29801                    First Class Mail
29479746 AK Remote Seller Sales Tax Commission                                 One Sealaska Plaza Suite 302          Juneau            AK   99801                    First Class Mail
29487751 Alabama Cities                                                        251 S. Lawrence Street                Montgomery        AL   36104                    First Class Mail
29479747 Alabama Department of Revenue                                         PO Box 154                            Montgomery        AL   36135‐0001               First Class Mail
29487753 Alabama Department of Revenue                                         PO Box 2401                           Montgomery        AL   36140‐0001               First Class Mail
29487752 Alabama Local                                                         710 20th Street N                     Birmingham        AL   35203                    First Class Mail
29487781 Alachua Count Tax Collector                                           5830 NW 34th Blvd                     Gainesville       FL   32653                    First Class Mail
                                                                               515 North Main Street
29487672 Alachua County Property Appraiser                                     Suite 200                             Gainesville       FL   32601                    First Class Mail
29487701 Alamance County Tax Department                                        124 West Elm Street                   Graham            NC   27253                    First Class Mail
29487644 Alameda County Assessor's Office                                      1221 Oak St STE 145                   Oakland           CA   94612                    First Class Mail
                                                                               DEPT OF GENERAL SERV CONSUMER
                                                                               AFFAIRS
29487807 Albany County                                                         112 STATE STREET, ROOM 630            ALBANY            NY   12207                    First Class Mail
29479844 Albemarle County Assessor's Office                                    401 McIntire Road                     Charlottesville   VA   22902                    First Class Mail
29479798 Alief Independent School District                                     4250 Cook Rd                          Houston           TX   77072‐1115               First Class Mail
29479828 Allen County Assessor's Office                                        1 E Main St # 415                     Fort Wayne        IN   46802                    First Class Mail
29479916 Allen County Treasurer; St Joseph Township                            1 E Main St # 415                     Fort Wayne        IN   46802                    First Class Mail
29479912 Allen County Treasurer; Washington Township                           1 E Main St # 415                     Fort Wayne        IN   46802                    First Class Mail
29487710 Anderson County Assessor's Office                                     401 E River St                        Anderson          SC   29624                    First Class Mail
29487872 Annapolis Department of Finance                                       160 Duke of Gloucester St             Annapolis         MD   21401                    First Class Mail
29480022 Anne Arundel County Animal Control                                    411 Maxwell Frye Rd                   Millersville      MD   21108                    First Class Mail
29479926 Anne Arundel County Department of Finance                             44 Calvert Street, Room 110           Annapolis         MS   21401                    First Class Mail
29479820 Anne Arundel County Office of Finance                                 44 Calvert Street, Room 110           Annapolis         MS   21401                    First Class Mail
29487754 Arizona Department of Revenue                                         1600 W. Monroe St.                    Phoenix           AZ   85007                    First Class Mail
29479748 Arizona Department of Revenue                                         PO Box 29079                          Phoenix           AZ   85038‐9079               First Class Mail
29487755 Arkansas Department of Finance & Administration                       1900 W 7th St                         Little Rock       AR   72201                    First Class Mail
                                                                               2100 Clarendon Boulevard
29479943 Arlington County Tax Collector                                        Suite 201                             Arlington         VA   22201                    First Class Mail
                                                                               2100 Clarendon Boulevard
29487864 Arlington County Treasurer                                            Suite 201                             Arlington         VA   22201                    First Class Mail
29479949 Arvada City Finance Department                                        8101 Ralston Rd                       Arvada            CO   80002                    First Class Mail
29487620 Ashland Assessor's Office                                             101 Main St,                          Ashland           MA   01721                    First Class Mail
29479922 Ashland Board of Assessors                                            101 Main St,                          Ashland           MA   01721                    First Class Mail
29487723 Athol Board of Assessors                                              584 Main St #16                       Athol             MA   01331                    First Class Mail
29479846 Auburn Assessor's Office                                              104 Central St                        Auburn            MA   01501                    First Class Mail
29487891 Avalara                                                               DEPT. CH 16781                        PALATINE          IL   60055                    First Class Mail
29487717 Baltimore City Department of Finance                                  100 N. Holliday St                    Baltimore         MD   21202                    First Class Mail
29479928 Baltimore County Department of Assessments and Taxation               6 Saint Paul St., 11th Floor          Baltimore         MD   21202‐1608               First Class Mail

29480024 Baltimore County, MD                                                  400 WASHINGTON AVENUE‐ ROOM 150       TOWSON            MD   21204                    First Class Mail
29479819 Bangor Assessor's Office                                              73 Harlow St                          Bangor            ME   04401                    First Class Mail
29487673 Bay County Property Appraiser                                         860 W. 11th Street                    Panama City       FL   32401                    First Class Mail
29479802 Baybrook Municipal Utility District #1                                3200 Southwest Freeway, Suite 2600    Houston           TX   77027                    First Class Mail
29487576 Beauregard Parish Sheriff Office (B.P.S.O.) Sales Tax Department      120 South Stewart Street              DeRidder          LA   70634                    First Class Mail
29480058 Beckley                                                               409 S Kanawha St                      Beckley           WV   25801                    First Class Mail




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                                                                                                     Served as set forth below

ADRID                                            NAME                                     ADDRESS                            CITY     STATE POSTALCODE      EMAIL       METHOD OF SERVICE
29479825 Bel Air Assessor's Office                                          39 N Hickory Ave                        Bel Air           MD   21014                    First Class Mail
29479865 Bell County Appraisal District                                     411 E Central Ave                       Belton            TX   76513                    First Class Mail
29479837 Benton County Assessor's Office                                    620 Market St                           Prosser           WA   99350                    First Class Mail
29479893 Bernalillo County Assessor's Office                                415 Silver Ave SW                       Albuquerque       NM   87102                    First Class Mail
29487592 Bexar County Appraisal District                                    411 North Frio St                       San Antonio       TX   78207                    First Class Mail
                                                                            Vista Verde Plaza Bldg
29479939 Bexar County Tax Assessor                                          233 N Pecos La Trinidad                 San Antonio       TX   78207                    First Class Mail
                                                                            688 Walnut St
29479863 Bibb County Tax Assessor's Office                                  Ste 200                                 Macon             GA   31201                    First Class Mail
                                                                            365 Boston Rd
29479924 Billerica Town Assessors Office                                    1st Floor, Rm 103                       Billerica         MA   01821                    First Class Mail
29480017 Boone County Fiscal Court                                          2950 WASHINGTON STREET                  BURLINGTON        KY   41005                    First Class Mail
29479866 Boone County Property Appraiser                                    2950 Washington St                      Burlington        KY   41005                    First Class Mail
29479919 Boone County Property Valuation Administrator                      2950 Washington St                      Burlington        KY   41005                    First Class Mail
29487847 Borough of Edgewood                                                2 Race St                               Edgewood          PA   15218                    First Class Mail
29487867 Borough of Fair Lawn                                               Borough Hall 8‐01 Ave                   Fair Lawn         NJ   07410                    First Class Mail
                                                                            8‐01 Fair Lawn Ave
29487880 Borough of Fairlawn Health Dept                                    Rm 109                                  Fair Lawn         NJ   07410                    First Class Mail
                                                                            DEPT OF ECONOMIC DEVELOPMENT
29480005 Borough of Glassboro                                               1 SOUTH MAIN ST                         GLASSBORO         NJ   08028                    First Class Mail
                                                                            1 City Hall Square
29487725 Boston City Assessing Department                                   Rm 301                                  Boston            MA   02201                    First Class Mail
29486879 Braintree Assessor's Office                                        1 John F Kennedy Memorial Dr            Braintree         MA   02184                    First Class Mail
29487593 Brazoria County Appraisal District                                 500 North Chenango                      Angleton          TX   77515                    First Class Mail
29487674 Brevard County Property Appraiser                                  400 South St                            Titusville        FL   32780                    First Class Mail
29487782 Brevard County Tax Collector                                       PO BOX 2500                             TITUSVILLE        FL   32781‐2500               First Class Mail
29479950 Brighton Finance Department                                        500 S 4th Ave                           Brighton          CO   80601                    First Class Mail
                                                                            Brockton City Hall
29479925 Brockton Board of Assessors                                        45 School St                            Brockton          MA   02301                    First Class Mail
                                                                            George Di Ciero City & County Bldg
29479947 Broomfield Finance Department                                      One DesCombes Dr                        Broomfield        CO   80020                    First Class Mail
                                                                            115 S Andrews Ave
29487675 Broward County Property Appraiser                                  Rm A‐100                                Fort Lauderdale   FL   33301                    First Class Mail
29487702 Buncombe County Tax Department                                     155 Hilliard Ave                        Asheville         NC   28801                    First Class Mail
29487855 Bureau of Fire Safety ‐ Jackson Township                           3756 Hoover Rd                          Grove City        OH   43123                    First Class Mail
29479812 Burlington Assessor's Office                                       29 Center St Town Hall                  Burlington        MA   01803                    First Class Mail
29487700 Burlington Finance Department                                      237 West Maple Ave                      Burlington        NC   27215                    First Class Mail
29479942 Burnet Central Appraisal District                                  223 South Pierce St                     Burnet            TX   78611                    First Class Mail
                                                                            May Lee State Office Complex
29487756 CA Dept of Tax and Fee Administration                              651 Bannon St, Ste 100                  Sacramento        CA   95811                    First Class Mail
29479750 CA Dept of Tax and Fee Administration                              PO Box 942879                           Sacramento        CA   94279‐8062               First Class Mail
29487703 Cabarrus County Tax Administration                                 65 Church St S                          Concord           NC   28025                    First Class Mail
29487543 Caddo Shreveport Sales & Use Tax Commission                        617 North Third St                      Baton Rouge       LA   70802                    First Class Mail
                                                                            1011 Lakeshore Dr
29487698 Calcasieu Parish Assessor's Office                                 Ste 101                                 Lake Charles      LA   70601                    First Class Mail
29487577 Calcasieu Parish Sales And Use Tax Dept                            2439 6th St                             Lake Charles      LA   70615                    First Class Mail
29479749 CalRecycle (Department of Resources Recycling and Recovery)        1001 I St                               Sacramento        CA   95814                    First Class Mail
29479864 Cameron County Appraisal District                                  835 E Levee St, 1st floor               Brownsville       TX   78520                    First Class Mail
29487547 Carbondale Finance Department                                      511 Colorado Ave                        Carbondale        CO   81623                    First Class Mail



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ADRID                                            NAME                                    ADDRESS                            CITY      STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                          15 E Main St
29479822 Carroll County Bureau of Assessment                              Ste 229                                  Westminster        MD   21157                    First Class Mail
29479930 Carroll County Department of Assessment and Taxation             15 E Main St, Ste 229                    Westminster        MD   21157                    First Class Mail
29487598 Carrollton‐Farmers Independent School District                   1445 North Perry Rd                      Carrollton         TX   75006                    First Class Mail
                                                                          7437 Village Square Dr
29487548 Castle Pines City Clerk/Finance Department                       Ste 200                                  Castle Pines       CO   80108                    First Class Mail
29479948 Castle Rock Finance Department                                   100 N Wilcox St                          Castle Rock        CO   80104                    First Class Mail
29479899 Catawba County Tax Office                                        25 Government Dr                         Newton             NC   28658                    First Class Mail
29487550 Central Finance Department                                       141 Nevada St                            Central City       CO   80427                    First Class Mail
29479821 Charles County Property Appraiser                                200 Baltimore St                         La Plata           MD   20646                    First Class Mail
                                                                          3875 Faber Place Dr
29487706 Charleston County Assessor's Office                              Ste 100                                  North Charleston   SC   29405                    First Class Mail
29487677 Charlotte County Property Appraiser                              18500 Murdock Circle                     Port Charlotte     FL   33948                    First Class Mail
                                                                          222 West Oglethorpe Ave
29479872 Chatham County Tax Assessor's Office                             Ste 113                                  Savannah           GA   31401                    First Class Mail
29487636 Chesapeake City Assessor's Office                                306 Cedar Rd, 4th Floor                  Chesapeake         VA   23322                    First Class Mail
29480054 Chesterfield County                                              PO BOX 26585                             RICHMOND           VA   23285                    First Class Mail
29479839 Chesterfield County Assessor's Office                            6801 Mimms Loop                          Chesterfield       VA   23832                    First Class Mail
29487731 Chesterfield Township Assessing Department                       47275 Sugarbush Rd                       Chesterfield       MI   48047                    First Class Mail
29479945 Chesterfield Treasurer's Office                                  PO BOX 26585                             RICHMOND           VA   23285                    First Class Mail
                                                                          210 N Apopka Ave
29479970 Citrus County Tax Collector                                      Ste 100                                  Inverness          FL   34450                    First Class Mail
29487666 City of Acworth Tax Assessor's Office                            4415 Center St                           Acworth            GA   30101                    First Class Mail
                                                                          Attn: Christopher Cappucci, City
                                                                          Attorney
29495549 City of Agawam                                                   36 Main Street                           Agawam             MA   01001                    First Class Mail
                                                                          Attn: City Attorney
29495531 City of Aiken                                                    834 Beaufort St NE                       Aiken              SC   29801                    First Class Mail
                                                                          Attn: Deborah S. Matz, City Attorney
                                                                          172 S. Broadway
29486563 City of Akron                                                    Suite 200                                Akron              OH   44308                    First Class Mail
                                                                          Attn: City Attorney
                                                                          City Attorney's Office
29495454 City of Albany                                                   PO Box 447                               Albany             GA   31702                    First Class Mail
                                                                          Attn: Marisa Franchini, Corporation
                                                                          Counsel
                                                                          24 Eagle Street
29486587 City of Albany                                                   Room 106                                 Albany             NY   12207                    First Class Mail
                                                                          Attn: Lauren Keefe, City Attorney
                                                                          One Civic Plaza NW
29486602 City of Albuquerque                                              4th Floor, Room 4072                     Albuquerque        NM   87102                    First Class Mail
                                                                          Attn: Lauren Keefe, City Attorney
29495427 City of Albuquerque                                              PO Box 2248                              Albuquerque        NM   87103                    First Class Mail
                                                                          Office of Real Estate Assessments
29487660 City of Alexandria Tax Assessor's Office                         301 King St                              Alexandria         VA   22314                    First Class Mail
                                                                          Attn: Peter G. Smith, City Attorney
29495492 City of Allen                                                    305 Century Pkwy                         Allen              TX   75013                    First Class Mail




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ADRID                                            NAME                            ADDRESS                              CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                  Attn: Thomas P Finn, City Solicitor
                                                                  Wagner & Finn Attorneys At Law, P.C.
29486581 City of Altoona                                          153 Lakemont Park Boulevard              Altoona           PA   16602                    First Class Mail

                                                                  Attn: Bryan McWilliams, City Attorney
                                                                  601 S. Buchanan
29486633 City of Amarillo                                         City Hall, Room 207                      Amarillo          TX   79101                    First Class Mail
                                                                  Attn: Frankie McClain, City Attorney
29486610 City of Anderson                                         401 Main Street                          Anderson          SC   29624                    First Class Mail
                                                                  Attn: Atleen Kaur, City Attorney
                                                                  301 E. Huron Street
29486665 City of Ann Arbor                                        3rd Floor                                Ann Arbor         MI   48104                    First Class Mail
29487857 City of Ann Arbor                                        PO BOX 8647                              ANN ARBOR         MI   48107                    First Class Mail
                                                                  Fifth Floor
29487738 City of Ann Arbor Assessing Division                     301 E Huron St                           Ann Arbor         MI   48104                    First Class Mail
                                                                  Attn: City Attorney
29495505 City of Antioch                                          PO Box 670                               Martinez          CA   94553                    First Class Mail
                                                                  Attn: City Attorney
29495543 City of Ardmore                                          23 South Washington St                   Ardmore           OK   73401                    First Class Mail
                                                                  Attn: City Attorney
29486650 City of Arlington                                        101 S. Mesquite St. Suite 300            Arlington         TX   76010                    First Class Mail
                                                                  Attn: City Attorney
                                                                  MS 63‐0300
29486649 City of Arlington                                        PO Box 90231                             Arlington         TX   76004‐3231               First Class Mail
                                                                  MS 07‐0100 FIRE PREV OFFICE
29487865 City of Arlington                                        PO BOX 90231                             ARLINGTON         TX   76004‐3231               First Class Mail
29479751 City of Aspen Finance Department                         427 Rio Grande Pl, 2nd Floor             Aspen             CO   81611                    First Class Mail
29480059 City of Auburn                                           60 COURT ST                              AUBURN            ME   04210‐5983               First Class Mail
                                                                  Attn: General Counsel
                                                                  Law Department
                                                                  535 Telfair St.
29495410 City of Augusta                                          Building 3000                            Augusta           GA   30901                    First Class Mail
29479946 City of Aurora's Finance Department                      15151 E Alameda Parkway                  Aurora            CO   80012                    First Class Mail
                                                                  Attn: Lee Crawford, General Counsel
                                                                  Division Chief
                                                                  301 W. 2nd Street
29486657 City of Austin                                           4th Floor                                Austin            TX   78701                    First Class Mail
                                                                  Attn: Lee Crawford, General Counsel
                                                                  Division Chief
29486656 City of Austin                                           PO Box 1088                              Austin            TX   78767‐1088               First Class Mail
                                                                  Texas Department of Licensing and
                                                                  Regulation
29480052 City Of Austin                                           920 Colorado                             Austin            TX   78701                    First Class Mail
                                                                  Attn: Audrey Haydon, CIty Attorney
29486625 City of Bardstown                                        220 North Fifth Street                   Bardstown         KY   40004                    First Class Mail

                                                                  Attn: Timothy Meitzen, City Attorney
29486693 City of Batesville                                       500 E. Main Street                       Batesville        AR   72501                    First Class Mail




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ADRID                                            NAME                                                      ADDRESS                              CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                                            Attn: Bridget Denicola, General Counsel
29495414 City of Baton Rouge                                                                1201 N. Third St.                         Baton Rouge      LA   70802                    First Class Mail
                                                                                            222 Saint Louis St
29487578 City of Baton Rouge ‐ Parish of East Baton RougeDept of Finance‐Revenue Division   Rm 490                                    Baton Rouge      LA   70802                    First Class Mail
                                                                                            Attn: William Kim, City Attorney
29495547 City of Battle Creek                                                               10 N Division Street                      Battle Creek     MI   49014                    First Class Mail
                                                                                            BUSINESS & OCCUPATION TAX
29487827 City of Beckley                                                                    PO BOX 2514                               BECKLEY          WV   25802                    First Class Mail

                                                                                            Attn: Charles Buenger, City Attorney
29495518 City of Bellmead                                                                   3015 Bellmead Dr.                         Bellmead         TX   76705‐3030               First Class Mail

                                                                                            Attn: Nicole King, City Attorney
                                                                                            City of Birmingham Legal Department
                                                                                            710 North 20th Street
29486647 City of Birmingham                                                                 6th Floor                                 Brimingham       AL   35203                    First Class Mail
                                                                                            Attn: Larry Allen, City Attorney
                                                                                            401 N Morton St.
29495526 City of Bloomington                                                                Suite 220                                 Bloomington      IN   47404                    First Class Mail
                                                                                            Attn: City Attorney
                                                                                            Boise City Hall
29486641 City of Boise                                                                      150 N Capitol Blvd                        Boise            ID   83702                    First Class Mail
                                                                                            CITY HALL/CITY CLERK
29480003 City Of Boston                                                                     PO BOX 55810                              BOSTON           MA   02205                    First Class Mail
29479753 City of Boulder Finance Department                                                 1777 Broadway                             Boulder          CO   80302                    First Class Mail

                                                                                            Attn: Hillary Hightower, City Attorney
29495434 City of Bowling Green                                                              1017 College Street                       Bowling Green    KY   42101                    First Class Mail

                                                                                            Attn: Thomas McDermott, City Solicitor
                                                                                            Gaitens, Tuccedri & Nicholas PC
29495559 City of Bridgeville                                                                425 Bower Hill Road                       Bridgeville      PA   15017                    First Class Mail
29487546 City of Brighton's Finance Department                                              500 S 4th Ave                             Brighton         CO   80601                    First Class Mail

                                                                                            ACCOUNTS PAYABLE C/O ERIN VEIGA
29487830 City Of Brockton                                                                   43 CRESCENT STREET                        BROCKTON         MA   02301                    First Class Mail
                                                                                            Attn: Trevor Dennis, City Attorney
                                                                                            City Hall
29495431 City of Broken Arrow                                                               220 S First Street                        Broken Arrow     OK   74012                    First Class Mail
                                                                                            Attn: City Attorney
29495456 City of Brooksvile                                                                 324 W Morse Boulevard                     Winter Park      FL   32789                    First Class Mail
                                                                                            Attn: Thomas Leeper, City Attorney
29495432 City of Bryan                                                                      300 S. Texas Ave.                         Bryan            TX   77803                    First Class Mail
                                                                                            Attn: Thomas Leeper, City Attorney
29495433 City of Bryan                                                                      PO Box 1000                               Bryan            TX   77805                    First Class Mail
                                                                                            Attn: Ashley Clancy, City Attorney
29495537 City of Bryant                                                                     210 SW 3rd Street                         Bryant           AR   72022                    First Class Mail
29480020 City of Buffalo ‐Office of Licenses                                                65 NIAGARA SQUARE RM 301                  BUFFALO          NY   14202                    First Class Mail
29480025 City of Burlington                                                                 PO BOX 1358                               BURLINGTON       NC   27216‐1358               First Class Mail



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ADRID                                            NAME                             ADDRESS                                CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: Jared Shepherd, City Attorney
                                                                  Campbell Knutson P.A.
29486677 City of Burnsville                                       1380 Corporate Center Curve #317            St. Paul          MN   55121                    First Class Mail


                                                                  Attn: Richard A Goldinger, City Attorney
                                                                  Third Floor, County Government Center
29495550 City of Butler                                           124 W Diamond Street                        Butler            PA   16001                    First Class Mail
                                                                  INCOME TAX DEPT
29480037 City Of Canton                                           PO BOX 9940                                 CANTON            OH   44711‐0940               First Class Mail
                                                                  Attn: Meredith Ladd, City Attorney
29495564 City of Carrollton                                       1945 E Jackson Road                         Corrollton        TX   75006                    First Class Mail
29487534 City of Centennial                                       13133 E Arapahoe Rd                         Centennial        CO   80112                    First Class Mail
                                                                  Attn: Robert Widner, City Attorney
29486707 City of Centennial                                       13133 E. Arapahoe Rd.                       Centennial        CO   80112                    First Class Mail
29487549 City of Centennial Finance Department                    13133 E Arapahoe Rd                         Centennial        CO   80112                    First Class Mail
                                                                  Attn: William H. Ihrke, City Attorney
29495572 City of Cerritos                                         18125 Bloomfield Avenue                     Cerritos          CA   90703                    First Class Mail
                                                                  Attn: Thomas Yu, City Attorney
29486673 City of Champaign                                        102 N. Neil St.                             Champaign         IL   61820                    First Class Mail
                                                                  Attn: Corporation Counsel
29495413 City of Charleston                                       50 Broad Street                             Charleston        SC   29401                    First Class Mail
                                                                  Attn: Patrick W. Baker, City Attorney
29495524 City of Charlotte                                        600 E. Fourth Street                        Charlotte         NC   28202                    First Class Mail

                                                                  Attn: Phillip A. Noblett, City Attorney
                                                                  Suite 200
                                                                  2nd Floor City Hall Annex
29495392 City of Chattanooga                                      100 E. 11th Street                          Chattanooga       TN   37402                    First Class Mail

                                                                  Attn: Catherine Lindley, City Attorney
29495487 City of Chesapeake                                       306 Cedar Road                              Chesapeake        VA   23322                    First Class Mail
                                                                  DEPARTMENT OF REVENUE
29487837 City of Chicago                                          22149 NETWORK PLACE                         CHICAGO           IL   60673                    First Class Mail
29479989 City of Chicago ‐ Dept of Finance                        PO BOX 5625                                 CHICAGO           IL   60680                    First Class Mail
                                                                  Attn: Anna Villarreal, Law Director
29486613 City of Chillicothe                                      6 West Main St.                             Chillicothe       OH   45601                    First Class Mail
                                                                  Attn: Tom Brooke, City Attorney
29495545 City of China Grove                                      101 South Main Street                       China Grove       NC   28023                    First Class Mail

                                                                  Attn: Emily Smart Woerner, City Solicitor
                                                                  801 Plum St
29486607 City of Cincinnati                                       Unit 214                                  Cincinnati          OH   45202                    First Class Mail

                                                                  Attn: John Wentworth, City Attorney
29486737 City of Clackamas                                        807 Main St                                 Oregon City       OR   97045                    First Class Mail
                                                                  FIRE SERVICE
29480026 City Of Clarksburg                                       222 WEST MAIN STREET                        CLARKSBURG        WV   26301                    First Class Mail
                                                                  Attn: Lance Baker, City Attorney
29486579 City of Clarksville                                      One Public Square                           Clarksville       TN   37040                    First Class Mail



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ADRID                                            NAME                             ADDRESS                               CITY     STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                  Attn: Robert Germain , City Attorney
29495532 City of Clay                                             4401 Route 31                               Clay               NY   13401                    First Class Mail
                                                                  Attn: David Margolis, City Attorney
29495556 City of Clearwater                                       100 S. Myrtle Ave.                          Clearwater         FL   33756                    First Class Mail

                                                                  Attn: Mark D. Griffin, Chief Law Officer
                                                                  601 Lakeside Ave
29495401 City of Cleveland                                        Room 227                                    Cleveland          OH   44114                    First Class Mail
                                                                  Attn: City Attorney
                                                                  30 S. Nevada Ave
29486626 City of Colorado Springs                                 Suite 501                                   Colorado Springs   CO   80903                    First Class Mail
29487535 City of Colorado Springs                                 DEPARTMENT 2408                             DENVER             CO   80256‐0001               First Class Mail

                                                                  Attn: Nancy Thompson, City Attorney
                                                                  701 E. Broadway, 2nd Floor
29486688 City of Columbia                                         P.O. Box 6015                               Columbia           MO   65205                    First Class Mail

                                                                  Attn: William Hemlepp, City Attorney
29486584 City of Columbia                                         PO Box 667                                  Columbia           SC   29202                    First Class Mail
29480057 City of Columbus                                         750 PIEDMONT RD                             COLUMBUS           OH   43224‐3266               First Class Mail
                                                                  Attn: Clifton Fay, City Attorney
                                                                  1111 1st Avenue
29495421 City of Columbus                                         3rd Floor                                   Columbus           GA   31901                    First Class Mail
                                                                  Attn: Zach Klein, City Attorney
29486562 City of Columbus                                         77 North Front Street                       Columbus           OH   43215                    First Class Mail
29487804 City Of Columbus Treasurer                               90 West Broad St                            Columbus           OH   43215                    First Class Mail

                                                                  Attn: Valerie Kolczynski, City Attorney
29495497 City of Concord                                          PO Box 308                                  Concord            NC   28026                    First Class Mail

                                                                  Attn: Charles Finkenbinder, City Attorney
29486618 City of Conway                                           1234 Main Street                          Conway               AR   72034                    First Class Mail

                                                                  Attn: Carrie Bootcheck, City Attorney
                                                                  Conyers City Hall
29495448 City of Conyers                                          901 O'Kelly Street                      Conyers                GA   30012                    First Class Mail
                                                                  Attn: David Brodie, City Attorney
29495563 City of Coon Rapids                                      11155 Robinson Drive                    Coon Rapids            MN   55433                    First Class Mail
                                                                  Attn: Director, Legal & Risk Management
                                                                  Department
                                                                  400 S Vicentia Ave
29486733 City of Corona                                           Suite 310                               Corona                 CA   92882                    First Class Mail
                                                                  Attn: Miles Risely, City Attorney
29495521 City of Corpus Christi                                   1201 Leopard Street                     Corpis Christi         TX   78401                    First Class Mail

                                                                  Attn: Christopher Millea, City Solicitor
                                                                  City Hall, Room 300
29495523 City of Cranston                                         869 Park Avenue                             Cranston           RI   02910                    First Class Mail




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ADRID                                            NAME                            ADDRESS                               CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  ATTN: STACI GIST, FINANCE CLERK
29480008 City of Cranston                                         5 GARFIELD AVENUE                          CRANSTON         RI   02920                    First Class Mail
29480001 City Of Cranston Tax Collector                           PO BOX 1177                                PROVIDENCE       RI   02901                    First Class Mail

                                                                  Attn: Tammy L. Palomino, City Attorney
                                                                  1500 Marilla Street
29495519 City of Dallas                                           Room 7DN                               Dallas               TX   75201                    First Class Mail
                                                                  Attn: W. Clarke Whitfield, Jr, City
                                                                  Attorney
29495445 City of Danville                                         PO Box 3300                            Danville             VA   24543                    First Class Mail

                                                                  Attn: Katherine S. Janega, City Attorney
29495562 City of Darien                                           1702 Plainfield Road                       Darien           IL   60561                    First Class Mail
                                                                  Attn: Brian Heyer, Interim Corporation
                                                                  Counsel
29495436 city of Davenport                                        226 West 4th Street                        Davenport        IA   52801                    First Class Mail
                                                                  Attn: Barbara Doseck, Director of Law
                                                                  Department
29495491 City of Dayton                                           101 W. Third St.                           Dayton           OH   45402                    First Class Mail
                                                                  Attn: Barbara Doseck, Law Director
                                                                  City Hall, Third Floor
29486570 City of Dayton                                           101 W. Third St.                           Dayton           OH   45402                    First Class Mail
                                                                  Attn: Benjamin Gross, City Attorney
29486632 City of Daytona Beach                                    301 S. Ridgewood Avenue                    Daytona Beach    FL   32114                    First Class Mail
                                                                  Attn: Bryan Downs, City Attorney
29486689 City of Decatur                                          509 North McDonough St.                    Decatur          GA   30030                    First Class Mail

                                                                  Attn: WendyMorthland, City Attorney
29495513 City of Decatur                                          1 Gary K. Anderson Plaza                   Decatur          IL   62523                    First Class Mail
                                                                  Attn: Natalia Harris, City Attorney
29486687 City of Delaware                                         1 South Sandusky Street                    Delaware         OH   43015                    First Class Mail
                                                                  Attn: Stephanie Bond Hulett, City
                                                                  Attorney
29495544 City of Denham Springs                                   116 North Range Ave.                       Denham Springs   LA   70726                    First Class Mail
                                                                  Attn: Richard Buturla, City Attorney
                                                                  Berchem Moses law
29495576 City of Derby                                            75 Broad Street                            Milford          CT   06460                    First Class Mail
29487863 City Of Des Plaines                                      1420 MINER ST                              DES PLAINES      IL   60016                    First Class Mail
                                                                  Attn: Kevan Kelly, City Attorney
                                                                  Dothan's City Center
                                                                  126 N Saint Andrews Street
29495437 City of Dothan                                           Suite 209                                  Dothan           AL   36303                    First Class Mail
                                                                  Attn: Joel Dodson, City Attorney
29495405 City of Douglasville                                     6695 Church St.                            Douglasville     GA   30134                    First Class Mail
                                                                  Attn: Duke Groover, City Attorney
                                                                  PO Box 690
29486692 City of Dublin                                           100 South Church Street                    Dublin           GA   31040                    First Class Mail




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ADRID                                            NAME                             ADDRESS                               CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                  Attn: Arturo G. Michel, City Attorney
                                                                  City of Houston Legal Department
29486691 City of East Houston                                     900 Bagby, 4th Floor                       Houston           TX   77002                    First Class Mail

                                                                  Attn: Michael T. Fackler, City Attorney
29486684 City of East Jacksonville                                117 W. Duval Street, Suite 480             Jacksonville      FL   32202                    First Class Mail
                                                                  Attn: Julie M. Kriegh?, City Attorney
                                                                  200 West Washington Street
29486685 City of East Phoenix                                     13th Floor                                 Phoenix           AZ   85003                    First Class Mail
                                                                  Attn: Law Department
29486683 City of Eastlake                                         35150 Lakeshore Boulevard                  Eastlake          OH   44095                    First Class Mail
                                                                  Attn: City Attorney
29486598 City of El Paso                                          300 N. Campbell St.                        El Paso           TX   79901                    First Class Mail
                                                                  Attn: City Attorney
29486599 City of El Paso                                          PO Box 1890                                El Paso           TX   79901                    First Class Mail
                                                                  Attn: Ken Howard, City Attorney
                                                                  3rd floor of City Hall
29486623 City of Elizabethtown                                    200 West Dixie Ave.                        Elizabethtown     KY   42701                    First Class Mail

                                                                  Attn: Amanda R. Deery, City Attorney
29495530 City of Elyria                                           131 Court Street                           Elyria            OH   44035                    First Class Mail
                                                                  Attn: City Solicitor
                                                                  Office of the City Solicitor
                                                                  Commonwealth Keystone Building
29495400 City of Erie                                             400 North Street, 4th Floor                Harrisburg        PA   17120                    First Class Mail

                                                                  Attn: City Attorney
29495388 City of Evansville                                       1 N.W. Martin Luther King Jr. Boulevard Evansville           IN   47708‐1833               First Class Mail
                                                                  10455 Armstrong St
29487658 City of Fairfax Tax Assessor's Office                    Rm 234                                  Fairfax              VA   22030                    First Class Mail
29480023 City of Fairlawn Finance Dept                            3487 S Smith Rd                         Fairlawn             OH   44333                    First Class Mail

                                                                  Attn: Andrew Hoerner, City Attorney
29495479 City of Fairview Heights                                 5111 West Main                             Belleville        IL   62226                    First Class Mail

                                                                  Attn: Bradford L. Kilby, City Attorney
29486720 City of Fall River                                       1846 Robeson Street                        Fall River        MA   02720                    First Class Mail

                                                                  Attn: Lachelle H. Pulliam, City Attorney
29495467 City of Fayetteville                                     433 Hay Street                             Fayetteville      NC   28301                    First Class Mail
                                                                  Attn: Erin P. Seele, City Attorney
29486716 City of Fenton                                           625 New Smizer Mill Road                   Fenton            MO   63026                    First Class Mail

                                                                  Attn: William Kim, Chief Legal Officer
29495446 City of Flint                                            1101 S. Saginaw St. 3rd Floor              Flint             MI   48502                    First Class Mail
29487805 City Of Florence                                         8100 EWING BLVD                            FLORENCE          KY   41042                    First Class Mail

                                                                  Attn: Thomas Nienaber, CIty Attorney
29486565 City of Florence                                         8100 Ewing Boulevard                       Florence          KY   41042                    First Class Mail



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ADRID                                            NAME                             ADDRESS                                 CITY   STATE POSTALCODE      EMAIL       METHOD OF SERVICE
29479867 City of Florence Property Appraiser                      8100 Ewing Blvd                              Florence          KY   41042                    First Class Mail

                                                                  Attn: D'Wayne M. Spence, City Attorney
29486661 City of Fort Lauderdale                                  1 East Broward Blvd., Suite 1320             Fort Lauderdale   FL   33301                    First Class Mail
                                                                  Attn: City Attorney
                                                                  2200 Second Street
29486572 City of Fort Myers                                       3rd Floor                                    Fort Myers        FL   33901                    First Class Mail
                                                                  Attn: Malak Heiny, City Attorney
                                                                  Citizens Square, 200 East Berry St., Suite
29486569 City of Fort Wayne                                       425                                          Fort Wayne        IN   46802                    First Class Mail
                                                                  FORT WAYNE VIOLATIONS BUREAU
29480029 City of Fort Wayne                                       200 E BERRY STREET, SUITE 110                FORT WAYNE        IN   46802                    First Class Mail

                                                                  Attn: Rita Howard Watkins, City Attorney
                                                                  101 South 10th St
29495450 City of Forth Smith                                      Police Department Building               Fort Smith            AR   72901                    First Class Mail

                                                                  Attn: Leann D. Guzman, City Attorney
                                                                  City Hall
29486651 City of Forth Worth                                      200 Texas Street                             Fort Worth        TX   76102                    First Class Mail
                                                                  Attn: Laura Ross, City Attorney
29486701 City of Frankfort                                        315 W. Second Street                         Frankfort         KY   40601                    First Class Mail

                                                                  Attn: Kathleen Dooley, City Attorney
29495444 City of Fredericksburg                                   PO Box 7447                                  Fredericksburg    VA   22404                    First Class Mail
                                                                  Attn: Andrew Janz, City Attorney
29486731 City of Fresno                                           2600 Fresno Street                           Fresno            CA   93721                    First Class Mail
                                                                  Attn: Daniel Nee, City Attorney
29495503 City of Gainesville                                      200 East University Ave.,Room 425            Gainesville       FL   32601                    First Class Mail

                                                                  Attn: Lloyd Ashley Smith, City Attorney
29486609 City of Gastonia                                         181 S. South Street                          Gastonia          NC   28052                    First Class Mail

                                                                  Attn: Christopher Paine, City Attorney
29495573 City of Gilbert                                          50 E Civic Center Drive                      Gilbert           AZ   85296                    First Class Mail

                                                                  Attn: Michael D. Bailey, City Attorney
                                                                  Glendale City Attorney's Office
29495428 City of Glendale                                         Suite 450                                    Glendale          AZ   85301                    First Class Mail
                                                                  Attn: City Attorney
29486671 City of Goodlettsville                                   105 S Main Street                            Goodlettsville    TN   37072                    First Class Mail

                                                                  Attn: Maleshia McGinnis, City Attorney
29495422 City of Grand Prairie                                    300 W Main Street                            Grand Prairie     TX   75050                    First Class Mail
                                                                  Attn: Anita Hitchcock, City Attorney
                                                                  300 Monroe Ave NW
29495391 City of Grand Rapids                                     Suite 620                                    Grand Rapids      MI   49503                    First Class Mail
                                                                  Attn: City Attorney
                                                                  100 N Jefferson Street
29495418 City of Green Bay                                        Room 200                                     Green Bay         WI   54301                    First Class Mail



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ADRID                                            NAME                             ADDRESS                              CITY      STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: Leigh Paoletti, City Attorney
                                                                  206 S Main Street
29486592 City of Greenville                                       9th Floor                                  Greenville         SC    29602                    First Class Mail
29487817 City of Grosse Pointe                                    17147 MAUMEE AVENUE                        GROSSE POINTE PARK MI    48230                    First Class Mail
                                                                  Attn: Jason morton, City Attorney
29486590 City of Hagerstown                                       City Hall, 1 East Franklin St.             Hagerstown          MD   21740‐4817               First Class Mail
                                                                  Attn: Office of the City Solicitor
29486580 City of Harrisburg                                       10 N. 2nd St. Suite 402                    Harrisburg          PA   17101                    First Class Mail
29487846 City Of Haverhill                                        4 SUMMER STREET RM 210                     HAVERHILL           MA   01830                    First Class Mail
                                                                  Attn: City Attorney
29495514 City of Helena                                           816 Highway 52 East                        Helena              AL   35080                    First Class Mail
                                                                  Attn: Nicholas Vaskov, City Attorney
29495493 City of Henderson                                        240 S. Water St.                           Henderson           NV   89015                    First Class Mail
29480010 City of Hermitage                                        800 N. HERMITAGE ROAD                      HERMITAGE           PA   16148                    First Class Mail

                                                                  Attn: Timothy Swanson, City Attorney
29495440 City of Hickory                                          76 North Center St                         Hickory             NC   28601                    First Class Mail

                                                                  Attn: Phillip A Noblett, City Attorney
                                                                  Suite 200 2nd Floor City Hall
29495566 City of Hixson                                           Annex 100 E. 11th Street                   Chattanooga         TN   37402                    First Class Mail
                                                                  Attn: Law Department
29486704 City of Hooksett                                         35 Main Street                             Hooksett            NH   03106                    First Class Mail
                                                                  Attn: Law Department
29486703 City of Horn Lake                                        3101 Goodman Road                          Horn Lake           MS   38637                    First Class Mail
                                                                  Attn: John P. Mustico, City Attorney
29495551 City of Horseheads                                       150 Wygant Road                            Horseheads          NY   14845                    First Class Mail
                                                                  Attn: Arturo Michel, City Attorney
29486652 City of Houston                                          PO Box 368                                 Houston             TX   77001‐0368               First Class Mail
                                                                  Attn: Scott Damron, City Attorney
                                                                  800 Fifth Avenue
29495517 City of Huntington                                       Room 114                                   Huntington          WV   25701                    First Class Mail
                                                                  Attn: Trey Riley, City Attorney
29486674 City of Huntsville                                       305 Fountain Circle 5th Floor              Huntsville          AL   35801                    First Class Mail
                                                                  Attn: City Attorney
                                                                  Law Department
29495435 City of Independence                                     111 E Maple Ave                            Independence        MO   64050                    First Class Mail
                                                                  200 E WASHINGTON STREET, ROOM
29480013 City of Indianapolis                                     2260                                       INDIANAPOLIS CITY   IN   46204                    First Class Mail
                                                                  Attn: Matthew K. Giffin, Office of
                                                                  Corporation Counsel
                                                                  City‐County Building
                                                                  200 E. Washington St.
29495397 City of Indianapolis                                     Suite 1601                                 Indianapolis        IN   46204                    First Class Mail
                                                                  Attn: City Attorney
29486690 City of Jackson                                          391 South Royal St                         Jackson             TN   38301                    First Class Mail
                                                                  Attn: Michael T. Fackler, General
                                                                  Counsel
                                                                  117 W. Duval Street
29486654 City of Jacksonville                                     Suite 480                                  Jacksonville        FL   32202                    First Class Mail



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ADRID                                            NAME                             ADDRESS                               CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: Ryan Moehlman, City Attorney
29486615 City of Jefferson City                                   320 E. McCarty St                           Jefferson City   MO   65101                    First Class Mail
                                                                  Attn: Diana Campos, City Attorney
29495546 City of Johnstown                                        401 Main Street                             Johnstown        PA   15901                    First Class Mail
                                                                  Attn: Carol Duncan, City Attorney
29495538 City of Jonesboro                                        410 W. Washington Ave.                      Jonesboro        AR   72401                    First Class Mail
                                                                  Attn: Peter Edwards, City Attorney
29495451 City of Joplin                                           602 S. Main St.                             Joplin           MO   64801                    First Class Mail
                                                                  Attn: City Attorney
                                                                  City Hall
                                                                  414 East 12th Street
29486631 City of Kansas City                                      23rd Floor                                  Kansas City      MO   64106                    First Class Mail
                                                                  Attn: City Attorney
29495565 City of Kettering                                        2325 Wilmington Pike                        Kettering        OH   45420                    First Class Mail

                                                                  Attn: Rodney B. Rowlett III, City Attorney
29495464 City of Kingsport                                        225 W Center St                            Kingsport         TN   37660                    First Class Mail
                                                                  Attn: Charles Swanson, Law Director
29495402 City of Knoxville                                        400 Main Street                            Knoxville         TN   37902                    First Class Mail
                                                                  Attn: Glenn Sabine, City Attorney
29486719 City of La Mesa                                          8130 Allison Avenue                        La Mesa           CA   91942                    First Class Mail

                                                                  Attn: Jacque Chosnek, Department Head
29486576 City Of Lafayette                                        515 Columbia Street                   Lafayette              IN   47901                    First Class Mail

                                                                  Attn: Patrick S. Ottinger, City Attorney
29486637 City of Lafayette                                        705 West University Avenue                  Lafayette        LA   70502                    First Class Mail

                                                                  Attn: Patrick S. Ottinger, City Attorney
29495477 City of Lafayette                                        PO Box 4017‐C                               Lafayette        LA   70502                    First Class Mail

                                                                  Attn: Patrick S. Ottinger, City Solicitor
29495476 City of Lafayette                                        705 West University Avenue                  Lafayette        LA   70502                    First Class Mail
                                                                  Attn: Palmer Davis, City Attorney
                                                                  City Attorney's Office
29486573 City of Lakeland                                         228 S Massachusetts Avenue                  Lakeland         FL   33801                    First Class Mail

                                                                  Attn: Barry Handwerger, City Solicitor
                                                                  120 North Duke St.
29495443 City Of Lancaster                                        PO Box 1599                                 Lancaster        PA   17608                    First Class Mail
                                                                  Attn: Gregory Venker, City Attorney
                                                                  124 W Michigan Avenue
29495553 City of Lansing                                          5th Floor                                   Lansing          MI   48933                    First Class Mail
                                                                  Attn: Jeff Dorocak, City Attorney
29486644 City of Las Vegas                                        495 S. Main St.                             Las Vegas        NV   89101                    First Class Mail
29480053 City of Lawrence                                         200 Common St                               Lawrence         MA   01840                    First Class Mail
                                                                  Attn: City Attorney
                                                                  City Hall
29486614 City of Lawton                                           212 SW 9th Street                           Lawton           OK   73501                    First Class Mail




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ADRID                                            NAME                            ADDRESS                               CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: Clinton Drake, City Attorney
                                                                  Legal Department
29486628 City of Layton                                           437 N Wasatch Dr                           Layton           UT   84041                    First Class Mail
                                                                  25 West St
29479869 City of Leominster Tax Assessor's Office                 Rm 9                                       Leominster       MA   01453                    First Class Mail
                                                                  Attn: Corporate Counsel
29486560 City of Lexington                                        200 E. Main st.                            Lexington        KY   40507                    First Class Mail

                                                                  Attn: John Studenmund, City Attorney
29495498 City of Lexington                                        44 West Main Street                        Lexington        OH   44904                    First Class Mail
                                                                  Attn: Anthony Geiger, Law Director
                                                                  202 East High Street
29495387 City of Lima                                             2nd Floor                                  Lima             OH   45801                    First Class Mail
                                                                  Attn: Thomas M. Carpenter, City
                                                                  Attorney
                                                                  500 West Markham Street
29486617 City of Little Rock                                      Suite 310                                  Little Rock      AR   72201                    First Class Mail
29479990 City Of Livonia                                          33000 CIVIC CENTER DRIVE                   LIVONIA          MI   48154                    First Class Mail
                                                                  Attn: Carter Fisher, City Attorney
29486725 City of Livonia                                          33000 Civic Center Drive                   Livonia          MI   48154                    First Class Mail
29487866 City of Lorain ‐ Alarm                                   PO Box 6112                                Concord          CA   94524                    First Class Mail

                                                                  Attn: Mike O' Connell, County Attorney
29495390 City of Louisville                                       500 W. Jefferson St. Suite 1000            Louisville       KY   40202                    First Class Mail
                                                                  Attn: Gino Galluzzo, City Attorney
29495516 City of Loves Park                                       100 Heart Boulevard                        Loves Park       IL   61111                    First Class Mail
                                                                  Attn: Mitch Satterwhite, Interim City
                                                                  Attorney
29486600 City of Lubbock                                          PO Box 2000                                Lubbock          TX   79457‐0001               First Class Mail
                                                                  Attn: Bethany A. S. Harrison, City
                                                                  Attorney
29495462 City of Lynchburg                                        900 Church Street                          Lynchburg        VA   24504                    First Class Mail
29480038 City of Lyndhurst                                        5301 Mayfield Rd                           Lyndhurst        OH   44124                    First Class Mail
                                                                  Attn: Kevin D Obos, City Attorney
                                                                  Hand Arendall Harrison Sale LLC
29495506 City of Lynn Haven                                       304 Magnolia Ave                           Panama City      FL   32401                    First Class Mail
                                                                  Attn: City Attorney
                                                                  700 Poplar Street
                                                                  Room 309
29495423 City of Macon                                            PO Box 247                                 Macon            GA   31201                    First Class Mail
                                                                  Attn: Michael Haas, City Attorney
                                                                  210 MLK, Jr. Blvd.
                                                                  Room 401
29486575 City of Madison                                          City‐County Bldg.                          Madison          WI   53703                    First Class Mail
                                                                  Attn: William Joseph Jenner, City
                                                                  Attorney
                                                                  Jenner,Pattison & Sharpe
29486700 City of Madison                                          508 E. Main St                             Madison          IN   47250                    First Class Mail
                                                                  Attn: Doug Haynie, City Attorney
29495396 City of Marietta                                         222 Washington Ave NE                      Marietta         GA   30060                    First Class Mail



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ADRID                                            NAME                             ADDRESS                               CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                  Attn: Justice W Richard, City Attorney
29495501 City of Massillon                                        2 James Duncan Plaza                        Massillon        OH   44646                    First Class Mail
                                                                  Attn: Issac Tawil, City Attorney
                                                                  1300 Houston Avenue
29486714 City of McAllen                                          2nd Floor ‐ City Hall                       McAllen          TX   78501                    First Class Mail


                                                                  Attn: Patrick D. Kenneally, City Attorney
                                                                  McHenry County Government Center
29486724 City of McHenry                                          2200 North Seminary Ave.                    Woodstock        IL   60098                    First Class Mail
                                                                  Attn: City Attorney
                                                                  City Hall
                                                                  Second Floor, Room 260
29486627 City of Medford                                          411 W 8th Street                            Medford          OR   97501                    First Class Mail
                                                                  TREASURER/COLLECTOR
29487821 City Of Medford                                          85 GEORGE P HASSETT DR                      MEDFORD          MA   02155                    First Class Mail
                                                                  Attn: Michael Pizzi, City Attorney
29486730 City of Medley                                           777 NW 72nd Ave                             Medley           FL   33166                    First Class Mail
                                                                  Attn: City Attorney
                                                                  City Attorney's Office
                                                                  900 E. Strawbridge Ave.
29486574 City of Melbourne                                        City Hall, Fifth Floor                      Melbourne        FL   32901                    First Class Mail

                                                                  Attn: Jennifer A. Sink, Chief Legal Officer
29495408 City of Memphis                                          125 N. Main St. Room 336                    Memphis          TN   38103                    First Class Mail
29487656 City of Memphis Tax Assessor's Office                    125 North Main St                           Memphis          TN   38103                    First Class Mail
                                                                  Attn: Jim Smith, City Attorney
                                                                  City Attorney's Civil Office
                                                                  MS‐1077
29495429 City of Mesa                                             PO Box 1466                                 Mesa             AZ   85211                    First Class Mail

                                                                  Attn: David L. Paschall, City Attorney
29495475 City of Mesquite                                         PO Box 850137                               Mesquite         TX   75185                    First Class Mail

                                                                  Attn: Michele H. Dufrene, City Attorney
                                                                  1801 Willams Boulevard
29486681 City of Metairie                                         Building C, 3rd Floor                       Kenner           LA   70062                    First Class Mail
                                                                  Attn: George K. Wysong, III, City
                                                                  Attorney
29486662 City of Miami                                            3500 Pan American Drive                     Miami            FL   33133                    First Class Mail
                                                                  Attn: Evan Goyke, City Attorney
                                                                  City Hall
                                                                  200 E. Wells Street
29495507 City of Milwaukee                                        Room 800                                    Millwaukee       WI   53202                    First Class Mail

                                                                  Attn: John J. Roggeman,City Attorney
29495389 City Of Mishawaka                                        100 Lincolnway W                            Mishawaka        IN   46544                    First Class Mail




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ADRID                                            NAME                             ADDRESS                               CITY       STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: Ricardo Woods, City Attorney
                                                                  Mobile Municipal Court
29486578 City of Mobile                                           PO Box 2446                                  Mobile              AL   36652                    First Class Mail
                                                                  REVENUE DEPARTMENT
29480060 City of Mobile                                           PO BOX 3065                                  MOBILE              AL   36652‐3065               First Class Mail
                                                                  Attn: Jose M. Sanchez, City Attorney
29486717 City of Modesto                                          1010 10th Street Suite 6300                  Modesto             CA   95354                    First Class Mail

                                                                  Attn: Matthew D. Budds, City Attorney
29486679 City of Monroe                                           120 East First Street                        Monroe              MI   48161                    First Class Mail
                                                                  Attn: City Attorney
                                                                  City Attorney's Office
29495403 City of Montgomery                                       City Hall 103 North Perry Street             Montgomery          AL   36104                    First Class Mail
                                                                  Attn: Louis Vinay, City Attorney
                                                                  305 E. Union St.
29495449 City of Morganton                                        Suite A100                                   Morganton           NC   28655                    First Class Mail

                                                                  Attn: Winston Denmark, City Attorney
29495393 City of Morrow                                           1500 Morrow Rd                               Morrow              GA   30260                    First Class Mail

                                                                  Attn: Brandon E. Murphy, City Attorney
                                                                  Cannon Bruns & Murphy, LLC
29486586 City Of Muncie                                           119 North High Street                        Muncie              IN   47305                    First Class Mail
                                                                  Attn: John C. Schrier, City Attorney
                                                                  Parmenter Law
29495460 City of Muskegon                                         601 Terrace Street                           Muskegon            MI   49440                    First Class Mail

                                                                  Attn: William A. Bryan, Jr., City Attorney
                                                                  PO Box 2468
29495417 City of Myrtle beach                                     2nd Floor                                  Myrtle Beach          SC   29578                    First Class Mail

                                                                  Attn: William A. Bryan, Jr., City Attorney
29495416 City of Myrtle Beach                                     PO Box 2468                                  Myrtle Beach        SC   29578                    First Class Mail
                                                                  Attn: Amy Fields, City Attorney
29495535 City of N Little Rock                                    116 Main Street                              North Little Rock   AR   72119                    First Class Mail
                                                                  Attn: Michael DiSanto, City Attorney
29486735 City of Naperville                                       400 S. Eagle Street                          Naperville          IL   60540                    First Class Mail
                                                                  Attn: Wallace Dietz, Director of Law
                                                                  Department
                                                                  Historic Metro Courthouse
                                                                  1 Public Square
29486655 City of Nashville                                        Suite 108, Department of Law                 Nashville           TN   37201                    First Class Mail
                                                                  Attn: Shane L. Gibson, City Attorney
                                                                  142 East Main Street
29486699 City of New Albany                                       Suite 310                                    New Albany          IN   47150                    First Class Mail
29487581 City Of New Orleans                                      PO BOX 62600 DEPT 165025                     NEW ORLEANS         LA   70162‐2600               First Class Mail
29487881 City of New York                                         280 Broadway, 1st Floor                      New York            NY   10007                    First Class Mail
                                                                  Attn: Paul Bilodeau, City Attorney
29486721 City of Newark                                           220 South Main Street                        Newark              DE   19711                    First Class Mail




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ADRID                                            NAME                             ADDRESS                               CITY      STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                  Attn: Anthony Palermino, City Attorney
29495558 City of Newington                                        200 Garfield Street                         Newington           CT   06111                    First Class Mail

                                                                  Attn: Collins L. Owens Jr., City Attorney
                                                                  2400 Washington Ave.
29495409 City of Newport News                                     9th Floor, City Hall                        Newport News        VA   23607                    First Class Mail
                                                                  Attn: Phil Zuzolo, City Attorney
29495463 City of Niles                                            34 West State Street                        Niles               OH   44446                    First Class Mail

                                                                  Attn: J. Patrick O'Brien, City Attorney
                                                                  Thompson O'Brien
29486667 City of Norcross                                         2 Sun Court, Suite 400                      Peachtree Corners   GA   30092                    First Class Mail
                                                                  Attn: City Attorney
                                                                  810 Union Street
29486582 City of Norfolk                                          Suite 900                                   Norfolk             VA   23510                    First Class Mail
                                                                  Attn: City Attorney
                                                                  810 Union Street
29486583 City of Norfolk                                          Suite 900                                   Norfolk             VA   68701                    First Class Mail
                                                                  Attn: City Attorney
                                                                  PO Box 370
29486697 City of Norman                                           201 West Gray                               Norman              OK   73070                    First Class Mail
                                                                  Attn: City Attorney
29495411 City of North Charleston                                 2500 City Hall Ln                           North Charleston    SC   29406                    First Class Mail
                                                                  Attn: Michael R. Gareau, Jr, Director of
                                                                  Law
29495480 City of North Olmsted                                    5200 Dover Center Road                      North Olmsted       OH   44070                    First Class Mail
                                                                  Attn: Edward A. Zebulske III, City
                                                                  Attorney
29486660 City of North Tonawanda                                  216 Payne Ave                               North Tonawanda     NY   14120                    First Class Mail
                                                                  Attn: Brad Bryan, City Attorney
29495502 City of Northfield                                       10455 Northfield Rd                         Northfield          OH   44067                    First Class Mail
                                                                  Attn: Ron Davis, City Attorney
29495527 City of Northport                                        3500 McFarland Boulevard                    Northport           AL   35476                    First Class Mail
                                                                  Attn: William Sexton, City Attorney
29495500 City of Ocala                                            110 SE Watula Ave.                          Ocala               FL   34471                    First Class Mail

                                                                  Attn: John Peter Mullen, City Attorney
29495574 City of Oceanside                                        300 N Coast Hwy                             Oceanside           CA   92054                    First Class Mail
                                                                  Attn: City Attorney
29486711 City of Ogden                                            2549 Washington Blvd.                       Ogden               UT   84401                    First Class Mail

                                                                  Attn: Clayton Eubanks, General Counsel
                                                                  2915 N. Classen Blvd.
29495468 City of Oklahoma City                                    Suite 213                              Oklahoma City            OK   73106                    First Class Mail
29479993 City of Omaha                                            1819 FARNAM STREET, SUITE 1100         OMAHA                    NE   68183                    First Class Mail
                                                                  Attn: Ruben Duran, City Attorney
                                                                  Best Best & Krieger LLP.
29486722 City of Ontario                                          2855 E. Guasti Rd., Suite 400          Ontario                  CA   91761                    First Class Mail




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ADRID                                            NAME                            ADDRESS                             CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: City Attorney
29486713 City of Orem                                             56 N State St                            Orem             UT   84057                    First Class Mail

                                                                  Attn: Mayanne Downs, City Attorney
                                                                  City Hall
29486566 City of Orlando                                          400 South Orange Ave                     Orlando          FL   32801                    First Class Mail
                                                                  Attn: Cole Bradbury, City Attorney
29486702 City of Osage Beach                                      1000 City Parkway                        Osage Beach      MO   65065                    First Class Mail
                                                                  Attn: Mark Pfeifer, City Attorney
29486698 City of Owensboro                                        101 East 4 Street                        Owensboro        KY   42303                    First Class Mail
                                                                  Attn: City Attorney
                                                                  City's Attorney Office
                                                                  38300 Sierra Highway
29486635 City of Palmdale                                         Suite A                                  Palmdale         CA   93550                    First Class Mail
                                                                  Attn: City Attorney
29486675 City of Palmetto                                         516 8th Avenue W                         Palmetto         FL   34221                    First Class Mail
                                                                  Attn: C. Blaine Myers, City Attorney
29486709 City of Parkersburg                                      1 Government Square                      Parkersburg      WV   26102                    First Class Mail
                                                                  Attn: Darrin M. Coker, City Attorney
                                                                  City hall
29486604 City of Pearland                                         3519 Liberty Dr.                         Pearland         TX   77581                    First Class Mail
                                                                  Attn: Adam Cobb, City Attorney
                                                                  222 W. Main St.
29486571 City of Pensacola                                        Seventh Floor                            Pensacola        FL   32502                    First Class Mail
                                                                  Attn: Hayes, Patrick, Corporation
                                                                  Counsel
                                                                  419 Fulton Street
29495459 City of Peoria                                           Room 403                                 Peoria           IL   61602                    First Class Mail
                                                                  Attn: Renee Garcia, City Solicitor
                                                                  1515 Arch St.
29495474 City of Philadelphia                                     17th Floor                               Philadelphia     PA   19102                    First Class Mail
                                                                  Attn: City Attorney
                                                                  Phoenix City Hall
29486638 City of Phoenix                                          200 West Washington Street               Phoenix          AZ   85003                    First Class Mail
                                                                  Attn: Frank Patrizio, City Attorney
29495540 City of Piqua                                            201 W Water Street                       Piqua            OH   45356                    First Class Mail
                                                                  Attn: City Solicitor
                                                                  City‐County Building
29486567 City of Pittsburgh                                       414 Grant St                             Pittsburgh       PA   15219                    First Class Mail
                                                                  CITY CLERKS OFFICE
29487851 City of Pittsfield                                       70 ALLEN ST STE 103                      PITTSFIELD       MA   01201‐6267               First Class Mail

                                                                  Attn: Roxann Cotroneo , City Attorney
29486710 City of Port Arthur                                      444 4th Street                           Port Arthur      TX   77640                    First Class Mail

                                                                  Attn: Matthew J. Jones, City Attorney
29486663 City of Port Orange                                      100 City Center Circle                   Port Orange      FL   32129                    First Class Mail
                                                                  Attn: Richard Berrios, City Attorney
29486682 City of Port St Lucie                                    121 SW Port St.Lucie Blvd.               Port St. Lucie   FL   34984                    First Class Mail
29487809 City of Portage                                          7900 S WESTNEDGE AVE                     PORTAGE          MI   49002‐5117               First Class Mail



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ADRID                                            NAME                            ADDRESS                              CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: City Attorney
29495407 City of Portage                                          7900 South Westnedge Avenue              Portage           MI   49002                    First Class Mail
                                                                  Attn: Dan L. Whitten, City Attorney
                                                                  Whitten & Whitten
29486718 City of Portage                                          6183 Central Ave                         Portage           IN   46368                    First Class Mail
                                                                  Attn: Rob Riddle, City Attorney
29495548 City of Prattville                                       400 S Union St, Ste 395                  Montgomery        AL   36104                    First Class Mail
                                                                  Attn: City Attorney
                                                                  City Attorney's Office
29486630 City of Pueblo                                           1 City Hall Place                        Pueblo            CO   81003                    First Class Mail
                                                                  C/O FINANCE DEPT
29487536 City of Pueblo                                           PO BOX 1427                              PUEBLO            CO   81002‐1427               First Class Mail
                                                                  1305 Hancock St
29480016 City of Quincy, MA                                       2nd Floor                                Quincy            MA   02169                    First Class Mail
29480049 City Of Quincy‐Wgts & Measures                           1305 Hancock St, 2nd Floor               Quincy            MA   02169                    First Class Mail
                                                                  Attn: Karen Musgrave McDonald, City
                                                                  Attorney
29495494 City of Raleigh                                          One Exchange Plaza                       Raleigh           NC   27601                    First Class Mail
                                                                  Attn: Adam Lindgren, City Attorney
29486715 City of Rancho Cordova                                   2729 Prospect Park Drive                 Rancho Cordova    CA   95670                    First Class Mail
                                                                  Attn: Chris Shook, City Attorney
29486723 City of Reynoldsburg                                     7232 East Main Street                    Reynoldsburg      OH   43068                    First Class Mail
                                                                  Attn: Laura K. Drewry, City Attorney
                                                                  900 E. Broad Street
29495415 City of Richmond                                         Chesterfield, VA 23832                   Richmond          VA   23219                    First Class Mail
                                                                  Attn: Laura K. Drewry, City Attorney
                                                                  900 E. Broad Street
29486645 City of Richmond                                         Suite 400                                Richmond          VA   23219                    First Class Mail
                                                                  Attn: Dawn Wynn, City Attorney
29495504 City of Rivierabeach                                     1481 W. 15th Street                      Riviera Beach     FL   33404                    First Class Mail
                                                                  Attn: Tim Spencer, City Attorney
                                                                  215 Church Avenue SW
29495420 City of Roanoke                                          Room 464                                 Roanoke           VA   24011                    First Class Mail

                                                                  Attn: Patrick Beath, Corporate Counsel
29486608 City of Rochester                                        30 Church St.                            Rochester         NY   14614                    First Class Mail
                                                                  CODE ENFORCEMENT
29487868 City of Rochester                                        31 WAKEFIELD ST                          ROCHESTER         NH   03867‐1916               First Class Mail
                                                                  Attn: Chisa Putman, Sr. Solicitor
                                                                  City Hall
29495457 City of RockHill                                         155 Johnston Street                      RockHill          SC   29730                    First Class Mail
                                                                  Attn: Jep Rose, City Attorney
                                                                  1151 Falls Road
29495455 City of Rocky Mount                                      Suite 1000                               Rocky Mount       NC   27804                    First Class Mail
                                                                  Attn: J. Anderson (Andy) Davis, City
                                                                  Attorney
                                                                  Brinson Askew Berry
29486585 City of Rome                                             615 W First St                           Rome              GA   30161                    First Class Mail




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ADRID                                             NAME                            ADDRESS                               CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                   Attn: Susana Alcala Wood, City Attorney
29486734 City of Sacramento                                        915 I Street, New City Hall, 5th Floor    Sacramento        CA   95814                    First Class Mail
                                                                   Attn: David M. Gilbert, City Attorney
                                                                   Gilbert, Smith & Borrello, P.C.
29495425 City of Saginaw                                           721 S Michigan Ave                        Saginaw           MI   48602                    First Class Mail
                                                                   Attn: Thomas Bowers, City Attorney
                                                                   Salem City Courthouse
29495533 City of Salem                                             2 East Calhoun St.                        Salem             VA   24153                    First Class Mail
                                                                   114 North Broad St
29479944 City of Salem Treasurer's Office                          City Hall                                 Salem             VA   24153                    First Class Mail
                                                                   Attn: Brandon Dyson, City Attorney
29495542 City of San Angelo                                        72 W. College Ave.                        San Angelo        TX   76903                    First Class Mail
29487890 City of San Antoinio                                      315 S SANTA ROSA ST                       SAN ANTONIO       TX   78207                    First Class Mail
29487803 City of San Antonio                                       315 S SANTA ROSA ST                       SAN ANTONIO       TX   78207                    First Class Mail
                                                                   Attn: Andy Segovia, City Attorney
                                                                   203 S. St. Mary's St.
29486589 City of San Antonio                                       2nd Floor                                 San Antonio       TX   78205                    First Class Mail
                                                                   Attn: Mara Elliott, City Attorney
29495570 City of San Diego                                         1200 Third Avenue Suite 1620              San Diego         CA   92101                    First Class Mail

                                                                   Attn: Richard Pio Roda, City Attorney
29486729 City of San Leandro                                       835 East 14th Street                      San Leandro       CA   94577                    First Class Mail

                                                                   Attn: William L. Colbert, City Attorney
                                                                   300 International Parkway
29486686 City of Sanford                                           Suite 100                                 Lake Mary         FL   32746                    First Class Mail

                                                                   Attn: Sonia R. Carvalho, City Attorney
29495571 City of Santa Ana                                         20 Civic Center Plaza                     Santa Ana         CA   92701                    First Class Mail

                                                                   Attn: Robert M. Fournier, City Attorney
29495557 City of Sarasota                                          1 So. School Avenue, Suite 700            Sarasota          FL   34237                    First Class Mail
                                                                   Attn: Bates Lovett, City Attorney
29495512 City of Savannah                                          2 East Bay Street                         Savannah          GA   31401                    First Class Mail
29479873 City of Savannah Tax Assessor's Office                    305 Fahm St                               Savannah          GA   31401                    First Class Mail
                                                                   Attn: City Attorney
29486616 City of Sedalia                                           200 South Osage Avenue                    Sedalia           MO   65301                    First Class Mail
29487801 City Of Seguin                                            205 N RIVER                               SEGUIN            TX   78155                    First Class Mail
                                                                   Attn: City Attorney
                                                                   City Hall
29486619 City of Shawnee                                           16 West 9th Street                        Shawnee           OK   74801‐6812               First Class Mail
                                                                   Attn: Jenny Smith , City Attorney
29486732 City of Shawnee                                           11110 Johnson Dr.                         Shawnee           KY   66203‐2750               First Class Mail
                                                                   Attn: Ryan Pittman, City Attorney
                                                                   220 West Mulberry
29486712 City of Sherman                                           PO Box 1106                               Sherman           TX   75092                    First Class Mail
                                                                   Attn: Steve Cobb, City Attorney
29495536 City of Sherwood                                          2199 E. Kiehl Avenue                      Sherwood          AR   72120                    First Class Mail




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ADRID                                            NAME                             ADDRESS                                CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: Edward Marcus, City Attorney
                                                                  505 Travis Street
29486680 City of Shreveport                                       4th Floor                                  Shreveport         LA   71101                    First Class Mail

                                                                  Attn: Stephen F. Madaus, City Attorney
29486728 City of Shrewsbury                                       100 Maple Avenue                           Shrewsbury         MA   01545                    First Class Mail
                                                                  Attn: Jay Williams, City Attorney
29486694 City of Siloam Springs                                   400 N Broadway                             Siloam Springs     AR   72761                    First Class Mail
                                                                  227 West Jefferson Blvd
29487822 City of South Bend                                       Ste 1400 S                                 South Bend         IN   46601                    First Class Mail
                                                                  Attn: Jerry Canfield, City Attorney
                                                                  Daily & Woods Law
29486695 City of South Fort Smith                                 58 South 6th Street                        Fort Smith         AR   72902                    First Class Mail
29487735 City of South Lyon Assessing Department                  335 S Warren St                            South Lyon         MI   48178                    First Class Mail
                                                                  Attn: Wes Duncan, City Attorney
29495490 City of Sparks                                           430 Prater Way                             Sparks             NV   89431                    First Class Mail
                                                                  Attn: Bob Coler, City Attorney
29486594 City of Spartanburg                                      187 W Broad Street                         Spartanburg        SC   29306                    First Class Mail
                                                                  Attn: Andrew Hagen, City Attorney
                                                                  Legal Department
29486727 City of Spring                                           310 Nolan Street                           Big Spring         TX   79720                    First Class Mail
                                                                  Attn: Jordan Paul, City Attorney
                                                                  Busch Municipal Building
29495452 City of Springfield                                      840 Boonville Avenue                       Springfield        MO   65802                    First Class Mail

                                                                  Attn: Sheena Hamilton, City Attorney
                                                                  1200 Market, City Hall
29486678 City of St Louis                                         Room 314                                   St. Louis          MO   63103                    First Class Mail
                                                                  Attn: Lyndsey Olson, City Attorney
                                                                  15 Kellogg Blvd. West
29495509 City of St Paul                                          400 City Hall                              St. Paul           MN   55102                    First Class Mail
                                                                  Attn: Dandrew W.J. Dickman, City
                                                                  Attorney
29486666 City of St Petersburg                                    155 Corey Avenue                           St. Pete Beach     FL   33706                    First Class Mail

                                                                  Attn: Charles A. Riffee, City Attorney
                                                                  Caldwell & Riffee, PLLC
29495511 City of St. Albans                                       3818 MacCorkle Ave S E Ste 101             Charleston         WV   25304                    First Class Mail
                                                                  Attn: City Attorney
29495510 City of St. Albans                                       1499 MacCorkle Avenue                      St. Albans         WV   25177                    First Class Mail
29487886 City of St. Clair Shores                                 27600 Jefferson Ave                        St. Clair Shores   MI   48081                    First Class Mail
                                                                  Attn: Lisa Robertson, City Attorney
                                                                  1100 Frederick Avenue
29486622 City of St. Joseph                                       Room 307                                   St. Joseph         MO   64501                    First Class Mail

                                                                  Attn: Jeffrrey Strickland, City Attorney
29495520 City of Stone Mountain                                   875 Main Street                            Stone Mountain     GA   30083                    First Class Mail
29480039 City Of Stow                                             3760 Darrow Rd                             Stow               OH   44224                    First Class Mail




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ADRID                                            NAME                             ADDRESS                              CITY      STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  Attn: Susan R. Katzoff, Corporation
                                                                  Counsel
                                                                  233 East Washington Street
29495394 City of Syracuse                                         Suite #300                                  Syracuse           NY   13202                    First Class Mail
                                                                  Attn: Chris Bacha, City Attorney
                                                                  Tacoma Municipal Building
                                                                  747 Market Street
29495555 City of Tacoma                                           Room 1120                                   Tacoma             WA   98402                    First Class Mail
                                                                  Attn: Amy M. Toman, City Attorney
                                                                  Office of the City Attorney
                                                                  300 S Adams St
29486561 City of Tallahassee                                      # A‐5                                       Tallahassee        FL   32301‐1721               First Class Mail
                                                                  Attn: Andrea Zelman, City Attorney
                                                                  Old City Hall
                                                                  315 E. Kennedy Blvd.
29486568 City of Tampa                                            5th Floor                                   Tampa              FL   33602                    First Class Mail
                                                                  Attn: Edward D. Plato, City Attorney
                                                                  The Plato Law Firm, PLLC
29495485 City of Taylor                                           30500 Northwestern Hwy, Suite 425           Farmington Hills   MI   48334                    First Class Mail

                                                                  Attn: Gustaf R. Andreasen, City Attorney
                                                                  Taft Stettinius & Hollister LLP
29495486 City of Taylor                                           27777 Franklin Rd. Suite 2500            Southfield            MI   48034                    First Class Mail
                                                                  Attn: Eric C. Anderson, City Attorney
                                                                  21 E. Sixth Street
29495471 City of Tempe                                            Suite 201                                Tempe                 AZ   85281                    First Class Mail
                                                                  Attn: Eric C. Anderson, City Attorney
29495472 City of Tempe                                            PO Box 5002                              Tempe                 AZ   85280                    First Class Mail
                                                                  Attn: Michawl Wright, City Attorney
                                                                  City Legal Separtment
29495499 City of Terre Haute                                      17 Harding Avenue, 2nd Floor             Terre Haute           IN   47807                    First Class Mail
                                                                  Attn: Jeffery Lewis, City Attorney
29486605 City of Texarkana                                        1730 Galleria Oaks Dr                    Texarkana             TX   75503                    First Class Mail
                                                                  C/O FIRE RECOVERY USA LLC
29480042 City Of Toledo                                           PO BOX 935667                            ATLANTA               GA   31193‐5667               First Class Mail
                                                                  Attn: Amanda Stanley, City Attorney
29495430 City of Topeka                                           215 SE 7th St                            Topeka                KS   66603                    First Class Mail

                                                                  Attn: Patrick Q. Sullivan,, City Attorney
29486726 City of Torrance                                         3031 Torrance Blvd                          Torrance           CA   90503                    First Class Mail
                                                                  Attn: Seth Cohen, City Attorney
29486670 City of Trussville                                       1780 GADSDEN HWY                            Birmingham         AL   35235                    First Class Mail
                                                                  Attn: Jack Blair, City Attorney
29495465 City of Tulsa                                            175 East 2nd Street, Suite 690              Tulsa              OK   74103                    First Class Mail

                                                                  Attn: Kelly M. Fernandez, City Attorney
                                                                  Persson, Cohen, Mooney, Fernandez &
                                                                  Jackson P.A.
29495539 City of Venice                                           236 Pedro Street                            Venice             FL   34285                    First Class Mail




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ADRID                                            NAME                            ADDRESS                               CITY      STATE POSTALCODE       EMAIL      METHOD OF SERVICE
                                                                  OFFICE OF THE TREASURER
29487828 City of Vienna                                           PO BOX 5097                                VIENNA              WV    26105                    First Class Mail
                                                                  Attn: Law Department
29495561 City of Voorhees                                         2400 Voorhees Town Center                  Voorhees            NJ    08043                    First Class Mail

                                                                  Attn: Bradley J. Poudfoot, City Attorney
29486705 City of Wadsworth                                        120 Maple Street                           Wadsworth           OH    44281                    First Class Mail
29487843 City Of Waltham                                          610 MAIN STREET                            WALTHAM             MA    02452                    First Class Mail
                                                                  WEIGHTS & MEASURES
29480007 City Of Waltham Health Dept                              119 SCHOOL STREET                          WALTHAM             MA    02451                    First Class Mail
                                                                  Attn: Mary Michaels, Interim City
                                                                  Attorney
29495398 City of Warren                                           1 City Sq. Ste. 400                        Warren              MI    48093                    First Class Mail
                                                                  Attn: Law Department
29486696 City of Warrensburg                                      102 S Holden Street                        Warrensburg         MO    64093                    First Class Mail

                                                                  Attn: Martin M. Petersen, City Attorney
29486706 City of Waterloo                                         715 Mulberry Street                        Waterloo            IA    50703                    First Class Mail
29487799 City Of Waukegan                                         100 N MARTIN LUTHER KING JR                WAUKEGAN            IL    60085                    First Class Mail
                                                                  Attn: Alan Kesner, City Attorney
29495560 City of Wauwatosa                                        7725 W. North Ave.                         Wauwatosa           WI    53213                    First Class Mail
                                                                  Attn: Dick Gregg Jr., City Attorney
29495552 City of Webster                                          101 Pennsylvania                           Webster             TX    77598                    First Class Mail
29480041 City of Weirton                                          200 MUNICIPAL PLZ STE 2                    WEIRTON             WV    26062‐4599               First Class Mail
                                                                  Attn: Law Department
29486659 City of West Chester                                     9113 Cincinnati Dayton Road                West Chester Townshi OH   45069                    First Class Mail

                                                                  Attn: Thomas P. Duarte, City Attorney
29495567 City of West Covina                                      1444 W Garvey Ave S Room 305               West Covina         CA    91790                    First Class Mail

                                                                  Attn: Michael T. Fackler, City Attorney
29486669 City of West Jacksonville                                117 W. Duval Street, Suite 480             Jacksonville        FL    32202                    First Class Mail
                                                                  Attn: City Attorney
29495470 City of West Palm Beach                                  401 Clematis Street, Fifth Floor           West Palm Beach     FL    33401                    First Class Mail
                                                                  Attn: Law Department
29495534 City of West Plains                                      1910 Holiday Lane                          West Plains         MO    65775                    First Class Mail
29487850 City Of Westerville                                      21 S State St                              Westerville         OH    43081                    First Class Mail
                                                                  Attn: David Frankel, City Attorney
29486708 City of Westminster                                      4800 W. 92nd Avenue                        Westminster         CO    80031                    First Class Mail
                                                                  TAX DEPT
29487537 City of Westminster                                      45 W MAIN ST                               WESTMINSTER         MD    21157‐4818               First Class Mail

                                                                  Attn: Jennifer Magana, City Attorney
                                                                  455 N Main
29495495 City of Wichita                                          City Hall, 2nd Floor                       Wichita             KS    67202                    First Class Mail

                                                                  Attn: Kinley Hegglund, City Attorney
                                                                  1300 Seventh Street
29495453 City of Wichita                                          Room 108                                   Wichita Falls       TX    76307                    First Class Mail




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ADRID                                            NAME                              ADDRESS                             CITY         STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                    Attn: Timothy Henry, City Attorney
                                                                    2nd Floor, City Hall
29495528 City of Wilkes‐Barre                                       40 East Market Street                      Wilkes‐Barre         PA   18711                    First Class Mail
29487823 City of Willowick                                          30435 LAKESHORE BLVD.                      WILLOWICK            OH   44095                    First Class Mail

                                                                    Attn: Meredith Everhart, City Attorney
29495438 City of Wilmington                                         PO Box 1810                                Wilmington           NC   28402                    First Class Mail
                                                                    Attn: Beth Rhoton, City Attorney
29495541 City of Winchester                                         7 South High Street                        Winchester           TN   37398                    First Class Mail
                                                                    Creamery Bldg
29479892 City of Winchester Commissioner of the Revenue             21 S Kent St                               Winchester           VA   22601                    First Class Mail

                                                                    Attn: A. Kurt Ardaman, City Attorney
                                                                    Fishback Dominick
29486668 City of Winter Park                                        1947 Lee Road                              Winter Park          FL   32789                    First Class Mail
29487887 City of Wooster                                            538 North Market St                        Wooster              OH   44691                    First Class Mail

                                                                    Attn: Lori Shells Simmons, City Attorney
                                                                    City Hall
                                                                    4th Floor
29495406 City of Youngstown                                         26 South Phelps Street                     Youngstown           OH   44503                    First Class Mail
29487833 City Treasurer Columbus                                    90 West Broad St                           Columbus             OH   43215                    First Class Mail
29486873 Clark County Assessor's Office                             500 S Grand Central Pkwy                   Las Vegas            NV   89155                    First Class Mail
29487676 Clay County Property Appraiser                             477 Houston St                             Green Cove Springs   FL   32043                    First Class Mail
                                                                    121 S McDonough St, 4th Floor
29479871 Clayton County Tax Assessor's Office                       Annex 3                                    Jonesboro            GA   30236                    First Class Mail
29479801 Clear Creek Independent School District                    2425 East Main St                          League City          TX   77573                    First Class Mail
                                                                    License Department8 Church Circle‐
29487871 Clerk of Circuit Cou                                       Room H101                                  Annapolis            MD   21401                    First Class Mail
                                                                    50 Maryland Ave
29480031 Clerk of Circuit Court of Montgomery County                North Tower, 1st Floor                     Rockville            MD   20850                    First Class Mail
29487870 Clerk Of Courts                                            333 W BROADWAY STE 420                     SAN DIEGO            CA   92101‐3806               First Class Mail
29487873 CLERK OF THE CITY COURT                                    55 NORTH COURT STREET                      Westminster          MD   21157‐5155               First Class Mail
                                                                    736 Whitlock Ave
29487664 Cobb County Tax Assessor's Office                          Ste 200                                    Marietta             GA   30064                    First Class Mail
29479875 Collier County Property Appraiser                          3950 Radio Rd                              Naples               FL   34104                    First Class Mail
                                                                    OCCUPATIONAL LICENSE DEPT
29487791 Collier County Tax Collector                               2800 HORSESHOE DR N                        NAPLES               FL   34104‐6998               First Class Mail
29487594 Collin County Appraisal District                           250 Eldorado Pkwy                          McKinney             TX   75069                    First Class Mail
29479842 Colonial Heights Assessor's Office                         201 James Ave                              Colonial Heights     VA   23834                    First Class Mail
29487759 Colorado Department of Revenue                             Colorado Department of Revenue             Denver               CO   80261‐0009               First Class Mail
                                                                    30 S Nevada Ave
29479957 Colorado Springs Finance Department                        Ste 202                                    Colorado Springs     CO   80903                    First Class Mail
29487790 Columbia County Tax Collector                              135 NE HERNANDO AVE STE 125                LAKE CITY            FL   32055‐4006               First Class Mail
29487551 Commerce City Finance Department                           7887 E 60th Ave                            Commerce City        CO   80022                    First Class Mail
                                                                    700 Capital Ave
29487883 Commonwealth of Kentucky Secretary of State                Ste 152                                    Frankfort            KY   40601                    First Class Mail
29479982 Commonwealth Of Massachusetts                              PO BOX 419168                              BOSTON               MA   02241                    First Class Mail




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ADRID                                            NAME                            ADDRESS                              CITY    STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  UNCLAIMED PROPERTY
29479987 Commonwealth of Pennsylvania                             PO BOX 783473                            PHILADELPHIA       PA   19178                    First Class Mail
                                                                  60 West St
29479958 Comptroller of Maryland ‐ SUT                            Ste 102                                  Annapolis          MD   21401                    First Class Mail

                                                                  SUT Revenue Administration Division
29487584 Comptroller of Maryland ‐ SUT                            PO Box 17405                             Baltimore          MD   21297‐1405               First Class Mail
                                                                  450 Columbus Blvd
29487760 Connecticuit Department of Revenue Services              Ste 1                                    Hartford           CT   06103                    First Class Mail
                                                                  2530 Arnold Dr
29487645 Contra Costa County Assessor's Office                    Ste 100                                  Martinez           CA   94553                    First Class Mail
29487552 Cortez Finance Department                                123 Roger Smith Ave                      Cortez             CO   81321                    First Class Mail

                                                                  Attn: Eugenia Condon, County Attorney
                                                                  Harold L. Joyce Albany County Office
                                                                  Building
29486588 County of Albany                                         112 State Street, Room 600            Albany                NY   12207                    First Class Mail

                                                                  Attn: Leon Harmon, County Attorney
29486612 County of Anderson                                       101 South Main Street                    Anderson           SC   29624                    First Class Mail

                                                                  Attn: Leon Harmon, County Attorney
29486611 County of Anderson                                       PO Box 8002                              Anderson           SC   29622                    First Class Mail
                                                                  Attn: Judd Drake, County Attorney
29495439 County of Athens‐Clarke                                  155 E. Washington St.                    Athens             GA   30601                    First Class Mail
                                                                  Attn: Judd Drake, County Attorney
29486603 County of Athens‐Clarke                                  PO Box 427                               Athens             GA   30603                    First Class Mail
29480045 County of Bucks ‐ Weights & Measures                     55 E Court St, 2nd Floor                 Doylestown         PA   18901                    First Class Mail
                                                                  Attn: County Attorney
                                                                  Lonnie Hamilton III Public Service
                                                                  Building
29495412 County of Charleston                                     4045 Bridge View Drive                   North Charleston   SC   29405                    First Class Mail

                                                                  Attn: Jeffrey L. Mincks, County Attorney
                                                                  9901 Lori Road, Ramsey Administration
                                                                  Building
29486591 County of Chesterfield                                   5th Floor, Room 503                      Chesterfield       VA   23832                    First Class Mail
                                                                  Attn: Department of Law Director
                                                                  Historic Metro Courthouse
29486672 County of Davidson                                       1 Public Square, Suite 108               Nashville          TN   37201                    First Class Mail

                                                                  Attn: Jo Anne Bernal, County Attorney
                                                                  320 S. Campbell St
29486597 County of El Paso                                        2nd Floor, Suite 200                     El Paso            TX   79901                    First Class Mail
                                                                  Attn: William S. Speros, Chief County
                                                                  Solicitor
                                                                  Erie County Courthouse, Room 504
29495399 County Of Erie                                           140 West Sixth Street                    Erie               PA   16501‐1953               First Class Mail




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ADRID                                           NAME                            ADDRESS                             CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                 Attn: Mark W. Tollison, County Attorney
                                                                 301 University Ridge
                                                                 Suite N‐4000
29495484 County of Greenville                                    Greenville County Square                Greenville        SC   29601                    First Class Mail
                                                                 Attn: Jacquelyn E. Pfursich, County
                                                                 Solicitor
                                                                 150 N. Queen St.
29495442 County of Lancaster                                     Suite 714                               Lancaster         PA   17603                    First Class Mail
                                                                 Attn: District Attorney
29486601 County of Lubbock                                       904 Broadway St., 2nd Floor             Lubbock           TX   79408                    First Class Mail
                                                                 Attn: County Attorney
29486676 County of Manatee                                       1112 Manatee Ave W                      Bradenton         FL   34205                    First Class Mail
                                                                 Attn: Cade Foster, County Attorney
29486621 County of McCracken                                     300 Clarence Gains Street               Paducah           KY   42003                    First Class Mail
                                                                 Attn: County Attorney
                                                                 Legal Department
29486577 County of Mobile                                        205 Government Street                   Mobile            AL   36633                    First Class Mail
                                                                 Attn: Michael Armistead, County
                                                                 Attorney
29495404 County Of Montgomery                                    101 South Lawrence St                   Montgomery        AL   36104                    First Class Mail
                                                                 WEIGHTS & MEASURES DIVISION
29487810 County Of Nassau                                        240 OLD COUNTRY ROAD                    MINEOLA           NY   11501                    First Class Mail
                                                                 OFFICE OF CONSUMER AFFAIRS240 OLD
29479985 County of Nassau ‐ Consumer Affairs                     COUNTY ROAD                             MINEOLA           NY   11501                    First Class Mail
                                                                 DIVISION OF WEIGHTS & MEASURES
29479995 County of Northampton                                   669 WASHINGTON ST                       EASTON            PA   18042                    First Class Mail
                                                                 401 Montgomery St
29480065 County of Onondaga                                      Rm 200                                  Syracuse          NY   13202                    First Class Mail
                                                                 Attn: County Attorney
                                                                 State's Attorneys Office
                                                                 324 Main Street
29495458 County of Peoria                                        Room 111                                Peoria            IL   61602                    First Class Mail

                                                                 Attn: Amy Ashworth,County Attorney
29495473 County of Prince William                                9311 Lee Avenue, Suite 200                Manassas        VA   20110                    First Class Mail


                                                                 Attn: Cynthia Mitchell, County Attorney
                                                                 Pueblo County Historical Courthouse
29486629 County of Pueblo                                        215 W. 10 Street, Room 302                Pueblo          CO   81003                    First Class Mail
                                                                 SACRAMENTO COUNTY SEALER OF
                                                                 WEIGHTS
                                                                 WEIGHTS AND MEASURES
29487835 County of Sacramento                                    4137 BRANCH CENTER RD.                    SACRAMENTO      CA   95827‐3823               First Class Mail
                                                                 Attn: County Attorney
29495424 County of Saginaw                                       111 S. Michigan Ave                       Saginaw         MI   48602                    First Class Mail
29480002 County of Schenectady                                   620 STATE STREET                          SCHENECTADY     NY   12305                    First Class Mail




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ADRID                                            NAME                                  ADDRESS                             CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                         Attn: Grace Graham, County Attorney
                                                                         Fortune, Beard, Arnold, Graham, &
                                                                         Arnold, LLP
29495515 County of Shelby                                                7150 Cahaba Valley Rd                   Birmingham       AL   35242                    First Class Mail
                                                                         Attn: John Harris, County Attorney
                                                                         366 N Church St
29486595 County of Spartanburg                                           Main Level, Suite 1000                  Spartanburg      SC   29303                    First Class Mail
                                                                         Attn: John Harris, County Attorney
29486596 County of Spartanburg                                           PO Box 5666                             Spartanburg      SC   29304                    First Class Mail
                                                                         Attn: County Attorney
29495466 County of Tulsa                                                 218 W 6th Street                        Tulsa            OK   74119                    First Class Mail
29487690 Coweta County Tax Assessor’s Office                             37 Perry St                             Newnan           GA   30263                    First Class Mail
29487553 Craig Finance Department                                        300 W 4th St                            Craig            CO   81625                    First Class Mail
                                                                         Cranston City Hall
29479934 Cranston Tax Assessor's Office                                  869 Park Ave                            Cranston         RI   02910                    First Class Mail
29487554 Crested Butte Finance Department                                507 Maroon Ave                          Crested Butte    CO   81224                    First Class Mail
                                                                         CORPORATION SERVICE COMPANY
29487892 CSC                                                             PO BOX 7410023                          CHICAGO          IL   60674‐5023               First Class Mail
29487876 Cumberland County                                               1 Courthouse Square                     Carlisle         PA   17013                    First Class Mail
                                                                         117 Dick St
29479900 Cumberland County Tax Administration                            Rm 530                                  Fayetteville     NC   28301                    First Class Mail
29487844 Cumberland Trail Fire District                                  142 S Marietta St                       St Clairsville   OH   43950                    First Class Mail
29487834 Cuyahoga County Board of Health                                 5550 VENTURE DR                         PARMA            OH   44130                    First Class Mail
                                                                         10494 Jones Rd
29479797 Cypress‐Fairbanks Independent School District                   Ste 106                                 Houston          TX   77065                    First Class Mail
29487555 Dacono Finance Department                                       512 Cherry Ave                          Dacono           CO   80514                    First Class Mail
29487596 Dallas Central Appraisal District                               2949 North Stemmons Freeway             Dallas           TX   75247                    First Class Mail
                                                                         500 Elm St
29487748 Dallas County Tax Office                                        Ste 3300                                Dallas           TX   75202                    First Class Mail
                                                                         700 Pres Ronald Reagan Way
29487625 Davidson County Property Assessor                               Ste 210                                 Nashville        TN   37210                    First Class Mail
29487669 DeKalb County Tax Assessor's Office                             1300 Commerce Dr                        Decatur          GA   30030                    First Class Mail
                                                                         DIVISION OF REVENUE
29487859 Delaware                                                        PO BOX 2340                             WILMINGTON       DE   19899                    First Class Mail
                                                                         501 Palmer St
29487556 Delta Finance Department                                        Ste 202                                 Delta            CO   81416                    First Class Mail
29479775 Delware Division of Revenue                                     PO Box 2340                             Wilmington       DE   19899‐2340               First Class Mail
29479791 Denton Central Appraisal District                               3911 Morse St                           Denton           TX   76208                    First Class Mail
29487611 Denton County Appraisal District                                3911 Morse                              Denton           TX   76208                    First Class Mail
                                                                         201 W Colfax Ave
29479818 Denver County Assessor's Office                                 Ste 406                                 Denver           CO   80202                    First Class Mail
                                                                         201 W Colfax Ave
29479951 Denver Department of Finance                                    Department 1009                         Denver           CO   80202                    First Class Mail
29480062 Department of Agriculture                                       10B AIRLINE DRIVE                       ALBANY           NY   12235                    First Class Mail
29479717 Department of the Treasury                                      Internal Revenue Service                Ogden            UT   84201‐0009               First Class Mail
29480067 Department of the Treasury Internal Revenue Service             Internal Revenue Service                Ogden            UT   84201‐0009               First Class Mail
                                                                         1819 Farnam St
29487742 Douglas County Assessor's Office                                4th Floor Civic Center                  Omaha            NE   68183                    First Class Mail




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ADRID                                            NAME                          ADDRESS                            CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  2727 Allen Parkway
29487599 Dowdell Public Utility District                          Ste 1100                              Houston          TX   77019                    First Class Mail
29487557 Durango Finance Department                               949 E 2nd Ave                         Durango          CO   81301                    First Class Mail
                                                                  201 East Main St
29479901 Durham County Tax Administration                         3rd Floor                             Durham           NC   27701                    First Class Mail
                                                                  231 E Forsyth St
29479876 Duval County Property Appraiser                          Ste 260                               Jacksonville     FL   32202                    First Class Mail
                                                                  10500 Coursey Blvd
29487695 East Baton Rouge Parish Assessor's Office                Rm 106                                Baton Rouge      LA   70816                    First Class Mail
29480011 E‐Collect                                                800 N. HERMITAGE ROAD                 HERMITAGE        PA   16148                    First Class Mail
29487595 El Paso Central Appraisal District                       5801 Trowbridge Dr                    El Paso          TX   79925                    First Class Mail
29487617 Enfield Assessor's Office                                800 Enfield St                        Enfield          CT   06082                    First Class Mail
                                                                  Tax and Licensing Division
29479952 Englewood Finance Department                             1000 Englewood Parkway                Englewood        CO   80110                    First Class Mail
29487861 Erie County Bureau of Weights & Measures                 2380 Clinton St                       Buffalo          NY   14227                    First Class Mail
                                                                  BUREAU OF WEIGHTS & MEASURES
29487811 Erie County Comptrollers                                 2380 CLINTON STREET                   CHEEKTOWAGA      NY   14227                    First Class Mail
29480046 Erie County D O E S                                      554 River Rd                          Huron            OH   44839                    First Class Mail
                                                                  221 Palafox Place
29479877 Escambia County Property Appraiser                       Ste 300                               Pensacola        FL   32502                    First Class Mail
29487558 Evans Finance Department                                 1100 37th St                          Evans            CO   80620                    First Class Mail
                                                                  484 Broadway
29487640 Everett Assessor's Office                                Rm 11                                 Everett          MA   02149                    First Class Mail
                                                                  12000 Government Center Parkway
29487661 Fairfax County Tax Assessor's Office                     Ste 223                               Fairfax          VA   22035                    First Class Mail
29487618 Fairfield Assessor's Office                              611 Old Post Rd                       Fairfield        CT   06824                    First Class Mail
29487718 Fairhaven Board of Assessors                             40 Center St                          Fairhaven        MA   02719                    First Class Mail
29480021 Fairhaven Police Department                              1 BRYANT LANE                         FAIRHAVEN        MA   02719                    First Class Mail
29487615 Farmington Tax Collector                                 1 Monteith Dr                         Farmington       CT   06032                    First Class Mail
                                                                  101 E Vine St
29479868 Fayette County Property Appraiser                        Ste 600                               Lexington        KY   40507                    First Class Mail
29480032 Fishers Police Department                                4 Municipal Dr                        Fishers          IN   46038                    First Class Mail
29479878 Flagler County Property Appraiser                        1769 E Moody Blvd Bldg 2              Bunnell          FL   32110                    First Class Mail
29487712 Florence County Tax Assessors Office                     180 N Irby St                         Florence         SC   29501                    First Class Mail
29479777 Florida Department of Revenue                            5050 W Tennessee Street               Tallahassee      FL   32399‐0120               First Class Mail
                                                                  Attn: Genereal Counsel
29487792 Florida Department of Revenue                            5050 W Tennessee Street               Talahassee       FL   32399‐0120               First Class Mail
                                                                  DIVISION OF UNCLAIMED PROPERTY
29487815 Florida Dept of Financial Services                       PO BOX 6350                           TALLAHASSEE      FL   32314                    First Class Mail
29487869 Florida Dept. of Agriculture & Cons. Svc                 407 S Calhoun St                      Tallahassee      FL   32399                    First Class Mail
29487740 Forsyth County Tax Administration                        201 North Chestnut St                 Winston‐Salem    NC   27101                    First Class Mail
                                                                  110 E Main St
29487668 Forsyth County Tax Assessor's Office                     Ste 260                               Cumming          GA   30040                    First Class Mail
29479953 Fort Collins Finance Department                          215 North Mason St                    Fort Collins     CO   80524                    First Class Mail
                                                                  200 E Berry St
29479983 Fort Wayne Violations Bureau                             Ste 110                               Fort Wayne       IN   46802                    First Class Mail
29479809 Framingham Assessor's Office                             150 Concord St                        Framingham       MA   01702                    First Class Mail
29487750 Franklin Municipal Tax Collector                         PO BOX 986                            MEDFORD          MA   02155‐0010               First Class Mail
29487635 Fredericksburg City Assessor's Office                    715 Princess Anne St                  Fredericksburg   VA   22401                    First Class Mail



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ADRID                                            NAME                                    ADDRESS                               CITY       STATE POSTALCODE      EMAIL       METHOD OF SERVICE
29487732 Frenchtown Township Assessor's Office                            2744 Vivian Rd                             Monroe               MI   48162                    First Class Mail
                                                                          Hall of Records
29487646 Fresno County Assessor's Office                                  2281 Tulare St                             Fresnno              CA   93721                    First Class Mail
29479754 Frisco Finance Department                                        1 East Main St                             Frisco               CO   80443                    First Class Mail
                                                                          235 Peachtree St
29479887 Fulton County Tax Assessor's Office                              Ste 1400                                   Atlanta              GA   30303                    First Class Mail
29479902 Gaston County Tax Office                                         128 W Main Ave                             Gastonia             NC   28052                    First Class Mail
                                                                          Attn: Unclaimed Property
29487761 Georgia Department of Revenue                                    4125 Welcome All Road                      Atlanta              GA   30349                    First Class Mail
29487573 Georgia Department of Revenue                                    PO Box 105408                              Atlanta              GA   30348‐5408               First Class Mail
29479755 Glendale Finance Department                                      950 South Birch St                         Glendale             CO   80246                    First Class Mail
29479756 Glenwood Springs Finance Department                              101 West 8th St, 1st Floor                 Glenwood Springs     CO   81601                    First Class Mail
29479954 Golden Finance Department                                        911 10th St                                Golden               CO   80401                    First Class Mail
29479793 Goose Creek Consolidated Independent School District             607 W Bakre Rd                             Baytown              TX   77521                    First Class Mail
                                                                          1101 4th St SW
29479776 Government of theDistrict of Columbia                            Ste 270                                    West Washington      DC   20024                    First Class Mail
29479757 Grand Junction Finance Department                                250 North 5th St                           Grand Junction       CO   81501                    First Class Mail
                                                                          c/o Perdue Brandon Fielder et al
                                                                          Elizabeth Banda Calvo
                                                                          500 East Border St
29487610 Grapevine‐Colleyville Independent School District                Suite 640                                  Arlington            TX   76010                    First Class Mail
29479758 Greeley Finance Department                                       1000 10th St                               Greeley              CO   80631                    First Class Mail
                                                                          940 Boonville
29487694 Greene County Assessor's Office                                  Rm 37                                      Springfield          MO   65802                    First Class Mail
                                                                          7325 W Forest Home Ave
29487591 Greenfield Assessor's Office                                     Rm 202                                     Greenfield           WI   53220                    First Class Mail
                                                                          301 University Ridge
29487708 Greenville County Tax Office                                     Ste S‐1100                                 Greenville           SC   29601                    First Class Mail
29479759 Greenwood Village Finance Department                             6060 S Quebec St                           Greenwood Village    CO   80111                    First Class Mail
29487736 Grosse Pointe City Assessor's Office                             15115 East Jefferson Ave                   Grosse Pointe Park   MI   48320                    First Class Mail
29479941 Guadalupe County Tax Office                                      307 W Court St                             Seguin               TX   78155                    First Class Mail
29479903 Guilford County Tax Department                                   400 West Market St                         Greensboro           NC   27401                    First Class Mail
29479760 Gunnison Finance Department                                      201 W Virginia Ave                         Gunnison             CO   81230                    First Class Mail
29479890 Gwinnett County Tax Assessor's Office                            75 Langley Dr                              Lawrenceville        GA   30046                    First Class Mail
29479761 Gypsum Finance Department                                        50 Lundgren Blvd                           Gypsum               CO   81637                    First Class Mail
29487884 HAB BPT                                                          PO BOX 20087                               LEHIGH VALLEY        PA   19341                    First Class Mail
29479992 HAB‐BPT                                                          PO BOX 20087                               LEHIGH VALLEY        PA   18002‐0087               First Class Mail
29479888 Hall County Tax Assessor’s Office                                2875 Browns Bridge Rd                      Gainesville          GA   30504                    First Class Mail
29479889 Hall County Tax Assessor's Office                                2875 Browns Bridge Rd                      Gainesville          GA   30504                    First Class Mail
                                                                          33 N 9th St
29479914 Hamilton County Assessor's Office                                Ste 214                                    Noblesville          IN   46060                    First Class Mail
29487619 Hanover County Commissioner of the Revenue                       7507 Library Dr                            Hanover              VA   23069                    First Class Mail
                                                                          2 South Bond St
29479824 Harford County Department of Budget & Finance                    Ste 400                                    Bel Air              MD   21014                    First Class Mail
29479792 Harris County Appraisal District                                 13013 Northwest Freeway                    Houston              TX   77040                    First Class Mail
29487745 Harrison County Assessor's Office                                229 South 3rd St                           Clarksburg           WV   26301                    First Class Mail
                                                                          City Hall, Rm 115
29479923 Haverhill Office of the Assessor                                 4 Summer St                                Haverhill            MA   01830                    First Class Mail
29487574 Hawaii State Tax Collector                                       PO BOX 3559                                HONOLULU             HI   96811‐3559               First Class Mail



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ADRID                                            NAME                                                       ADDRESS                             CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                                               Main Tax Office
29479936 Hays County Tax Assessor‐Collector’s Office                                           712 S Stagecoach Trail                 San Marcos       TX   78666                    First Class Mail
                                                                                               355 S Washington St
29479829 Hendricks County Assessor's Office                                                    Ste 230                                Danville         IN   46122                    First Class Mail
29479971 Hendry County Tax Collector                                                           PO BOX 1780                            LABELLE          FL   33975‐1780               First Class Mail
29479840 Henrico County Assessor's Office                                                      4301 East Parham Rd                    Henrico          VA   23228                    First Class Mail
29479874 Henry County Tax Assessor's Office                                                    140 Henry Parkway                      McDonough        GA   30253                    First Class Mail
29487854 Hermitage Police Department                                                           800 North Hermitage Rd                 Hermitage        PA   16148                    First Class Mail
                                                                                               201 Howell Ave
29479879 Hernando County Property Appraiser                                                    Ste 300                                Brooksville      FL   34601                    First Class Mail
29479972 Hernando County Tax Collector                                                         20 N MAIN ST RM 112                    BROOKSVILLE      FL   34601‐2892               First Class Mail
29487600 Hidalgo County Appraisal District                                                     4405 S Professional Dr                 Edinburg         TX   78539                    First Class Mail
                                                                                               15th Floor County Center
29479880 Hillsborough County Property Appraiser                                                601 E Kennedy Blvd                     Tampa            FL   33602                    First Class Mail
29487788 Hillsborough County Tax Collector                                                     PO BOX 30012                           TAMPA            FL   33630‐3012               First Class Mail
29479813 Hinds County Tax Assessor                                                             316 S President St                     Jackson          MS   39201                    First Class Mail
29479811 Holyoke Assessor's Office                                                             536 Dwight St                          Holyoke          MA   01040                    First Class Mail
29487709 Horry County Assessor's Office                                                        1302 Second Ave                        Conway           SC   29526                    First Class Mail
29479895 Houston County Tax Assessor's Office                                                  201 Perry Pkwy                         Perry            GA   31069                    First Class Mail
29479826 Howard County Property Tax Assessment Office                                          3430 Courthouse Dr                     Ellicott City    MD   21043                    First Class Mail
29479799 Humble Independent School District                                                    20200 Eastway Village Dr               Humble           TX   77338                    First Class Mail
29487762 Idaho State Tax Commission                                                            PO BOX 56                              BOISE            ID   83756‐0056               First Class Mail
29487849 Idaho State Tax Commission                                                            PO BOX 76                              BOISE            ID   83707                    First Class Mail
29487763 Illinois Department of Revenue                                                        PO BOX 19035                           SPRINGFIELD      IL   62794‐9035               First Class Mail
29487538 Illinois Department of Revenue                                                        Retailers' Occupation Tax              Springfield      IL   62796‐0001               First Class Mail
29487806 Illinois Dept Of Agriculture                                                          PO BOX 19281                           SPRINGFIELD      IL   62794                    First Class Mail
29487647 Imperial County Assessor's Office                                                     940 W Main St Ste 115                  El Centro        CA   92243                    First Class Mail
                                                                                               1800 27th St
29479973 Indian River Co Tax Collector                                                         Bldg B                                 Vero Beach       FL   32960                    First Class Mail
29479881 Indian River County Property Appraiser                                                1800 27th St                           Vero Beach       FL   32960                    First Class Mail
29487764 Indiana Department of Revenue                                                         PO BOX 7087                            INDIANAPOLIS     IN   46207‐7087               First Class Mail
29487539 Indiana Department of Revenue                                                         PO Box 7218                            Indianapolis     IN   46207‐7218               First Class Mail
29480027 Iowa Department of Agriculture                                                        502 E 9th St                           Des Moines       IA   50319                    First Class Mail
29487765 Iowa Department of Revenue                                                            PO BOX 10330                           DES MOINES       IA   50306‐0330               First Class Mail
29479904 Iredell Tax Collector Division                                                        135 E Water St                         Statesville      NC   28687                    First Class Mail
29479997 Jackson Bureau of Fire Safety Fire District #3                                        200 Kierych Memorial Dr                Jackson          NJ   08527                    First Class Mail
                                                                                               111 S Main St
29487749 Jackson County Assessor ‐ Personal Property                                           Ste 116                                Brownstown       IN   47220                    First Class Mail
29487670 Jackson County Assessor's Office                                                      10 South Oakdale Ave                   Medford          OR   97501                    First Class Mail
                                                                                               101 Mounts Bay Rd
29487643 James City County Commissioner of the Revenue                                         Bldg B                                 Williamsburg     VA   23185                    First Class Mail
29487602 Jefferson County Appraisal District                                                   4610 S 4th St                          Beaumont         TX   77705                    First Class Mail
                                                                                               1221 Elmwood Park Blvd
29487697 Jefferson Parish Assessor's Office                                                    Ste 901                                Harahan          LA   70123                    First Class Mail
                                                                                               200 Derbigny St
29487579 Jefferson Parish Sheriff's Office Bureau of Revenue and Taxation Sales Tax Division   Ste 1200                               Gretna           LA   70058                    First Class Mail
29479974 Joe G Tedder Polk County Tax Collector                                                916 North Massachusetts Ave            Lakeland         FL   33801                    First Class Mail
29479830 Johnson County Assessor's Office                                                      86 W Court St                          Franklin         IN   46131                    First Class Mail
29487766 Kansas Department of Revenue                                                          915 SW HARRISON ST                     TOPEKA           KS   66625‐0002               First Class Mail



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ADRID                                            NAME                               ADDRESS                            CITY   STATE POSTALCODE      EMAIL       METHOD OF SERVICE
29487540 Kansas Department of Revenue                                 PO Box 3506                            Topeka           KS   66625‐3506               First Class Mail
29480040 Kenton County Animal Shelter                                 1020 Mary Laidley Dr                   Covington        KY   41017                    First Class Mail

                                                                      KENTON COUNTY BUILDING ROOM 311
29487825 Kenton County Fiscal Court                                   PO BOX 792                             COVINGTON        KY   41012                    First Class Mail
                                                                      1840 Simon Kenton Way
29479918 Kenton County Sheriff’s Office                               Ste 1200                               Covington        KY   41011                    First Class Mail
29487832 Kentucky Department of Fish and Wildlife                     1 SPORTSMAN LANE                       FRANKFORT        KY   40601                    First Class Mail
29487541 Kentucky State Treasurer                                     Kentucky Department of Revenue         Frankfort        KY   40620‐0003               First Class Mail
29487767 Kentucky State Treasurer                                     PO BOX 491                             FRANKFORT        KY   40602‐0491               First Class Mail
29487648 Kern County Assessor's Office                                1115 Truxtun Ave                       Bakersfield      CA   93301                    First Class Mail
29479938 Kerr County Appraisal District                               212 Oak Hollow Dr                      Kerrville        TX   78028                    First Class Mail
29479937 Kerr County Tax Office                                       700 MAIN ST STE 124                    KERRVILLE        TX   78028‐5390               First Class Mail
                                                                      King St Center
29479838 King County Assessor's Office                                201 South Jackson St                   Seattle          WA   98104                    First Class Mail
29487626 Kitsap County Assessor's Office                              614 Division St MS‐22                  Port Orchard     WA   98366                    First Class Mail
                                                                      400 Main St
29487624 Knox County Property Assessor                                Ste 204                                Knoxville        TN   37902                    First Class Mail
29479762 La Junta Finance Department                                  601 Colorado Ave                       La Junta         CO   81050                    First Class Mail
29479763 Lafayette Finance Department                                 1290 S Public Rd                       Lafayette        CO   80026                    First Class Mail
29487696 Lafayette Parish Assessor's Office                           213 West Vermilion St                  Lafayette        LA   70501                    First Class Mail
                                                                      207 Town Center Parkway
29487580 Lafayette Parish School SystemSales Tax Division             Ste 101                                Lafayette        LA   70506                    First Class Mail
                                                                      2293 N Main St, 2nd Floor
29479831 Lake County Assessor's Office                                Bldg A                                 Crown Point      IN   46307                    First Class Mail
29487757 Lakewood Finance Department                                  480 S Allison Parkway                  Lakewood         CO   80226                    First Class Mail
                                                                      555 S 10th St
29486875 Lancaster County Assessor's Office                           Rm 102                                 Lincoln          NE   68508                    First Class Mail
29487671 Lane County Assessor's Office                                125 East 8th Ave                       Eugene           OR   97401                    First Class Mail
                                                                      1110 Victoria St
29479806 Laredo City Assessor's Office                                Ste 107                                Laredo           TX   78040                    First Class Mail
29479769 Larkspur Finance Department                                  8720 Spruce Mountain Rd                Larkspur         CO   80118                    First Class Mail
29486870 Laurel Assessor's Office                                     750 Centerton Rd                       Mount Laurel     NJ   08054                    First Class Mail
                                                                      200 Common St
29487639 Lawrence Assessor's Office                                   Rm 103                                 Lawrence         MA   01840                    First Class Mail
                                                                      2480 Thompson St
29479882 Lee County Property Appraiser                                4th floor                              Fort Myers       FL   33901                    First Class Mail
                                                                      25 West St
29479849 Leominster Assessor's Office                                 Rm 9                                   Leominster       MA   01453                    First Class Mail
29479883 Leon County Property Appraiser                               315S Calhoun Stm 3rd Floor             Tallahassee      FL   32301                    First Class Mail
29487705 Lexington County Assessor's Office                           212 South Lake Dr                      Lexington        SC   29072                    First Class Mail
29479955 Littleton Finance Department                                 2255 W Berry Ave                       Littleton        CO   80120                    First Class Mail
29487544 Livinbston Parish Pubric School System                       13909 Florida Blvd                     Livingston       LA   70754                    First Class Mail
                                                                      33000 Civic Center Dr
29479933 Livonia Assessing Division                                   City Hall                              Livonia          MI   48154                    First Class Mail
                                                                      9220 Kimmer Dr
29479764 Lone Tree Finance Department                                 Ste 100                                Lone Tree        CO   80124                    First Class Mail
29479765 Longmont Finance Department                                  350 Kimbark St                         Longmont         CO   80501                    First Class Mail




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ADRID                                            NAME                                    ADDRESS                            CITY   STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                           Hall of Administration
29487649 Los Angeles County Assessor's Office                              500 W Temple St                         Los Angeles     CA   90012                    First Class Mail
29487633 Loudoun County Assessor's Office                                  1 Harrison St SE                        Leesburg        VA   20175                    First Class Mail
29487768 Louisiana Department of RevenueSales Tax Return                   617 North Third St                      Baton Rouge     LA   70802                    First Class Mail
29487542 Louisiana Department of RevenueSales Tax Return                   Louisiana Department of Revenue         Baton Rouge     LA   70821‐3138               First Class Mail
29487559 Louisville Finance Department                                     749 Main St                             Louisville      CO   80027                    First Class Mail
29487562 Loveland Finance Department                                       500 E 3rd St                            Loveland        CO   80537                    First Class Mail
29479921 Lunenburg Board of Assessors                                      17 Main St                              Lunenburg       MA   01462                    First Class Mail
29487637 Lynchburg City Assessor's Office                                  900 Church St                           Lynchburg       VA   24504                    First Class Mail
                                                                           210 Martin Luther King Jr Blvd
29487590 Madison Assessor's Office                                         Rm 101                                  Madison         WI   53703                    First Class Mail
                                                                           100 E Main St
29487622 Madison County Assessor's Office                                  Ste 304                                 Jackson         TN   38301                    First Class Mail
29479884 Manatee County Property Appraiser                                 915 4th Ave W                           Bradenton       FL   34205                    First Class Mail
29487860 Manheim Township                                                  1825 MUNICIPAL DRIVE                    LANCASTER       PA   17601                    First Class Mail
29487888 Manheim Township Police Department                                1825 MUNICIPAL DRIVE                    LANCASTER       PA   17601                    First Class Mail
29480018 Manheim Township Police Dept.                                     1825 Municipal Dr                       Lancaster       PA   17601                    First Class Mail
29479827 Maricopa County Assessor's Office                                 301 W Jefferson St                      Phoenix         AZ   85003                    First Class Mail
                                                                           3501 Civic Center Dr
29487650 Marin County Assessor's Office                                    Rm 208                                  San Rafael      CA   94903                    First Class Mail
                                                                           200 E Washington St
29479832 Marion County Assessor's Office                                   Ste W121                                Indianapolis    IN   46204                    First Class Mail
29479975 Marion County Tax Collector                                       PO BOX 970                              OCALA           FL   34478‐0970               First Class Mail
29479915 Marion County Treasurer                                           PO BOX 6145                             INDIANAPOLIS    IN   46206‐6145               First Class Mail
29479850 Marlborough Assessor's Office                                     140 Main St                             Marlborough     MA   01752                    First Class Mail
                                                                           3473 SE Willoughby Blvd
29479885 Martin County Property Appraiser                                  Ste 101                                 Stuart          FL   34994                    First Class Mail
29479976 Martin County Tax Collector                                       3485 SE WILLOUGHBY BLVD                 STUART          FL   34994                    First Class Mail
                                                                           700 East Pratt St
29479927 Maryland State Department of Assessments and Taxation             2nd Floor                               Baltimore       MD   21202                    First Class Mail
29487583 Massachusetts Department of Revenue                               PO BOX 419168                           BOSTON          MA   02241                    First Class Mail
29479959 Massachusetts Department of Revenue                               PO BOX 7029                             BOSTON          MA   02204‐7029               First Class Mail
29487601 McAllen Assessor's Office                                         311 N 15th St                           McAllen         TX   78501                    First Class Mail
29487603 McLennan County Appraisal District                                315 S 26th St                           Waco            TX   76710                    First Class Mail
                                                                           Valerie Woodard Center
29479905 Mecklenburg County Assessor's Office                              3205 Freedom Dr                         Charlotte       NC   28208                    First Class Mail
29487729 Medford Board of Assessors                                        85 George P Hassett Dr                  Medford         MA   02155                    First Class Mail
29487720 Medway Municipal Tax Collector                                    155 Village St                          Medway          MA   02053                    First Class Mail
                                                                           PO BOX 1457
29479977 Melissa T De La Garza, Kleburg Cty Tax Assessor                   700 EAST KLEBERG                        KINGSVILLE      TX   78363                    First Class Mail
                                                                           5151 Marsh Rd
29487734 Meridian Township Assessing Department                            Municipal Bldg, Second Floor            Okemos          MI   48864                    First Class Mail
29487597 Mesquite Tax Assessor's Office                                    757 N Galloway Ave                      Mesquite        TX   75149                    First Class Mail
                                                                           111 NW First St
29479886 Miami‐Dade County Property Appraiser                              Ste 710                                 Miami           FL   33128                    First Class Mail
29479978 Michelle Matus, Tax Assessor                                      411 E Houston St                        Beeville        TX   78104                    First Class Mail
29479960 Michigan Department of Treasury ‐ Taxes                           PO Box 30756                            Lansing         MI   48909                    First Class Mail
29480000 Middletown Township                                               3 MUNICIPAL WAY                         LANGHORNE       PA   19047                    First Class Mail




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ADRID                                            NAME                            ADDRESS                              CITY      STATE POSTALCODE      EMAIL      METHOD OF SERVICE

                                                                  McCreary, Veselka, Bragg, & Allen, P.C.
                                                                  Attn: Julie Anne Parsons
                                                                  700 Jeffrey Way
29487604 Midland Central Appraisal District                       Suite 100                                 Round Rock          TX   78665                    First Class Mail
29487612 Milford Assessor's Office                                70 West River St                          Milford             CT   06460                    First Class Mail
                                                                  52 Main St
29487721 Milford Board of Assessors                               Town Hall                                 Milford             MA   01757                    First Class Mail
29480014 Millburn Board of Health                                 375 MILLBURN AVE                          MILLBURN            NJ   07041                    First Class Mail
29487585 Minnesota Department of Revenue                          600 N. Robert St.                         St. Paul            MN   55145‐1250               First Class Mail

                                                                  Policy Services and Taxpayers Program
29479961 Minnesota Department of Revenue                          600 N Roberts St                          St. Paul            MN   55146                    First Class Mail
29479778 Mississippi Department of Revenue                        PO Box 23191                              Jackson             MS   39225‐3191               First Class Mail
29479962 Missouri Department of Revenue                           PO Box 475                                Jefferson City      MO   65105                    First Class Mail
29479896 Mobile County Revenue Commission                         3925 Michael Blvd Ste G                   Mobile              AL   36633                    First Class Mail
                                                                  DEPT OF WEIGHTS & MEASURERS
29487829 Monroe County                                            145 PAUL ROAD BLDG 2                      ROCHESTER           NY   14624                    First Class Mail
                                                                  DEPT OF WEIGHTS & MEASURERS
29487826 Monroe County (New York)                                 145 PAUL ROAD BLDG 2                      ROCHESTER           NY   14624                    First Class Mail
29487704 Monroe Tax Office                                        300 W Crowell St                          Monroe              NC   28112                    First Class Mail
                                                                  Monterey County Government Center
                                                                  Administration Bldg
29487651 Monterey County Assessor's Office                        168 West Alisal St                        Salinas             CA   93901                    First Class Mail
29487605 Montgomery County Appraisal District                     400 N San Jacinto St                      Conroe              TX   77301                    First Class Mail
29479817 Montgomery County Assessor's Office                      303 S Richardson St                       Mount Vernon        GA   30445                    First Class Mail
29479913 Montgomery County Treasurer                              44 W MAIN ST                              MOUNT STERLING      KY   40353‐1386               First Class Mail
29487563 Montrose Finance Department                              400 E Main St                             Montrose            CO   81402                    First Class Mail
29487744 Mount Pleasant Assessor's Office                         8811 Campus Dr                            Mount Pleasant      WI   53406                    First Class Mail
                                                                  455 Mountain Village Blvd
29487564 Mountain Village Finance Department                      Ste A                                     Mountain Village    CO   81435                    First Class Mail
29487560 Mt Crested Butte Finance Department                      911 Gothic Rd                             Mt. Crested Butte   CO   81225                    First Class Mail
                                                                  11111 Katy Fwy
29479794 Municipal Utility District #186                          Ste 725                                   Houston             TX   77079                    First Class Mail
29487657 Muscogee County Tax Assessor's Office                    3111 Citizens Way                         Columbus            GA   74401                    First Class Mail
29487743 Narragansett Tax Assessor's Office.                      25 Fifth Ave                              Narragansett        RI   02882                    First Class Mail
29487818 Nassau County Police Department                          1490 Franklin Ave                         Mineola             NY   11501                    First Class Mail
29480051 Nassau County Treasurer                                  240 OLD COUNTRY ROAD                      MINEOLA             NY   11501                    First Class Mail
                                                                  13 East Central St
29487722 Natick Board of Assessors                                Town Hall                                 Natick              MA   01760                    First Class Mail
29487824 Nebraska Department of Agriculture                       PO Box 94947                              Lincoln             NE   68509                    First Class Mail
29479964 Nebraska Department of Revenue                           PO BOX 98923                              LINCOLN             NE   68509‐8923               First Class Mail
                                                                  1 Granite Place South
29480034 New Hampshire Department of Agriculture                  Ste 211                                   Concord             NH   03301                    First Class Mail
                                                                  230 Government Center Dr
29479906 New Hanover County Tax Department                        Ste 190                                   Wilmington          NC   28403                    First Class Mail
29479966 New Jersey Department of the Treasury                    PO Box 251                                Trenton             NJ   08695                    First Class Mail
29479779 New Jersey Department of the Treasury                    PO Box 999                                Trenton             NJ   08646‐0999               First Class Mail




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ADRID                                            NAME                                       ADDRESS                                CITY     STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                             6 Commerce Dr, 3rd Floor
29480044 New Jersey Division Of Taxation                                     Ste 300                                     Cranford           NJ   07016                    First Class Mail
29479967 New Mexico Taxation and Revenue Dept.                               PO Box 25128                                Santa Fe           NM   87504‐5128               First Class Mail
29487885 New York Department of Agriculture                                  10B AIRLINE DRIVE                           ALBANY             NY   12235                    First Class Mail
29487614 Newington Revenue Collector                                         PO BOX 150401 DEPT 339                      HARTFORD           CT   06115‐0401               First Class Mail
                                                                             700 Town Center Dr
29487638 Newport News Assessor's Office                                      Ste 220                                     Newport News       VA   23606                    First Class Mail
29479891 Newport News Department of Finance                                  2400 Washington Ave                         Newport NewS       VA   23607                    First Class Mail
29479810 Newton Assessor's Office                                            1000 Commonwealth Ave                       Newton Centre      MA   02459                    First Class Mail
29480066 NJ DEP of Fish & Wildlife                                           PO Box 420                                  Trenton            NJ   08625                    First Class Mail
                                                                             50 Winfield Scott Plaza
29480063 NJ Divison of Consumer Affairs Office of Weights & Measures         Rm 116                                      Elizabeth          NJ   07201                    First Class Mail
29487798 NJ Weights & Measures Fund                                          1261 Routes 1 & 9 South                     Avenel             NJ   07001                    First Class Mail
                                                                             810 Union St
29479843 Norfolk City Assessor's Office                                      Rm 402                                      Norfolk            VA   23510                    First Class Mail
29479969 North Carolina Department of Revenue                                PO Box 25000                                Raleigh            NC   27640‐0700               First Class Mail
29480028 North Carolina Dept of Agriculture & Consumer Services              1030 MAIL SERVICE CENTER                    RALEIGH            NC   27909                    First Class Mail
                                                                             600 E Blvd Ave
29479963 North Dakota Tax Commissioner                                       Dept 127                                    Bismark            ND   58505                    First Class Mail
29487616 North Haven Tax Collector                                           PO BOX 900                                  HARTFORD           CT   06143‐0900               First Class Mail
29479836 North Providence Assessor's Office                                  2000 Smith St                               North Providence   RI   02911                    First Class Mail
29479935 North Providence Tax Assessor's Office                              2000 Smith St                               North Providence   RI   02911                    First Class Mail
29487724 North Reading Board of Assessors                                    235 North St                                North Reading      MA   01864                    First Class Mail
29487561 Northglenn Finance Department                                       11701 Community Center Dr                   Northglenn         CO   80233                    First Class Mail
                                                                             125 East Ave
29479814 Norwalk Assessor's Office                                           Rm 106                                      Norwalk            CT   06851                    First Class Mail
29487607 Nueces County Appraisal District                                    201 N Chaparral St                          Corpus Christi     TX   78401                    First Class Mail
29487879 NY Dept of Agriculture                                              10B AIRLINE DRIVE                           ALBANY             NY   12235                    First Class Mail
29487838 NYC Dept of Health & Mental Hygiene                                 125 Worth St                                New York           NY   10013                    First Class Mail

                                                                             Department of Taxation and Finance
29479968 NYS Sales Tax Processing                                            Attn: Office of Counsel                     Albany             NY   12227                    First Class Mail
                                                                             250 Elizabeth Lake Rd
29487733 Oakland County Equalization Division                                Ste 1000 W                                  Pontiac            MI   48341                    First Class Mail
                                                                             Administration Bldg
29487665 Oconee County Tax Assessor's Office                                 7635 Macon Highway                          Watkinsville       GA   30677                    First Class Mail
29479718 Office of Secretary of State of Delaware                            Townsend Bldg 401 Federal St                Dover              DE   19901                    First Class Mail
                                                                             9 State House Station, Cross Office Bldg,
                                                                             3rd Floor
29487769 Office of the Maine State Treasurer                                 111 Sewall St                               Augusta            ME   04333                    First Class Mail
29487770 Ohio Business Gateway                                               4485 Northland Ridge Blvd                   Columbus           OH   43229                    First Class Mail
                                                                             1250 Eglin Parkway N
29487679 Okaloosa County Property Appraiser                                  Ste 201                                     Shalimar           FL   32579                    First Class Mail
29479979 Okeechobee County Tax Collector                                     409 NW 2nd Ave                              Okeechobee         FL   34972                    First Class Mail
                                                                             320 Robert S Kerr Ave
29486877 Oklahoma County Assessor's Office                                   #315                                        Oklahoma City      OK   73102                    First Class Mail
29479786 Oklahoma Tax Commission                                             PO Box 26850                                Oklahoma City      OK   73126‐0850               First Class Mail
29487771 Oklahoma Tax Commission                                             PO BOX 26920                                OKLAHOMA CITY      OK   73126‐0920               First Class Mail




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ADRID                                            NAME                           ADDRESS                            CITY    STATE POSTALCODE      EMAIL      METHOD OF SERVICE
                                                                  BUREAU OF WEIGHTS & MEASURES
29487853 Onondaga County Dept Of Health                           421 MONTGOMERY STREET                  SYRACUSE          NY   13202                    First Class Mail
29479907 Onslow County Tax Office                                 234 NW Corridor Blvd                   Jacksonville      NC   28540                    First Class Mail
                                                                  500 S Main St
29479851 Orange County Assessor's Office                          2nd Floor                              Orange            CA   92868                    First Class Mail
29479980 Orange County Tax Collector                              PO BOX 545100                          ORLANDO           FL   32854‐5100               First Class Mail
29487678 Osceola County Property Appraiser                        2505 E Irlo Bronson Memorial Hwy       Kissimmee         FL   34744                    First Class Mail
29479981 Osceola County Tax Collector                             PO Box 422105                          Kissimmee         FL   34742‐2105               First Class Mail
29479920 Oxford Board of Assessors                                325 Main St                            Oxford            MA   01540                    First Class Mail
29487680 Palm Beach County Property Appraiser                     301 North Olive Ave                    West Plam beach   FL   33401                    First Class Mail
29487565 Parker Finance Department                                20120 E Main St                        Denver            CO   80217                    First Class Mail
29479800 Pasadena Independent School District                     3920 Mickey Gilley Blvd                Pasadena          TX   77505                    First Class Mail
29487681 Pasco County Property Appraiser                          14236 6th St, Ste 101                  Dade city         FL   33523                    First Class Mail
29487789 Pasco County Tax Collector                               PO BOX 276                             DADE CITY         FL   33526‐0276               First Class Mail
29487739 Pasquotank County Tax Collector                          206 East Main St                       Elizabeth City    NC   27909                    First Class Mail
29479845 Peabody Assessor's Office                                24 Lowell St                           Peabody           MA   01960                    First Class Mail
29487862 Pennsylvania Department of Agriculture                   2301 NORTH CAMERON STREET              HARRISBURG        PA   17110                    First Class Mail
29479782 Pennsylvania Department of Revenue                       PO Box 280404                          Harrisburg        PA   17128‐0404               First Class Mail
29487772 Pennsylvania Department of Revenue                       PO Box 280905                          Harrisburg        PA   17128                    First Class Mail
29479986 Pennsylvania Dept Of Agriculture                         2301 NORTH CAMERON STREET              HARRISBURG        PA   17110                    First Class Mail
                                                                  BUREAU OF COMPLIANCE
                                                                  C/O WAGE GARNISHMENT SECTION
29480050 Pennsylvania Dept Of Revenue                             PO BOX 280946                          HARRISBURG        PA   17128‐0946               First Class Mail
29479783 Philadelphia Tax Center                                  1401 John F Kennedy Blvd               Philadelphia      PA   19102                    First Class Mail
                                                                  222 McDaniel Ave
29487711 Pickens County Assessors Office                          Ste B8                                 Pickens           SC   29671                    First Class Mail
                                                                  2401 S 35th St
29487627 Pierce County Assessor's Office                          Rm 142                                 Tacoma            WA   98409                    First Class Mail
29486880 Pima County Assessor's Office                            240 N Stone Ave                        Tucson            AZ   85701                    First Class Mail
                                                                  315 Court St
29487682 Pinellas County Property Appraiser                       2nd Floor                              Clearwater        FL   33756                    First Class Mail
29487783 Pinellas County Tax Collector                            PO BOX 31149                           TAMPA             FL   33631‐3149               First Class Mail
29487655 Pitt County Tax Assessor's Office                        110 Evans St                           Greenville        NC   27858                    First Class Mail
29487719 Pittsfield Board of Assessors                            70 Allen St                            Pittsfield        MA   01201                    First Class Mail
29479852 Placer County Assessor's Office                          2980 Richardson D                      Auburn            CA   95603                    First Class Mail
                                                                  415 Third St
29487691 Platte County Assessor's Office                          Rm 114                                 Platte City       MO   64079                    First Class Mail
29487683 Polk County Property Appraiser                           255 N Wilson Ave                       Bartow            FL   33830                    First Class Mail
                                                                  155 Indiana Ave
29479917 Porter County Treasurer                                  Ste 209                                Valparaiso        IN   46383                    First Class Mail
                                                                  Wayne K Curry Administration Bldg
29486869 Prince George's County Office of Finance                 1301 McCormick Dr                      Largo             MD   20774                    First Class Mail
29487659 Prince William County Tax Assessor's Office              1 County Complex Ct                    Prince William    VA   22192                    First Class Mail
29487566 Pueblo Finance Department                                1 City Hall Pl                         Pueblo            CO   81003                    First Class Mail
                                                                  Intendente Ramirez Bldg
29479784 Puerto Rico Department of Treasury                       10 Paseo Covadonga                     San Juan          PR   00901                    First Class Mail
                                                                  201 S Broadway
29487662 Pulaski County Tax Assessor's Office                     Ste 310                                Little Rock       AR   72201                    First Class Mail




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                                                                                         1305 Hancock St
29487726 Quincy Assessor's Office                                                        1st Floor                                Quincy           MA   02169                    First Class Mail
29487747 Raleigh County Assessor                                                         215 Main St                              Beckley          WV   25801                    First Class Mail
29487727 Raynham Tax Collector                                                           558 South Main St                        Raynham          MA   02767                    First Class Mail
                                                                                         C/O BUREAU OF FINANCE
29487840 Rensselaer County Weights & Measures                                            1600 SEVENTH AVENUE                      TROY             NY   12180                    First Class Mail
29487773 Rhode Island Department of Revenue                                              One Capitol Hill                         Providence       RI   02908                    First Class Mail
29479744 RI Division of Taxation                                                         One Capitol Hill                         Providence       RI   02908                    First Class Mail
29479745 RI Mattress Recycling Council                                                   501 Wythe St                             Alexandria       VA   22314                    First Class Mail
29487707 Richland County Assessor's Office                                               2020 Hampton St, 2nd Floor               Columbia         SC   29202                    First Class Mail
                                                                                         535 Telfair St
29479870 Richmond County Tax Assessor's Office                                           Ste 120                                  Augusta          GA   30901                    First Class Mail
29487567 Ridgway Finance Department                                                      201 N Railroad St                        Ridgway          CO   81432                    First Class Mail
29487568 Rifle Finance Department                                                        202 Railroad Ave                         Rifle            CO   81650                    First Class Mail
29479853 Riverside County Assessor's Office                                              4080 Lemon St                            Riverside        CA   92501                    First Class Mail
                                                                                         215 Church Ave SW
29487634 Roanoke City Assessor's Office                                                  Municipal South                          Roanoke          VA   24011                    First Class Mail
29487667 Rockdale County Tax Assessor's Office                                           1088 West Ave                            Conyers          GA   30012                    First Class Mail
29480036 Rockland County, Commisioner of Finance                                         50 SANATORIUM RD, BLDG A                 POMONA           NY   10970                    First Class Mail
29487606 Rockwall Central Appraisal District                                             841 JUSTIN RD                            ROCKWALL         TX   75087‐4842               First Class Mail
                                                                                         319 N Maple St
29479816 Rutherford County Assessor's Office                                             Ste 200                                  Murfreesboro     TN   37130                    First Class Mail
                                                                                         3636 American River Dr
29479854 Sacramento County Assessor's Office                                             Ste 200                                  Sacramento       CA   95864                    First Class Mail
29487684 Saint Lucie County Property Appraiser                                           2300 Virginia Ave                        Fort Pierce      FL   34982                    First Class Mail
29487575 Sales/Use Tax Processing                                                        1305 W Walnut St                         Des Moines       IA   50319                    First Class Mail
29486872 Salisbury Assessor's Office                                                     5 Beach Rd                               Salisbury        MA   01952                    First Class Mail
29479855 San Bernardino County Assessor's Office                                         222 W Hospitality Ln                     San Bernardino   CA   92415                    First Class Mail
                                                                                         1600 Pacific Highway
29479856 San Diego County Assessor's Office                                              Ste 103                                  San Diego        CA   92101                    First Class Mail
                                                                                         1 Dr Carlton B Goodlett Place
29479857 San Francisco Assessor‐Recorder's Office                                        City Hall                                San Francisco    CA   94102                    First Class Mail
                                                                                         555 County Center
29479858 San Mateo County Assessor's Office                                              1st Floor                                Redwood City     CA   94063                    First Class Mail
                                                                                         105 E Anapamu St
29479859 Santa Barbara County Assessor's Office                                          Ste 204                                  SANTA BARBARA    CA   93101                    First Class Mail
29479860 Santa Clara County Assessor's Office                                            130 W Tasman Dr                          SAN JOSE         CA   95134                    First Class Mail
29479894 Santa Fe County Assessor's Office                                               102 Grant Ave                            Santa Fe         NM   87501                    First Class Mail
29487686 Sarasota County Property Appraiser                                              2001 Adams Ln                            Sarasota         FL   34237                    First Class Mail
                                                                                         298 Central St
29479847 Saugus Assessor's Office                                                        Ste 3                                    Saugus           MA   01906                    First Class Mail
                                                                                         1201 Main St
29487889 SC Coordinating Council for Economic Development, c/o South Carolina Department Ste 1600                                 Columbia         SC   29201                    First Class Mail
                                                                                         DEPT 00 E 25
29487774 SC Department of Revenue                                                        P O BOX 125                              COLUMBIA         SC   29214‐0213               First Class Mail
29479785 SC Department of Revenue                                                        PO Box 100193                            Columbia         SC   29202                    First Class Mail
29487775 SD Department of Revenue                                                        445 East Capitol Ave                     Pierre           SD   57501                    First Class Mail
29487663 Sebastian County Tax Assessor's Office                                          6515 Phoenix Ave                         Fort Smith       AR   72901                    First Class Mail
29487687 Seminole County Property Appraiser                                              1101 E First St                          Sanford          FL   32771                    First Class Mail



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ADRID                                            NAME                                    ADDRESS                                CITY   STATE POSTALCODE                     EMAIL      METHOD OF SERVICE
                                                                          RAY VALDES
29487784 Seminole County Tax Collector                                    PO BOX 630                                SANFORD            FL   32772                                   First Class Mail
                                                                          1450 Court St
29479861 Shasta County Assessor's Office                                  Ste 208A                                  Redding            CA   96001                                   First Class Mail
29479815 Shelby County Assessor's Office                                  1075 Mullins Station Rd                   Memphis            TN   38134                                   First Class Mail
29487569 Sheridan Finance Department                                      4101 S Federal Blvd                       Sheridan           CO   80110                                   First Class Mail
29479808 Shrewsbury Assessor's Office                                     100 Maple Ave                             Shrewsbury         MA   01545                                   First Class Mail
29487570 Silverthorne Finance Department                                  601 Center Circle                         Silverthorne       CO   80498                                   First Class Mail
                                                                          700 S 2nd St
29487628 Skagit County Assessor's Office                                  Rm 204                                    Mount Vernon       WA   98273                                   First Class Mail
29487608 Smith County Appraisal District                                  245 S SE Loop 323                         Tyler              TX   75702                                   First Class Mail
                                                                          3000 Rockefeller Ave
29487629 Snohomish County Assessor's Office                               M/S 510                                   Everett            WA   98201                                   First Class Mail
29487571 Snowmass Village Finance Department                              130 Kearns Rd                             Snowmass Village   CO   81615                                   First Class Mail
                                                                          675 Texas St
29479862 Solano County Assessor's Office                                  Ste 2700                                  Fairfield          CA   94533                                   First Class Mail
                                                                          DEPARTMENT OF AGRICULTURE
                                                                          C/O SEED LICENSE
29487852 South Carolina                                                   123 BALLARD CT                            WEST COLUMBIA      SC   29172‐3101                              First Class Mail
29487621 South Portland Assessor's Office                                 41 Thomas St                              South Portland     ME   04106                                   First Class Mail
29487641 South Windsor Assessor's Office                                  1540 Sullivan Ave                         S Windsor          CT   06074                                   First Class Mail
29487713 Spartanburg County Assessor's Office                             366 N Church St                           Spartanburg        SC   29303                                   First Class Mail
                                                                          1116 W Broadway Ave
29487630 Spokane County Assessor's Office                                 County Courthouse                         Spokane            WA   99260                                   First Class Mail
29480048 Springfield Township Fire Dept                                   PO BOX 133                                ONTARIO            OH   44862                                   First Class Mail
29487785 St Lucie County Tax Collector                                    PO BOX 308                                FORT PIERCE        FL   34954‐0308                              First Class Mail
29487692 St. Charles County Assessor's Office                             201 N Second St                           St. Charles        MO   63301                                   First Class Mail
                                                                          City Hall
29479931 St. Clair Shores Assessing Department                            27600 Jefferson Ave                       St. Clair Shores   MI   48081                                   First Class Mail
29487685 St. Johns County Property Appraiser                              4030 Lewis Spdwy                          St. Augustine      FL   32084                                   First Class Mail
29479833 St. Joseph County Assessor's Office                              227 W Jefferson Blvd, 3rd Floor           South Bend         IN   46601                                   First Class Mail
                                                                          227 W Jefferson Blvd
29479911 St. Joseph County Treasurer;Clay Township                        County‐City Bldg, 2nd Floor               South Bend         IN   46601                                   First Class Mail
29487693 St. Louis County Assessor's Office                               1200 Market St                            Saint Louis        MO   63103                                   First Class Mail
                                                                          701 N Columbia St
29487699 St. Tammany Parish Assessor's Office                             Rm B1010‐2                                Covington          LA   70433                                   First Class Mail
                                                                          888 Washington Blvd
29487642 Stamford Assessor's Office                                       6th Floor                                 Stamford           CT   06901                                   First Class Mail
29487652 Stanislaus County Assessor's Office                              1010 10th St                              Modesto            CA   95354                                   First Class Mail
                                                                          ATTN: BANKRUPTCY DEPARTMENT
29495360 STATE OF ALABAMA ATTORNEY GENERAL                                P.O. BOX 300152                           MONTGOMERY         AL   36130‐0152                              First Class Mail
                                                                          Office of the Attorney General
29495603 State of Alabama Consumer Protection Division                    Post Office Box 300152                    Montgomery         AL   36130                                   First Class Mail
                                                                          ATTN: BANKRUPTCY DEPARTMENT
29495361 STATE OF ARIZONA ATTORNEY GENERAL                                2005 N CENTRAL AVE                        PHOENIX            AZ   85004‐2926    AGINFO@AZAG.GOV           First Class Mail and Email
                                                                          Arizona Office of the Attorney General‐
                                                                          Tucson
                                                                          400 W. Congress St. South Bldg., Suite
29495605 State of Arizona Consumer Information and Complaints             315                                       Tucson             AZ   85701‐1367    consumerinfo@azag.gov     First Class Mail and Email



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ADRID                                            NAME                                 ADDRESS                               CITY   STATE POSTALCODE                       EMAIL            METHOD OF SERVICE
                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                       323 CENTER ST.
29495374 STATE OF ARKANSAS ATTORNEY GENERAL                            SUITE 200                                 LITTLE ROCK       AR   72201‐2610                                      First Class Mail

                                                                       Arkansas Office of the Attorney General
29495604 State of Arkansas Consumer Protection Division                323 Center St., Suite 200                 Little Rock       AR   72201         gotyourback@arkansasag.gov        First Class Mail and Email
                                                                       ATTN: BANKRUPTCY DEPARTMENT
29495362 STATE OF CALIFORNIA ATTORNEY GENERAL                          P.O. BOX 944255                           SACRAMENTO        CA   94244‐2550    BANKRUPTCY@COAG.GOV               First Class Mail and Email
                                                                       California Department of Consumer
                                                                       Affairs
29495606 State of California Consumer Information Division             1625 N. Market Blvd., Suite N 112         Sacramento        CA   95834         dca@dca.ca.gov                    First Class Mail and Email
                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                       RALPH L. CARR COLORADO JUDICIAL
                                                                       CENTER
29495375 STATE OF COLORADO ATTORNEY GENERAL                            1300 BROADWAY, 10TH FLOOR                 DENVER            CO   80203                                           First Class Mail

                                                                       Colorado Office of the Attorney General
29495607 State of Colorado Consumer Protection Section                 1300 Broadway, 10th Floor               Denver              CO   80203         stop.fraud@state.co.us            First Class Mail and Email
                                                                       ATTN: BANKRUPTCY DEPARTMENT                                                    ATTORNEY.GENERAL@CT.GOV,
29495363 STATE OF CONNECTICUT ATTORNEY GENERAL                         165 CAPITOL AVENUE                      HARTFORD            CT   06106         DENISE.MONDELL@CT.GOV             First Class Mail and Email

                                                                       Department of Consumer Protection
29495608 State of Connecticut Consumer Protection Division             165 Capitol Ave.                          Hartford          CT   06106‐1630    dcp.frauds@ct.gov                 First Class Mail and Email
                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                       CARVEL STATE OFFICE BLDG.
29495377 STATE OF DELAWARE ATTORNEY GENERAL                            820 N. FRENCH ST.                         WILMINGTON        DE   19801         ATTORNEY.GENERAL@STATE.DE.US      First Class Mail and Email
                                                                       Delaware Department of Justice
                                                                       Carvel State Office Building
29486541 State of Delaware Consumer Protection Division                820 N. French St., 5th Floor              Wilmington        DE   19801         consumer.protection@state.de.us   First Class Mail and Email
                                                                       ATTN: BANKRUPTCY DEPARTMENT
29495378 STATE OF FLORIDA ATTORNEY GENERAL                             THE CAPITOL, PL 01                        TALLAHASSEE       FL   32399‐1050                                      First Class Mail

                                                                       Florida Office of the Attorney General
29486542 State of Florida Consumer Protection Division                 PL‐01 The Capitol                         Tallahassee       FL   32399‐1050                                      First Class Mail
                                                                       ATTN: BANKRUPTCY DEPARTMENT
29495364 STATE OF GEORGIA ATTORNEY GENERAL                             40 CAPITAL SQUARE, SW                     ATLANTA           GA   30334‐1300                                      First Class Mail

                                                                       Georgia Governors Office of Consumer
                                                                       Affairs
29486543 State of Georgia Consumer Protection Division                 2 Martin Luther King, Jr. Dr., SE Suite 356 Atlanta         GA   30334‐9077                                      First Class Mail
                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                       700 W. JEFFERSON STREET
29495379 STATE OF IDAHO ATTORNEY GENERAL                               P.O. BOX 83720                              BOISE           ID   83720‐1000                                      First Class Mail
                                                                       Idaho Attorney Generals Office
29486545 State of Idaho Consumer Protection Division                   954 W. Jefferson, 2nd Floor                 Boise           ID   83720                                           First Class Mail
                                                                       ATTN: BANKRUPTCY DEPARTMENT
29495366 STATE OF ILLINOIS ATTORNEY GENERAL                            100 WEST RANDOLPH STREET                    CHICAGO         IL   60601         WEBMASTER@ATG.STATE.IL.US         First Class Mail and Email
                                                                       Illinois Office of the Attorney General ‐
                                                                       Chicago
29486546 State of Illinois Consumer Fraud Bureau                       100 W. Randolph St.                         Chicago         IL   60601                                           First Class Mail



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ADRID                                            NAME                                  ADDRESS                             CITY   STATE POSTALCODE                       EMAIL        METHOD OF SERVICE


                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                         INDIANA GOVERNMENT CENTER SOUTH
29486532 STATE OF INDIANA ATTORNEY GENERAL                               302 W. WASHINGTON ST., 5TH FLOOR INDIANAPOLIS            IN   46204         INFO@ATG.IN.GOV               First Class Mail and Email

                                                                         Office of the Attorney General
                                                                         Government Center South, 5th Floor
29486547 State of Indiana Consumer Protection Division                   302 W. Washington St.                   Indianapolis     IN   46204                                       First Class Mail
                                                                         ATTN: BANKRUPTCY DEPARTMENT
29495365 STATE OF IOWA ATTORNEY GENERAL                                  1305 E. WALNUT STREET                   DES MOINES       IA   50319         WEBTEAM@AG.IOWA.GOV           First Class Mail and Email
                                                                         Iowa Office of the Attorney General
29486544 State of Iowa Consumer Protection Division                      1305 E. Walnut St.                      Des Moines       IA   50319         consumer@ag.state.ia.us       First Class Mail and Email
                                                                         ATTN: BANKRUPTCY DEPARTMENT
29495367 STATE OF KANSAS ATTORNEY GENERAL                                120 SW 10TH AVE., 2ND FLOOR             TOPEKA           KS   66612‐1597                                  First Class Mail
                                                                         Office of Kansas Attorney
29486548 State of Kansas Consumer Protection Division                    120 S.W. 10th St., Suite 430            Topeka           KS   66612‐1597                                  First Class Mail
                                                                         ATTN: BANKRUPTCY DEPARTMENT
29495368 STATE OF KENTUCKY ATTORNEY GENERAL                              700 CAPITOL AVENUE, SUITE 118           FRANKFORT        KY   40601                                       First Class Mail

                                                                         Kentucky Office of the Attorney General
29486549 State of Kentucky Consumer Protection Division                  1024 Capital Center Dr.                 Frankfort        KY   40601                                       First Class Mail
                                                                         ATTN: BANKRUPTCY DEPARTMENT
29486522 STATE OF LOUISIANA ATTORNEY GENERAL                             P.O. BOX 94095                          BATON ROUGE      LA   70804‐4095                                  First Class Mail

                                                                         Louisiana Office of the Attorney General
29495589 State of Louisiana Consumer Protection Section                  1885 N. 3rd St.                          Baton Rouge     LA   70802         ConsumerInfo@ag.state.la.us   First Class Mail and Email
                                                                         ATTN: BANKRUPTCY DEPARTMENT
29486524 STATE OF MARYLAND ATTORNEY GENERAL                              200 ST. PAUL PLACE                       BALTIMORE       MD   21202‐2202    OAG@OAG.STATE.MD.US           First Class Mail and Email

                                                                         Maryland Office of the Attorney General
29495591 State of Maryland Consumer Protection Division                  200 Saint Paul Pl.                      Baltimore        MD   21202         consumer@oag.state.md.us      First Class Mail and Email
                                                                         ATTN: BANKRUPTCY DEPARTMENT
29486523 STATE OF MASSACHUSETTS ATTORNEY GENERAL                         ONE ASHBURTON PLACE                     BOSTON           MA   02108‐1698                                  First Class Mail

                                                                         Massachusetts Office of the Attorney
                                                                         General
                                                                         Public Inquiry and Assistance Center
29495590 State of Massachusetts Consumer Protection Division             One Ashburton Pl., 18th Floor           Boston           MA   02108‐1518    ago@state.ma.us               First Class Mail and Email
29479743 State of Michigan                                               PO BOX 30776                            LANSING          MI   48909‐8276                                  First Class Mail
                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                         G. MENNEN WILLIAMS BUILDING, 7TH
                                                                         FLOOR
29486533 STATE OF MICHIGAN ATTORNEY GENERAL                              525 W. OTTAWA ST., P.O. BOX 30212       LANSING          MI   48909‐0212    MIAG@MICHIGAN.GOV             First Class Mail and Email
                                                                         Office of the Attorney General
29495592 State of Michigan Consumer Protection Division                  PO Box 30213                            Lansing          MI   48909‐7713    miag@michigan.gov             First Class Mail and Email
                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                         1400 BREMER TOWER
29486534 STATE OF MINNESOTA ATTORNEY GENERAL                             445 MINNESOTA STREET                    ST. PAUL         MN   55101‐2131                                  First Class Mail




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ADRID                                            NAME                                         ADDRESS                              CITY   STATE POSTALCODE                        EMAIL              METHOD OF SERVICE

                                                                                Office of the Attorney General
29495593 State of Minnesota Consumer Services Division                          1400 Bremer Tower 445 Minnesota St.     St. Paul          MN   55101                                              First Class Mail
                                                                                ATTN: BANKRUPTCY DEPARTMENT
                                                                                WALTER SILLERS BUILDING
                                                                                550 HIGH STREET, SUITE 1200, P.O. BOX
29486536 STATE OF MISSISSIPPI ATTORNEY GENERAL                                  220                                     JACKSON           MS   39201                                              First Class Mail
                                                                                Mississippi Office of the Attorney
                                                                                General
29495595 State of Mississippi Consumer Protection Division                      PO Box 22947                            Jackson           MS   39225‐2947                                         First Class Mail
                                                                                ATTN: BANKRUPTCY DEPARTMENT
                                                                                SUPREME COURT BUILDING
29486535 STATE OF MISSOURI ATTORNEY GENERAL                                     207 W. HIGH ST.                         JEFFERSON CITY    MO   65102         ATTORNEY.GENERAL@AGO.MO.GOV          First Class Mail and Email
                                                                                Missouri Attorney General's Office
29495594 State of Missouri Consumer Protection Unit                             PO Box 899                              Jefferson City    MO   65102         consumer.help@ago.mo.gov             First Class Mail and Email
29479965 State Of Nevada ‐ Sales/Use                                            3850 Arrowhead Dr                       Carson City       NV   89706                                              First Class Mail
29479780 State Of Nevada ‐ Sales/Use                                            PO Box 51107                            Los Angeles       CA   90051‐5407                                         First Class Mail
                                                                                ATTN: BANKRUPTCY DEPARTMENT
29486528 STATE OF NEVADA ATTORNEY GENERAL                                       100 NORTH CARSON STREET                 CARSON CITY       NV   89701         AGINFO@AG.NV.GOV                     First Class Mail and Email
                                                                                Nevada Department of Business and
                                                                                Industry
                                                                                Fight Fraud Task Force
29486551 State of Nevada Consumer Protection Division                           555 E. Washington Ave.                  Las Vegas         NV   89101                                              First Class Mail
29487816 State of New Hampshire                                                 PO BOX 637                              CONCORD           NH   03302                                              First Class Mail
                                                                                ATTN: BANKRUPTCY DEPARTMENT
29486526 STATE OF NEW HAMPSHIRE ATTORNEY GENERAL                                33 CAPITOL ST.                          CONCORD           NH   03301‐0000    ATTORNEYGENERAL@DOJ.NH.GOV           First Class Mail and Email
                                                                                New Hampshire Office of the Attorney
                                                                                General
29495597 State of New Hampshire Consumer Protection and Antitrust Bureau        33 Capitol St.                          Concord           NH   03301         DOJ‐CPB@doj.nh.gov                   First Class Mail and Email
                                                                                ATTN: BANKRUPTCY DEPARTMENT
                                                                                RJ HUGHES JUSTICE COMPLEX
29486537 STATE OF NEW JERSEY ATTORNEY GENERAL                                   25 MARKET STREET, P.O. BOX 080          TRENTON           NJ   08625‐0080    ASKCONSUMERAFFAIRS@LPS.STATE.NJ.US   First Class Mail and Email

                                                                                Department of Law and Public Safety
29495598 State of New Jersey Consumer Affairs Division                          124 Halsey St.                          Newark            NJ   07102         askconsumeraffairs@lps.state.nj.us   First Class Mail and Email
29487875 State of New Jersey Division of Taxation ‐ Pioneer Credit Recovery     PO Box 281                              Trenton           NJ   08695                                              First Class Mail
                                                                                ATTN: BANKRUPTCY DEPARTMENT
29486527 STATE OF NEW MEXICO ATTORNEY GENERAL                                   P.O. DRAWER 1508                        SANTA FE          NM   87504‐1508                                         First Class Mail
                                                                                Office of Attorney General
29486550 State of New Mexico Consumer Protection Division                       PO Drawer 1508                          Santa Fe          NM   87504‐1508                                         First Class Mail
                                                                                ATTN: BANKRUPTCY DEPARTMENT
29486538 STATE OF NEW YORK ATTORNEY GENERAL                                     THE CAPITOL                             ALBANY            NY   12224‐0341                                         First Class Mail
                                                                                New York State Department of State
                                                                                Consumer Assistance Unit
29486552 State of New York Consumer Protection Division                         99 Washington Avenue                    Albany            NY   12231         corporations@dos.ny.gov              First Class Mail and Email
29487882 State of New York First District Court of Nassau County                99 Main St                              Hempstead         NY   11550                                              First Class Mail
                                                                                ATTN: BANKRUPTCY DEPARTMENT
29486525 STATE OF NORTH CAROLINA ATTORNEY GENERAL                               9001 MAIL SERVICE CENTER                RALEIGH           NC   27699‐9001                                         First Class Mail




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ADRID                                            NAME                                       ADDRESS                            CITY    STATE POSTALCODE                       EMAIL               METHOD OF SERVICE
                                                                             North Carolina Office of the Attorney
                                                                             General
29495596 State of North Carolina Consumer Protection Division                Mail Service Center 9001              Raleigh             NC   27699‐9001                                         First Class Mail
                                                                             ATTN: BANKRUPTCY DEPARTMENT
29486529 STATE OF OHIO ATTORNEY GENERAL                                      30 E. BROAD ST., 14TH FLOOR           COLUMBUS            OH   43215                                              First Class Mail
                                                                             Ohio Attorney Generals Office
29486553 State of Ohio Consumer Protection Section                           30 E. Broad St., 14th Floor           Columbus            OH   43215‐3400                                         First Class Mail
                                                                             ATTN: BANKRUPTCY DEPARTMENT
29486530 STATE OF OKLAHOMA ATTORNEY GENERAL                                  313 NE 21ST STREET                    OKLAHOMA CITY       OK   73105                                              First Class Mail
                                                                             Oklahoma Attorney General
                                                                             Public Protection Unit
29486554 State of Oklahoma Consumer Protection Division                      313 N.E. 21st St.                     Oklahoma City       OK   73105                                              First Class Mail
                                                                             ATTN: BANKRUPTCY DEPARTMENT
29486531 STATE OF OREGON ATTORNEY GENERAL                                    1162 COURT STREET NE                  SALEM               OR   97301         CONSUMER.HOTLINE@DOJ.STATE.OR.US     First Class Mail and Email
                                                                             Oregon Department of Justice
29486555 State of Oregon Financial Fraud/Consumer Protection Section         1162 Court St., NE                    Salem               OR   97301‐4096    help@oregonconsumer.gov              First Class Mail and Email
                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                             STRAWBERRY SQUARE
29486539 STATE OF PENNSYLVANIA ATTORNEY GENERAL                              16TH FLOOR                            HARRISBURG          PA   17120                                              First Class Mail
                                                                             Office of the Attorney General
29486556 State of Pennsylvania Bureau of Consumer Protection                 Strawberry Square, 15th Floor         Harrisburg          PA   17120                                              First Class Mail
                                                                             DIV OF TAXATION
                                                                             DAVID SULLIVAN
29480006 State Of Rhode Island                                               1 CAPITOL HILL                        PROVIDENCE          RI   02908‐5899                                         First Class Mail
                                                                             ATTN: BANKRUPTCY DEPARTMENT
29495369 STATE OF RHODE ISLAND ATTORNEY GENERAL                              150 SOUTH MAIN STREET                 PROVIDENCE          RI   02903‐0000                                         First Class Mail
                                                                             Rhode Island Department of the
                                                                             Attorney General
29486557 State of Rhode Island Consumer Protection Unit                      150 S. Main St.                       Providence          RI   02903         contactus@riag.ri.gov                First Class Mail and Email
                                                                             ATTN: BANKRUPTCY DEPARTMENT
29495370 STATE OF SOUTH CAROLINA ATTORNEY GENERAL                            P.O. BOX 11549                        COLUMBIA            SC   29211‐1549                                         First Class Mail
                                                                             South Carolina Department of Consumer
                                                                             Affairs
29486558 State of South Carolina Consumer Protection Division                PO Box 5757                           Columbia            SC   29250                                              First Class Mail
                                                                             ATTN: BANKRUPTCY DEPT; STEPHEN R.
                                                                             BUTLER
29495371 STATE OF TENNESSEE ATTORNEY GENERAL                                 P.O. BOX 20207                        NASHVILLE           TN   37202‐0207    STEVE.BUTLER@AG.TN.GOV               First Class Mail and Email

                                                                             Tennessee Department of Commerce
                                                                             and Insurance
29495380 State of Tennessee Consumer Affairs Division                        500 James Robertson Pkwy., 12th Floor    Nashville        TN   37243‐0600    consumer.affairs@tn.gov              First Class Mail and Email
                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                             CAPITOL STATION
29486540 STATE OF TEXAS ATTORNEY GENERAL                                     PO BOX 12548                             AUSTIN           TX   78711‐2548    public.information@oag.state.tx.us   First Class Mail and Email

                                                                             Texas Office of the Attorney General
29495381 State of Texas Consumer Protection Division                         PO Box 12548                             Austin           TX   78711‐2548                                         First Class Mail
                                                                             ATTN: BANKRUPTCY DEPARTMENT
29495372 STATE OF UTAH ATTORNEY GENERAL                                      PO BOX 142320                            SALT LAKE CITY   UT   84114‐2320    bankruptcy@agutah.gov                First Class Mail and Email




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ADRID                                            NAME                                                 ADDRESS                              CITY      STATE POSTALCODE                         EMAIL                   METHOD OF SERVICE
                                                                                       Utah Department of Commerce
29495382 State of Utah Consumer Protection Division                                    160 E. 300 S, 2nd Floor                   Salt Lake City      UT   84114‐6704    consumerprotection@utah.gov                First Class Mail and Email
                                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                                       FINANCIAL RECOVERY SECTION
29495599 STATE OF VIRGINIA ATTORNEY GENERAL                                            POST OFFICE BOX 610                       RICHMOND            VA   23218‐0610                                               First Class Mail

                                                                                       Virginia Office of the Attorney General
29495383 State of Virginia Consumer Protection Section                                 900 E. Main St                            Richmond            VA   23219                                                    First Class Mail
                                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                                       1125 WASHINGTON ST. SE
29495600 STATE OF WASHINGTON ATTORNEY GENERAL                                          P.O. BOX 40100                            OLYMPIA             WA   98504‐0100                                               First Class Mail

                                                                                       Washington Office of the Attorney
                                                                                       General
29495384 State of Washington Consumer Protection Division                              PO Box 40100 1125 Washington St., SE      Olympia             WA   98504‐0100                                               First Class Mail
                                                                                       ATTN: BANKRUPTCY DEPARTMENT
29495602 STATE OF WEST VIRGINIA ATTORNEY GENERAL                                       STATE CAPITOL BLDG 1 ROOM E 26            CHARLESTON          WV   25305         CONSUMER@WVAGO.GOV                         First Class Mail and Email
                                                                                       Office of the Attorney General
29495386 State of West Virginia Consumer Protection Division                           PO Box 1789                               Charleston          WV   25326‐1789                                               First Class Mail
29487779 State of West Virginia State Tax Department, Tax Account Administration Div   1001 Lee St East                          Charleston          WV   25301                                                    First Class Mail
29487587 State of West Virginia State Tax Department, Tax Account Administration Div   PO Box 1202                               Charleston          WV   25324‐1202                                               First Class Mail

                                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                                       WISCONSIN DEPARTMENT OF JUSTICE
                                                                                       17 WEST MAIN STREET, POST OFFICE                                                 DOJBANKRUPTCYNOTICEGROUP@DOJ.STATE.WI.
29495601 STATE OF WISCONSIN ATTORNEY GENERAL                                           BOX 7857                                  MADISON             WI   53707         US                                     First Class Mail and Email

                                                                                       Wisconsin Department of Agriculture,
                                                                                       Trade and Consumer Protection
29495385 State of Wisconsin Consumer Bureau of Consumer Protection                     PO Box 8911                               Madison             WI   53708‐8911    datcphotline@wi.gov                        First Class Mail and Email
29487572 Steamboat Springs Finance Department                                          124 10th St                               Steamboat Springs   CO   80477                                                    First Class Mail
29479766 Sterling Finance Department                                                   421 N 4th St                              Sterling            CO   80751                                                    First Class Mail
29487795 Suffolk County Dept Consumer                                                  PO BOX 6100                               HAUPPAUGE           NY   11788                                                    First Class Mail
29480061 Suffolk County Police Dept                                                    30 YAPHANK AVENUE                         YAPHANK             NY   11980                                                    First Class Mail
29479996 Summit County Public Health                                                   1867 WEST MARKET STREET                   AKRON               OH   44313                                                    First Class Mail
29487715 Sumter County Assessor's Office                                               13 E Canal St                             Sumter              SC   29150                                                    First Class Mail
29479742 Tangipahoa Parish School SystemSales Tax Division                             106 N Myrtle St                           Amite               LA   70422                                                    First Class Mail
29487609 Tarrant Appraisal District                                                    2500 Handley‐Ederville Rd                 Fort Worth          TX   76118                                                    First Class Mail
29487582 Tax Collector ‐ Parish of St. Tammany                                         300 Brownswitch Rd                        Slidell             LA   70458                                                    First Class Mail
29487613 Tax Collector, Brookfield                                                     100 Pocono Rd                             Brookfield          CT   06804                                                    First Class Mail
29479767 Telluride Finance Department                                                  135 W Columbia                            Telluride           CO   81435                                                    First Class Mail
29479787 Tennessee Department of Revenue                                               500 Deadrick Street                       Nashville           TN   37242                                                    First Class Mail
                                                                                       c/o Attorney General
29487776 Tennessee Department of Revenue                                               PO Box 20207                              Nashville           TN   37202‐0207                                               First Class Mail
29487802 Tennessee Dept Of Revenue                                                     500 Deadrick Street                       Nashville           TN   37242                                                    First Class Mail
29479788 Texas Comptroller                                                             PO Box 149348                             Austin              TX   78714‐9348                                               First Class Mail
29487858 Texas Department of Agriculture                                               PO BOX 12847                              AUSTIN              TX   78711‐2847                                               First Class Mail
29487793 Texas Department of Revenue                                                   111 East 17th St                          Austin              TX   78774                                                    First Class Mail




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ADRID                                            NAME                          ADDRESS                            CITY    STATE POSTALCODE       EMAIL      METHOD OF SERVICE
                                                                  ENFORCEMENT DIVISION
29487808 Texas Dept of Agriculture                                PO BOX 12847                          AUSTIN            TX    78711                    First Class Mail
29487758 Thornton Finance Department                              9500 Civic Center Dr                  Thornton          CO    80229                    First Class Mail
29487631 Thurston County Assessor's Office                        3000 Pacific Ave SE                   Olympia           WA    98501                    First Class Mail
29479768 Timnath Finance Department                               4750 Signal Tree Dr                   Timnath           CO    80547                    First Class Mail
29479834 Tippecanoe County Assessor's Office                      20 N 3rd St                           Lafayette         IN    47901                    First Class Mail
29487794 Town of Ashland                                          101 MAIN STREET                       ASHLAND           MA    01721                    First Class Mail
29479752 Town of Avon Finance Department                          100 Mikaela Way                       Avon              CO    81620                    First Class Mail
29487836 Town of Babylon                                          200 SUNRISE HWY                       LINDENHURST       NY    11757‐2597               First Class Mail
29480064 Town of Bedford                                          215 East Main St                      Bedford           VA    24523                    First Class Mail
29487820 Town of Billerica                                        PO BOX 596                            BILLERICA         MA    01821‐0596               First Class Mail
29487845 Town of Boone                                            1500 BLOWING ROCK ROAD                BOONE             NC    28607                    First Class Mail
29487545 Town of Breckenridge Finance Department                  150 Ski Hill Rd                       Breckenridge      CO    80424                    First Class Mail
29487797 Town of Chili                                            3333 CHILE AVENUE                     ROCHESTER         NY    14624                    First Class Mail
                                                                  Attn: Town Attorney
29495441 Town of Clarksville                                      2000 Broadway Street                  Clarksville       IN    47129                    First Class Mail
29479988 Town of Fairhaven                                        40 CENTER STREET                      FAIRHAVEN         MA    02719                    First Class Mail
                                                                  Attn Town Attorney
29495529 Town of Fairhaven                                        40 Center Street                      Fairhaven         MA    02719                    First Class Mail
                                                                  100 MAIN ST
29480030 Town Of Huntington                                       ROOM 310 SIGN PERMIT                  HUNTINGTON         NY   11743                    First Class Mail
29487877 Town of Narrangasett                                     25 Fifth Ave                          Narragansett       RI   02882                    First Class Mail
29480009 Town Of North Providence                                 2000 SMITH STREET                     NORTH PROVIDENCE RI     02911                    First Class Mail
29487893 Town of Oxford                                           325 MAIN STREET                       OXFORD             MA   01540                    First Class Mail
29487841 Town of Smithtown                                        23 Redwood Ln                         Smithtown          NY   11787                    First Class Mail
29487842 Town of Stoneham                                         35 Central St                         Stoneham           MA   02180                    First Class Mail
29480015 Town of Vienna, Virginia                                 127 Center St S                       Vienna             VA   22180                    First Class Mail
29479991 Town Of West Springfield                                 26 CENTRAL STREET STE 9               WEST SPRINGFIELD TOMA   01089                    First Class Mail
29480004 Township of Berkeley                                     627 Pinewald Keswick Rd               Bayville           NJ   08721                    First Class Mail
                                                                  C/O JORDAN TAX SERVICE
29487814 Township of Collier                                      102 RAHWAY ROAD                       MCMURRAY          PA    15317                    First Class Mail
29487813 Township of Cumru                                        1775 Welsh Rd                         Mohnton           PA    19540                    First Class Mail
29479999 Township of Pittston                                     421 BROAD STREET                      PITTSTON          PA    18640                    First Class Mail
29479803 Travis Central Appraisal District                        850 East Anderson Ln                  Austin            TX    78752                    First Class Mail
                                                                  221 S Mooney Blvd
29487653 Tulare County Assessor's Office                          Rm 102E                               Visalia           CA    93291                    First Class Mail
                                                                  218 W Sixth St
29486876 Tulsa County Assessor's Office                           5th Fl                                Tulsa             OK    74119                    First Class Mail
29479897 Tuscaloosa County Revenue Commission                     714 Greensboro Ave                    Tuscaloosa        AL    35401                    First Class Mail
                                                                  ATTN: DAVID C. WEISS
                                                                  U.S. ATTORNEY'S OFFICE
29495373 U.S. ATTORNEY FOR DELAWARE                               1313 N MARKET STREET, SUITE 400       WILMINGTON        DE    19801                    First Class Mail
29479910 Union County Tax Office                                  500 North Main St                     Monroe            NC    28112                    First Class Mail
29479805 United Independent School District                       3501 E Saunders                       Laredo            TX    78041                    First Class Mail
                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                  US DEPT OF JUSTICE
29495376 UNITED STATES OF AMERICA ATTORNEY GENERAL                950 PENNSYLVANIA AVE NW               WASHINGTON        DC    20530‐0001               First Class Mail
29487848 United States Treasury                                   PO BOX 47421 STOP 74                  DORAVILLE         GA    30362                    First Class Mail
29487777 Utah State Tax Commission                                210 N 1950 W                          Salt Lake City    UT    84134‐0400               First Class Mail



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ADRID                                            NAME                              ADDRESS                               CITY       STATE POSTALCODE      EMAIL       METHOD OF SERVICE
29479770 Vail Finance Department                                    75 S Frontage Rd West                       Vail                CO   81657                    First Class Mail
                                                                    1 NW Martin Luther King Jr Blvd
29479835 Vanderburgh County Assessor's Office                       Rm 227                                      Evansville          IN   47708                    First Class Mail
29487654 Ventura County Assessor's Office                           800 South Victoria Ave                      Ventura             CA   93009                    First Class Mail
29479789 Vermont Department of Taxes                                109 STATE ST                                MONTPELIER          VT   05609‐0001               First Class Mail
29487786 Victoria County Tax Office                                 205 N. Bridge St. Suite 101                 Victoria            TX   77901                    First Class Mail
29480056 Village of Arlington Heights                               33 S Arlington Heights Rd                   Arlington Heights   IL   60005                    First Class Mail
                                                                    Attn: Village Attorney
                                                                    Odelson & Sterk, Ltd.
29495569 Village of Broadview                                       3318 West 95th Street                       Evergreen Park      IL   60805                    First Class Mail
29480035 Village Of Deerfield                                       850 Waukegan Rd                             Deerfield           IL   60015                    First Class Mail
29480012 Village Of Elmwood Park                                    11 Conti Parkway                            Elmwood Park        IL   60707                    First Class Mail
29487856 Village of Gurnee                                          325 N O'Plaine                              Gurnee              IL   60031                    First Class Mail
                                                                    Attn: Village Attorney
29495554 Village of Holland                                         1245 Clarion Ave.                           Holland             OH   43528                    First Class Mail
29480043 Village of Libertyville                                    118 WEST COOK AVENUE                        LIBERTYVILLE        IL   60048                    First Class Mail
29487839 Village Of Lincolnwood                                     6900 N LINCOLN AVENUE                       LINCOLNWOOD         IL   60712                    First Class Mail
29480019 Village of Merrionette Park                                11720 S Kedzie                              Merrionette Park    IL   60803                    First Class Mail
29487796 Village Of Morton Grove                                    6101 Capulina Ave                           Morton Grove        IL   60053                    First Class Mail
29487831 Village Of Mount Pleasant                                  PO BOX 1126                                 KENOSHA             WI   53141                    First Class Mail
29487878 Village of Mt. Pleasant                                    PO BOX 1126                                 KENOSHA             WI   53141                    First Class Mail
29480055 Village of Mundelein                                       300 Plaza Circle                            Mundelein           IL   60060                    First Class Mail
                                                                    Attn: Thomas J. Halleran, Village
                                                                    Attorney
                                                                    Sotrino Ramello & Durkin
                                                                    9501 Technology Blvd.
29495568 Village of Streamwood                                      Suite 4200                                  Rosemont            IL   60018                    First Class Mail
29487819 Village of the Branch                                      PO BOX 725                                  SMITHTOWN           NY   11787                    First Class Mail
                                                                    Attn: Village Attorney
                                                                    Del Galdo Law Group, LLC
29486736 Village of Tinley Park                                     1441 South Harlem Avenue                    Berwyn              IL   60402                    First Class Mail
29479841 Virginia Beach Assessor's Office                           2401 Courthouse Dr                          Virginia Beach      VA   23456                    First Class Mail
29480047 Virginia Department of Taxation                            PO Box 26627                                Richmond            VA   23261‐6627               First Class Mail
                                                                    123 W Indiana Ave
29487688 Volusia County Property Appraiser                          Rm 102                                      Deland              FL   32720                    First Class Mail
                                                                    123 W Indiana Ave
29487787 Volusia County Revenue Divison                             Rm 103                                      DeLand              FL   32720                    First Class Mail
29479908 Wake County Tax Administration Department                  301 S McDowell St, 3rd Floor                Raleigh             NC   27601                    First Class Mail
29479994 Wallington Board of Health                                 24 UNION BLVD                               WALLINGTON          NJ   07057                    First Class Mail
29487730 Waltham Board of Assessors                                 25 Lexington St                             Waltham             MA   02452                    First Class Mail
                                                                    Assessing Department
29479932 Warren Assessors Office                                    Ste 310                                     Warren              MI   48093                    First Class Mail
29479898 Warren County Property Valuation Administrator             429 E 10th Ave                              Bowling Green       KY   42101                    First Class Mail
29487689 Warren County Tax Assessor’s Office                        429 E 10th Ave                              Bowling Green       KY   42101                    First Class Mail
                                                                    Municipal Annex
29486878 Warwick Tax Assessor's Office                              65 Centerville Rd                           Warwick             RI   02886                    First Class Mail
29487623 Washington County Assessor's Office                        100 E Main St                               Jonesborough        TN   37659                    First Class Mail
29487778 Washington State Department of Revenue                     6500 Linderson Way SW                       Tumwater            WA   98501                    First Class Mail
29479790 Washington State Department of Revenue                     PO Box 47464                                Olympia             WA   98504‐7464               First Class Mail



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ADRID                                            NAME                           ADDRESS                            CITY     STATE POSTALCODE      EMAIL       METHOD OF SERVICE
29486874 Washoe County Assessor's Office                          1001 E Ninth St                        Reno               NV   89512                    First Class Mail
                                                                  Ste 21 Courthouse
29487741 Watauga County Tax Administration                        842 W King St                          Boone              NC   28607                    First Class Mail
29479795 Water Control and Improvement District #145              5870 Highway 6 North                   Houston            TX   77084                    First Class Mail
29487589 Wauwatosa Assessor's Office                              7725 W North Ave                       Wauwatosa          WI   53213                    First Class Mail
29479909 Wayne County Tax Department                              224 E Walnut St                        Goldsboro          NC   27530                    First Class Mail
29479804 Webb County Appraisal District                           3302 Clark Blvd                        Laredo             TX   78043                    First Class Mail
29479998 West Goshen Township                                     1025 PAOLI PIKE                        WEST CHESTER       PA   19380                    First Class Mail
                                                                  3700 Buffalo Spdwy
29479796 West Park Municipal Utility District                     Ste 830                                Houston            TX   77098                    First Class Mail
                                                                  Town of West Springfield Department of
                                                                  Assessors
29487728 West Springfield Board of Assessors                      26 Central St                          West Springfield   MA   01089                    First Class Mail
29479984 West Virginia Department of Agriculture                  1900 Kanawha Blvd E                    Charleston         WV   25305                    First Class Mail
29487874 Westminister MD 21157‐5155                               55 N Court St                          Westminster        MD   21157                    First Class Mail
                                                                  15 E Main St
29479823 Westminster City Assessor's Office                       Ste 229                                Westminster        MD   21157                    First Class Mail
29479771 Westminster Finance Department                           4800 W 92nd Ave                        Westminster        CO   80031                    First Class Mail
29487812 Westmoreland County Treasurer                            2 NORTH MAIN STREET                    GREENSBURG         PA   15601                    First Class Mail
29480033 Westshore Regional Police Department                     510 Herman Ave                         Lemoyne            PA   17043                    First Class Mail
                                                                  311 Grand Ave
29487632 Whatcom County Assessor's Office                         Ste 106                                Bellingham         WA   98225                    First Class Mail
                                                                  City of Wheat Ridge
29479956 Wheat Ridge Finance Department                           7500 W 29th Ave                        Wheat Ridge        CO   80033                    First Class Mail
                                                                  TREASURER'S OFFICE BUSINESS LICENSE
                                                                  DEPT
29487800 Whitehall Township                                       3221 MACARTHUR ROAD                    FULLERTON          PA   18052                    First Class Mail
29487894 WI Department of Revenue                                 2135 Rimrock Rd                        Madison            WI   53713                    First Class Mail
29486871 Wicomico County Property Tax Office                      125 North Division St                  Salisbury          MD   21803                    First Class Mail
29479940 Williamson Central Appraisal District                    625 FM 1460                            Georgetown         TX   78626                    First Class Mail
29479807 Williamson County Appraisal District                     625 FM 1460                            Georgetown         TX   78626                    First Class Mail
29479772 Windsor Finance Department                               301 Walnut St                          Windsor            CO   80550                    First Class Mail
29479773 Winter Park Finance Department                           50 Vasquez Rd                          Winter Park        CO   80482                    First Class Mail
                                                                  Attn: Genereal Counsel
29487780 Wisconsin Department of Revenue                          PO Box 59                              Madison            WI   53785‐0001               First Class Mail
29487586 Wisconsin Department of Revenue                          Box 93389                              Milwaukee          WI   53293‐0389               First Class Mail
                                                                  2nd Floor of City Hall
29479848 Woburn Assessor's Office                                 10 Common St                           Woburn             MA   01801                    First Class Mail
29487746 Wood County Sheriff, Treasurer Office                    319 Market St                          Parkersburg        WV   26101                    First Class Mail
29479774 Woodland Park Finance Department                         220 W South Ave                        Woodland Park      CO   80866                    First Class Mail
                                                                  122 W 25th St Ste E301
29487588 Wyoming Department of Revenue                            Herschler Bldg East                    Cheyenne           WY   82002                    First Class Mail
29487716 York County Assessor's Office                            6 South Congress St                    York               SC   29745                    First Class Mail
                                                                  1 S Huron St
29487737 Ypsilanti Township Assessing Department                  4th Floor                              Ypsilanti          MI   48197                    First Class Mail
29486881 Yuma County Assessor's Office                            2550 S 4th Avenue                      Yuma               AZ   85364                    First Class Mail




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ADRID                                    NAME                       ADDRESS                              CITY                STATE        POSTALCODE     COUNTRY        EMAIL       METHOD OF SERVICE
                                                     c/o First Capital Realty Inc., 600 N. 2nd
29783760 100 Brentwood Associates L.P.               Street, Suite 401                          Harrisburg              PA            17101                                     First Class Mail
29783761 1010data Retail Solutions LLC               750 Third Avenue, 4th Floor                New York                NY            10017                                     First Class Mail
29783762 1010data Service LLC                        750 Third Avenue, 4th Floor                Detroit                 MI            48267‐5085                                First Class Mail
29783763 1010data, Inc.                              750 Third Avenue, 4th Floor                New York                NY            10017                                     First Class Mail
29790541 1050 Sunrise LLC                            101 Alma Street                            Palo Alto               CA            94301                                     First Class Mail
29790542 11:11 Systems, Inc.                         1235 North Loop West                       Houston                 TX            77008                                     First Class Mail
29783766 1170 Northern Boulevard LLC                 40 Harbor Park Drive North                 Port Washington         NY            11050                                     First Class Mail
29783767 123.Net, Inc.                               24700 Northwestern Hwy                     Southfield              MI            48075                                     First Class Mail
                                                     Attn: Bill Belford, 2799 NW Second
29762620 1230 Zion LLC                               Avenue, Ste. 105                           Boca Raton              FL            33431                                     First Class Mail
29783768 123NET                                      24700 Northwestern Hwy                     Southfield              MI            48075                                     First Class Mail
29783769 1250 Niagra Falls Boulevard Tonawanda LLC   1250 Niagra Falls Boulevard                Tonawanda               NY            14150                                     First Class Mail
29783770 12550 LLC                                   PO BOX 300439                              BROOKLYN                NY            11230                                     First Class Mail
29604756 1313 APALACHEE PARKWAY LLC                  2057 DELTA WAY                             Tallahassee             FL            32303                                     First Class Mail
29776574 1480 Cafe LLC                               10 East 120th Avenue                       Northglenn              CO            80233                                     First Class Mail
                                                     c/o Ohio Equities LLC, 605 S Front Street,
29776575 1499 Rome Hilliard LLC                      Suite 200                                  Columbus                OH            43215                                     First Class Mail
                                                     c/o Burkwood Associates, 255 Butler
29776576 1515 Lititz Partners, LLC                   Avenue, Suite 203                          Lancaster               PA            17601                                     First Class Mail
                                                     c/o Goldberg Group, P.O. Box 8195,
29776577 1522 14th Street LLC                        Suite 400                                  White Plains            NY            10602                                     First Class Mail
29776578 1584 Flatbush Avenue Partners, LLC          539 Eastern Parkway Third Floor,           Brooklyn                NY            11216                                     First Class Mail
29601982 1700 EUBANK LLC                             6106 JEFFERSON NE SUITE A2                 Albuquerque             NM            87109                                     First Class Mail
                                                     c/o Century Investment Co., 181 Park
29776579 175 Memorial Ave., LLC                      Ave., Suite 1                              West Springfield        MA            01089                                     First Class Mail
                                                     c/o Comstock Crosser & Assoc.
                                                     Development Co. Inc., 3760 Kilroy
29776580 1800 Rosecrans Partners LLC                 Airport Way, Suite 130                     Long Beach              CA            90806                                     First Class Mail
29776581 1803 Rockville Pike LLC                     107 W Jefferson Street                     Rockville               MD            20850                                     First Class Mail
29776582 195 Harbison, LLC                           3253 Harrison Rd.,                         Columbia                SC            29204                                     First Class Mail
29776583 2013 Massey Blvd LLC                        PO BOX 4217,                               Hagerstown              MD            21741‐4217                                First Class Mail
29783771 211 Wallkill Realty LLC                     430 Park Avenue                            New York City           NY            10022                                     First Class Mail
29783772 212 Design, Inc. dba Two One Two Design     45 West 21st Street Suite 403              New York                NY            10010                                     First Class Mail
                                                     c/o Newmark Grubb Knight, 3424
29783773 2130 Pleasant Hill Rd                       Peachtree Road NE, Suite 800               Atlanta                 GA            30326                                     First Class Mail
29783774 2205 Federal Investors, LLC                 177 Fox Meadow Road                        Scarsdale               NY            10583                                     First Class Mail
29783775 2229 2nd Street North‐Millville, LLC        1000 Portside Drive,                       Edgewater               NJ            07020                                     First Class Mail
29783776 2397 S. Stemmons LLC                        7802 Goddard Ave.                          Los Angeles             CA            90045                                     First Class Mail
29790543 24 Seven Inc.                               1851 NORTH SOUTHERN ROAD                   Kansas City             MO            64120                                     First Class Mail
29790544 244 East 86th Street LLC                    19 West 21st Street                        New York City           NY            10010                                     First Class Mail
29791247 250 Three Springs, LP                       4041 Liberty Avenue                        Pittsburgh              PA            15224                                     First Class Mail
29791248 27386 Carronade, LLC                        2600 West Big Beaver Rd                    Troy                    MI            48084                                     First Class Mail
                                                     c/o Kimco Realty Corporation, 2429 Park
29783781 280 Metro Limited Partnership               Avenue                                     Tustin                  CA            92782                                     First Class Mail
29791249 2nd Watch, Inc.Aptitive                     2310 N Molter Suite 340                    Liberty Lake            WA            99019                                     First Class Mail
                                                     c/o Crosspoint Associates Inc., 188
29776584 30 Worcester Road LLC                       Needham Street, Suite 255                  Newton Upper Falls      MA            02464                                     First Class Mail
                                                     C/O Schuckman Management LLC, 120
29776585 300 West 23rd Street Retail LLC             North Village Avenue                       Rockville Centre        NY            11570                                     First Class Mail
                                                     Attn: Jennifer Janecka, 2009 Porterfield
29762633 30X30 34th Street Lubbock Partners, LLC     Way, Ste. P                                Upland                  CA            91786                                     First Class Mail
29776586 313 Presents, LLC                           2525 Woodward Avenue                       Detroit                 MI            48201                                     First Class Mail
29623024 327 EH LLC                                  46 Main Street                             Millburn                NJ            07041                                     First Class Mail



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ADRID                                    NAME                               ADDRESS                              CITY                STATE        POSTALCODE          COUNTRY                       EMAIL       METHOD OF SERVICE

                                                              c/o Boulos Asset Management, 100
29776588 335 MMR Development, LLC and Who is John Galt? LLC   Middle Street, East Tower ‐ Suite 230    Portland                 ME            04101                                                         First Class Mail
                                                              c/o Serota Properties, 70 East Sunrise
29776589 3644 Long Beach Road, LLC                            Hwy., Suite 610                          Valley Stream            NY            11581                                                         First Class Mail
29790545 365 Data Centers Services, LLC                       200 Connecticut Avenue                   Norwalk                  CT            06854                                                         First Class Mail
                                                              Unit 706, 7/F., South Seas Centre, Tower
29790546 37POINT HK Co., Ltd. dba Seven‐Hub                   2, 75 Mody Road                          Hong Kong                                               Hong Kong                                    First Class Mail
                                                              c/o Adelphia Properties, 1314
29776591 383 Army Trail LLC                                   Kensington Road #4974,                   Oak Brook                IL            60523                                                         First Class Mail
29776592 3841 Kirkland Highway, LLC                           200 Airport Road                         New Castle               DE            19720                                                         First Class Mail
         385 Fifth Avenue LLC by Hilson Management Corp. as
29776593 agent for the Landlord                               185 Madison Avenue,                     New York City             NY            10016                                                         First Class Mail
29783784 3Deez, LLC                                           4712 Ocean Blvd.                        Destin                    FL            32541                                                         First Class Mail
29783785 4 Healthy Paws, Inc.                                 11040 Pinevale Lane                     Franktown                 CO            80116                                                         First Class Mail
29783787 4 Pets Enterprises, LLC                              10705 NE. 156th Avenue                  Vancouver                 WA            98682                                                         First Class Mail
29783788 400 Success LLC                                      P.O. Box 148                            Croton‐on‐Hudson          NY            10520                                                         First Class Mail
29791871 400 SUCCESS LLC C/O M FORCE REALTY LLC               P.O. Box 148                            Croton on Hudson          NY            10520‐0148                                                    First Class Mail
29790547 400‐688 N. Alafaya Trail, LLC                        543 N. Wymore Road                      Maitland                  FL            32751                                                         First Class Mail
29783790 401 Federal Investments, LLC                         215 N. Federal Highway,                 Boca Raton                FL            33432                                                         First Class Mail
29790548 4015 Veterans, LLC                                   1200 South Clearview Pkwy               New Orleans               LA            70123                                                         First Class Mail
29783792 4077814 Delaware Inc. DBA Canus USA                  26 Leonard Ave                          Leonardo                  NJ            07737                                                         First Class Mail
                                                              Attn: Bill Belford, 2799 NW Second
29762616 4116 OBT Investments, LLC                            Avenue, Ste. 105                        Boca Raton                FL            33431                                                         First Class Mail
29648872 415 State Route 18 LLC                               415 State Route 18                      East Brunswick            NJ            08816                                                         First Class Mail
29783794 434 Southbridge LLC                                  532 Great Road,                         Acton                     MA            01720                                                         First Class Mail
                                                              c/o Northpath Investments, 144 East
29783795 4405 Milestrip HD Lessee LLC                         44th Street, Suite 601                  New York                  NY            10017                                                         First Class Mail
29776595 462 Express LLC                                      3725 N 128th Ave                        Avondale                  AZ            85392                                                         First Class Mail
29776596 470 French Road L.L.C.                               P.O. Box 213                            Yorkville                 NY            13495                                                         First Class Mail
29790549 4701 Cooper Street Arlington, L.L.C.                 11035 Lavender Hill Drive               Las Vegas                 NV            89135                                                         First Class Mail
29776598 4801 Hulen LLC                                       8100 E. 22nd North Bldg. 1700‐2,        Wichita                   KS            67226                                                         First Class Mail
29610981 4801 WASHTENAW LLC                                   15041 BURTON                            OAK PARK                  MI            48237                                                         First Class Mail
29671173 4968 Transit Road LLC                                2 Wendling Ct                           Lancaster                 NY            14086                             neil@Kulbacks.com           First Class Mail and Email
29776601 4R Systems, Inc.                                     801 Cassatt Road, Suite 202             Berwyn                    PA            19312                                                         First Class Mail
29776602 5055 Monroe Street, LLC                              864 8th Street,                         Manhattan Beach           CA            90266                                                         First Class Mail
29790550 5501 LR LLC                                          36 Maple Place                          Manhasset                 NY            11030                                                         First Class Mail
29790551 5510‐5520 Broadway LLC                               One Independent Drive                   Jacksonville              FL            32202                                                         First Class Mail
29790552 5592 Santa Teresa Blvd., LLC                         333 W. El Camino Real                   Sunnyvale                 CA            94087                                                         First Class Mail
                                                              c/o Benderson Development, 7978
29783797 570 Associates III, LLC                              Cooper Creek Blvd., Suite 100           University Park           FL            34201                                                         First Class Mail
                                                              c/o Benderson Properties Inc., 7978
29783798 570 DAB 29, LLC                                      Cooper Creek Boulevard, Suite #100      Bradenton                 FL            34201                                                         First Class Mail
29783799 5702 Johnston, LLC                                   408 Worth Ave,                          Lafayette                 LA            70508                                                         First Class Mail
                                                              c/o Avison Young Nevada, 10845 Griffith
29783800 5J's Vegas Rainbow LLC                               Peak Drive, Suite 100                   Las Vegas                 NV            89135                                                         First Class Mail
29783801 6 Pack Fitness, LLC                                  395 Mendell Street                      San Francisco             CA            94124                                                         First Class Mail
29783802 6 Wags, Inc.                                         900 Nina Court                          Mendota Heights           MN            55118                                                         First Class Mail

29762615 6001 Powerline, LLC                                  Attn: Andrew Naumov, 1200 Wright Ave Richmond                     CA            94804                                                         First Class Mail
29783803 601 Plaza, LLC                                       1000 Grand Central Mall              Vienna                       WV            26105                                                         First Class Mail
                                                              c/o Regency Centers Corporation, One
29783804 60617 Balboa Mesa, LLC                               Independent Drive, Suite 114         Jacksonville                 FL            32202‐5019                                                    First Class Mail




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ADRID                                    NAME                             ADDRESS                                 CITY                STATE        POSTALCODE            COUNTRY                      EMAIL            METHOD OF SERVICE

                                                           c/o Comar Properties Managing Agent,
29783805 6310 West 95th LLC                                17W220 22nd Street, Suite 350             Villa Park                  IL            60181                                                               First Class Mail
29790553 66 Holyoke LLC                                    63 Myron St.                              West Springfield            MA            01089                                                               First Class Mail
                                                           C/O LAND RUN COMMERICALREAL
                                                           ESTATE ADVISORS LLC, 114 NW 6TH ST
29601873 7000 S MAY AVENUE LLC                             SUITE 206                                 Oklahoma City               OK            73102                                                               First Class Mail
29790554 7708 W Bell Road LLC                              700 E Ogden Avenue                        Westmont                    IL            60559                                                               First Class Mail
29623037 78 Lawrence Street LLC                            231 Hawthorne Avenue                      Yonkers                     NY            10705                                                               First Class Mail
29790555 81‐01 37TH Avenue LLC                             60 Crossways Park Drive West              Woodbury                    NY            11797                                                               First Class Mail
29791250 8246 Delaware, Inc.                               295 Main Street                           Buffalo                     NY            14203                                                               First Class Mail

                                                           c/o Comar Properties managing agent,
29776608 8600 West Golf LLC                                17W220 22nd Street, Suite 350             Villa Park                  IL            60181                                                               First Class Mail
29776609 8x8, inc.                                         1350 Broadway                             New York                    NY            10018                                                               First Class Mail
29776610 8x8, Inc.                                         675 Creekside Way                         Campbell                    CA            95008                                                               First Class Mail
29648790 9‐27 Natick LLC                                   Michael Redfern, 300 Third Avenue         Waltham                     MA            02451                               mredfern@finardproperties.com   First Class Mail and Email
                                                           c/o Benderson Development, 7978
29776612 95 NYRPT, LLC                                     Cooper Creek Blvd, Suite 100              University Park             FL            34201                                                               First Class Mail
29790556 A & B Properties Hawaii, LLC, Series R            220 South King St.                        Honolulu                    HI            96813                                                               First Class Mail
29776615 A C Grace CO                                      111 East Gilmer Street                    Big Sandy                   TX            75755                                                               First Class Mail
29783808 A Guerrero, LLC                                   825 W. Chicago Ave.                       Chicago                     IL            60642                                                               First Class Mail
29783809 A Pet's Life, LLC                                 16915 Turkey Point Street                 San Antonio                 TX            78232‐1830                                                          First Class Mail
29783810 A&C Snacks LLC                                    935 Gravier St, 10th Floor                New Orleans                 LA            70112                                                               First Class Mail
29783811 A&F Distributors 786, Inc.                        15 Stirrup Lane                           Salonga                     NY            11768                                                               First Class Mail
29790557 A&G Realty Partners, LLC                          445 Broadhollow Road                      Melville                    NY            11747                                                               First Class Mail
29783813 A/P Recovery, Inc.                                975 Johnnie Dodds Blvd.                   Mt. Pleasant                SC            29464                                                               First Class Mail
         A+ Secure Packaging, LLC, d/b/a Cardinal Health
29783814 Packaging Solutions                               339 Mason Road                            LaVergne                    TN            37086                                                               First Class Mail
29783815 A360 Enterprises, LLC                             4600 W. 77th Street Suite 295             Edina                       MN            55435                                                               First Class Mail
29790558 a360 Media                                        4 New York Plaza                          New York                    NY            10004                                                               First Class Mail
29783817 AAD:FITCH, LLC                                    16435 N. Scottsdale Road, Suite 195       Scottsdale                  AZ            85254                                                               First Class Mail
29783818 Aanjaney LLC                                      11132 Ashbury Meadows Drive               Dayton                      OH            45458                                                               First Class Mail
29783819 Abbott Laboratories Inc.                          3300 Stelzer Road                         Columbus                    OH            43219                                                               First Class Mail
                                                           Louie Andrakaos, 111 Rockville Pike,
29648783 Aberdeen Marketplace, LLC                         Suite 1100                                Rockville                   MD            20850                               landrakakos@cmfa.com            First Class Mail and Email
         Aberdeen Oklahoma Assoc & Pasan Trustc/o Kin      c/o Kin Properties Inc., 185 NW Spanish
29776616 Properties                                        River Blvd., Suite 100                    Boca Raton                  FL            33431                                                               First Class Mail
                                                           c/o TIG Real Estate Services, 901 South
29776617 Aberfeldy Properties, Inc.                        MoPac, Suite 285                          Austin                      TX            78746                                                               First Class Mail
29776618 Abhishek Singla (Entity Pending)                  21341 Abbeyfields Drive                   Ashburn                     VA            20147                                                               First Class Mail
29790559 Abra Health, LLC                                  103 Eisenhower Parkway                    Roseland                    NJ            07068                                                               First Class Mail
29783700 Absorb Software Inc.                              #2500 ‐ 685 Centre St. S                  Calgary                     AB            T2G 1S5          Canada                                             First Class Mail
29776620 ACA‐SC Limited Partnership                        P.O. Box 52428                            Atlanta                     GA            30355                                                               First Class Mail
29776621 Acceleration Partners, LLC                        16 Rae Ave                                Needham                     MA            02492                                                               First Class Mail
29776622 Access Development                                1012 W. Beardsley Place                   Salt Lake City              UT            84119                                                               First Class Mail
29776623 Access Staffing, LLC                              360 Lexington Avenue                      New York                    NY            10017                                                               First Class Mail
29776624 Accounting Principals, Inc.                       DEPT CH 14031                             Palatine                    IL            60055‐4031                                                          First Class Mail
                                                           10801‐2 N. Mopac Expressway, Suite
29783821 Accruent, LLC                                     400                                       Austin                      TX            78759                                                               First Class Mail
                                                           10801‐2 N. Mopac Expressway, Suite
29776626 Accruent, LLC                                     400                                       Austin                      TX            78759‐5458                                                          First Class Mail
29776625 Accruent, LLC                                     11500 Alterra Pkwy Suite 110              Austin                      TX            78758                                                               First Class Mail
29783822 AccuFitness LLC                                   P.O. Box 4411                             Greenwood Village           CO            80155‐4411                                                          First Class Mail



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ADRID                                    NAME                                  ADDRESS                          CITY                 STATE        POSTALCODE          COUNTRY      EMAIL       METHOD OF SERVICE
29783823 Ace Asphalt of Arizona, Inc.                           3030 South 7th St                     Phoenix                   AZ            85040                                        First Class Mail
29783824 Ace Host                                               412 E Madison St                      Tampa                     FL            33602                                        First Class Mail
29783825 Ackerman Law Firm, PA                                  3300 Shopton Road                     Charlotte                 NC            28217                                        First Class Mail
29790560 ACS Fort Smith Pavilion AR, LLC                        350 Pine Street                       Beaumont                  TX            77701                                        First Class Mail
29790561 Action Staffing Group                                  1137 ELIZABETH AVENUE                 Elizabeth                 NJ            07201                                        First Class Mail
29783828 Active Interest Media                                  300 N. Continental Blvd., Suite 650   El Segundo                CA            90245                                        First Class Mail
29783829 ACTIVLAB, LLC                                          119 S. Main Street Suite 500          Memphis                   TN            38103                                        First Class Mail
29790562 Acuative Corporation                                   27460 Network Place                   Chicago                   IL            60673‐1274                                   First Class Mail
29783831 Acxiom Corporation                                     301 East Dave Ward Drive              Conway                    AR            72032‐7114                                   First Class Mail
29783832 Adaptogen Science                                      11601 Biscayne Blvd Suite 201         Miami                     FL            33181                                        First Class Mail
29783833 Adaptogen Science, LLC                                 11601 Biscayne Blvd Suite 201         Miami                     FL            33181                                        First Class Mail
29776627 Adapty Inc.                                            101 Carnegie Center STE 102           Princeton                 NJ            08540                                        First Class Mail
29790563 Adapty Inc.                                            20 Commerce Drive, Suite # 135        Cranford                  NJ            07016                                        First Class Mail
29790564 Addison Group, LLC                                     7076 SOLUTIONS CENTER                 Chicago                   IL            60677‐7000                                   First Class Mail
29776629 Adlucent                                               PO BOX 25277                          OVERLAND PARK             KS            66225                                        First Class Mail
29776630 Adlucent, LLC                                          2130 S. Congress                      Austin                    TX            78704                                        First Class Mail
29776631 ADM / Matsutani LLC                                    4666 Faries Parkway                   Decatur                   IL            62521                                        First Class Mail
29776632 ADP                                                    PO BOX 9001007                        Louisville                KY            40290                                        First Class Mail
29776633 ADP, Inc.                                              One ADP Boulevard                     Roseland                  NJ            07068                                        First Class Mail
29776634 AdRoll, Inc.                                           972 Mission Street, 3rd Floor         San Francisco             CA            94103                                        First Class Mail
29790359 ADT Commercial LLC                                     PO BOX 872987                         Kansas City               MO            64187                                        First Class Mail
29776635 Aduro Products LLC                                     250 Liberty Street                    Metuchen                  NJ            08840                                        First Class Mail
29776636 Advance Trailer Systems, Inc.                          5160 Commerce Road                    Richmond                  VA            23234                                        First Class Mail
29776637 Advanced Business Solutions                            801 W Big Beaver Rd Ste 300           Troy                      MI            48084                                        First Class Mail
29776638 Advanced Construction                                  2201 Babcock Blvd                     Pittsburgh                PA            15237                                        First Class Mail

29783834 Advanced Food Concepts (AFC) d/b/a Gu Energy Labs      1204 10th St                          Berkeley                  CA            94710                                        First Class Mail
29783835 Advanced Molecular Labs, LLC.                          21 Bennetts Road Ste 101              East Setauket             NY            11733                                        First Class Mail
29783836 Advanced Muscle Science                                148 SW Hami Han St.                   Portland                  OR            97239                                        First Class Mail
29783837 Advanced Nutrient Science Intl.                        10540 72nd Street                     Largo                     FL            33777                                        First Class Mail
29783838 Advanced Nutrition by Zahler Inc.                      50 Lawrence Avenue                    Brooklyn                  NY            11230                                        First Class Mail

29783839 Advantage Sales & Marketing d/b/a Advantage Media      77 North Washington St, 8th Floor     Boston                    MA            02114                                        First Class Mail
         Advantage Sales & Marketing LLC d/b/a Brand
29790565 Connections                                            P.O. Box 744347                       Atlanta                   GA            30374‐4347                                   First Class Mail
29783842 Advantage Sales and Marketing LLC dba Adlucent         P.O. Box 744347                       Atlanta                   GA            30374‐4347                                   First Class Mail
29783843 Advantax Inc.                                          2500 Westfield Dr. Building 1‐202     Elgin                     IL            60124                                        First Class Mail
29783844 AdvoCare International, L.P.                           2801 Summit Ave.                      Plano                     TX            75074                                        First Class Mail
29776564 Adyen N.V.                                             Simon Carmiggeltstraat 6‐50           Amsterdam                                                The Netherlands             First Class Mail
29790566 AE Holdings III, LLC                                   Select Strategies Realty              Milford                   OH            45150                                        First Class Mail
         AEI Accredited Investor Fund VI LLP and AEI National
29790567 Income Property Fund VII LP                            1300 Wells Fargo Place                Saint Paul                MN            55101                                        First Class Mail
29776641 AEI National Income Property Fund VII LP               2520 Sardis Road North Suite 100,     Charlotte                 NC            28227                                        First Class Mail
29790568 AEI National Income Property Fund VII LP               30 East Seventh Street                Saint Paul                MN            55101                                        First Class Mail
29776640 AEI National Income Property Fund VII LP               4502‐4508 West Wendover Ave           Greensboro                NC            27409                                        First Class Mail
29776643 AEI National Income Property Fund VII, LP              1300 Wells Fargo Place                Saint Paul                MN            55101                                        First Class Mail
29776644 AEI National Income Property Fund VIII LP              1300 Wells Fargo Place                Saint Paul                MN            55101                                        First Class Mail
29790569 AEI National Income Property Fund VIII LP              30 East Seventh Street                Saint Paul                MN            55101                                        First Class Mail
29776646 Aero Automatic Sprinkler Co                            21605 N Central Ave                   Phoenix                   AZ            85024                                        First Class Mail
29776647 AEROTEK SCIENTIFIC, LLC.                               7301 Parkway Dr.                      Hanover                   MD            21076                                        First Class Mail
29776648 Aerotek, Inc.                                          7301 Parkway Dr.                      Hanover                   MD            21076                                        First Class Mail
29790570 Aetea Information Technology Inc                       460 NORRISTOWN ROAD                   Blue Bell                 PA            19422                                        First Class Mail
29783846 Affinity Resources, LLC                                941 Alhambra Avenue,                  Martinez                  CA            94553                                        First Class Mail



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ADRID                                    NAME                                 ADDRESS                                  CITY                STATE        POSTALCODE            COUNTRY                      EMAIL       METHOD OF SERVICE
29790571 AFI Greer LLC                                         1901 Avenue of the Stars                    Los Angeles                CA            90067                                                          First Class Mail
29783848 AfterShokz LLC                                        6311 Fly Road                               East Syracuse              NY            13057                                                          First Class Mail
                                                               3a. Avenida 13‐78, Zona 10. Torre
                                                               Citibank en Intercontinental Plaza, Nivel
29783741 AFUS, S.A.                                            12                                          Guatemala City                           1010             Guatemala                                     First Class Mail
29783849 Afzal Lokhandwala (Entity Pending)                    2027 Mackenzie Place                        Wheaton                    IL            60187                                                          First Class Mail
29790572 AG Cameron Shops LLC                                  Income Properties of Raleigh Inc.           Raleigh                    NC            27609                                                          First Class Mail
29783851 Agilence, Inc.                                        309 Fellowship Road ‐ Suite 200             Mt. Laurel                 NJ            08054                                                          First Class Mail
29783852 Agilysys, Inc.                                        915 CORNWALL RD                             SANFORD                    FL            32773                                                          First Class Mail
29783853 Agropur MSI, LLC                                      2340 Enterprise Avenue                      La Crosse                  WI            54603                                                          First Class Mail
29783854 AHN International Inc dba Amazing Herbs               2709 Faith Industrial Dr Ste 500            Buford                     GA            30518                                                          First Class Mail
29783855 AIDP, Inc.                                            19535 East Walnut Drive South               City of Industry           CA            91748                                                          First Class Mail
                                                               Traci Wiese, 34505 West Twelve Mile
29651020 Airport Square NV,LLC                                 Road, Suite 250                             Farmington Hills           MI            48331                               service@freg.com           First Class Mail and Email
29783857 AIT Worldwide Logistics Inc.                          PO BOX 66730                                CHICAGO                    IL            60666                                                          First Class Mail
29776650 AIT Worldwide Logistics, Inc.                         701 N. Rohlwing Road                        Itasca                     IL            60143                                                          First Class Mail
29776651 Aiya Company Limited                                  386 Beech Avenue, Unit B3                   Torrance                   CA            90501                                                          First Class Mail
29776652 AJA Turnpike Properties                               2 Bellmore Road,                            East Meadow                NY            11554                                                          First Class Mail
29790573 AJB Software Design Inc.                              5255 SOLAR DRIVE                            MISSISSAUGA                ON            L4W5B8           Canada                                        First Class Mail
29610986 AJDC2, LLC                                            c/o Joe Hardage, 1092 Titleist Way          Auburn                     AL            36830                                                          First Class Mail
29776653 Akamai Technologies, Inc.                             8 Cambridge Center                          Cambridge                  MA            02142                                                          First Class Mail
29776654 Akamai Technologies, Inc.                             8 Cambridge Center                          New York                   NY            10087‐6590                                                     First Class Mail
29776655 Aker BioMarine Antarctic US, Inc.                     312 Amboy Avenue, Suite 1                   Metuchen                   NJ            08840                                                          First Class Mail
29776656 Akeso Health Sciences, LLC                            4607 Lakeview Canyon # 561                  Westlake Village           CA            91361                                                          First Class Mail
29776657 Al Sports Nutrition                                   5337 N Socrum Loop Rd #189                  Lakeland                   FL            33809                                                          First Class Mail
29776658 AL/Fred Food Enterprises, LLC                         G‐7750 South Saginaw St., Suite #5          Grand Blanc                MI            48439                                                          First Class Mail
29623042 Ala Moana Anchor Acquisition, LLC                     110 N. Wacker Dr.                           Chicago                    IL            60606                                                          First Class Mail
29776660 Alaffia Sustainable Skin Care                         PO Box 11143                                Olympia                    WA            98508                                                          First Class Mail
29783858 Alani Nutrition LLC                                   7201 Intermodal Drive Ste A                 Louisville                 KY            40258                                                          First Class Mail
                                                               c/o Regency Centers Corporation, One
29783859 ALBA VILLAGE REGENCY                                  Independent Drive, Suite 114                Jacksonville               FL            32202                                                          First Class Mail
29790361 Albany Industries LLC                                 504 N Glenfield Rd                          New Albany                 MS            38652                                                          First Class Mail
29783860 Albany Management                                     4 Computer Drive West                       Albany                     NY            12205                                                          First Class Mail

                                                               370 Seventh Avenue, Suite 1600Attn:
29602487 Albany Plaza Shopping Center LLC                      Meisi Guo/ Accounting Dept.                 New York                   NY            10001                                                          First Class Mail
29783861 Albert Hans, LLC                                      7240 West Foster Avenue                     Chicago                    IL            60656                                                          First Class Mail
29790574 Alclear Healthpass, LLC                               65 E. 55th Street                           New York                   NY            10022                                                          First Class Mail
29783863 AlejCo Holdings, Inc.                                 2081 Paseo Ynez                             San Dimas                  CA            91773                                                          First Class Mail
29791334 Alera Group Inc. & Subsidiaries                       3 Parkway North                             Deerfield                  IL            60015                                                          First Class Mail
29790362 Algolia, Inc.                                         3790 El Camino Real                         Palo Alto                  CA            94306                                                          First Class Mail
                                                               Attn: General Counsel, 185 NW Spanish
29762638 Alisan LLC and Roseff LLC                             River Blvd., Ste. 100                       Boca Raton                 FL            33431                                                          First Class Mail
29790575 Aliso Medical Properties LLC                          9070 Irvine Center Drive                    Irvine                     CA            92618                                                          First Class Mail
29783866 Alkemist Labs                                         12661 Hoover St.                            Garden Grove               CA            92841                                                          First Class Mail
29479575 All American Association, LLC and Yvonne Keff         PO BOX 5902                                 METAIRIE                   LA            70009                                                          First Class Mail

29783867 All American Pharmaceutical & Natural Foods Company   2376 Main Street                            Billings                   MT            59105                                                          First Class Mail
         All American Pharmaceutical & Natural Foods
29783868 Corporation                                           2376 Main Street                            Billings                   MT            59105                                                          First Class Mail
29783869 All Natural Distributors Inc.                         11 Perry Drive                              Foxboro                    MA            02035                                                          First Class Mail
29790576 All Terrain                                           20 North Main Street                        NEWPORT                    NH            03773                                                          First Class Mail

29776661 Allera Health Products                                16935 West Bernardo Drive, Suite 224        San Diego                  CA            92127                                                          First Class Mail



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ADRID                                    NAME                              ADDRESS                           CITY                 STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
29776662 Allergy Research Group LLC                         2300 North Loop Rd                     Alameda                   CA            94502                                       First Class Mail
29776663 Alliance‐March III LLC                             24001 Telegraph Rd.,                   Southfield                MI            48033                                       First Class Mail
29783702 Allmax Nutrition Inc + HBS International Corp      4576 Yonge St, Ste 509                 Toronto                   ON            M4N 6N9          Canada                     First Class Mail
29776664 AllRetailJobs.com                                  17501 Biscayne Blvd, Suite 530         North Miami Beach         FL            33160                                       First Class Mail
         AllWright Franchise Consulting, Inc DBA The You
29776665 Network                                            93 Hayden Rowe St                      Hopkinton                 MA            01748                                       First Class Mail
29776666 Almased USA, Inc.                                  2861 34th St S                         St. Petersburg            FL            33711                                       First Class Mail
29776667 Aloe Life International, Inc.                      11657 Riverside Dr. #169               Lakeside                  CA            92040                                       First Class Mail
29776668 Aloft Beachwood                                    1010 Eaton Boulevard                   Beachwood                 OH            44122                                       First Class Mail
29776669 Alpha Solutions USA LLC                            120 East 23rd Street                   New York                  NY            10010                                       First Class Mail
29776670 Alpine Access                                      1767 Denver West Blvd Ste A            Golden                    CO            80401                                       First Class Mail
29776671 Alpine Access, Inc.                                1120 Lincoln Street, Suite 1400        Denver                    CO            80203                                       First Class Mail
29791251 Alpine Income Property OP, LP                      1140 N. Williamson Blvd.               Daytona Beach             FL            32114                                       First Class Mail
29783872 Alta Health Products INC                           300 Main St                            Idaho City                ID            83631                                       First Class Mail

29791872 Alter Domus (US) LLC, as Administrative Agent      225 West Washington Street 9th Floor   Chicago                   IL            60606                                       First Class Mail
29783873 Alteya Inc                                         1846 South Elmhurst Road               Mount Prospect            IL            60056                                       First Class Mail
29790577 Alturas Metro Towne Center LLC                     500 E. Shore Dr                        Eagle                     ID            83616                                       First Class Mail
29783875 Always Young LLC                                   95 Old Indian De                       Milton                    NY            12547                                       First Class Mail
29783876 AM Navigator LLC                                   PO Box 2707                            Stafford                  VA            22555                                       First Class Mail
29790578 AMA Generation Properties Rio LLC                  9702 Gayton Rd                         Dumbarton                 VA            23238                                       First Class Mail
29790579 Amacai Information Corporation d/b/a Localeze      8010 Towers Crescent Drive             Vienna                    VA            22182                                       First Class Mail
29783879 Amazon Preservation Partners, Inc. dba Zola Acai   1501A Vermont Street                   San Francisco             CA            94107                                       First Class Mail
29783880 Amazon Services LLC                                PO BOX 81226                           Seattle                   WA            98108                                       First Class Mail
29783881 Ambrosia Nutraceuticals                            1630 Superior Ave Suite D              Costa Mesa                CA            92627                                       First Class Mail
29783882 Amer Hawatmeh (Entity Pending)                     9430 Brandon Court                     Los Angeles               CA            91325                                       First Class Mail
29626204 AMERCO REAL ESTATE COMPANY                         2727 N CENTRAL AVE SUITE 500           Phoenix                   AZ            85004                                       First Class Mail
29783883 American Biologics                                 1180 Walnut Ave                        Chula Vista               CA            91911                                       First Class Mail
29776672 American Cargo Express, Inc.                       2345 Vauxhall Road                     Union                     NJ            07083                                       First Class Mail
29776673 American Draft Systems LLC                         45 Columbia Ave                        Thornwood                 NY            10594                                       First Class Mail

29776674 American First Finance Inc.                        8585 N. Stemmons Fwy, Suite N‐1000     Dallas                    TX            75247                                       First Class Mail
29790363 American First Finance Inc.                        PO Box 565848                          Dallas                    TX            75356‐5848                                  First Class Mail

29790364 American First Finance, LLC                        8585 N. Stemmons Fwy, Suite N‐1000     Dallas                    TX            75247                                       First Class Mail
29776675 American Forests                                   1220 L Street, NW, Ste. 750            Washington                DC            20005                                       First Class Mail
29790580 American Halal Co Inc.                             1111 Summer Street                     Stamford                  CT            06905                                       First Class Mail
29776677 AMERICAN NUTRITION, INC.                           2813 Wall Avenue                       Ogden                     UT            84401                                       First Class Mail
29776678 American Plaza Group, LLC                          106 Satsuma Drive                      Altamonte Springs         FL            32714                                       First Class Mail
29776679 American Specialty Health Fitness, Inc.            10221 Wateridge Circle                 San Diego                 CA            92121                                       First Class Mail
29790581 America's Charities                                14150 Newbrook Drive                   Chantilly                 VA            20151                                       First Class Mail
29790582 America's Finest Inc.                              20 Lake Drive                          East Windsor              NJ            08520                                       First Class Mail
29776682 Amin Sarfani (Entity Pending)                      22925 Angostura                        San Antonio               TX            78261                                       First Class Mail
29783884 AMPC, Inc. (DBA Essentia Protein Solutions)        2425 SE Oak Tree Court                 Ankeny                    IA            50021                                       First Class Mail
29783885 Amplify Snack Brands                               500 W. 5th St, Suite 1350              Austin                    TX            78701                                       First Class Mail
29783886 Anabol Naturals                                    1550 Mansfield Street                  Santa Cruz                CA            95062                                       First Class Mail
29783887 Analytics Pros, Inc.                               1546 NW 56th Street                    Seattle                   WA            98107                                       First Class Mail
29790583 Anchor Chattanooga, LLC                            3035 Rhea County Highway               Dayton                    TN            37321                                       First Class Mail
29783889 Anchor Computer, Inc.                              1900 New Hwy                           Farmingdale               NY            11735                                       First Class Mail
29790584 Ancient Naturals                                   1540 International Pkwy                Lake Mary                 FL            32746                                       First Class Mail
29783891 ANDALOU NATURALS                                   7250 REDWOOD BLVD, SUITE 208           NOVATO                    CA            94945                                       First Class Mail
29783892 Anderson Global Group, LLC                         2030 Main Street Suite 430             Irvine                    CA            92614                                       First Class Mail
29790585 Andover Inc. dba IQ Workforce                      51 REMINGTON CIRCLE                    Princeton Junction        NJ            08540                                       First Class Mail



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ADRID                                    NAME                  ADDRESS                                 CITY                STATE        POSTALCODE     COUNTRY        EMAIL       METHOD OF SERVICE
29783894 Andrea Marchese                         535 East 78th Street 4A                  New York                    NY            10075                                     First Class Mail
29790586 Andrew Arcangel                         Address on File                                                                                                              First Class Mail
29783896 Andrew Zafir                            935 Broadway                             New York City               NY            10010                                     First Class Mail
29790587 Angeion Group LLC                       1801 MARKET STREET                       Philadelphia                PA            19103                                     First Class Mail
29776684 Angie's Artisan Treats, LLC             151 Good Counsel Drive, Suite 100        Mankato                     MN            56001                                     First Class Mail
                                                 c/o Newcastle Retail Management LLC,
29776685 Angle Gully LLC                         150 North Michigan Ave.                  Chicago                     IL            60601                                     First Class Mail
29790588 Anne‐Elise Nutrition, LLC               PO BOX 434                               TENANTS HARBOR              ME            04860                                     First Class Mail
29776687 Annona Company DBA Earnest Eats         444 S. Cedros Ave., Ste. 175             Solana Beach                CA            92075                                     First Class Mail
29776688 Ansell                                  163 Ralston Rd.                          Sarver                      PA            16055                                     First Class Mail
29776689 Answers Corporation                     6665 Delmar Blvd., Ste. 3000             Saint Louis                 MO            63130                                     First Class Mail
29776690 Anti‐Aging Essentials Inc.              PO Box 715                               Carnegie                    PA            15106                                     First Class Mail
29776691 AOG Enterprises, LLC                    11173 Loveland Trace Court               Loveland                    OH            45140                                     First Class Mail
29776692 Apax OTC Business Development, LLC      4833 Front Street, #415                  Castle Rock                 CO            80104                                     First Class Mail
29776693 APC Plus, LLC                           2204 Camden Circle                       Southlake                   TX            76092                                     First Class Mail
29783897 Apex Systems                            3750 COLLECTIONS DRIVE                   Chicago                     IL            60629                                     First Class Mail
29790589 Apex Wellness Group, LLC                14362 N Frank Lloyd Wright Blvd.         Scottsdale                  AZ            85260                                     First Class Mail
29783899 APL Ventures I, LLC                     16915 Turkey Point Street                San Antonio                 TX            78232‐1830                                First Class Mail
29783900 Apollo Story                            72 Pheasant Run                          Millwood                    NY            10546                                     First Class Mail
29783901 Applied Nutriceuticals, Inc.            8112 Statesville Road, Suite G           Charlotte                   NC            28269                                     First Class Mail
29783902 Applied Sciences LLC                    1511 N Hayden Rd Suite 160‐327           Scottsdale                  AZ            85260                                     First Class Mail
29790590 Aqua ViTea LLC                          153 Pond Lane                            Middlebury                  VT            05753                                     First Class Mail
29790591 Aquent LLC                              PO BOX 414552                            Boston                      MA            02241                                     First Class Mail
29783905 ARAMARK UNIFORM SERVICES                115 North First Street                   Burbank                     CA            91502                                     First Class Mail
                                                 c/o AR Global Investments LLC, 650 5th
29783906 ARC CPFAYNC001, LLC                     Avenue, 30th Floor                       New York City               NY            10019                                     First Class Mail
                                                 c/o American Realty Capital, 650 Fifth
29783907 ARC MCLVSNV001, LLC                     Avenue                                   New York City               NY            10019                                     First Class Mail
29790592 ARC TSKCYMO001, LLC                     405 Park Ave.                            New York City               NY            10022                                     First Class Mail
29790593 Arcadia Hub Holdings I, LLC             1620 Fifth Ave.                          San Diego                   CA            92101                                     First Class Mail
29790594 Archive Systems, Inc.                   39 Plymouth Road                         Fairfield                   NJ            06825                                     First Class Mail
29776695 Arctic Ease, LLC                        200 Schell Lane Suite 204                Phoenixville                PA            19460                                     First Class Mail
29776696 ArcVision Inc.                          1950 Craig Road, Suite 300               St. Louis                   MO            63146‐4106                                First Class Mail
29776697 ArcVision, Inc.                         1950 Craig Road                          St. Louis                   MO            63146                                     First Class Mail
29790595 Arden Plaza Associates, LLC             1333 Howe Avenue                         Sacramento                  CA            95825                                     First Class Mail
                                                 c/o Global Net Lease Inc., 650 5th
29776699 ARG LSSALMD001, LLC                     Avenue, 30th Floor                       New York City               NY            10019                                     First Class Mail
29776700 Arizona Generator Technology, Inc       7901 N 70th Ave                          Glendale                    AZ            85303                                     First Class Mail
29776701 Arizona Nutritional Supplements         210 South Beck Avenue                    Chandler                    AZ            85224                                     First Class Mail
29776702 Arizona Nutritional Supplements LLC     210 South Beck Avenue                    Chandler                    AZ            85226                                     First Class Mail
29776703 Arizona Nutritional Supplements, Inc.   210 S. Beck Avenue                       Chandler                    AZ            85224                                     First Class Mail
29776704 Arizona Nutritional Supplements, LLC    6850 West Morelos Place                  Chandler                    AZ            85226                                     First Class Mail
                                                 c/o DeVille Developments, 3951
29783910 Arlington Ridge Market Place, LLC       Convenience Circle NW, Suite 301         Canton                      OH            44718                                     First Class Mail
                                                 c/o Nigro Companies, 20 Corporate
29783911 Arsenal Plaza Associates, LLC           Woods Blvd                               Albany                      NY            12211                                     First Class Mail
29790596 Arthur Andrew Medical                   8350 E. Raintree Dr.                     Scottsdale                  AZ            85260                                     First Class Mail
29790597 Arvig LLC                               2750 NE 185 Street                       Miami                       FL            33180                                     First Class Mail
29790598 ASB Resources                           4365 Route 1 S, Suite 205                Princeton                   NJ            08540                                     First Class Mail
29790599 ASB Resources                           4390 Route 1 N, Suite 222                Princeton                   NJ            08540                                     First Class Mail
29790600 ASB Resources LLC                       4365 ROUTE 1, SUITE 102                  Princeton                   NJ            08540                                     First Class Mail
29783917 Ascential Inc.                          1801 Porter Street                       Baltimore                   MD            21230                                     First Class Mail
29783918 ASG Group, LLC                          9818 Ricaby Drive                        Houston                     TX            77064                                     First Class Mail




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ADRID                                    NAME                    ADDRESS                                  CITY                STATE        POSTALCODE           COUNTRY      EMAIL       METHOD OF SERVICE

29648896 Ashley Park Property Owner LLC            8750 N. Central Expressway, Suite 1740   Dallas                       TX            75231                                         First Class Mail
29790601 Aspen Rt 9 LLC                            12 Lincoln Boulevard                     Emerson                      NJ            07630                                         First Class Mail
29783921 Aspire Brands, Inc.                       500 North Michigan Ave, Suite 600        Chicago                      IL            60611                                         First Class Mail
29790370 Asset Strategies Group, LLC               501 West Schrock Road                    Westerville                  OH            43081                                         First Class Mail
29790602 Associated Production Music LLC           5700 WILSHIRE BLVD                       Los Angeles                  CA            90036                                         First Class Mail
29776556 Associazione Friend of the Sea            Via Sant’Antonio Maria Zaccaria 3        Milan                                      20122            Italy                        First Class Mail
29790371 Assurant Service Protection, Inc.         11222 Quail Roost Drive                  Miami                        FL            33157                                         First Class Mail
29776705 Assured Environments                      45 Broadway 18th Floor                   New York                     NY            10006                                         First Class Mail
29776706 AST Sports Science                        120 Capital Dr                           Golden                       CO            80439                                         First Class Mail
29776707 Aston Carter, Inc.                        3689 COLLECTIONS DRIVE                   Chicago                      IL            60629                                         First Class Mail
29776708 At Last Naturals                          401 Columbus Ave                         Valhalla                     NY            10560                                         First Class Mail
29776709 AT&T Corp.                                One AT&T Way                             Bedminster                   NJ            07921‐0752                                    First Class Mail
29776710 A‐Team Leasing, LLC                       2232 Kodiak Drive NE                     Atlanta                      GA            30345                                         First Class Mail
29776711 ATH Sports Nutrition, LLC                 2827 Kalawao Street                      Honolulu                     HI            96819                                         First Class Mail
29776712 Athlete Certified Nutrition               201 Old Country Rd Suite 105             Melville                     NY            11556                                         First Class Mail
29776713 Athletic Edge Nutrition                   3109 Grand Ave 280                       Miami                        FL            33431                                         First Class Mail
29776714 Atkins Nutritionals, Inc.                 1050 17th Street, Suite 1500             Denver                       CO            80265                                         First Class Mail
29776715 Atkins Nutritionals, Inc.                 3212 Shadewood Drive                     Crystal Lake                 IL            60014                                         First Class Mail
29783923 atlantic Candy Co                         115 Whetstone Place,                     SAINT AUGUSTINE              FL            32086                                         First Class Mail
                                                   c/o Phillips Edison & Company, 11501
                                                   Northlake Drive, Attn: Lease
29783925 Atlantic Plaza Station LLC                Administration Department                Cincinnati                   OH            45249                                         First Class Mail
29783926 Atlas Copco Compressors LLC               300 Technology Center Way Ste. 550       Rock Hill                    SC            29730                                         First Class Mail
29790372 ATLAS SECURITY SERVICE, INC.              1309 E. Republic Road                    Springfield                  MO            65804                                         First Class Mail
29783927 Attentive Mobile Inc.                     221 River Street                         Hoboken                      NJ            07030                                         First Class Mail
29783928 AudioEye, Inc.                            5210 E. Williams Circle Suite 750        Tucson                       AZ            85711                                         First Class Mail

29790603 Aurea Biolabs Private Limited             G‐285, Main Avenue, Panampilly Nagar     Cochin, Kerala                             682036           India                        First Class Mail
29783929 Auroma International                      1100 E Lotus Dr Bld 3                    Silver Lake                  WI            53170                                         First Class Mail
29790604 Aurora Corner, LLC                        13500 Aurora Avenue North                Seattle                      WA            98133                                         First Class Mail
29790605 Aurus, Inc.                               1 Edgewater Place, Suite 200             Norwood                      MA            02062                                         First Class Mail
29790606 Aurus, Inc.                               One Edgewater Drive, Suite 200           Norwood                      MA            02062                                         First Class Mail
29783933 Austin Pets, LLC                          2295 Spring Rose Road                    Verona                       WI            53593                                         First Class Mail
29783934 Authentic Alaska, LLC                     9301 Glacier Hwy, Ste 200                Juneau                       AK            99801                                         First Class Mail
29623982 Avalara Inc                               Dept. CH 16781                           Palatine                     IL            60055                                         First Class Mail
29776716 Avalara, Inc.                             1100 2nd Ave Suite 300                   Seattle                      WA            98101                                         First Class Mail
29776717 Avalon Risk Management                    200 N. Martingale Rd                     Schaumburg                   IL            60173                                         First Class Mail
29791252 Aveni‐Chardon, Ltd.                       6690 Beta Drive, Suite 220               Mayfield Village             OH            44143                                         First Class Mail
29776720 Avenue 34, LLC                            22651 E Twin Acres Drive                 Queen Creek                  AZ            85142                                         First Class Mail
29776721 AVMH Ventures of Albany, LLC              2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29776722 AVMH Ventures of Altamonte Springs, LLC   2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29776723 AVMH Ventures of Baytowne, LLC            2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29776724 AVMH Ventures of Bluefield, LLC           2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29776725 AVMH Ventures of Brighton, LLC            2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29776726 AVMH Ventures of Bristol, LLC             2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29783936 AVMH Ventures of Camarillo, LLC           2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29783937 AVMH Ventures of Casselberry, LLC         2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29783938 AVMH Ventures of Charlottesville, LLC     2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29783939 AVMH Ventures of Chattanooga, LLC         2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29783940 AVMH Ventures of Clearwater, LLC          2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29783941 AVMH Ventures of Concord Mills, LLC       2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail
29783942 AVMH Ventures of Concord, LLC             2545 Lafayette Plaza Drive, Suite B      Albany                       GA            31707                                         First Class Mail



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ADRID                                    NAME                     ADDRESS                             CITY                STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
29783943 AVMH Ventures of Covington, LLC            2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783944 AVMH Ventures of Durham, LLC               2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783945 AVMH Ventures of Gainesville, LLC          2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783946 AVMH Ventures of Greece, LLC               2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783947 AVMH Ventures of Greer, LLC                2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776727 AVMH Ventures of Groton, LLC               2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776728 AVMH Ventures of Hickory, LLC              2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776729 AVMH Ventures of Lilburn, LLC              2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776730 AVMH Ventures of Manchester, LLC           2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776731 AVMH Ventures of Manhattan, LLC            2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776732 AVMH Ventures of North Durham, LLC         2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776733 AVMH Ventures of Olathe, LLC               2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776734 AVMH Ventures of Pinellas Park, LLC        2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776735 AVMH Ventures of Richmond IN, LLC          2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776736 AVMH Ventures of Sacramento, LLC           2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29776737 AVMH Ventures of Sarasota, LLC             2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783948 AVMH Ventures of Virginia Beach, LLC       2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783949 AVMH Ventures of Webster, LLC              2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783950 AVMH Ventures of West Hartford, LLC        2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783951 AVMH Ventures of West Union, LLC           2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783952 AVMH Ventures of Wethersfield, LLC         2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783953 AVMH Ventures of Wilmington, LLC           2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783954 AVMH Ventures of Woodland, LLC             2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783955 AVMH Ventures, LLC                         2545 Lafayette Plaza Drive, Suite B      Albany                  GA            31707                                       First Class Mail
29783956 AVR CPC Associates, LLC                    One Executive Boulevard,                 Yonkers                 NY            10701                                       First Class Mail
29783957 AW22 Franchise LLC                         8354 Cupertino Heights Way               Las Vegas               NV            89178                                       First Class Mail
29783703 AWAKE Corporation                          700‐10 Kingsbridge Garden Cir            Mississauga             ON            L5R 3K6          Canada                     First Class Mail
29783958 AWPets2 Franchise LLC                      8354 Cupertino Heights Way               Las Vegas               NV            89178                                       First Class Mail
29790607 Axcess Global LLC, DBA Real Ketones, LLC   300 West Jennings St.                    Newburgh                IN            47630                                       First Class Mail
29776738 Axe and Sledge Supplements, Inc.           1909 New Texas Road                      Pittsburgh              PA            15239                                       First Class Mail
29776739 Axis Labs, Inc.                            9233 Park Meadows Dr. #46                Lone Tree               CO            80124                                       First Class Mail
29776740 Ayush Herbs, Inc.                          2239 152 Ave NE                          Redmond                 WA            98052                                       First Class Mail
                                                    c/o Federal Realty Investment Trust, 909
29776741 Azalea Joint Venture, LLC                  Rose Avenue, Suite #200                  Rockville               MD            20852                                       First Class Mail
29776742 Azzarello Family Partners LP               542 Socorro Court,                       Reno                    NV            89511                                       First Class Mail
29776743 B & B Pet Products, LLC                    1611 E. Dove Rd.                         Southlake               TX            76092                                       First Class Mail
29776744 B Pawsitive LLC                            1282 Winfield Court                      Greenfield              IN            46143                                       First Class Mail
                                                    c/o BH Properties, 11111 Santa Monica
29776745 B.H. 3021‐3203 South IH35, LLC             Blvd., Suite 600                         Los Angeles             CA            90025                                       First Class Mail
29790608 B33 Ashley Furniture Plaza II LLC          601 Union Street                         Seattle                 WA            98101                                       First Class Mail
29790609 B33 Metro Crossing II LLC                  601 Union Street                         Seattle                 WA            98101                                       First Class Mail
29790610 B33 Wrangleboro II LLC                     601 Union Street                         Seattle                 WA            98101                                       First Class Mail
29790611 B33 Yuma Palms III LLC                     601 Union Street                         Seattle                 WA            98101                                       First Class Mail
29783961 Babo Botanicals LLC                        14 Harwood Ct. Suite 425                 Scarsdale               NY            10583                                       First Class Mail
29783962 Babson Macedonia Partners, LLC             M.E. Osborne Properties                  Mentor                  OH            44060                                       First Class Mail
29623058 BADA CT, LLC                               6 Fairfield Blvd #1                      Ponte Vedra Beach       FL            32082                                       First Class Mail
29783964 Baesman Group, Inc.                        4477 Reynolds Rd                         Hilliard                OH            43026                                       First Class Mail
29790612 Bag Arts LLC                               20 WEST 36TH                             New York                NY            10018                                       First Class Mail
29790613 Bamboo Rose LLC                            17 Rogers Street                         Gloucester              MA            01930                                       First Class Mail
29783967 Banana Machine, LLC                        1809 Avenida Alturas Northeast           Albuquerque             NM            87110                                       First Class Mail
                                                    Attn: Larry Bane, 309 Northeast, 22nd
29762611 Bane Holdings Tallahassee                  Street                                   Wilton Manors           FL            33305                                       First Class Mail
29783969 Bank of America                            P.O. Box 27128                           Concord                 CA            75284‐2425                                  First Class Mail



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ADRID                                    NAME                                     ADDRESS                               CITY                STATE        POSTALCODE            COUNTRY    EMAIL       METHOD OF SERVICE
29783968 Bank of America                                           PO BOX 402742                             Atlanta                   GA            75284‐2425                                   First Class Mail
29783970 Barbara Friedbauer and MACK 8927, LLC                     82 Agassiz Ave                            Belmont                   MA            02478                                        First Class Mail
29790614 Barbara Stacy Associates, Inc.                            1360 CLIFTON AVE                          Clifton                   NJ            07013                                        First Class Mail
29790615 Barclay Brand Ferdon                                      2401 South Clinton Ave                    South Plainfield          NJ            07080                                        First Class Mail
29790616 Barclay Fleet Service                                     2401 South Clinton Ave                    South Plainfield          NJ            07080                                        First Class Mail
29790617 Barclay Square LLC                                        38505 Woodward Avenue                     Bloomfield Hills          MI            48304                                        First Class Mail
29625489 Bardstown S.C., LLC                                       2115 Lexington Road S. 110                Louisville                KY            40206                                        First Class Mail
29776751 Bargreen‐Ellingson, Inc.                                  6626 TACOMA MALL BLVD                     Tacoma                    WA            98409                                        First Class Mail
29776752 Barlean 5                                                 4935 Lake Terrell Road,                   FERNDALE                  WA            98248                                        First Class Mail
29776753 Barlean's Organic Oils                                    4936 Lake Terrell Road                    Ferndale                  WA            98248                                        First Class Mail
29776754 Barnana                                                   302 Washington St. Suite 150              San Diego                 CA            92103                                        First Class Mail
29776755 Barndad Innovative Nutrition, LLC                         150 Lake Drive Suite 101                  Wexford                   PA            15090                                        First Class Mail
29790618 Barwick Group                                             330 Ratzer Road                           Wayne                     NJ            07470                                        First Class Mail
29776757 Basic Research, LLC                                       5742 W. Harold Gatty Drive                Salt Lake City            UT            84116                                        First Class Mail
29776758 BASK Pet Supply, LLC                                      6609 Yawkey Way Northeast                 Albuquerque               NM            87113                                        First Class Mail
29776759 Batallure Beauty, LLC                                     150 East 52nd Street                      New York                  NY            10022                                        First Class Mail
29776760 Battle Creek Pets, LLC                                    5062 Colony Woods Dr.                     Kalamazoo                 MI            49009                                        First Class Mail
29648901 Bauer & O'Callaghan LLC                                   P.O. Box 1696                             Beaverton                 OR            97075                                        First Class Mail
29783974 Bazaarvoice, Inc.                                         10901 Stonelake Blvd.                     Austin                    TX            78759                                        First Class Mail
29783975 bb BHF Stores LLC                                         552 Wisonsin Street                       San Francisco             CA            94107                                        First Class Mail
                                                                   c/o Cartessa Real Estate Partners, 145 S.
29783976 BC of St. Lucie West LLC                                  Livernois #310                            Rochester                 MI            48307                                        First Class Mail
                                                                   c/o American Asset Corporation, 5950
29783977 BC Retail, LLC                                            Fairview Road, Suite 800                  Charlotte                 NC            28210                                        First Class Mail

29783978 BCDPF Radar Distribution Center LLC                       c/o Ares, 1200 17th Street, Suite 2900 Denver                       CO            80202                                        First Class Mail
29790619 BCP Investors, LLC                                        1500 Whetstone Way                      Baltimore                   MD            21230                                        First Class Mail
29790620 BDG Kendall 162 LLC                                       2151 S Le Jeune Road                    Miami                       FL            33134                                        First Class Mail
                                                                   120 Palencia Village Drive, PMB 105 Box
29783981 BE Pets, LLC                                              177                                     St. Augustine               FL            32095                                        First Class Mail
29790621 Be Well Nutrition, Inc.                                   629 Camino De Los Mares                 San Clemente                CA            92673                                        First Class Mail
29783983 Beach Fire, Corp dba Tahiti Trader                        7111 Arlington Ave. Ste F               Riverside                   CA            92503                                        First Class Mail
29783984 Beatrice Home Fashions, Inc.                              151 Helen Street                        South Plainfield            NJ            07080                                        First Class Mail
29776761 Beaumont Products, Inc.                                   1560 Big Shanty Drive                   Kennesaw                    GA            30144                                        First Class Mail
29776762 Beautyfit                                                 1000 NW 105th Ave                       Plantation                  FL            33322                                        First Class Mail
29776763 Beavex, Inc.                                              PO BOX 637997                           Cincinnati                  OH            45263                                        First Class Mail
29790622 Become, Inc.                                              640 W California Ave                    Sunnyvale                   CA            94086                                        First Class Mail
29790623 Beefeaters Holding Company                                5801 Westside Ave.                      North Bergen                NJ            07047                                        First Class Mail
                                                                   A‐14‐G, Chengming Building, No. 2
29776545 Beijing Tang‐An Nutrition & Healthcare Products Co., Ltd. Xizhimen Nan Street                     Beijing                                   100035           China                       First Class Mail
29776767 Belcam Inc.                                               27 Montgomery Street                    Rouses Point                NY            12979                                        First Class Mail
29648906 Belden Park JV LLC                                        629 Euclid Avenue, Suite 1300           Cleveland                   OH            44114                                        First Class Mail
29783704 Bell Lifestyle Products Inc.                              3164 Pepper Mill Ct.                    Mississauga                 ON            L5L 5V3          Canada                      First Class Mail
29790624 Bella Barbies International DBA Body Complete Rx          12020 Sunrise Valley Dr                 Reston                      VA            20191                                        First Class Mail
29776771 Bellrock Holdings Inc                                     1908 Oakhurst Dr.                       Allison Park                PA            15101                                        First Class Mail
29776772 Benefit Marketing Solutions, L.L.C.                       PO Box 803507                           Dallas                      TX            75380                                        First Class Mail
29790625 BeneFlex, Inc.                                            77 BRANT AVENUE                         Clark                       NJ            07066                                        First Class Mail
29790626 Beral LLLP                                                2800 Quarry Lake Drive                  Baltimore                   MD            21209                                        First Class Mail
29790627 Berkeley College                                          44 Rifle Camp Road                      Woodland Park               NJ            07424                                        First Class Mail
                                                                   c/o Brixmor Property Group, 450
29783989 Berkshire Crossing Retail LLC                             Lexington Ave, 13th Floor               New York                    NY            10017                                        First Class Mail
29783991 Bernard Jensen Products                                   535 Stevens Avenue West                 Solana Beach                CA            92075                                        First Class Mail
29783992 Best Buy Stores, L.P.                                     7601 Penn Avenue South                  Minneapolis                 MN            55423                                        First Class Mail




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ADRID                                    NAME                                         ADDRESS                               CITY                STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
29783993 Best Friends Animal Society                                  5001 Angel Canyon Road                  Kanab                        UT            84741                                       First Class Mail
29790628 Beta‐Bremerton L.L.C.                                        18827 Bothell Way N.E.                  Bothell                      WA            98011                                       First Class Mail
29790629 Betancourt Sports Nutrition LLC                              14620 NW 60th Avenue                    HIALEAH                      FL            33014                                       First Class Mail
29783996 Better Planet Brands LLC                                     1629 SE 9th Street                      Fort Lauderdale              FL            33316                                       First Class Mail
29776773 Betty Lou's Inc.                                             750 SW Booth Bend Rd.                   McMinnville                  OR            97128                                       First Class Mail
29776774 Beverly International                                        1768 Industrial Rd                      Cold Spring                  KY            41076                                       First Class Mail
29776775 Beyond Better Foods, LLC                                     101 Lincoln Avenue, Suite 100           Bronx                        NY            10454                                       First Class Mail
29776776 BeyondTrust Software, Inc.                                   5090 N 40th Street, Suite 400           Phoenix                      AZ            85018                                       First Class Mail
29776777 Bhu Foods                                                    818 Vanderbilt place                    San Diego                    CA            92110                                       First Class Mail
29776778 Bierbrier South Shore Place Braintree LLC                    420 Bedford St.,                        Lexington                    MA            02420                                       First Class Mail

         Big Flats TEI Equities LLC, Big Flats TEA LLC, Big Flats CEG
         I, LLC, Big Flats CEG III LLC, Big Flats Patricia Lane LLC, Big
29623061 Flats Westfield Commons LLC                                     55 Fifth Avenue ‐ 15th Floor         New York                     NY            10003                                       First Class Mail
29776780 Big Puppy Holdings, Inc.                                        18378 Poplar Stand Place             Purcellville                 VA            20132                                       First Class Mail
29776781 Big Sky 77, LLC                                                 196 High Road                        Kalispell                    MT            59901                                       First Class Mail
29776782 BIN Science LLC (dba ROEX)                                      1401 N. Batavia Suite 204            Orange                       CA            92867                                       First Class Mail
29776783 Bio nutrition Inc.                                              3580 Oceanside Rd. Unit 5            Oceanside                    NY            92056                                       First Class Mail
29783997 Bio Nutrition Inc.                                              64 Alabama Ave                       Island Park                  NY            11558                                       First Class Mail
29783998 BIOCALTH INTERNATIONAL, INC.                                    1871 Wright Avenue                   La Verne                     CA            91750                                       First Class Mail
29790630 Bio‐Engineered Supplements & Nutrition Inc.                     5901 Broken Sound Parkway NW         Boca Raton                   FL            33487                                       First Class Mail
29784000 BioForce USA                                                    6 Grandinetti Drive                  Ghent                        NY            12075                                       First Class Mail
29783751 BIOIBERICA, S.A.U.                                              C/ Antic Camí de Tordera, 109‐119    Barcelona                                  8030             Spain                      First Class Mail
29783705 Bio‐K Plus International Inc.                                   495 Armand Frappier Blvd             Laval                        QC            H7N 5W1          Canada                     First Class Mail
29790631 BioNutritional Research Group, Inc.                             6 Morgan                             Irvine                       CA            92618                                       First Class Mail
29784002 BioPharmX, Inc.                                                 1098 Hamilton Court                  Menlo Park                   CA            94025                                       First Class Mail
29784003 BioRage, Inc.                                                   9108 Tyler Blvd                      Mentor                       OH            44060                                       First Class Mail
29790632 BioSteel Sports Nutrition Inc.                                  87 Wingold Avenue                    North York                   ON            M6L 1N7          Canada                     First Class Mail
29784004 Biotab Nutraceuticals, Inc.                                     401 E. Huntington Drive              Monrovia                     CA            91016                                       First Class Mail
29784005 Biotest LLC                                                     1850 Reliable Cir.                   Colorado Springs             CO            80906                                       First Class Mail
29784006 Birch Benders                                                   PO Box 4860                          Boulder                      CO            80306                                       First Class Mail
29790633 Birdcage GRF2, LLC                                              1850 Douglas Blvd.                   Roseville                    CA            95661                                       First Class Mail
29784008 Bitmantitle Incorporated                                        791 Remington Lane                   North Aurora                 IL            60542                                       First Class Mail
29784009 BJ, Inc.                                                        14240 Imboden Rd.                    Hudson                       CO            80642                                       First Class Mail
29790634 BKXL EASTEX LTD.                                                9121 Elizabeth Rd.                   Houston                      TX            77055                                       First Class Mail
         Black Creek Diversified Property Operating Partnership
29791253 LP                                                              518‐17th Street                      Denver                       Co            80202                                       First Class Mail
29790635 BlackLine Systems, Inc.                                         21300 Victory Blvd.                  Woodland Hills               CA            75284                                       First Class Mail
29776787 BlackLine Systems, Inc.                                         21300 Victory Blvd.                  Woodland Hills               CA            91367                                       First Class Mail
29776789 Blain, Inc.                                                     14240 Imboden Rd.                    Hudson                       CO            80642                                       First Class Mail

29790636 Blu‐Dot Beverage Company Inc.                                1155 North Service Road West, Unit 11   Oakville                     ON            L6M 3E3          Canada                     First Class Mail

                                                                      c/o Gershenson Realty & Investment,
29776790 Blue Ash OH Center LLC                                       31500 Northwestern Hwy., Suite 100     Farmington Hills              MI            48334                                       First Class Mail
29776791 Blue Bay Technologies, LLC                                   478 2nd St.                            Excelsior                     MN            55331                                       First Class Mail
29776792 Blue Chip Talent                                             43252 Woodward Suite 240               Bloomfield Hills              MI            48302                                       First Class Mail
29790637 Blue Green Capital, LLC                                      18205 Biscayne Blvd.                   North Miami Beach             FL            33160                                       First Class Mail
                                                                      c/o Stonehenge Advisors, 4328‐42 Ridge
29776794 Blue Mountain IPG Associates, LP                             Ave, Unit 104                          Philadelphia                  PA            19129                                       First Class Mail

29791254 Blue Sky Pet Supplies LLC                                    606 Liberty Avenue, 3rd Floor Suite #107 Pittsburgh                  PA            15222                                       First Class Mail
29784012 Blue Yonder, Inc.                                            15059 N. Scottsdale Rd.                  Scottsdale                  AZ            85254                                       First Class Mail




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29784013 Bluebonnet Nutrition                                12915 Dairy Ashford                     Sugar Land              TX            77478                                                          First Class Mail
29784014 Bluebonnet Nutrition Corp.                          12915 Dairy Ashford                     Sugar Land              TX            77478                                                          First Class Mail
29623065 BMA Springhurst LLC                                 301 N Broadway, Suite 300               Milwaukee               WI            53202                                                          First Class Mail
29790638 BMO Harris Bank N.A.                                150 N Martingale Road                   Schaumburg              IL            60173                                                          First Class Mail
29784017 BMS Cat, Inc.                                       303 Arthur Street                       Fort Worth              TX            76107                                                          First Class Mail
29784018 BNC Nutrition LLC                                   1448 Industry Drive                     Burlington              NC            53105                                                          First Class Mail
29784019 BNG Enterprises                                     3312 E. Broadway Road                   Phoenix                 AZ            85040                                                          First Class Mail
29784020 BNG Phoebe, LLC                                     109 Persnickety Place                   Kiel                    WI            53042                                                          First Class Mail
29784021 Boardman Plaza Associates LLC                       20950 Libby Road                        Maple Heights           GA            30363                                                          First Class Mail
29776795 BoardVantage, Inc.                                  4300 Bohannon Drive, Suite 110          Menlo Park              CA            94025                                                          First Class Mail
29762635 Boatlanding Development Co., Inc.                   Attn: David Sears, 423 State St.        Bowling Green           KY            42102                                                          First Class Mail
29776796 BoBo's Pantry, LLC                                  14090 FM 2920, Ste. G551                Tomball                 TX            77377                                                          First Class Mail
29776797 Bob's Red Mill                                      13521 SE Pheasant Ct.                   Milwaukie               OR            97267                                                          First Class Mail
29776798 Bob's Red Mill Natural Foods, Inc.                  13521 SE Pheasant Court                 Milwaukie               OR            97267                                                          First Class Mail
                                                             Andrea Buccelli, property mgr, 125 High
29622937 Bobson Portfolio Holdings LLC                       Street, Suite 2111                      Boston                  MA            02110‐2704                   abuccelli@thedaviscompanies.com   First Class Mail and Email
29790639 Boca Park Marketplace LV, LLC                       9030 W. Sahara Avenue                   Las Vegas               NV            89117                                                          First Class Mail
29790640 Bodhi Organics, LLC                                 1800 E State St, Ste 144B               Hamilton                NJ            08609                                                          First Class Mail
29776802 Body LLC (dba Body Nutrition)                       2950 47 Ave N.                          St Petersburg           FL            33714                                                          First Class Mail
29776803 BoeFly, LLC                                         50 West 72nd Street                     New York                NY            10023                                                          First Class Mail
29776804 Boiron Inc.                                         6 Campus Blvd                           Newtown Square          PA            19073                                                          First Class Mail
29776805 Boiron, Inc.                                        4 campus blvd,                          Newtown Square          PA            19073                                                          First Class Mail
                                                             c/o Bond Street Management Group
29784022 Bond Street Fund 11, LLC                            LLC, 850 Morrison Drive, Suite 500      Charleston              SC            29403                                                          First Class Mail
29790641 Bond Street Fund 8, LLC                             850 Morrison Drive                      Charleston              SC            29403                                                          First Class Mail
29784024 Bonk Breaker, LLC                                   1833 Stanford Street                    Santa Monica            CA            90404                                                          First Class Mail
29790642 BOOM Chaga, LLC                                     760 Marbury Lane, Suite B               Longboat Key            FL            34228                                                          First Class Mail
29784026 Boomi, Inc.                                         1400 Liberty Ridge Drive                Chesterbrook            PA            19087                                                          First Class Mail
                                                             Attn: Colleen Braun, 803 W Big Beaver,
29762624 Bostick Development LLC                             Ste. 100                                Troy                    MI            48084                                                          First Class Mail
                                                             c/o Marx Realty & Improvement Co. Inc.,
29784027 Boswell Avenue I, LLC                               155 East 44th Street, 7th Floor         New York City           NY            10017                                                          First Class Mail
29784028 Boudreaux Operating Acquisitions LLC                100 Four Paws Lane                      Maumelle                AR            72113                                                          First Class Mail

29784029 Boulder Goods LLC DBA Sir Richards Condom Company   PO Box 989                            Boulder                   CO            80306                                                          First Class Mail
                                                             Attn: Legal Dept, 5577 Youngstown‐
29784030 Boulevard Centre LLC                                Warren Road                           Niles                     OH            44446                                                          First Class Mail
29784031 Bounce USA LLC                                      750 SE Booth Bend Road                McMinnville               OR            97128                                                          First Class Mail
29790643 Bowman MTP Center LLC                               234 Seven Farms Drive                 Daniel Island             SC            29492                                                          First Class Mail
         Bowman Sales & Equipment Inc, dba Bowman Trailer
29784033 Leasing                                             10233 Governor Lane Blvd.             Williamsport              MD            21795                                                          First Class Mail
29790644 Boyden                                              3 RIVERWAY                            Houston                   TX            77056                                                          First Class Mail
29790645 BPI Sports LLC                                      3149 SW 42nd St. #200                 Hollywood                 FL            33312                                                          First Class Mail
                                                             c/o Bradford Real Estate, 200 South
29776808 Bradford Vernon IV LLC                              Wacker Drive, Suite 726               Chicago                   IL            60606                                                          First Class Mail
29791255 Bradley Boulevard Shopping Center                   12510 Property Drive                  Silver Spring             MA            20904‐1639                                                     First Class Mail
29776811 Bragg Live Food Products Inc.                       199 Winchester Canyon Rd              Santa Barbara             CA            93117                                                          First Class Mail
29776812 Brain Pharma, Inc.                                  3701 SW 47 Ave #104                   Davie                     FL            33314                                                          First Class Mail
29776813 Brand Makers, LLC                                   464 South Main Street                 Spanish Fork              UT            84660                                                          First Class Mail
29790646 Brand Properties IV, LLC                            2401 PGA Boulevard                    Palm Beach Gardens        FL            33410                                                          First Class Mail
29776815 Brand Shop                                          20 Constitution Blvd South            Shelton                   CT            06484                                                          First Class Mail
29776816 BrandBags LLC                                       11601 Wilshire Blvd., Suite 1800      Los Angeles               CA            90025                                                          First Class Mail
29785625 BrandStorm HBC, Inc                                 7535 Woodman Place                    Van Nuys                  CA            91406                                                          First Class Mail




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29785626 BRE DDR IVA Southmont PA LLC                      c/o DDR Corp., 3300 Enterprise Parkway Beachwood                       OH            44122                                                      First Class Mail
                                                           Attn: General Counsel, 450 Lexington
29648800 BRE Retail Residual Owner 1 LLC                   Ave., 13th Floor                       New York                        NY            10017                                                      First Class Mail
29785631 BreakthroughFuel LLC                              1175 Lombardi Avenue                   Green Bay                       WI            54304                                                      First Class Mail
29790647 BREIT Canarsie Owner LLC                          ShopCore Properties                    Philadelphia                    PA            19102                                                      First Class Mail
29785633 Brian Buford & Associates, Inc.                   328 North Clifton Avenue Unit IN       Chicago                         IL            60614                                                      First Class Mail

29785634 Brian J. McLaughlin                               c/o D'Angelo, Inc., 323 Manley Street   West Bridgewater               MA            02379                                                      First Class Mail
                                                           d/b/a Clearview & Northern LLC and 205‐
29790648 Brick Management LLC                              04 Northern Boulevard LLC               Queens                         NY            11356                                                      First Class Mail
29790649 Brick Pioneer LLC                                 900 Route 9 North                       Woodbridge Township            NJ            07095                                                      First Class Mail
                                                           Attn: Lisa C. Cohen, Attorney, 4010
29676728 Brierwood Village LLC                             Newberry Rd, Ste G                      Gainesville                    FL            32607                        lcohen@ruffcohen.com          First Class Mail and Email
                                                           c/o TSG Realty, 8650 Old Kings Road S,
29676675 Brierwood Village LLC                             Ste 12                                  Jacksonville                   FL            32217                        pam.howard@tsgrealty.com      First Class Mail and Email
                                                           C/O Brixmor Property Group, 450
29776818 Brixmor / IA Bennets Mills Plaza, LLC             Lexington Ave, 13Th Floor               New York                       NY            10017                                                      First Class Mail
                                                           c/o Brixmor Property Group, 200 Ridge
29776821 Brixmor Burlington Square LLC                     Pike, Suite 100C                        Conshohocken                   PA            19428                                                      First Class Mail
                                                           c/o Brixmor Property Group, 450
29776822 Brixmor GA Arlington Heights LLC                  Lexington Ave., 13th Floor              New York                       NY            10017                                                      First Class Mail
                                                           c/o Brixmor Property Group, 450
29776824 Brixmor GA Lunenburg Crossing LLC                 Lexington Ave, 13th Floor               New York                       NY            10017                                                      First Class Mail
                                                           c/o Brixmor Property Group, 450
29776826 Brixmor GA Wilkes‐Barre LP                        Lexington Ave, 13th Floor               New York                       NY            10017                                                      First Class Mail
29790382 Brixmor Holdings 8 SPE LLC                                                                Conshohocken                   PA            19428                        Tracey.Kusner@brixmor.com     Email
                                                           Chris Kennedy, Robert DeLizzio, 200                                                                               chris.kennedy@brixmor.com;
29651032 Brixmor Roosevelt Mall Owner, LLC                 Ridge Pike, Suite 100                   Conshohocken                   PA            19428                        robert.delizzio@brixmor.com   First Class Mail and Email
                                                           c/o Brixmor Property Group, 450
29784036 Brixmor SPE 5 LLC                                 Lexington Ave, 13th Floor               New York                       NY            10017                                                      First Class Mail

                                                           Brixmor Property Group, 200 Ridge Pike,
29784039 Brixmor Sunshine Square LLC                       Suite 100, Attn: VP Legal Services      Conshohocken                   PA            19428                                                      First Class Mail
29651033 Brixmor/IA Clearwater Mall, LLC                   200 Ridge Pike, Suite 100               Conshohocken                   PA            19428                                                      First Class Mail
29791256 Brookdale Shopping Center, L.L.C.                 31713 Northwestern Hwy                  Farmington Hills               MI            48334                                                      First Class Mail
                                                           c/o The Bedrin Organization65
29626224 Brookhill V Acquisition, LLC                      Harristown Road, Suite 301              GlenRock                       NJ            07452                                                      First Class Mail
29790650 Brooksville Cortez, LLC                           400 Perrine Road                        Old Bridge (CDP)               NJ            08857                                                      First Class Mail
29784043 Brooksville Square Plaza, LLC                     RE: BROOKSVILLE SQUARE PLAZA LLC        TAMPA                          FL            33646                                                      First Class Mail
29791257 Brother International Corporation                 200 Crossing Blvd                       Bridgewater                    NJ            08807                                                      First Class Mail
29776828 Brother's Trading, LLC                            PO Box 2234                             San Gabriel                    CA            91778                                                      First Class Mail
29776829 Broven, Inc.                                      49 Friend St.                           East Weymouth                  MA            02189                                                      First Class Mail
29776830 Brownfield Enterprises, LLC                       211 Fantasy Lane                        Ligonier                       PA            15658                                                      First Class Mail
29776831 Brownie Brittle, LLC                              2253 Vista Parkway, #8                  West Palm Beach                FL            33411                                                      First Class Mail

                                                           Goodman Management, LLC, 636 Old
29776833 Bruce A. Goodman, Seymore Rubin and Helen Rubin   York Rd, Second Floor, Attn: Legal Dept.   Jenkintown                  PA            19046                                                      First Class Mail
29611028 BRUCE HOWE TRUST                                  PO BOX 358                                 BONSALL                     CA            92003                                                      First Class Mail
                                                           c/o Nigro Companies, 20 Corporate
29776834 Brunswick Center Associates, L.L.C.               Woods Blvd.                                Albany                      NY            12211                                                      First Class Mail
29790651 Brust Development Company, LLC                    4012 Colby Avenue                          Everett                     WA            98201                                                      First Class Mail
                                                           Matthew Grossman, One Town Place,
29651036 Bryn Mawr Plaza Associates                        Suite 100                                  Bryn Mawr                   PA            19010                        mjg@bakerpropertiesinc.com    First Class Mail and Email




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ADRID                                    NAME                                  ADDRESS                             CITY                 STATE        POSTALCODE     COUNTRY                      EMAIL       METHOD OF SERVICE
29776837 Bryte, Inc.                                            880 Georgetowne Lane                     Barrington                IL             60010                                                  First Class Mail
29784045 B‐Scott, Inc.                                          750 General Motors Rd                    Milford                   MI             48381‐2220                                             First Class Mail
29790652 BSP Pharma Inc.                                        Po Box 890                               Marmora                   NJ             02062                                                  First Class Mail
29784047 BTMI, Ltd.                                             1045 Fifth Avenue                        New York City             NY             10028                                                  First Class Mail
29784048 Buddy Mac Holdings LLC                                 400 East Centre Park Blvd, Suite 101     DeSoto                    TX             75115                                                  First Class Mail
29784049 Buddy Mac Holdings, LLC                                400 E Centre Park Blvd., Suite 101       Desoto                    TX             75115                                                  First Class Mail
29784050 Buddy West LLC                                         144 Overlook Court                       Henderson                 NV             89074                                                  First Class Mail
29784051 Buff Bake, LLC                                         221 20th Street                          Huntington Beach          CA             92648                                                  First Class Mail
29784052 BUFFALO NEWSPRESS, INC.                                200 Broadway                             Buffalo                   NY             14204                                                  First Class Mail
29784053 Buffalo‐Pittsford Square Assoc. LLC                    570 Delaware Avenue,                     Buffalo                   NY             14202                                                  First Class Mail
29784054 Build Retail Inc.                                      103 Gannaway Street                      Jamestown                 NC             27282                                                  First Class Mail
29679522 Builders, Inc.                                         1081 S. Glendale                         Wichita                   KS             67218                       cway@buildersinc.com       First Class Mail and Email
29784055 Building Better Solutions                              9101 Schindler Dr,                       PEARL RIVER               NY             10965                                                  First Class Mail
29784056 Bulletproof 360, Inc.                                  1012 15th Ave. Suite 400                 Seattle                   WA             98122                                                  First Class Mail
29784057 Bulletproof 360Digital, Inc.                           716 Theodore Court,                      Romeoville                IL             60446                                                  First Class Mail
                                                                c/o Realty Advisors International, 904
29776838 Bund Scenery USA, LLC                                  Silver Spur Road, No. 266                Palos Verdes Peninsula    CA             90274                                                  First Class Mail
29791258 Burlington Development, LLC                            3101 Ingersoll Avenue                    Des Moines                IA             50312                                                  First Class Mail
                                                                c/o Eastern Real Estate, One Marina
29776840 Burlington U Mall Owner LLC                            Park Drive, Suite 1500                  Boston                     MA             02210                                                  First Class Mail
29776841 Buxton Company, LLC                                    2651 South Polaris Drive                Fort Worth                 TX             76137                                                  First Class Mail
29776842 Buy.com Inc.                                           85 Enterprise, Suite 100                Aliso Viejo                CA             92656                                                  First Class Mail
         BVA Alamo SPE LLC, Alamo SPE Poplin LLC, Alamo SPE JT
         LLC, Alamo SPE Schulmann LLC, Alamo SPE RFM LLC, and
29623075 Alamo SPE Muir LLC                                    162 North Main St, Suite 5               Florida                    NY             10921                                                  First Class Mail
                                                               c/o Big V Properties LLC, 162 North Main
29776844 BVA Rim GP LLC                                        St, Suite 5                              Florida                    NY             10921                                                  First Class Mail
         BVIF WESTSIDE 6275 LLC, CMS PROPERTY SOLUTIONS,
         LLC,R&S BUILDING VENTURES, LLC, 602 W 9TH ST, LLC, ACTAGON CORPORATION PEILING JIANG
         BRADFORD KLEEMAN PROPERTIES, LLC,APUAT                RICHARD MCINTOSH, c/o Big V
29790653 MANAGEMENT, LLC,                                      Properties LLC                           Florida                    NY             10921                                                  First Class Mail
29791259 BWI Westwood LLC                                      731 E. Palisade Avenue                   Englewood Cliffs           NJ             07632                                                  First Class Mail
29776847 C.H. Robinson Worldwide, Inc.                         14701 Charlson Road                      Eden Prairie               MN             55480‐9121                                             First Class Mail
29784058 C.J. Foods, Inc.                                      322 Main Street                          Bern                       KS             66408                                                  First Class Mail
29784059 C2 Technical Resources, LLC                           408 MILL STREAM WAY                      Woodstock                  GA             21163                                                  First Class Mail
29784060 C20 Pure Coconut Water, LLC                           400 Oceangate #750                       Long Beach                 CA             90802                                                  First Class Mail
29784061 Caalojo Incorporated Company                          2335 Lenzie Marie Cove                   Cordova                    TN             38016                                                  First Class Mail
                                                               c/o Terry A. Ickowicz Esq., 14320
29784062 California Car Hikers Service                         Ventura Boulevard                        Sherman Oaks               CA             91403                                                  First Class Mail
29784063 California Fragrance Co. DBA AROMAFLORIA              171 East 2ND Street                      Huntington Station         NY             11746                                                  First Class Mail
29784064 California Inside Out, Inc. DBA Out of Africa         12 Washington Blvd 2nd Floor             Marina Del Ray             CA             90292                                                  First Class Mail
29784065 California Natural Products                           1250 E. Lathrop Road                     Lathrop                    CA             95330                                                  First Class Mail
29784066 California Natural Vitamin Labs Inc                   9044 Independence Ave                    Canoga Park                CA             91304                                                  First Class Mail
                                                               c/o Pet Supplies Plus, 1300 MacDade
29784067 Callie Enterprises, LLC                               Boulevard                                Woodlyn                    PA             19094                                                  First Class Mail
29790654 Camden Village LLC                                    2099 Mt. Diablo Boulevard                Walnut Creek               CA             94596                                                  First Class Mail
29790655 CamelBak Products LLC                                 2000 South McDowell Street               Petaluma                   CA             94954                                                  First Class Mail
29776848 Camp Gladiator, Inc.                                  9185 Research Blvd.                      Austin                     TX             78758                                                  First Class Mail
29790656 Canada Post                                           2101 91ST STREET                         NORTH BERGEN               NJ             07047                                                  First Class Mail
29790657 Candidate Source                                      RENT THE HELP, INC                       Richmond                   VA             23226                                                  First Class Mail
29776851 CannaVest Corp                                        591 Camino de la Reina, Ste 1200         San Diego                  CA             92108                                                  First Class Mail
29790658 Cannon Group                                          960C Harvest Drive                       Blue Bell                  PA             19422                                                  First Class Mail
29790659 Canopy Growth USA, LLC                                35715 US HWY 40                          Evergreen                  CO             80439                                                  First Class Mail




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ADRID                                    NAME                                   ADDRESS                            CITY                  STATE        POSTALCODE             COUNTRY                       EMAIL       METHOD OF SERVICE
29776854 Can't Live Without It, LLC (d/b/a S'well Bottle)        28 W 23rd St. 5th Floor,                NEW YORK                   NY            10010                                                            First Class Mail
29791260 Canton Aires Shopping Plaza, LLC                        361 17th Street NW                      Atlanta                    GA            30363                                                            First Class Mail
29776856 Canus USA                                               26 Leonard Ave                          Leonardo                   NJ            07737                                                            First Class Mail
                                                                 Jeanette Ruiz, Acct. Mgr.‐ Thomas
                                                                 Cunnane, Acct. Supervisor‐ Robyn                                                                                      jruiz@essexrealty.com;
29648912 Canyon Springs Marketplace North Corporation            Quartucy, 2025 Pioneer Court            San Mateo                  CA            94403                                rquartucy@essexrealty.com   First Class Mail and Email
29790660 Capella University                                      225 South 6th Street                    Minneapolis                MN            55455                                                            First Class Mail

29784070 Capital Brands LLC                                      11601 Wilshire Boulevard, 23rd Floor    Los Angeles                CA            90025                                                            First Class Mail
29791261 Capital Enterprises, Inc.                               555 City Avenue                         Bala Cynwyd                PA            19004                                                            First Class Mail
29648913 Caplowe‐Voloshin Realty, LLC                            200 Boston Post Rd., Suite 13           Orange                     CT            06477                                GJR@ComDevel.com            First Class Mail and Email
29784075 Capstone Integrated Solutions, LLC                      254 Route 17K, Suite 106                Newburgh                   NY            12550                                                            First Class Mail
29783699 Capsugel Belgium NV                                     Rijksweg 11                             Bornem                                   B‐2880           Belgium                                         First Class Mail
29784076 Capsule Connection, LLC                                 309 Bloom Pl.                           Prescott                   AZ            86301                                                            First Class Mail
29784077 Carbon & Clay Company                                   1937 N Interstate 35 #100               New Braunfels              TX            78130                                                            First Class Mail
29784078 Cardiac Science Corporation                             N7 W22025 Johnson Drive                 Waukesha                   WI            53186                                                            First Class Mail
29784079 Cardinal Path LLC                                       515 N. State Street                     Chicago                    IL            60654                                                            First Class Mail
29784081 Cardiovascular Research, Ltd.                           1061B Shary Circle                      Concord                    CA            94520                                                            First Class Mail
29790661 Career Developers Inc.                                  500 N Franklin Turnpike                 Ramsey                     NJ            07446                                                            First Class Mail
29776860 Careerminds Group Inc.                                  1601 Concord Pike, Suite 82             Wilmington                 DE            19803                                                            First Class Mail
29790662 Caribbean Sol, Inc.                                     4495 SW 35th St                         Orlando                    FL            32811                                                            First Class Mail
29790663 Carp Outparcel, LLCc/o FMK Management, LLC              14039 Sherman Way                       Van Nuys                   CA            91405                                                            First Class Mail
29776863 Carrie Murphy                                           1204 Lead Ave SW                        Albuquerque                NM            87102                                                            First Class Mail
29776864 Carros, Inc.                                            7585 Juniper Drive                      Colorado Springs           CO            80908                                                            First Class Mail
29776865 Cascade Enterprises, LLC                                16915 El Camino Real                    Houston                    TX            77058                                                            First Class Mail
29776866 Catchpoint Systems, Inc.                                228 Park Ave S #28080                   New York                   NY            10003‐1502                                                       First Class Mail
29790664 Causeway Square, LLC                                    1801 NE 123rd St.                       Miami                      FL            33181                                                            First Class Mail
29776868 Cave Shake, LLC                                         1386 1/2 Edgecliffe Drive               Los Angeles                CA            90041                                                            First Class Mail
29776869 Caveman Foods LLC                                       2950 Buskirk Ave # 170                  Walnut Creek               CA            94597                                                            First Class Mail
29648916 CBB Venture LLC                                         38 Corbett Way                          Eatontown                  NJ            07724                                                            First Class Mail
29784083 CBDFit, LLC                                             701 Park of Commerce Blvd, Ste 101,     BOCA RATON                 FL            33487                                                            First Class Mail
29791262 CBL & Associates Management, Inc.                       CBL Center                              Chattanooga                TN            37421‐6000                                                       First Class Mail
29790665 CBRE                                                    PO BOX 406588                           Atlanta                    GA            30384‐6588                                                       First Class Mail
29784086 CBS Ventures, LLC                                       PO Box 8543                             Omaha                      NE            68108‐0543                                                       First Class Mail
29784087 CC Vending, Inc.                                        90 Macquesten Parkway South             Mount Vernon               NY            10550                                                            First Class Mail
29784088 CC&B Associates LLC                                     1620 Scott Ave.,                        Charlotte                  NC            28203                                                            First Class Mail
29790666 CCBF Associates (Greenville), LLC                       2520 Sardis Road N                      Charlotte                  NC            28227                                                            First Class Mail
                                                                 Krista Grasso, 120 E. Lancaster Ave.,
29622939 CCP&FSG, L.P.                                           Suite 101                               Ardmore                    PA            19003                                kgrasso@eusrealty.com       First Class Mail and Email
29784091 CD, II Properties, LLC                                  P.O. Box 99                             Demorest                   GA            30535                                                            First Class Mail
29790667 CDA Enterprises, LLC                                    10 North Post                           Spokane                    WA            99201                                                            First Class Mail
29784093 cdbell LLC                                              116 Five Oaks Drive                     Greer                      SC            29651                                                            First Class Mail
29711971 CDW Direct, LLC                                         200 N. Milwaukee Ave                    Vernon Hills               IL            60061                                Vida.krug@cdw.com           First Class Mail and Email
29791263 CEA Beverly LLC                                         1105 Massachusetts Avenue               Cambridge                  MA            02138                                                            First Class Mail
29790668 Cedar Equities, LLC                                     1 Sleiman Parkway                       Jacksonville               FL            32216                                                            First Class Mail

29776872 Cellco Partnership doing business as Verizon Wireless   PO Box 15062                           Albany                      NY            12212                                                            First Class Mail
29790669 Celsius, Inc.                                           2424 North Federal Hwy                 Boca Raton                  FL            33431                                                            First Class Mail
29776874 Cenegenics Global Health, LLC                           6231 McLeod Dr. Suite G                Las Vegas                   NV            89120                                                            First Class Mail
                                                                 c/o Carnegie Management &
                                                                 Development Corp., 27500 Detroit Road,
29776875 Centerpointe Plaza Associates LP                        , Suite 300                            Westlake                    OH            44145                                                            First Class Mail
29790670 Centerstone Executive Search, Inc.                      4250 Fairfax Drive                     Arlington                   VA            22203                                                            First Class Mail




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ADRID                                    NAME                                ADDRESS                               CITY                STATE        POSTALCODE            COUNTRY                      EMAIL                      METHOD OF SERVICE
29625863 Centerview Plaza LLC                                 3113 S University Drive Suite 600       Fort Worth                  TX            76109                                                                         First Class Mail
29776877 Central Islip Holdings LLC                           1299‐B North Avenue                     New Rochelle                NY            10804                                                                         First Class Mail
29776878 Central Park Avenue Associates, LLC                  32 Quentin Road                         Scarsdale                   NY            10583                                                                         First Class Mail

                                                              c/o Rappaport Management Company,
29776879 Central Park Retail, LLC                             8405 Greensboro Drive, 8th Floor        McLean                      VA            22102                                                                         First Class Mail
29791264 Central Rock, LLC                                    5215 Monroe Street                      Toledo                      OH            43623                                                                         First Class Mail
29790671 Centralis Partners, Inc.                             2822 CENTRAL STREET                     Evanston                    IL            60201                                                                         First Class Mail
29784096 Centro Deptford LLC                                  222 West Hills Road,                    New Canaan                  CT            06840                                                                         First Class Mail
29784097 Century Systems                                      120 Selig Drive                         Atlanta                     GA            30336                                                                         First Class Mail
29784098 CerBurg Products Ltd                                 2040 South Ridgewood Avenue             S Daytona                   FL            32119                                                                         First Class Mail
29784099 Certegy Payment Recovery Services, Inc.              550 Greensboro Avenue                   Tuscaloosa                  AL            35401                                                                         First Class Mail
29784100 C'est Si Bon Company                                 1308 Sartori Ave. #205                  Torrance                    CA            90501                                                                         First Class Mail
29610992 CETA GROUP LIMITED PARTNERSHIP                       166 W CHESTNUT ST                       WASHINGTON                  PA            15301                                                                         First Class Mail
29790672 CFH REALTY III/SUNSET VALLEY, L.P.                   500 North Broadway                      Jericho                     NY            11753                                                                         First Class Mail
                                                              ATTN VALERIE J FUETTE, 1423 AARHUS
29784102 CFJ INVESTMENTS LLC                                  DRIVE                                   Solvang                     CA            93463                                                                         First Class Mail

29623084 CFT NorthPointe LLC                                  New LL as of 5‐1‐18, 1767 Germano Way Pleasanton                    CA            94566                               tianacjenkins@gmail.com                   First Class Mail and Email
29784104 CGG, Inc.                                            125 Leafwood Dr.                      Goldsboro                     NC            27534                                                                         First Class Mail
                                                              1818 E Robinson St., Attention: Gina
29623085 CH Realty VII/R Orlando Altamonte, L.L.C.            Karnes                                Orlando                       FL            32803                                                                         First Class Mail

                                                              Managing Agent‐ Walnut Management
                                                              Inc. Lauren Plath Account Assoc. Kelsey
                                                              Anderson Recon, 5500 Walnut Street,
29623086 CH Retail Fund I/Pittsburgh Penn Place, LLC          Suite 300                               Pittsburgh                  PA            15232                               jdupal@walcap.com; kanderson@walcap.com   First Class Mail and Email
29776881 CH Retail Fund I/Vestal Shops, LLC                   3819 Maple Ave.,                        Dallas                      TX            75219                                                                         First Class Mail

29790673 CH Retail Fund II/Chicago Oakbrook Terrace, LLC      Mid‐America Asset Management Inc.       Villa Park                  IL            60181                                                                         First Class Mail

                                                              c/o Carlino Commercial Development,
29776883 Chadds Ford Investors LPc/o Carlino Development,     100 Front Street, Suite 560             Conshohocken                PA            19428                                                                         First Class Mail
29791265 ChainXY Solutions Inc.                               318‐1788 5th Ave W                      Vancouver                   BC            BC V6J 1P2       Canada                                                       First Class Mail
29776884 Chalet East, Inc.                                    22936 NE 15th Place                     Sammamish                   WA            98074                                                                         First Class Mail
29776885 Challa Enterprises LLC                               2200 SW 6th Avenue                      Topeka                      KS            66606                                                                         First Class Mail

29776886 Chamisa Development Corp., LTD                       c/o CREM, 5951 Jefferson St. NE, Suite A Albuquerque                NM            87109                                                                         First Class Mail
                                                              Attn: John Carson, 505 W. University
29762628 Champaign Village 2, LLC                             Ave.                                     Champaign                  IL            61820                                                                         First Class Mail
29776887 Champion Nutrition                                   1301 Sawgrass Corporate Parkway          Sunrise                    FL            33323                                                                         First Class Mail
29791266 Chandon Enterprise, LLC                              Corporation Trust Center                 Wilmington                 DE            19801                                                                         First Class Mail
29776889 CHARJON Enterprises, LLC                             PO Box 42                                Bullard                    TX            75757                                                                         First Class Mail
29479610 Charleigh Davis and TCCB Properties                  P.O. Box 20025                           Tuscaloosa                 AL            35402                                                                         First Class Mail
                                                              Of CB/DB Revocable Trust dated
29790674 Charles Bailey & Debra Bailey Trustees               1/31/94                                  The Villages               FL            32162                                                                         First Class Mail
29790675 Charles Kahn Jr. & Todd Vannett                      580 Virginia Drive                       Fort Washington            PA            19034                                                                         First Class Mail
                                                              Trustees of the Frandson Family Trust &
29790676 Charles L. & Patricia M.Frandson as                  Ralph Horowitz                           Los Angeles                CA            90049                                                                         First Class Mail
         Charles M. LaKamp and Marianne E. LaKamp Trustees of
29784108 The LaKamp Family Trust                              Address on File                                                                                                                                                 First Class Mail
29784109 Charlottes House, LLC                                10767 Adams Road                        Galena                      OH            43021                                                                         First Class Mail
29648930 Charm Real Estate, LLC                               117 Church Lane, Ste C                  Cockeysville                MD            21030                                                                         First Class Mail
29784111 Charter Medway II LLC                                309 Greenwich Ave.                      Greenwich                   CT            06830                                                                         First Class Mail



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ADRID                                    NAME                                      ADDRESS                               CITY                STATE        POSTALCODE     COUNTRY                      EMAIL       METHOD OF SERVICE
29784112 Chase Merchant Services                                    8875 Washington Blvd,                   ROSEVILLE                   CA            95678                                                   First Class Mail
29784113 CHEP USA                                                   5897 Windward Parkway                   Alpharetta                  GA            30005                                                   First Class Mail
29784114 CHEPS CUT REAL JERKY LLC                                   PO BOX 110871                           NADIES                      FL            34108                                                   First Class Mail
29784115 CHEPS CUT REAL JERky LLIC                                  PO BOX 110871                           NAPLES                      FL            34108                                                   First Class Mail
29784116 Cherry Hill Retail Partners LLC                            1260 Stelton Road,                      Piscataway                  NJ            08854                                                   First Class Mail
29784117 Chesapeake System Solutions, Inc.                          10220 S. Dolfield Road, Suite 209       Owings Mills                MD            21117                                                   First Class Mail
29784118 Chia USA LLC (dba The Chia Co)                             270 Lafayette Street, Suite 612         New York                    NY            10012                                                   First Class Mail
29776892 Chiara Investments, Inc.                                   3956 Ivy Road NE                        Atlanta                     GA            30342                                                   First Class Mail
29776893 Chicago Bar Company LLC                                    225 W. Ohio St. Suite 500               Chicago                     IL            60654                                                   First Class Mail
29776894 ChildLife Essentials                                       5335 McConnell Avenue                   Los Angeles                 CA            90066                                                   First Class Mail
                                                                    Stella Tsimenis, 535 5th Avenue, 12th
29622945 Chili MZL LLC                                              Floor                                   New York                    NY            10017                        stsimenis@kprcenters.com   First Class Mail and Email
29776896 Chinmay Patel (Entity Pending)                             127 Jerome Street                       Roselle Park                NJ            07204                                                   First Class Mail
29776897 ChocZero Inc.                                              1376 E Valencia Dr.                     Fullerton                   CA            92831                                                   First Class Mail
29487417 Chris McCarty Company, LLC                                 804 Stone Creek Pkwy Ste 7              Louisville                  KY            40223                                                   First Class Mail
29790677 ChrisLinc Properties, LLC                                  2320 N Atlantic                         Spokane                     WA            99205                                                   First Class Mail
29791881 Chubb Insurance (Multiple Others)                          436 Walnut Street                       Philadelphia                PA            19106‐3703                                              First Class Mail
29776899 Church & Dwight Co., Inc.                                  500 Charles Ewing Boulevard             Ewing                       NJ            08628                                                   First Class Mail
29790678 Cid Botanicals LLC                                         14 NE First Avenue                      Miami                       FL            33132                                                   First Class Mail
29790679 Cigniti Technologies, Inc.                                 433 East Las Colinas Blvd.              Irving                      TX            75039                                                   First Class Mail
29776902 Cintas Corporation                                         4310 Metro Parkway                      Ft. Myers                   FL            33916                                                   First Class Mail
29776903 Cintas Corporation No. 2                                   4310 Metro Parkway                      Ft. Myers                   FL            33916                                                   First Class Mail

29784119 Cintas Corporation No. 2 d/b/a Cintas First Aid & Safety   PO BOX 631025                           Cincinnati                  OH            45263                                                   First Class Mail
29784120 Cintas Fire Protection                                     2929 W. Clarendon Ave.                  Phoenix                     AZ            85017                                                   First Class Mail

29784121 Cintas First Aid & Safety, a division of Cintas Corporation 4310 Metro Parkway                     Ft. Myers                   FL            33916                                                   First Class Mail
29784122 Cisco Systems Capital Corporation                           1111 Old Eagle School Road             Wayne                       PA            19087                                                   First Class Mail
29791882 Cisco Systems Capital Corporation                           170 W. Tasman Drive, MS SJ13‐3         San Jose                    CA            95134                                                   First Class Mail
29791884 CIT Bank, N.A.                                              10201 Centurion Parkway North          Jacksonville                FL            32256                                                   First Class Mail
29790680 City Centre of Avon Retail, LLC                             3951 Convenience Circle N.W.           Canton                      OH            44718                                                   First Class Mail
29626269 CJM Limited Liability Limited Partnership                   10780 W State Street #252              Star                        ID            83669                                                   First Class Mail
29784124 CK Designs LLC                                              930 E 42nd Place                       Chicago                     IL            60653                                                   First Class Mail
29784125 CL Creekside Plaza South CA LP                              3300 Enterprise Parkway,               Beachwood                   OH            44122                                                   First Class Mail
                                                                     c/o Patron Property Management
29784126 Clark Commons LLC                                           Company, 700A Lake Street              Ramsey                      NJ            07446                                                   First Class Mail
29784127 Clarkston‐Potomac Group, Inc.                               2655 Meridian Parkway                  Durham                      NC            27713                                                   First Class Mail
29784128 CleanWell LLC                                               755 Sansome St. Ste 300                San Francisco               CA            94111                                                   First Class Mail
29790681 Clear Evaluations, LLC                                      719 Sawdust Road                       The Woodlands               TX            77380                                                   First Class Mail
29611007 CLENDENIN PARTNERS                                          P.O. BOX 418                           GOODLETTSVILLE              TN            37070                                                   First Class Mail
         Cleveland Browns Football Company LLCCleveland
29791267 Browns Stadium Company LLC                                  76 Lou Groza BLVD                      Berea                       OH            44017                                                   First Class Mail
29776905 ClickCO, Inc.                                               639 W. Enterprise Rue                  Clovis                      CA            93619                                                   First Class Mail
29776906 Clif Bar & Company                                          1451 66 St                             Emeryville                  CA            94608                                                   First Class Mail
29776907 Clinical Study Applications, Inc.                           3305 N. Delaware Street                Chandler                    AZ            85225                                                   First Class Mail
29790682 Clipper Magazine LLC                                        ONE BRAND MARKETING                    Mountville                  PA            17554                                                   First Class Mail
                                                                     c/o CTW Development Corp, 970
29776909 Clocktower Plaza, LLC                                       Windham Court,, Suite 7                Boardman                    OH            44512                                                   First Class Mail
29623093 Clovis‐Herndon Center II, LLC                               195 South C Street                     Tustin                      CA            92780                                                   First Class Mail

29776911 CLPF ‐ KSA Grocery Portfolio Woodbury, LLC                 c/o Clarion Partners, 230 Park Avenue   New York City               NY            10169                                                   First Class Mail
29776912 Club Drive Investments Company                             6030 Pennsylvania Ave.                  Lansing                     MI            48911                                                   First Class Mail
29776913 CLVM, LLC (d.b.a. Valimenta Labs)                          6598 Buttercup Drive unit 4             Wellington                  CO            80549                                                   First Class Mail




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ADRID                                    NAME                             ADDRESS                              CITY                 STATE        POSTALCODE          COUNTRY      EMAIL       METHOD OF SERVICE
29776914 CMQ Enterprises, Inc.                              2501 Pennington Place                    Valparaiso                IN            46383                                        First Class Mail
29784131 Co. Exist Nutrition Corp                           4552 SW 71 Avenue                        Miami                     FL            33155                                        First Class Mail
29790683 Coalfire Systems, Inc.                             361 Centennial Parkway                   Louisville                CO            80027                                        First Class Mail
29791268 Coastal Pet Products Inc.                          911 Lead Way                             Alliance                  OH            44601                                        First Class Mail
29784134 Coastline Products LLC                             2222 Ave of Stars #702E                  Los Angeles               CA            90067                                        First Class Mail
29790684 Cobal Garage Inc.                                  225 Gordons Corner Road                  Englishtown               NJ            07726                                        First Class Mail
                                                            c/o Divaris Property Mgmt Corp. Agent,
29784136 Cobalt Properties of Nashville, TN, LLC            4525 Main Street, Suite 900              Virginia Beach            VA            23462                                        First Class Mail
29784137 Coborn's Inc.                                      1921 Coborn Blvd                         St. Cloud                 MN            56301                                        First Class Mail
29784138 Coconut Point Town Center LLC                      225 West Washington Street,              Indianapolis              IN            46204                                        First Class Mail
                                                            c/o Fidelis Realty Partners DFW LLC,
29784139 Collin Creek Associates, LLC                       8140 Walnut Lane, Suite 400              Dallas                    TX            75231                                        First Class Mail
29784140 Colonel Sun LLC                                    3718 N 36th St.                          Tacoma                    WA            98407                                        First Class Mail
29784141 Colonial and Herndon LLC                           1605 W. Fairbanks Ave                    Winter Park               FL            32789                                        First Class Mail
29784142 ColonialWebb                                       2820 Ackley Avenue                       Richmond                  VA            23228                                        First Class Mail
29790539 Colony West Management of Vero Beach, LLC          701 Devonshite Drive                     Champaign                 IL            61820                                        First Class Mail
         Columbia Banking System, Inc.Gupton Marrs
29791269 International, Inc.                                1301 A Street                           Tacoma                     WA            98402‐2156                                   First Class Mail
29776916 COLUMBIA‐ BBB WESTCHESTER                          12568 N. Kendall Drive,                 Miami                      FL            33186                                        First Class Mail
                                                            c/o Kimco Realty Corporation, 500 North
29776917 Columbia Crossing I LLC                            Broadway, Suite 201                     Jericho                    NY            11753                                        First Class Mail
29776918 Columbus Consulting International, LLC             4200 Regent Street, Suite 200           Columbus                   OH            43219                                        First Class Mail
         Columbus Management Systems, Inc. d/b/a CDL Last
29776919 Mile Solutions                                     132 West 24th Street                     New York                  NY            10011                                        First Class Mail
29623742 Comcast                                            PO Box 8587                              Philadelphia              PA            19101                                        First Class Mail
29776921 Comcast Cable Communications Management, LLC       PO Box 8587                              Philadelphia              PA            19101                                        First Class Mail
29776923 Command Global, LLC                                8840 W. Russell Rd. #245                 Las Vegas                 NV            89148                                        First Class Mail
29776924 Commerce Limited Partnership #9005                 1280 West Newport Center Drive,          Deerfield Beach           FL            33442                                        First Class Mail
29648936 Commerce Limited Partnership #9602                 1280 West Newport Center Drive           Deerfield Beach           FL            33442                                        First Class Mail
29784143 Commerce Technologies, Inc.                        70 N UNION ST                            DELAWARE                  OH            43015                                        First Class Mail
29784144 Commerce Technologies, LLC                         1280 W. NEWPORT CENTER DR.               DEERFIELD BEACH           FL            33442                                        First Class Mail
                                                            MMS USA HOLDINGS f/b/o Commission
29790685 Commission Junction                                Junct.                                   Dallas                    TX            75373‐5538                                   First Class Mail
29784146 Commission Junction, Inc.                          530 East Montecito Street                Santa Barbara             CA            93103                                        First Class Mail
29784147 Community Veterinary Clinics, LLC                  5813 Skylane Blvd.                       Windsor                   CA            95492                                        First Class Mail
29784148 Comm‐Works, LLC                                    1405 Xenium Lane N Suite 120             Minneapolis               MN            55441                                        First Class Mail
29784149 Compass Group USA, Inc.                            5000 Hopyard Road, Suite 322             Pleasanton                CA            94588                                        First Class Mail
29784150 Compound Solutions, Inc.                           1930 Palomar Point Way, Suite 105        Carlsbad                  CA            92008                                        First Class Mail
29790686 ComPsych Corporation                               455 N. CITYFRONT PLAZA DR.               CHICAGO                   IL            60611                                        First Class Mail
29784152 Comvita USA Inc.                                   506 Chapala Street                       Santa Barbara             CA            93101                                        First Class Mail
29487509 Concord Retail Investment Group, LLC               2400 South Blvd Ste 300                  Charlotte                 NC            28203‐5773                                   First Class Mail
29626635 CONCUR TECHNOLOGIES, INC                           62157 COLLECTIONS CENTER DR              CHICAGO                   IL            60693                                        First Class Mail
29784153 Concur Technologies, Inc.                          601 108th Ave NE                         Bellevue                  WA            98004                                        First Class Mail
29790396 Connectria, LLC                                    10845 Olive Blvd.                        St. Louis                 MO            63141                                        First Class Mail
29784154 ConnectWise, LLC                                   400 N Tampa St                           Tampa                     FL            33602                                        First Class Mail
29776926 Connolly, a division of Cotiviti, LLC              50 Danbury Road                          Wilton                    CT            06897                                        First Class Mail
                                                            Unit 3B, Clapham North Art Centre, 26‐
29776565 Conscious Food LTD                                 32 Voltaire Road                         London                                  SW4 6DH          United Kingdom              First Class Mail
29790687 Consumer Insights Inc. d/b/a Emicity               5455 Corporate Drive                     Troy                      MI            48098                                        First Class Mail
29776928 ConsumerLab.com, LLC                               333 Mamaroneck Avenue                    White Plains              NY            10605                                        First Class Mail
29776929 Continental Services                               1578 Reliable Parkway                    Chicago                   IL            60686                                        First Class Mail
29776930 Continental Vitamin Company, Inc.                  4510 S. Boyle Ave.                       Vernon                    CA            90058                                        First Class Mail
29776931 Contract Flooring, LLC                             600 Wharton Drive, SW                    Atlanta                   GA            30336                                        First Class Mail




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ADRID                                    NAME                           ADDRESS                                CITY                STATE        POSTALCODE            COUNTRY                       EMAIL              METHOD OF SERVICE
29776932 Controlled Labs                                 180 South Broadway Suite 206            White Plains                 NY            10605                                                                  First Class Mail
29776933 Convertro, Inc.                                 4712 Admiralty Way, #795                Marina del Rey               CA            90292                                                                  First Class Mail
29790688 Conyers, LLC                                    4685 MacArthur Court                    Newport Beach                CA            92660                                                                  First Class Mail
29783709 CoolWhey Inc.                                   5416 Vanden Abeele                      Montreal                     QC            H4SIP9           Canada                                                First Class Mail
29776935 Coop Enterprises, LLC                           820 Bella Vista Court S                 Jupiter                      FL            33477                                                                  First Class Mail
29776936 Copeland Cargo Solutions                        PO Box 102071                           Pasadena                     CA            91189‐2071                                                             First Class Mail
29785799 Coppertree Staffing LLC                         60 Turnstone Court                      Stafford                     VA            22556                                                                  First Class Mail
                                                         c/o Kimco Realty Corporation, 500 North
29785800 Copperwood Village L.P.                         Broadway, Suite 201                     Jericho                      NY            11753                                                                  First Class Mail
29785801 Coral LLC                                       38 Diamondback wy                       Carson City                  NV            89706                                                                  First Class Mail
29785802 Corben and Clay Company                         1937 N Interstate 35 #100               New Braunfels                TX            78130                                                                  First Class Mail
29785803 Core Acquisitions, LLC                          P.O. Box 1243                           Northbrook                   IL            60065                                                                  First Class Mail
29785804 CORE Nutrition, LLC                             1222 E Grand Ave Suite 102              El Segundo                   CA            90245                                                                  First Class Mail
29785805 Coremark St. Cloud, LLC                         392 Main Street                         Wyckoff                      NJ            07481                                                                  First Class Mail
29785806 CoreTrust Purchasing Group                      155 Franklin Road                       Brentwood                    TN            37027                                                                  First Class Mail
29785807 Cornerstone Research & Development, Inc.        900 South Depot Dr.                     Ogden                        UT            84404                                                                  First Class Mail
         Cornerstone Research & Development, Inc., dba
29785808 Capstone Nutrition                              900 South Depot Dr.                         Ogden                    UT            84404                                                                  First Class Mail
29790689 Coromega                                        2525 Commerce Way                           VISTA                    CA            92081                                                                  First Class Mail
29785810 Coronado Center LLC                             110 N. Wacker Dr.,                          Chicago                  IL            60606                                                                  First Class Mail
                                                         San Jose‐Goicichea calle Blancos, del
                                                         edificio del Segundo circuito judicial de
                                                         San Jose,, cien metros oeste, cien
         Corporacion SDCR Costa Rica Sociedad De         metros norte, cien metros este, Edificio
29790690 Responsabilidad Limitada                        Gessa                                       San Jose                               10803            Costa Rica                                            First Class Mail
29776939 Corporate Health Education Solutions LLC        27941 Avenida Armijo                        Laguna Niguel            CA            92677                                                                  First Class Mail
29790691 CorrJensen                                      1525 RALEIGH ST.                            DENVER                   CO            80204                                                                  First Class Mail
29776941 Corr‐Jensen, Inc.                               221 S. Cherokee Street                      Denver                   CO            80223                                                                  First Class Mail
29790692 Cortlandt Manor Equities LLC                    244 West 39th St.                           New York City            NY            10018                                                                  First Class Mail
29776943 CorVel Enterprise Comp, Inc.                    1920 Main Street, Suite 900                 Irvine                   CA            92614                                                                  First Class Mail
29776944 CorVel Enterprise Comp, Inc.                    2010 Main Street, Suite 600                 Irvine                   CA            92614                                                                  First Class Mail
29790693 Cosmonaut Holdings, LLC                         365 W. Taft‐Vineland Rd                     Orlando                  FL            32824                                                                  First Class Mail
29776946 Cosmorganic Inc                                 60 Broad Street Ste 3502                    New York                 NY            10004                                                                  First Class Mail
29487501 Costco‐Innovel Properties LLC                   999 Lake Drive                              Issaquah                 WA            98027                                                                  First Class Mail
29790694 Cotapaxi Custom Design and Manufacturing LLC    466 Kinderkamack Rd.                        Oradell                  NJ            07649                                                                  First Class Mail
29784155 Couet Corp.                                     4083 Ledgestone Dr.                         Troy                     MI            48098                                                                  First Class Mail
29784156 Country Life, LLC.                              180 Vanderbilt Motor Pkwy                   Hauppauge                NY            11788                                                                  First Class Mail
29791270 County Line Crossing Assoc. L.L.C.              8910 Purdue Rd                              Indianapolis             IN            46260                                                                  First Class Mail
29784158 Covalent Medical, LLC                           7501 Greenway Center Drive, #300            Greenbelt                MD            20770                                                                  First Class Mail
29776518 Coveo                                           3175 Chemin des Quatre‐ Bourgeois           Quebec City              QC            GIW 2K7          Canada                                                First Class Mail
29784159 Coveo Software Corp.                            P.O. Box 8536                               Pasadena                 CA            91109‐8536                                                             First Class Mail
29790398 Coyote Logistics, LLC                           2545 W. Diversey Ave.                       Chicago                  IL            60647                                                                  First Class Mail
29648944 CP Pembrok Pines, LLC                           708 East Colonial Drive, Suite 203          Orlando                  FL            32803                                                                  First Class Mail
                                                         c/o Nigro Companies, 20 Corporate
29784161 CPEG MALTA, L.L.C                               Woods Boulevard                             Albany                   NY            12211                                                                  First Class Mail
29623101 CPK Union LLC                                   1089 Little Britain Road                    New Windsor              NY            12553                                                                  First Class Mail
                                                         Adrienne Farrell, 8522 Broadway, Ste.
29651016 CPRK‐II Limited Partnership                     209                                         San Antonio              TX            78217                               adriennefarrell@duwestrealty.com   First Class Mail and Email
29784164 CPS/Comtech, Inc.                               22 Trails End Court                         Westfield                NJ            07090                                                                  First Class Mail
                                                         c/o Madison Marquette Real Estate
                                                         Services LLC, 1615 South Congress
29784165 CPT Settlers Market, LLC                        Avenue, Suite 103                           Delray Beach             FL            33445                                                                  First Class Mail




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ADRID                                    NAME                             ADDRESS                                 CITY                  STATE        POSTALCODE            COUNTRY                      EMAIL       METHOD OF SERVICE
                                                           c/o JBG SMITH Properties, 4747
29784166 CPYR SHOPPING CENTER, LLC                         Bethesda Avenue, Suite 200                 Bethesda                     MD            20814                                                          First Class Mail
                                                           c/o Continental Realty Corporation,
29776949 CR Oakland Plaza LLC                              1427 Clarkview Road, Suite 500             Baltimore                    MD            21209                                                          First Class Mail
29790399 Cramco Inc.                                       2200 East Ann Street                       Philadelphia                 PA            19134                                                          First Class Mail
                                                           c/o Paramount Development Corp., 607
29776950 Cranberry Creek Plaza, LLC                        Briarwood Drive, Suite 5                   Myrtle Beach                 SC            29572                                                          First Class Mail
29776951 Crave Crush LLC                                   535 Madison Avenue, Fl 30                  New York                     NY            10016                                                          First Class Mail
29776952 Creative Bioscience, LLC                          5239 Green Pine Drive                      Salt Lake City               UT            84123                                                          First Class Mail
29790695 Creative Circle                                   470 Park Avenue South                      New York                     NY            10016                                                          First Class Mail
29790696 Creative Circle, LLC                              5900 Wilshire Boulevard                    Los Angeles                  CA            90036                                                          First Class Mail
29776955 CredibleCravings, LLC                             PO Box 18706                               Irvine                       CA            92623                                                          First Class Mail
29479640 Creekstone/Juban I, LLC                           6765 Corporate BlvdATTN: OFFICE            Baton Rouge                  LA            70726                                                          First Class Mail
                                                           Attn: Lee & Associates Raleigh Durham,
29623105 Crescent 1000 LLC and Capital 12520 LLC           P.O. Box 33006                             Raleigh                      NC            27636                                                          First Class Mail
                                                           Attn: David Shenton, Managing
29776957 Crest Properties, LLC                             Member, 3134 Sycamore, Lane                Billings                     MT            59102                                                          First Class Mail
                                                           Kelly Fenimore, 250 Civic Center Dr.,
29651018 CRI New Albany Square, LLC                        Suite 500                                  Columbus                     OH            43215                               kfenimore@castoinfo.com    First Class Mail and Email
29784167 Crio, Inc.                                        1386 W. 70 S.                              Lindon                       UT            84042                                                          First Class Mail
29784168 Criteo Corp.                                      411 High Street                            Palo Alto                    CA            94301                                                          First Class Mail
29783748 Criteo SA                                         32 rue blanche                             Paris                                      75009            France                                        First Class Mail
29791271 Cross Grand Plaza LLC                             3155 West Big Beaver Road                  Troy                         MI            48084                                                          First Class Mail
29478962 Crossing Point LLC                                401 Main StSuite 218                       Cedar Falls                  IA            50613                                                          First Class Mail
29784170 Crossroads Retail Solutions Inc.                  22 Ashford Street                          Boston                       MA            02134                                                          First Class Mail
29791272 Crossroads‐Holt Drive Associates, LLC             20 Ridge Road                              Mahwah                       NJ            07430                                                          First Class Mail
                                                           c/o Crown Acquisitions, 667 Madison
29784172 Crown 181 Broadway Holdings, LLC                  Avenue, 12th Floor                         New York City                NY            10065                                                          First Class Mail
                                                           c/o Paramount Newco Realty, 1195 Rt
29784173 CS Paramount Hooper LLC                           70, Suite 2000                             Lakewood (CDP)               NJ            08701                                                          First Class Mail
                                                           c/o Principal Real Estate Investors, 801
29784174 CSHV 20/35, LLC                                   Grand Avenue                               Des Moines                   IA            50392‐1370                                                     First Class Mail
                                                           c/o CenterSquare Investment
                                                           Management LLC, 161 Washington
29784175 CSIM Snellville Operator LLC                      Street, 7th Floor                          Conshohocken                 PA            19428                                                          First Class Mail
29623110 CTO23 Rockwall LLC                                1140 Williamson Blvd., Suite 140           Daytona Beach                FL            32114                                                          First Class Mail
                                                           c/o CTO Realty Growth Inc., 1140
29784177 CTO24 Millenia LLC                                Williamson Blvd., Suite 140                Daytona Beach                FL            32114                                                          First Class Mail
29790697 CTRL Holdings, LLC                                42 Madison Avenue                          New York                     NY            10010                                                          First Class Mail
29776959 Cueniverse, LLC                                   50‐17 48th St.                             Woodside                     NY            11377                                                          First Class Mail
29776960 Curtis Power Solutions LLC                        3915 BENSON AVE                            Baltimore                    MD            21227                                                          First Class Mail
29776961 Curv Group, LLC dba KeySmart                      860 Bonnie Ln                              Elk Grove Village            IL            60007                                                          First Class Mail
29776962 Custom Eco Friendly                               260 Madison Avenue Suite 8081              New York                     NY            10016                                                          First Class Mail
         Custom Leather Canada Limited & Grizzly Fitness
29776519 Accessories                                       460 Bingemans Centre Drive                 Kitchener                    ON            N2B 3X9          Canada                                        First Class Mail

29602257 Cuyahoga Investments LLC                          c/o Mark Fornes Realty2080 Byers Road      Miamisburg                   OH            45342                                                          First Class Mail
29790403 CVB, Inc. (Malouf)                                1525 West 2960 South                       Nibley                       UT            84321                                                          First Class Mail
29625135 CWP/ARLINGTON LLC                                 1801 EAST NINTH ST SUITE 1505              CLEVELAND                    OH            44114                                                          First Class Mail
29776963 Cypress Woods Associates LLC                      8441 Cooper Creek Blvd,                    Bradenton                    FL            34207                                                          First Class Mail
29776964 CytoSport, Inc.                                   4795 Industrial Way                        Benicia                      CA            94510                                                          First Class Mail
29776965 Daisy 1, LLC                                      3314 Highlands Bridge Road                 Sarasota                     FL            34235                                                          First Class Mail
29776966 Daiwa Health Development                          1411 West 190th Street, Suite 375          Gardena                      CA            90248                                                          First Class Mail




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29790698 Dakota Crossing One, LLC and Dakota Crossing Two, LLC   888 S. Figueroa Street                  Los Angeles                 CA            90017                                                             First Class Mail
29776546 Dalian Jinyu Metal Products Co., Ltd                    Room 1708, B Tower                      Peace Modern Town                                          China                                            First Class Mail
29776968 Dallas Manufacturing                                    12111 Ford Rd                           Dallas                      TX            75234                                                             First Class Mail
29776520 DAMIVA INC.                                             55 Avenue Road, Suite #2400             Toronto                     ON            M5R 3L2          Canada                                           First Class Mail
29776969 Dandy Ventures, Inc.                                    2307 South Saginaw St.                  Flint                       MI            48503                                                             First Class Mail
29762619 Daniel P. Hagaman                                       5700 Laurel Ridge Road                  Chattanooga                 TN            37416                                                             First Class Mail
29602316 DANVILLE RIVERSIDE PARTNERS LLC                         1500 HUGENOT ROAD SUITE 108             Midlothian                  VA            23113                                                             First Class Mail
29784179 DAS LABS LLC                                            313 South 740 East #3                   American Fork               UT            84003                                                             First Class Mail
29784180 Data Axle, Inc.                                         13155 Noel Road                         Dallas                      TX            75240                                                             First Class Mail
29790699 Davenport One, LLC and Davenport Two, LLC               4685 MacArthur Court                    Newport Beach               CA            92660                                                             First Class Mail
29790700 David Kirsch Wellness Co.                               210 Fifth Avenue                        New York                    NY            10010                                                             First Class Mail
29784183 David Powell (Entity Pending)                           6630 Pinta Court                        Charlotte                   NC            28227                                                             First Class Mail
29784184 David Vaughan (Entity Pending)                          2621 Baltimore                          Finksburg                   MD            21048                                                             First Class Mail
29784185 Davinci Laboratories of Vermont                         20 New England Drive                    Essex Jct                   VT            05452                                                             First Class Mail
29790701 Dawaai Private Limited                                  Suite 1216, Caesars Tower               Karachi                                   74400            Pakistan                                         First Class Mail
29784186 Dawnbury Inc.                                           7899 High Dr.                           Indianapolis                IN            46248                                                             First Class Mail
29784187 DBG Partners, Inc.                                      2300 Valley View Lane, Suite 110        Irving                      TX            75062                                                             First Class Mail
29784188 DCHPETS LLC                                             108 Holly Grove                         Williamsburg                VA            23185                                                             First Class Mail
                                                                 Sarah Kavalecz, Legal Assistant, 3300
29651021 DDR Ohio Opportunity II LLC                             Enterprise Parkway                      Beachwood                   OH            44122                                 SKavalecz@ddr.com           First Class Mail and Email
29784191 De Mert Brands Inc.                                     15402 N. Nebraska Ave Suite 102         Lutz                        FL            33549                                                             First Class Mail
29791885 Dell Financial Services L.L.C.                          One Dell Way                            Round Rock                  TX            78682                                                             First Class Mail
29776971 DELL Marketing L.P                                      One Dell Way                            Round Rock                  TX            78682                                                             First Class Mail
                                                                 Rebecca Yates, Roz Shulman, 101 Plaza
29648948 Delray Place, LLC                                       Real South                              Boca Raton                  FL            33432                                 accounting@rpg123.com       First Class Mail and Email
29626685 DELTA FURNITURE MFG. LLC                                292 INDUSTRIAL DRIVE                    PONTOTOC                    MS            38863                                                             First Class Mail
29479589 Dennis R. Phillips Revocable Trust                      931 E FORT KING STREET                  Ocala                       FL            34471                                                             First Class Mail
                                                                 c/o Legend Management Services Inc.,
29776973 DEPG Stroud Associates II, L.P.                         1000 Fayette Street                     Conshohocken                PA            19428                                                             First Class Mail
29776974 Derma E                                                 2130 Ward Ave,                          SIMI VALLEY                 CA            93065                                                             First Class Mail
29790702 Derob Associates LLC                                    10 Rye Ridge Plaza                      Port Chester                NY            10573                                                             First Class Mail
29776976 Desert Essence                                          10556 Combie Road PMB 6711              Auburn                      CA            95602                                                             First Class Mail
29776977 design LAB, Inc.                                        19210 S. Vermont Ave                    Gardena                     CA            90248                                                             First Class Mail
29776978 Designer Protein                                        PO BOX 21469                            Carlsbad                    CA            92018                                                             First Class Mail
29776979 Destination Marketing                                   6808 220th St SW, Suite 300             Mountainlake Terrace        WA            98043                                                             First Class Mail
29776980 Destiny Building LLC                                    1260 NW 72rd Avenue,                    Miami                       FL            33126                                                             First Class Mail
29790703 Detoxify LLC                                            8901 E. Pima Center Parkway             Scottsdale                  AZ            85258                                                             First Class Mail
29784193 Detroit Belle Isle Grand Prix, Inc.                     300 Renaissance Tower                   Detroit                     MI            48243                                                             First Class Mail
29784194 Development Dimensions International, Inc.              1225 Washington Pike                    Bridgeville                 PA            15017                                                             First Class Mail
29784195 Devil Dog Pets Inc.                                     334 Francis Drive                       Jackson                     MO            63755                                                             First Class Mail
29791273 DeVille Developments, LLC                               3951 Convenience Circle NW              Canton                      OH            44718                                                             First Class Mail
29784197 Diamond Center Realty LLC                               27 Holly Brook Road,                    Paramus                     NJ            07652                                                             First Class Mail
29784198 Diamond Herpanacine of PA, Inc.                         1518 Grove Avenue, Suite #2B            Jenkintown                  PA            19046                                                             First Class Mail
29784199 Diane Stollenwerk                                       3957 Cloverhill Road                    Baltimore                   MD            21218                                                             First Class Mail
29784200 Dicks Adventure LLC                                     33 Church Street,                       Montclair                   NJ            07042                                                             First Class Mail
29790704 Dierbergs 5LP                                           16690 Swingley Ridge Road               Chesterfield                MO            63017                                                             First Class Mail
29784202 Differt Management Group 1, LLC                         7611 County Road O                      Hartford                    WI            53027                                                             First Class Mail
29784203 Digital Prophets Network, LLC                           56 SQUAW ROAD                           East Hampton                NY            11937                                                             First Class Mail
29791274 DILLON CENTER, LLC,                                     933Columbia Boulevard                   Bloomsburg                  PA            18815                                                             First Class Mail
29790705 Direct Digital LLC                                      508 West 5th Street                     Charlotte                   NC            28202                                                             First Class Mail
29776982 DirectPath LLC                                          120 18th Street South                   Birmingham                  AL            35233                                                             First Class Mail
29776983 DIRIGO‐Pets, LLC                                        1345 George Jenkins Blvd.               Lakeland                    FL            33815                                                             First Class Mail



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29776984 DIRIGO‐WNW, LLC                                       1345 George Jenkins Blvd.               Lakeland                  FL             33815                                       First Class Mail
29776985 Discover Products Inc.                                2500 Lake Cook Road                     Riverwoods                IL             60015                                       First Class Mail
29776986 Discovery Benefits, Inc.                              4321 20th Avenue South                  Fargo                     ND             58103                                       First Class Mail
29776987 Distributed Meditation Technology LLC                 1435 N Dutton Ave                       Santa Rosa                CA             95401                                       First Class Mail
29776988 Diverse Staffing Services, Inc.                       7135 Waldemar Drive                     Indianapolis              IN             46268                                       First Class Mail
29776989 Divine Health                                         1908 Boothe Circle                      Longwood                  FL             32750                                       First Class Mail
29776990 Divine Health, Inc.                                   1908 Boothe Circle                      Longwood                  FL             32750                                       First Class Mail
                                                               c/o Global Realty & Management FL Inc.,
29776991 Dixie Pointe Shopping Center, LLC                     4125 NW 88 Avenue                       Fort Lauderdale           FL             33351                                       First Class Mail
29784205 DJ & Sons LLC                                         200 Old Mountain Road                   Marion                    CT             06444                                       First Class Mail
29784206 DLI Properties, LLC                                   2000 Brush Street                       Detroit                   MI             48226                                       First Class Mail
29784207 DLP Construction                                      5935 Shiloh Road East                   Alpharetta                GA             30005                                       First Class Mail
29784208 DLP Construction Inc.                                 5935 Shiloh Road East                   Alpharetta                GA             30005                                       First Class Mail
29784209 DLP Enterprises, LLC                                  2537 La Rochelle Court                  Seabrook                  TX             77586                                       First Class Mail
29784210 DMFC Incorporated                                     276 Pine Avenue                         Manasquan                 NJ             08736                                       First Class Mail
29784211 DMS Natural Health, LLC (Just Thrive Probiotic)       810 Busse Highway                       Park Ridge                IL             60068                                       First Class Mail
29790706 Doctor's Best, Inc.                                   197 Avenida La Pata                     San Clemente              CA             92673                                       First Class Mail
29784213 DocuSign Inc.                                         3003 Tasman Drive                       Santa Clara               CA             95054                                       First Class Mail
29784214 Dog Days in Paradise LLC                              2565 4th Avenue West                    Seattle                   WA             98119                                       First Class Mail
29784215 Don Pet Supplies                                      8121 Norton Ave Unit 101                West Hollywood            CA             90046                                       First Class Mail
29784216 Donmar, Inc.                                          382 Adams St.                           Plymouth                  MI             48170                                       First Class Mail
         Donna Rainwater Reece, Larry J. Rainwater, R. Bryan   Attn: R. Bryan Whitmire, 6806 Rogers
29762637 Whitmire and Karle J. Whitmire                        Ave.                                    Fort Smith                AR             72903                                       First Class Mail
29784217 Donnelly Industries, Inc.                             557 Route 23 South                      Wayne                     NJ             07470                                       First Class Mail
29776992 DoorDash G&C, LLC                                     303 2nd Street                          San Francisco CA 94107    CA             94107                                       First Class Mail
29776994 DoorDash, Inc.                                        303 2nd Street                          San Francisco             CA             94107                                       First Class Mail
29776995 Dorroh Pet Enterprises, LLC                           4531 Fountain View Trace                Owensboro                 KY             42303                                       First Class Mail
29776996 Douglas Campbell (Entity Pending)                     5307 Morningside Avenue                 Dallas                    TX             75206                                       First Class Mail
29790707 Douglasville Promenade LLC                            3350 Riverwood Parkway                  Atlanta                   GA             30339                                       First Class Mail

29790708 Dov & P Holding Corp.                                 49 Murray Hill Terrace                 Lauvsnes, Nord‐Trøndelag                  7746            Norway                      First Class Mail
29790709 Downey Landing SPE, LLC                               200 E. Carrillo Street                 Santa Barbara            CA               93101                                       First Class Mail
29777000 Dr. Bronner's Magic Soaps                             P.O. Box 28                            Escondido                CA               92033                                       First Class Mail
29790710 Dr. Jacobs Naturals LLC                               1178 Broadway                          New York                 NY               10001                                       First Class Mail
29777002 Dr. Theo's® Official                                  5257 N Via Sempreverde                 Tucson                   AZ               85750                                       First Class Mail
29784218 Dr. Venessa's Formulas                                2212 S Chickasaw Tri #170              Orlando                  FL               32875                                       First Class Mail
29784219 Dracula                                               PO BOX 205                             COTTONTOWN               TN               37048                                       First Class Mail
29784220 DREAMBRANDS, INC                                      11645 N CAVE CREEK RD                  PHOENIX                  AZ               85020                                       First Class Mail
29784221 Drink Chia, LLC                                       1003 Orienta Ave.                      Altamonte Springs        FL               32701                                       First Class Mail
29784222 Drivepressa's Formulas                                2212 S. Chickasaw Trl #170             Chando                   FL               32025                                       First Class Mail
29790711 DRP Market Heights Property Owner, LLC                12221 Merit Dr.                        Dallas                   TX               75251                                       First Class Mail
29790712 Drvil Inc.                                            6980 W. Warm Springs                   LAS VEGAS                NV               89113                                       First Class Mail
29790713 DrVita, Inc.                                          6980 W. Warm Springs                   LAS VEGAS                NV               89113                                       First Class Mail
29784226 D's Naturals, LLC                                     6125 East Kemper Road                  Cincinnati               OH               45241                                       First Class Mail
29784227 DSM MB II LLC                                         875 East Street                        Tewksbury                MA               01876                                       First Class Mail
29783757 DSM Nutritional Products AG                           Wurmisweg 576                          Kaiseraugst                               4303            Switzerland                 First Class Mail
29790714 DSM Nutritional Products, LLC                         55 Sebethe drive, Suite 102            Cromwell                 CT               06416                                       First Class Mail
29784229 DSMK Wag 1, LLC                                       5815 Prospect Lane                     Westerville              OH               43082                                       First Class Mail
29784230 DT Prado LLC                                          3300 Enterprise Parkway                Beachwood                OH               44122                                       First Class Mail
29777003 DUDE Products, Inc.                                   3501 N Southport #476                  Chicago                  IL               60657                                       First Class Mail
29777004 Duke Cannon Supply Company                            1000 Superior Blvd, Suite 301          Wayzata                  MN               55391                                       First Class Mail
29790715 Duluth Retail 4 Guys, LLC                             7940 Via Dellagio Way                  Orlando                  FL               32819                                       First Class Mail
29790407 Dunbar Security Products, Inc.                        8525 Kelso Drive Ste L                 Baltimore                MD               21221                                       First Class Mail



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ADRID                                    NAME                 ADDRESS                                 CITY                STATE        POSTALCODE            COUNTRY                       EMAIL       METHOD OF SERVICE
29777006 dunnhumby Inc.                         3825 Edwards Road, Suite 600             Cincinnati                  OH            45209                                                           First Class Mail
29777007 Duo Wen, Inc. (dba Sparkle Collagen)   245 Saw Mill River Road, Suite 106       Hawthorne                   NY            10532‐1547                                                      First Class Mail
29790716 DuPont Nutrition Biosciences ApS       Parallelvej 16                           Kongens Lyngby                            DK‐2800          Denmark                                        First Class Mail
29777008 Dutch Honey, Inc.                      2220 DUTCH GOLD DRIVE,                   LANCASTER                   PA            17601                                                           First Class Mail
29777009 Dyla LLC                               222 Broadway 19th Floor                  New York                    NY            10038                                                           First Class Mail
29777010 Dymatize Enterprises, Inc.             13737 N Stemmons Frwy                    Farmers Branch              TX            75234                                                           First Class Mail
29487380 Dyn Sycamore Investments, L.L.C.       6801 Spring Creek Road                   Rockford                    IL            61114                                                           First Class Mail
29790717 Dynamic Health Laboratories, Inc.      110 Bridge Street                        Brooklyn                    NY            11201                                                           First Class Mail
29777012 Dynata, LLC                            4 Research Drive, Suite 300              Shelton                     CT            06484                                                           First Class Mail
29790718 E & F Sales, LLC                       5889 Whitmore Lake Road                  Brighton                    MI            48116                                                           First Class Mail
29784231 E.V.P. Enterprises, Inc.               323 Neptunes Bight                       Naples                      FL            34103                                                           First Class Mail
29790719 Eagle Labs, Inc.                       5000 Park Street North                   St. Petersburg              FL            33709                                                           First Class Mail
29790720 Eagle Matrix LLLP                      4446‐1A Hendricks Ave.                   Jacksonville                FL            32207                                                           First Class Mail
29784234 Earth Mama Angel Baby                  9866 SE Empire Ct                        Clackamas                   OR            97015                                                           First Class Mail
29784235 Earth Science Naturals                 6383 Rose Lane, Suite B                  Carpinteria                 CA            93013                                                           First Class Mail
29784236 Earthrise Nutritionals LLC             2151 Michelson Drive, Suite 258          Irvine                      CA            92612                                                           First Class Mail
29784237 Earth's Care Natural Products, Inc.    7015 Marcelle Street                     Paramount                   CA            90723                                                           First Class Mail
                                                c/o Benenson Capital Partners LLC, 155
29784238 East Broadway Tucson Co. LLC           East 44th Street, 27th Floor             New York City               NY            10017                                                           First Class Mail
29784239 East End Associates LLC                277 Park Ave.,                           New York City               NY            10017                                                           First Class Mail
29791886 EAST END ASSOCIATES, LLC               277 PARK AVENUE 47TH FLOOR               New York                    NY            10172‐0124                                                      First Class Mail
29784240 East Hampton NY Enterprises LLC        P.O. Box 620712                          New York City               NY            11362                                                           First Class Mail
29790721 Easton Market SC, LLC                  814 Commerce Drive                       Oak Brook                   IL            60523                                                           First Class Mail
29790722 EastWing, LLC                          733 Struck Street                        Madison (town)              WI            53744                                                           First Class Mail
                                                3 Columbus Circle, 15th Floor, Suite
29784243 EasyVista Inc.                         1532                                     New York                    NY            10019                                                           First Class Mail
29777014 Eat Me Guilt Free 2 Corp               4600 SW 71st Ave                         Miami                       FL            33155                                                           First Class Mail
29777015 Eatontown Plaza LLC                    523 Michigan Ave.,                       Miami Beach                 FL            33139                                                           First Class Mail
29777016 EB Brands                              4 Executive Plaza                        Yonkers                     NY            10701                                                           First Class Mail
29790723 Echo Global Logistics                  600 W. Chicago Ave.                      Chicago                     IL            60654                                                           First Class Mail
                                                c/o ECHO Real Estate Services Co., 560
29777018 Echo Solon, LLC                        Epsilon Drive                            Pittsburgh                  PA            15238                                                           First Class Mail
29777019 Eclectic Institute Inc                 36350 SE Industrial Way                  Sandy                       OR            97055                                                           First Class Mail
29790724 Eclipse Real Estate LLC                601 Union Street                         Seattle                     WA            98101                                                           First Class Mail
29777021 Eco Lips                               329 10th Ave SE                          Cedar Rapids                IA            52401                                                           First Class Mail
29777022 Eco Vessel                             5485 Conestoga Court Suite 100           Boulder                     CO            80301                                                           First Class Mail
29776521 Ecotrend Ecologics Ltd.                125 West 3rd Avenue                      Vancouver                   BC            V5Y 1E6          Canada                                         First Class Mail
29790725 Ecova, Inc.                            1313 14 Atlantic                         Spokane                     WA            99201                                                           First Class Mail
29777023 Ecova, Inc.                            1313 North Atlantic                      Spokane                     WA            99201                                                           First Class Mail
29790726 Edge Realty Partners Austin LLC        515 Congress Avenue                      Austin                      TX            78701                                                           First Class Mail
                                                c/o North American Development
                                                Group, 360 South Rosemary Avenue,
29784244 Edgewood Retail, LLC                   Suite 400                                West Palm Beach             FL            33401                                                           First Class Mail
                                                c/o Phillips Edison & Company, 11501
29784245 Edgewood Station LLC                   Northlake Drive                          Cincinnati                  OH            45249                                                           First Class Mail
                                                Logan Jeffries, 1045 South Woods Mill
29622955 EGAP Crawfordsville I, LLC             Rd., Suite One                           Town and Country            MO            63017                               ljeffries@1045inc.com       First Class Mail and Email
29784247 EGATE‐95, LLC                          8441 Cooper Creek Blvd.,                 Bradenton                   FL            34201                                                           First Class Mail
29784248 Egg Whites International, LLC          630 W. Freedom Ave                       Orange                      CA            92865                                                           First Class Mail
29776558 Egmont Honey Limited                   21 Connett Road West, Bell Block         New Plymouth                              4312             New Zealand                                    First Class Mail
29784250 Egyptian Magic Distribution LLC        3101 Clifton Ave.                        Cincinnati                  OH            45220                                                           First Class Mail
29790727 Eight IP LLC                           860 Johnson Ferry Road                   Atlanta                     GA            30342                                                           First Class Mail
29784252 Eight Mile Pets, Inc.                  1001 Grand Avenue                        West Des Moines             IA            50265                                                           First Class Mail




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ADRID                                    NAME                          ADDRESS                                CITY                STATE        POSTALCODE            COUNTRY                       EMAIL               METHOD OF SERVICE
29784253 Eighteen Associates LLC                        32 Court Street                           Brooklyn                   NY            11201                                                                   First Class Mail
                                                        Sr. Asset Mgr.‐ David Cadwallader,, 300                                                                                david.cadwallader@wellsfargo.com;
29648963 EJT II, LLC                                    Galleria Pkwy                             Atlanta                    GA            30339                               jscoryn@dairymix.com                First Class Mail and Email
29784255 Elanco US Inc.                                 28576 Network Place                       Chicago                    IL            60673                                                                   First Class Mail
29790728 Elder‐Jones General Contractor                 1120 East 80th Street                     Bloomington                MN            55420                                                                   First Class Mail
                                                        Olivia Brown, Chelsea Karla, 1 West                                                                                    olivia@blackoakusa.com;
29648964 Eldersburg Sustainable Redevelopment LLC       Pennsylvania Ave., Ste. 975               Towson                     MD            21204                               CKarle@MacKenzieManagement.com      First Class Mail and Email
29790409 Electrolux Major Appliances, North America     10200 David Taylor Drive                  Charlotte                  NC            28262                                                                   First Class Mail
29777028 Elemental Herbs Inc.                           PO Box 203                                Morro Bay                  CA            93443                                                                   First Class Mail
29777029 Elements Brands, LLC DBA Natural Dog Company   4444 South Blvd                           Charlotte                  NC            28209                                                                   First Class Mail
                                                        Attn: Paul Comrie, CEO, 2250 Skyline
29495339 Elements International Group LLC               Drive                                     Mesquite                   TX            75149                               pcomrie@elementsgrp.com             First Class Mail and Email
29777030 Elite Entertainment                            2 Hartford Drive Suite 106                Tinton Falls               NJ            07701                                                                   First Class Mail
29777031 Ellen Hartleb                                  21 West 34th Street                       Erie                       PA            16508                                                                   First Class Mail
29790729 Elsevier B.V.                                  Radarweg 29                               Amsterdam                                1043 NX          The Netherlands                                        First Class Mail
29791275 Elvis & Emmett, LLC                            15730 Willows Dr.                         Spring Lake                MI            49465                                                                   First Class Mail
29777033 Elyptol Inc.                                   2500 Broadway, Suite F‐125                Santa Monica               CA            90404                                                                   First Class Mail
29790410 Elytus Ltd.                                    601 South High Street                     Columbus                   OH            43215                                                                   First Class Mail
29777034 EmBark One Eleven, LLC                         6476 Dausman Park                         Clarkville                 MI            48815                                                                   First Class Mail
29777035 Emerge Technologies, Inc.                      1431 Greenway Drive, Suite 800            Irving                     TX            75038                                                                   First Class Mail
29790730 Emerson Healthcare                             Lock Box # 510782                         Philadelphia               PA            19175‐0782                                                              First Class Mail
29790731 Emerson Healthcare, LLC                        Lock Box # 510782                         Philadelphia               PA            19175‐0782                                                              First Class Mail
29784257 Emicity                                        5455 Corporate Drive Suite 120            Troy                       MI            48098‐2620                                                              First Class Mail
29784258 Empire Today                                   2107 East Magnolia Street                 Phoenix                    AZ            85034                                                                   First Class Mail
29790732 Emporium Shoppes L.L.C.                        2924 Davie Road                           Fort Lauderdale            FL            33314                                                                   First Class Mail
29784260 Empyr, Inc.                                    11010 Roselle St Ste 150                  San Diego                  CA            92121                                                                   First Class Mail
29784261 Empyrean Benefit Solutions, Inc.               3010 Briarpark Drive, Suite 8000          Houston                    TX            77042                                                                   First Class Mail
29790411 ENA SOLUTIONS INC.                             622 5 Avenue S.W.                         City of Calgary            AB                             Canada                                                 First Class Mail
29784262 Endangered Species Chocolate LLC               5846 W. 73rd St                           Indianapolis               IN            46278                                                                   First Class Mail
29784263 ENGIE Insight Services Inc dba ENGIE Impact    PO Box 74008380                           Chicago                    IL            60674                                                                   First Class Mail

29784264 Engineered Sports Technology (EST)             3839 Old Winter Garden Rd. Ste 1518       Orlando                    FL            32805                                                                   First Class Mail
29776547 Engreat Pet Products (Shenzhen) Co., Ltd.      BLDG 2                                    SHENZHEN                                 518116           China                                                  First Class Mail
29784265 EN‐R‐G FOODS, LLC                              PO BOX 771162                             Steamboat                  CO            80477                                                                   First Class Mail
29784266 Entara Corporation                             227 W Monroe St                           Chicago                    IL            60606                                                                   First Class Mail
29784267 Enterprise FM Trust                            600 Corporate Park Dr                     Saint Louis                MO            63105                                                                   First Class Mail
29784268 Entrepreneur Media, Inc.                       18061 FITCH                               Irvine                     CA            92614                                                                   First Class Mail
29777038 Enviro Mechanical Technologies                 33‐35 Sebago Street                       Clifton                    NJ            07013                                                                   First Class Mail
29777037 Enviro Mechanical Technologies                 83 Chamberlain Ave.                       Elmwood Park               NJ            07407                                                                   First Class Mail
29777039 Enviro Mechanical Technologies USA LLC         33‐35 Sebago Street                       Clifton                    NJ            07013                                                                   First Class Mail
29790412 enVista Interactive Solutions, LLC             11555 N. Meridian Street                  Carmel                     IN            46032                                                                   First Class Mail
29776522 Enyotics Health Sciences Inc.                  6‐295 Queen Street East Suite 289         Brampton                   ON            L6W 456          Canada                                                 First Class Mail
29777040 Enzymedica, Inc.                               771 Commerce Dr                           Venice                     FL            34292                                                                   First Class Mail
29777041 Epic Dental LLC                                4735 South Cherry Street                  Murray                     UT            84123                                                                   First Class Mail
29776523 Epicor Retail Solutions Corporation            2800 Trans‐Canada Highway                 Pointe‐Claire              QC            H9R 1B1          Canada                                                 First Class Mail
29790733 Epps Bridge Centre Property Company, LLC       6445 Powers Ferry Road                    Atlanta                    GA            30339                                                                   First Class Mail
29777043 Epsilon Data Management, LLC                   35 W Wacker Drive                         Chicago                    IL            60601                                                                   First Class Mail
29791276 Epsilon Data Management, LLCConversant LLC     2525 Arapahoe Ave                         Boulder                    CO            80302                                                                   First Class Mail
29791277 Epsilon Data Management, LLCConversant LLC     35 W Wacker Drive                         Chicago                    IL            60601                                                                   First Class Mail
29777047 Erbaviva                                       19831 Nordhoff Place #116                 Chatsworth                 CA            91311                                                                   First Class Mail
29784269 ERG Realty LLC                                 6 State Street,                           Canaman                    ME            04402                                                                   First Class Mail
29790734 Ernst & Young LLP                              99 Wood Avenue South                      Iselin                     NJ            08830‐0471                                                              First Class Mail
29784271 Erom Inc.                                      14630 Industry Gr                         La Mirada                  CA            90638                                                                   First Class Mail



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ADRID                                    NAME                                 ADDRESS                                  CITY                STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE

29784272 Escali, Corp.                                          3203 Corporate Center Drive, Suite 150    Burnsville                  MN            55306                                       First Class Mail
29784273 ESPN                                                   500 South Buena Vista Street              Burbank                     CA            91521                                       First Class Mail
29790735 Essentia Water LLC                                     27833 Bothell‐Everett Hwy                 Bothell                     WA            98021                                       First Class Mail
29784275 Essential Formulas Incorporated                        1861 Valley View Lane Ste 180             Farmers Branch              TX            75234                                       First Class Mail
29784276 Essential Living Foods Inc.                            3550 Hayden Avenue                        Culver City                 CA            90232                                       First Class Mail
29790736 Essential Source, Inc.                                 625 W. Deer Valley Rd.                    Phoenix                     AZ            85027                                       First Class Mail

29487490 Esue LLC                                               185 NW SPANISH RIVER BLVD STE 100         DenvBOCA RATON              FL            33431                                       First Class Mail
29784278 ETB North America, LLC                                 200 S. College Street Suite 1530          Charlotte                   NC            28202                                       First Class Mail
29784279 Eternal Beverages Inc                                  2950 Buskirk Ave # 312                    Walnut Creek                CA            94597                                       First Class Mail
29487467 Ethan Conrad Properties, Inc.                          1300 NATIONAL DR SUITE 100                Sacramento                  CA            95834                                       First Class Mail
29790737 Ethoca Limited                                         100 SHEPPARD AVE EAST                     NORTH YORK                  ON            M2N6N5           Canada                     First Class Mail
29784280 Etkin Executive Search Group                           273 MERRICK ROAD                          Lynbrook                    NY            11563                                       First Class Mail
29790738 Euger Lin                                              Address on File                                                                                                                 First Class Mail
29784281 EUROCHOC AMERICAS CORPORATION                          4325 INDECO COURT                         CINCINNATI                  OH            45241                                       First Class Mail
29777048 Europa Sports Products LLC                             11401 Granite Street                      Charlotte                   NC            28273                                       First Class Mail
29777049 Europa Sports Products, Inc.                           11401‐H Granite Street                    Charlotte                   NC            28273                                       First Class Mail
29777050 EuroPharma Inc.                                        955 Challenger Drive                      Green Bay                   WI            54311                                       First Class Mail
29790739 Eustis Covenant Group LLC                              2460 Paseo Verde Parkway                  Henderson                   NV            89074                                       First Class Mail
29777052 Evalar, Inc.                                           7900 Glades Road Suite 425                Boca Raton                  FL            33434                                       First Class Mail

29791887 Everest National Insurance Company Attn: Scott Morgan 477 Martinsville Road, PO Box 830          Liberty Corner              NJ            07938                                       First Class Mail
29777053 EVJA & Associates (Columbia) LLC                      1620 Scott Avenue,                         Charlotte                   NC            28203                                       First Class Mail
29790740 Evolution Salt Co                                     11212 Metric Blvd                          Austin                      TX            78758                                       First Class Mail
29790741 Evolved Group, LLC, d/b/a Buy Box Experts             10808 South River Front Parkway            South Jordan                UT            84095                                       First Class Mail

                                                              c/o Colliers International Management ‐
                                                              Atlanta LLC, 1230 Peachtree Street NE
29777056 EW Mansell, LLC and East West Commons Investors, LLC Atlanta, Suite 800                       Atlanta                        GA            30309                                       First Class Mail
                                                              c/o ExchangeRight Real Estate, LLC, 1055
29777057 ExchangeRight Value‐Add Portfolio 1 DST              E. Colorado, Blvd., Suite 310            Pasadena                       CA            91106                                       First Class Mail
29777058 Exclusive Supplements Inc.                           3000 Casteel Dr                          Coraopolis                     PA            15108                                       First Class Mail
29784282 Exel Inc. d/b/a DHL Supply Chain (USA)               360 Westar Boulevard                     Westerville                    OH            43082                                       First Class Mail

                                                                c/o Five Radnor Corporate Center, Attn:
                                                                Accounts Receivable Department, 100
29762623 EXETER 1075 COBB, LLC                                  Matsonford Rd., Ste. 250                  Radnor                      PA            19087                                       First Class Mail
29784283 EXIGIS, LLC                                            589 8th Ave, Floor 8                      New York                    NY            10018                                       First Class Mail
29784284 Experian Marketing Solutions LLC                       53 State Street Ste 20                    Boston                      MA            02109                                       First Class Mail
29784285 Experience More in Store, LLC                          8978 Wildlife Loop                        Sarasota                    FL            34238                                       First Class Mail
29784286 Expicient Inc.                                         26, Chestnut St, Suite 1 D                Andover                     MD            01810                                       First Class Mail
29784287 Express Messenger Systems, Inc. dba OnTrac             2501 S. Price Rd.                         Chandler                    AZ            85286                                       First Class Mail

29784288 Express Services, Inc.                                 8345 W. Thunderbird Road, Suite B‐107     Peoria                      AZ            85381                                       First Class Mail
29784289 EyeScience Labs, LLC                                   493 Village Park Drive                    Powell                      OH            43065                                       First Class Mail
29790742 FAAR Properties LLC                                    100 Garvies Point Road                    Glen Cove                   NY            11542                                       First Class Mail
29784291 FABIA, LLC                                             P.O. Box 2233                             Valparaiso                  IN            46384                                       First Class Mail
29784292 FABWA, LLC                                             P.O. Box 2233                             Valparaiso                  IN            46384                                       First Class Mail
29784293 Facebook                                               15161 COLLECTIONS CENTER DRIVE            Chicago                     IL            60693                                       First Class Mail
29777059 Factor Nutrition Labs LLC                              100 Commercial St. Suite 200              Portland                    ME            04101                                       First Class Mail
29790743 Fahrenheit IT                                          10375 PARK MEADOWS DRIVE                  Littleton                   CO            80124                                       First Class Mail
29648852 Fairfield Station LLC                                  11501 Northlake Drive                     Cincinnati                  OH            45209                                       First Class Mail




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ADRID                                    NAME                                   ADDRESS                               CITY                STATE        POSTALCODE     COUNTRY        EMAIL       METHOD OF SERVICE
                                                                  c/o Phillips Edison & Co., 11501
29777062 Fairlawn Station, LLC                                    Northlake Drive                         Cincinnati                 OH            45249                                     First Class Mail
29777063 Fairview Realty Investors, Ltd.                          P.O. Box 16452                          Rocky River                OH            44116                                     First Class Mail
29777064 Fairway Equity Partners, LLC                             c/o Fairway Union, 12818 Lott Ave.      Houston                    TX            77089                                     First Class Mail
29791888 Fairway Pads, LTD                                        105 Town Center Road, Suite 10          King of Prussia            PA            19406                                     First Class Mail
29777065 Fairy Tales Hair Care, Inc.                              4 Just Road                             Fairfield                  NJ            07004                                     First Class Mail
29777066 Falcon Landing LLC                                       5839 Via Verona View,                   Colorado Springs           CO            80919                                     First Class Mail
29479671 Fall River Shopping Center North, LLC                    PO Box 590249                           Newton Centre              MA            02459                                     First Class Mail
29777068 Fastly, Inc.                                             P.O. Box 78266                          San Francisco              CA            94107                                     First Class Mail
                                                                  c/o Benderson Development Co. LLC,
29777069 FBBT/US Properties, LLC                                  570 Delaware Ave                        Buffalo                    NY            14202                                     First Class Mail
29784294 FBMR Waite Park, LLC                                     1404 Calvin Avenue                      Nashville                  TN            37206                                     First Class Mail
                                                                  C/O: Milan Capital Management Inc.,
29784295 FC Rancho, LLC                                           701 S. Parker Street, Suite 5200        Orange                     CA            92868                                     First Class Mail
29784296 FDI Management                                           12145 Summit Ct.                        Beverly Hills              CA            90210                                     First Class Mail
29605503 FEASTERVILLE REALTY ASSOCIATES LP                        310 YORKTOWN PLAZA                      Elkins Park                PA            19027                                     First Class Mail
29784298 Federal Heath Sign Company, LLC                          1806 Rochester Industrial Dr.           Rochester Hills            MI            48309                                     First Class Mail
29791278 Federal Realty Investment Trust                          909 Rose Avenue                         North Bethesda             MD            20852                                     First Class Mail
29790744 Federal Realty OP LP                                     909 Rose Avenue                         Rockville                  MD            20852                                     First Class Mail
29790417 Federal Warranty Service Corporation                     260 Interstate North Circle             Atlanta                    GA            30339                                     First Class Mail
29790418 Federal Warranty Service Corporation                     260 Interstate North Circle, SE         Atlanta                    GA            30339                                     First Class Mail
         Federal Way Crossings Owner, LLC and Trimark FWC
29790745 Owner, LLC                                               10655 NE 4th Street                     Bellevue                   WA            98004                                     First Class Mail
29790746 FedEx                                                    CORPORATE ACCTS. RECEIVABLE             Lakeland                   FL            33804‐5001                                First Class Mail
29790747 Felix Center On Kirby Ltd.                               1800 St. James Place                    Houston                    TX            77056                                     First Class Mail
29784304 Ferrara & Company                                        301 College Road East                   Princeton                  NJ            08540                                     First Class Mail
29784305 Ferro's Restaurant, LLC                                  145 East 50th Street                    New York                   NY            10022                                     First Class Mail
                                                                  c/o Kimco Realty Corporation, 500 North
29777070 Festival of Hyannis LLC                                  Broadway, Suite 201                     Jericho                    NY            11753                                     First Class Mail
29777071 Festival Properties, Inc.                                1215 Gessner Road                       Houston                    TX            77055                                     First Class Mail
29777072 Fetch ... For Cool Pets, LLC                             1407 Broadway                           New York                   NY            10018                                     First Class Mail
29790748 Fetch for Cool Pets LLC                                  115 Kennedy Drive                       Sayreville                 NJ            08872                                     First Class Mail
29790750 Fifth & Alton (Edens) LLC                                1221 Main Street                        Columbia                   SC            29201                                     First Class Mail
29790749 Fifth & Alton (Edens) LLC                                500 East Broward Boulevard              Fort Lauderdale            FL            33301                                     First Class Mail
         Fifty144 Oak View Partners, LLC and Crescent Partners,
29790751 LLC                                                      Oak View Hollow c/o The Lund Company Omaha                         NE            68114                                     First Class Mail
29777077 Fina Bueno, Inc. dba healthy hoohoo                      70 SW Century Drive Suite 100‐289    Bend                          OR            97702                                     First Class Mail
29777078 Financial Recovery Services, LLC                         80 Wesley Street                     South Hackensack              NJ            07606                                     First Class Mail
29777079 Financial Software Innovations, Inc.                     3102 Bee Caves Road, Suite 200       Austin                        TX            78746                                     First Class Mail
29777080 Finnegan Dexter, LLC                                     1345 George Jenkins Blvd.            Lakeland                      FL            33815                                     First Class Mail

         First Amendment & Restatement of the Massimo Musa
29790752 Revokable Trust 2021 Gunbarrel Road, Chattanooga TN      4800 No Federal Highway                 Boca Raton                 FL            33431                                     First Class Mail
29790753 FIRST CC (WEST WENDOVER) LLC                             801 East Morehead Street                Charlotte                  NC            28202                                     First Class Mail
29784308 First Data Merchant Services LLC                         2900 Westside Parkway                   Alpharetta                 GA            30004                                     First Class Mail
29784309 First Data Services, LLC                                 1307 Walt Whitman Road                  Melville                   NY            11747                                     First Class Mail
29791279 First Data Services, LLCBank of America, N.A.            PO Box 1256                             Englewood                  CO            80150                                     First Class Mail
29784312 First Endurance                                          PO Box 71661                            Salt Lake City             UT            84171                                     First Class Mail
29784313 First Reliance Standard Life Insurance Company           488 Madison Avenue, Suite 803           New York                   NY            10022                                     First Class Mail
                                                                  c/o Paracorp Incorporated, 106 5th
29784314 Fischer Pet Stores, Inc.                                 Avenue SE                               Olympia                    WA            98501                                     First Class Mail
                                                                  c/o Mosbacher Properties Group, 18 E.
29784315 Fishkill Plaza Partners LP                               48th St, 19 Floor                       New York                   NY            10017                                     First Class Mail
29784316 Fishman PR & Marketing                                   3400 Dundee Road Suite 300              Northbrook                 IL            60062                                     First Class Mail



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ADRID                                    NAME                 ADDRESS                              CITY                 STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
29784317 Fishman Public Relations               3400 Dundee Road Suite 300               Northbrook                IL            60062                                       First Class Mail
29777081 Fishman Public Relations, Inc.         3400 Dundee Road Suite 300               Northbrook                IL            60062                                       First Class Mail
29777082 Fit Butters LLC                        11526 Brayburn Trail                     Dayton                    MN            55369                                       First Class Mail
29790754 Fit Foods Distribution Inc.            PO Box 43                                Port Coquitlam            BC            V3C 3V5          Canada                     First Class Mail
29777083 Fit Products, LLC                      1606 Camerbur Drive,                     ORLANDO                   FL            32805                                       First Class Mail
29777084 fitlosophy, inc.                       260 Newport Center Drive, Suite 100      Newport Beach             CA            92660                                       First Class Mail
29777085 FITzee Foods Inc.                      PO Box 515381, #75732                    Los Angeles               CA            90051‐6681                                  First Class Mail
29777086 Five Cat Ladies, LLC                   6006 Spring Creek Grove Lane             Spring Lake               TX            77379                                       First Class Mail
29777087 Five Star Organics LLC                 2925 Adeline Street                      Oakland                   CA            94608                                       First Class Mail
                                                Attn: John F. Sedel, 1630 Donna Drive,
29762631 Fivel Family, LLC                      Ste. 101                                 Virginia Beach            VA            23451                                       First Class Mail
                                                Princeton Forrestal Village, 116 Village
29790755 Flatworld Solutions Inc.               Blvd, Suite                              Princeton                 NJ            08540                                       First Class Mail
29777089 FlexPower, Inc                         823 Gilman St                            Berkeley                  CA            94710                                       First Class Mail
29790420 FlexPrint, Inc.                        2845 N. Omaha St.                        Mesa                      AZ            85215                                       First Class Mail
29790756 flexReceipts                           201 SOUTH ORANDE AVENUE                  Orlando                   FL            32801                                       First Class Mail
29777091 Flora, Inc.                            805 E Badger Rd.                         Lynden                    WA            98264                                       First Class Mail
                                                c/o One Global Property Management
                                                LLC, 900 North Federal Highway, Suite
29784319 Florida Investments 8 LLC              300                                      Hallandale Beach          FL            33009                                       First Class Mail
                                                c/o One Global Property Management
                                                LLC, 900 North Federal Highway, Suite
29784320 Florida Investments 9 LLC              300                                      Hallandale Beach          FL            33009                                       First Class Mail
29790758 FLUROWATER INC.                        44 WALL STREET                           NEW YORK                  NY            10005                                       First Class Mail
29790759 FLW 101, LLC                           1001 B. Avenue                           Coronado                  CA            92118                                       First Class Mail
29784323 Focus Nutrition LLC                    96 N 1800 W #11                          Lindon                    UT            84042                                       First Class Mail
29784324 Focused Pets, LLC                      1207 W Hawthorne Street                  Arlington Heights         IL            60005                                       First Class Mail
                                                c/o Foundry Commercial LLC, 420 S.
29784325 FOF II Alamance Property Owner, LLC    Orange Ave., Suite 400                   Orlando                   FL            32801                                       First Class Mail
29784326 Food for Health International          825 E 800 N                              Orem                      UT            84097                                       First Class Mail
29784327 FoodScience Corporation                20 New England Drive                     Essex Junction            VT            05452                                       First Class Mail
29784328 FoodState Inc.                         380 & 390 Harvey Rd                      Manchester                NH            03103                                       First Class Mail
                                                c/o Capital Asset Management, 2701 E.
29784329 Foothills Shopping Center, LLC         Camelback Rd., Ste. 170                  Phoenix                   AZ            85016                                       First Class Mail
                                                c/o Vision Investment Partners, 700 N.
29777092 Ford Road Ventures, LLC                Old Woodward Ave, Suite 300              Birmingham                MI            48009                                       First Class Mail
29790760 Fordham Retail Associates, LLC         999 Waterside Drive                      Norfolk                   VA            23510                                       First Class Mail
29790761 FOREMAN PRO CLEANING, LLC              101 Production Drive                     Yorktown                  VA            23693                                       First Class Mail
29777095 Formulife, Inc DBA. Purus Labs, Inc.   11370 Pagemill Rd                        Dallas                    TX            75243                                       First Class Mail
29777096 Fort Steuben Mall Holdings LLC         4996 Indiana Avenue                      Winston Salem             NC            27106                                       First Class Mail
29777098 Fortna Inc.                            333 Buttonwood Street                    West Reading              PA            19611                                       First Class Mail
29777099 ForUsAll, Inc.                         665 3rd St                               San Francisco             CA            94107                                       First Class Mail
29777100 Forward Foods LLC                      2310 S. Carson St #6                     Carson City               NV            89701                                       First Class Mail
29777101 Fountain Property LLC                  20814 Gartel Drive,                      Walnut                    CA            91789                                       First Class Mail
29790762 Four Sigma Foods, Inc.                 2711 Centerville Road PMB #7988          Wilmington                DE            19808‐1645                                  First Class Mail
29784330 Fowler Investment Company LLC          2805 W. Horatio St. # Office,            Tampa                     FL            33609                                       First Class Mail
29784331 FOXMO, Inc.                            3860 Wabeek Lake Drive E                 Bloomfield Hills          MI            48302                                       First Class Mail
                                                c/o Federal Realty Investment Trust, 909
29784332 FR Grossmont, LLC                      Rose Avenue, Suite 200                   Rockville                 MD            20852                                       First Class Mail
29791335 FranConnect                            13865 Sunrise Valley Drive               Herndon                   VA            20171                                       First Class Mail
29784333 FranConnect Inc.                       11800 Sunrise Valley Dr.                 Reston                    VA            20191                                       First Class Mail
29784334 FranConnect LLC                        11800 Sunrise Valley Dr.                 Reston                    VA            20191                                       First Class Mail
29784336 Franklin Covey Client Sales, Inc.      2200 West Parkway Boulevard              Salt Lake City            UT            84119                                       First Class Mail
29784337 Franks House, LLC                      10767 Adams Road                         Galena                    OH            43021                                       First Class Mail



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ADRID                                    NAME                                  ADDRESS                         CITY                    STATE        POSTALCODE     COUNTRY                       EMAIL                      METHOD OF SERVICE
29784338 FranNet, LLC                                            10302 Brookridge Village Blvd        Louisville                  KY            40291                                                                   First Class Mail
29784339 Freedom 45 Corporation                                  2925 NE Lotno Drive                  Bend                        OR            97701                                                                   First Class Mail
29790422 FreedomPay, Inc.                                        100 Matsonford Road                  Radnor                      PA            19087                                                                   First Class Mail
29784340 Freeman Expositions, Inc.                               1600 Viceroy Drive, Suite 100        Dallas                      TX            75235                                                                   First Class Mail
29784341 Freeport Pets, LLC                                      2295 Spring Rose Road                Verona                      WI            53593                                                                   First Class Mail
29784342 French Transit, Ltd.                                    398 Beach Road                       Burlingame                  CA            94010                                                                   First Class Mail
         Frisco Silver Star Hotel Company, LLC c/o Omni Hotels
29790423 Management Corporation                                  11 Cowboys Way                          Frisco                   TX            75034                                                                   First Class Mail
                                                                 c/o BridgeCap Partners , 5801 Edwards
29487495 Front Street Kansas City, LLC                           Ranch Road Suite 101                    Fort Worth               TX            76109                                                                   First Class Mail
                                                                 Elizabeth Hagedorn, Jazmine Woods,
                                                                 Alan Miller, 2950 SW 27th Avenue, Suite
29623138 Frontier Bel Air LLC                                    300                                     Miami                    FL            33133                        ehvila@fdllc.com; jwoods@fdllc.com         First Class Mail and Email
                                                                 c/o Geneva Management LLC, 2950 SW
29777104 Frontier Dania LLC                                      27th Avenue, Suite 300                  Miami                    FL            33133                                                                   First Class Mail
29790763 Frontier Essentials, LLC                                3021 78th Street                        Norway                   IA            52318                                                                   First Class Mail
                                                                 Asst. PM‐ Jazmine Woods, Rec.
                                                                 Questions‐ Lucy DiMasica, 2950 SW 27th
29648978 Frontier Kissimmee LLC                                  Avenue, Suite 300                       Miami                    FL            33133                        ldimascio@fdllc.com; jwoods@fdllc.com      First Class Mail and Email
                                                                 PM‐ Alan Miller Carlos Fernandez Lucy
                                                                 DiMascio Asst., 2950 SW 27th Avenue,                                                                        amiller@fdllc.com; cfernandez@fdllc.com;
29651082 Frontier Osceola LLC                                    Suite 300                               Miami                    FL            33133                        ldimascio@fdllc.com                        First Class Mail and Email
29602737 FSC WEST COVINA, LLC                                    1001 Canal Blvd.Suite A‐1               Richmond                 CA            94804                                                                   First Class Mail
29777109 FULL CORE LLC                                           1015 Atlantic Blvd #296                 Atlantic Beach           FL            32233                                                                   First Class Mail
29790424 FullContact, Inc.                                       1580 N. Logan St.                       Denver                   CO            80203                                                                   First Class Mail
29777110 Fungi Perfecti LLC                                      PO Box 7634                             Olympia                  WA            98507                                                                   First Class Mail
29777111 Funhouse Plaza LLC                                      291 South Broadway,                     Salem                    NH            03079                                                                   First Class Mail
29790764 Fuse Networks                                           12628 INTERURBAN AVE S                  Seattle                  WA            98168                                                                   First Class Mail
29790765 Fuse Networks, LLC                                      7100 FORT DENT WAY                      TUKWILA                  WA            98188                                                                   First Class Mail
29784343 Futurebiotics LLC                                       70 Commerce Drive                       Hauppauge                NY            11788                                                                   First Class Mail
29791280 FW IL Riverside/Rivers Edge, LLC                        3040 Solutions Center                   Chicago                  IL            60677‐3000                                                              First Class Mail
29784345 FWI 2, LLC                                              197 EIGHTH ST, SUITE 800                BOSTON                   MA            02129                                                                   First Class Mail
29784346 FWI 23, LLC                                             c/o Flag Wharf LLC, 197 Eighth Street   Boston                   MA            02129                                                                   First Class Mail
                                                                 c/o DLC Management Corporation, 565
29784347 G & I IX Empire Williamsville Place LLC                 Taxter Road                             Elmsford                 NY            10523                                                                   First Class Mail
29784348 G UNITED, LLC                                           556 Parkview Drive                      Grand Prairie            TX            75052                                                                   First Class Mail
29648980 G&I X CenterPoint LLC                                   814 Commerce Drive, Suite 300           Oak Brook                IL            60523                                                                   First Class Mail
29648981 G&T Investments LLC                                     P.O. Box 1559                           Las Cruces               NM            88004                                                                   First Class Mail
29784351 G4S Secure Solutions (USA) Inc.                         1395 University Boulevard               Jupiter                  FL            33458                                                                   First Class Mail
29790766 Gabrielle Wolinsky                                      80 Meserole Street                      Brooklyn                 NY            11206                                                                   First Class Mail
29648982 Gaithersburg Commons LLC                                42 Bayview Avenue                       Manhasset                NY            11030                                                                   First Class Mail
                                                                 c/o wpg, 4900 East Dublin Granville
29784354 Gaitway Plaza LLC                                       Road, 4th Floor                         Westerville              OH            43081                                                                   First Class Mail
29777114 Galam, Inc                                              833 W. South Boulder Road               Louisville               CO            80027                                                                   First Class Mail
29777115 Galleria Alpha Plaza, Ltd.                              2001 Preston Road                       Plano                    TX            75093                                                                   First Class Mail
29777116 Gallup & Whalen Santa Maria                             Address on File                                                                                                                                        First Class Mail
29602370 Gamble Brothers, LLC                                    24 COUNTY ROAD 912                      Brookland                AR            72417                                                                   First Class Mail
29777117 Gamma Enterprises LLC                                   113 Alder Street                        West Babylon             NY            11704                                                                   First Class Mail
29791281 Garden City Leasehold Properties LLC                    33 Boylston Street                      Chestnut Hill            MA            02467                                                                   First Class Mail
29790767 Garden of Life LLC                                      4200 Northcorp Parkway                  PALM BEACH GARDENS       FL            33410                                                                   First Class Mail
29777120 Garden of Life, LLC                                     4200 Northcorp Parkway, Suite 200       Palm Beach Gardens       FL            33410                                                                   First Class Mail
29777121 Garmin USA, Inc.                                        1200 East 151st Street                  Olathe                   KS            66062                                                                   First Class Mail
29777122 Garner Ventures, LLC                                    556 Parkview Drive                      Grand Prairie            TX            75052                                                                   First Class Mail
29777123 Gartner, Inc.                                           56 Top Gallant Road                     Stamford                 CT            06902‐7700                                                              First Class Mail



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ADRID                                    NAME                           ADDRESS                                 CITY                 STATE        POSTALCODE             COUNTRY   EMAIL       METHOD OF SERVICE
29790768 Gaslight Alley, LLC                             12725 Ventura Boulevard                   Studio City                  CA            91604                                        First Class Mail
29790769 Gaspari Nutrition, Inc.                         575 Prospect Street                       Lakewood                     NJ            08701                                        First Class Mail
                                                         Attn: Vicki Wallace, CFO, 2960 Fairview
29479627 Gateway Retail Partner III, LLC                 Drive                                     Owensboro                    KY            42303                                        First Class Mail
29784357 Gator Elite RTO LLC                             9003 Classic Court                        Orlando                      FL            32819                                        First Class Mail
29784358 GBTWORLD1, Inc.                                 10126 Challenger Circle                   Spring Valley                CA            91978                                        First Class Mail
29790770 GC Baybrook, L.P.                               788 W. Sam Houston Parkway North          Houston                      TX            77024                                        First Class Mail
29784360 GCM Management LLC                              382 Adams St.                             Plymouth                     MI            48170                                        First Class Mail
29784361 GE Nutrients, Inc.                              19700 Fairchild Road, Suite 380           Irvine                       CA            92612                                        First Class Mail
29784362 GEAR NUTRACEUTICALS                             41 Mill Pond Road                         Jackson                      NJ            08527                                        First Class Mail
29784363 Geiger JB Property, LLC                         2055 South Kanner Highway,                Stuart                       FL            34995                                        First Class Mail
29784364 GELITA USA, Inc.                                2445 Port Neal Industrial Road            Sergeant Bluff               IA            51054                                        First Class Mail
29776526 Genacol International Corporation Inc.          81 Gaston‐DuMoulin                        Blainville                   QC            J7C 6B4          Canada                      First Class Mail
29790771 GENCEUTIC NATURALS                              549 A Pompton Ave                         Cedar Grove                  NJ            07009                                        First Class Mail
29784366 Genesis Today, Inc.                             14101 W. Hwy 290, Bldg. 1900              Austin                       TX            78737                                        First Class Mail
29784367 Genesys Cloud Services, Inc.                    1302 El Camino Real, Suite 300            Menlo Park                   CA            94025                                        First Class Mail
29777125 Genesys Telecommunications Laboratories, Inc.   2001 Junipero Serra Blvd.                 Daly City                    CA            94014                                        First Class Mail
29777126 Geneva Commons Shoppes LLC                      8424 Evergreen Lane                       Darien                       IL            60561                                        First Class Mail
29777127 GENEXA LLC                                      269 South Beverly Drive, Suite 510        Beverly Hills                CA            90212                                        First Class Mail
29777128 GenServe, Inc.                                  100 Newtown Road                          Plainview                    NY            11803                                        First Class Mail
29776527 Genuine Health                                  317 Adelaide St. W. Suite 501             Toronto                      ON            M5V 1P9          Canada                      First Class Mail
29777129 Genuine Health Co. Ltd                          775 East Blithedale Ave #364              Mill Valley                  CA            94941                                        First Class Mail
29790772 George Harriss Properties, LLC                  3905 Oleander Dr                          Wilmington                   NC            28403                                        First Class Mail
29790773 George N. Snelling                              Address on File                                                                                                                   First Class Mail
29777132 George Street LLC                               151 Haggetts Pond Rd.                     Andover                      MA            01810                                        First Class Mail
29777134 German American Technologies dba GAT            64 Sonne, Siche ave                       SME10                                      20210+           Germany                     First Class Mail
29790774 Get Real Nutrition, LLC                         1201 U.S. Highway One                     North Palm Beach             FL            33408                                        First Class Mail
29790430 Gexa Energy, LP                                 601 Travis St.                            Houston                      TX            77002                                        First Class Mail
                                                         Attn: Director of Real Estate, 1385
29784368 GFS Realty LLC                                  Hancock Street, 10th Floor                Quincy                       MA            02169                                        First Class Mail
29784369 GFX International                               333 Barron Blvd.                          Grayslake                    IL            60030                                        First Class Mail
                                                         c/o Glimcher Group Inc., 500 Grant
29784370 GG Garfield Commons 2012 LP                     Street, Suite 2000                        Pittsburgh                   PA            15219                                        First Class Mail

                                                         c/o Greenberg Gibbons Commercial,
29784371 GGCAL Edgewater, LLC                            10096 Red Run Blvd, Suite 100             Owings Mills                 MD            21117                                        First Class Mail
29790775 GGPA State College 1998, L.P.                   500 Grant Street                          Pittsburgh                   PA            15219                                        First Class Mail
29784373 GHOST Beverages, LLC                            400 N State Street                        Chicago                      IL            60654                                        First Class Mail
29784374 GIC Engineering Inc.                            11806 Race Track Road                     Tampa                        FL            33626                                        First Class Mail
29790776 GIGLIOTTI HOLDINGS LP                           11279 Perry Hwy                           Wexford                      PA            15090                                        First Class Mail
29784376 GINCO International, Inc.                       725 E. Cochran Street, Unit C             Simi Valley                  CA            93065                                        First Class Mail
29784377 Gino Animal Health Services, LLC                29 Long Hill Road                         New Vernon                   NJ            07976                                        First Class Mail
29784378 Giovanni Cosmetics, Inc.                        2064 E. University Drive                  Rancho Dominguez             CA            90220                                        First Class Mail
29790777 GKT Shoppes At Legacy Park, L.L.C.              211 N. Stadium Boulevard                  Columbia                     MO            65203                                        First Class Mail
29790778 Glanbia Nutritionals (Ireland) Limited          Glanbia House                             Kilkenny                                   R95 T88Y         Ireland                     First Class Mail
29777137 Glanbia Performance Nutrition, Inc.             3500 Lacey Road, Suite 1100               Downers Grove                IL            60515                                        First Class Mail
29791282 Glassboro Properties, LLC                       14000 Horizon Way                         Mount Laurel                 NJ            08054                                        First Class Mail
29790779 Gleneagles Plaza, Plano TX, LLC                 10250 Constellation Blvd.                 Los Angeles                  CA            90067                                        First Class Mail
                                                         c/o Macquarie Asset Management, 420
29777140 GLL Selection II Florida L.P.                   South Orange Avenue, Suite 190            Orlando                      FL            32801                                        First Class Mail
29777141 Global Amici, Inc.                              8996 Miramar Rd.                          San Diego                    CA            92126                                        First Class Mail
29777142 Global Beauty Care, Inc.                        1296 East 10th Street                     Brooklyn                     NY            11230                                        First Class Mail
29777143 Global Distributors USA LLC                     600 Gulf Ave                              Staten Island                NY            10314                                        First Class Mail




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ADRID                                    NAME                              ADDRESS                              CITY                  STATE        POSTALCODE              COUNTRY   EMAIL       METHOD OF SERVICE
29777144 GLOBAL HEALTHCARE CORPORATION                     47 CENTER AVENUE                         LITTLE FALLS                 NJ            07424                                         First Class Mail
29790780 Global Juices and Fruits, LLC                     372 South Eagle Road                     Eagle                        ID            83616                                         First Class Mail
29777146 Global Protection Corp                            12 Channel St                            Boston                       MA            02210                                         First Class Mail
29784380 Global Source                                     654 N Santa Cruz Ave Suite C747          Los Gatos                    CA            95030                                         First Class Mail
29784381 Global Technology Systems, Inc.                   550 Cochituate Road                      Framingham                   MA            01701                                         First Class Mail
29791336 Globalization Partners LLC                        175 Federal Street                       Boston                       MA            02110                                         First Class Mail
                                                           Av. António Augusto de Aguiar, n.º 88,
29783749 GLOBALIZATION PARTNERS PORTUGAL, Unipessoal, Lda. 2.º andar, 1050‐018 Lisboa               Lisbon                                     1050‐018         Portugal                     First Class Mail
29791283 GNK Enterprises, LLC                              6540 North Range Line Rd.                Glendale                     WI            53209                                         First Class Mail
29784384 Gnu Foods, LLC                                    217 East 70th Street, Unit 2446          New York                     NY            10021                                         First Class Mail
29784385 Go Fetch, LLC                                     22 Susan Drive                           Newburgh                     NY            12550                                         First Class Mail
29784386 Go Shake International LLC                        107 W. Main Street                       Knoxville                    TN            37902                                         First Class Mail
29784387 Goddess Garden                                    1821 Lefthand Cir., Ste D                Longmont                     CO            80501                                         First Class Mail
29784388 GOFIT, LLC                                        12929 E. APACHE ST                       TULSA                        OK            74116                                         First Class Mail
29784389 Gold Medal LLC                                    90 N. Polk Street                        Eugene                       OR            97402                                         First Class Mail
                                                           c/o 606 Realty Team, 4653 N.
29784390 Gold Star Properties                              Milwaukee Ave                            Chicago                      IL            60630                                         First Class Mail
29790781 Golden Protein                                    Main Road of Jeddah, Asaf District       Jeddah, Makkah                             21442            Saudi Arabia                 First Class Mail
29784392 Golden Rule Enterprises, LLC                      1102 Thomas Rd.                          Rineyville                   KY            40162                                         First Class Mail
29777147 Golden Temple of Oregon LLC                       950 International Way                    Springfield                  OR            97477                                         First Class Mail
29777148 Golden Tree Brands                                225 N. Richmond Street #104              Appleton                     WI            54411                                         First Class Mail
                                                           c/o Frasier Consulting Group LLC, 1201
29777149 Goldsboro Retail Center, LLC                      Macy Drive                               Roswell                      GA            30076                                         First Class Mail
29790782 Goliath Labs NUTRALOID LABS                       1202 Ave U                               Brooklyn                     NY            11229                                         First Class Mail
29777151 Good Clean Love                                   207 W. 5th Ave.                          Eugene                       OR            97401                                         First Class Mail
29791284 Good Dog Karma, LLC                               3180 W South Airport Road                Traverse City                MI            49684‐8995                                    First Class Mail
29777153 Gooddog Services, LLC                             3115 N. Government Way #3                Coeur D’Alene                ID            83815                                         First Class Mail
29777154 Goodest Boys LLC                                  145 Romeria Drive                        Cedar Creek                  TX            78612                                         First Class Mail
29777155 Goodwin & Goodwin Pet Supplies, Inc.              999 Haynes St., Suite 385                Birmingham                   MI            48009                                         First Class Mail
29777156 Google Inc.                                       1600 Amphitheatre Parkway                Mountain View                CA            94043                                         First Class Mail
29790435 Google LLC                                        P.O. BOX 39000                           SAN FRANCISCO                CA            94139                                         First Class Mail
29777157 Gosula Realty, LTD                                6028 Trent Ct                            Lewis Center                 Oh            43035                                         First Class Mail
29790783 GovDocs, Inc.                                     VB Box 167                               Minneapolis                  MN            55480                                         First Class Mail
29785637 Governor's Square Company IB                      2445 Belmont Ave,                        Youngstown                   OH            44504                                         First Class Mail
29790784 GP Marketplace 1750, LLC                          500 North Broadway                       Jericho                      NY            11753                                         First Class Mail
                                                           c/o SRS Realty, 51 Sherwood Terrace,
29785639 GP Wisconsin, L.L.C.                              Suite 51                                 Lake Bluff                   IL            60044                                         First Class Mail
29785640 GR PSP, LLC                                       17863 170th Avenue, Suite 101            Spring Lake                  MI            49456                                         First Class Mail
                                                           c/o Shiner Management Group, Inc.,
29785641 Grand Avenue Associates L.L.C.                    3201 Old Glenview Road, Suite 235        Wilmette                     IL            60091                                         First Class Mail
29790785 Grand Canyon Center, LP                           10850 Wilshire Boulevard                 Los Angeles                  CA            90024                                         First Class Mail
                                                           c/o Sartorial Properties, 3020 Palos
29785643 Grand Rapids Retail LLC                           Verdes Dr. W                             Palos Verdes Peninsula       CA            90274                                         First Class Mail
29785644 Grandpa Brands Company                            1820 Airport Exchange Blvd.              Erlanger                     KY            41018                                         First Class Mail
29790436 Granite Telecommunications, LLC                   100 Newport Avenue Extension             Quincy                       MA            02171                                         First Class Mail
29785645 Granite Telecommunications, LLC                   100 Newport Ave Ext                      Quincy                       MA            02171                                         First Class Mail
29785646 Granum, Inc                                       600 South Brandon Street                 Seattle                      WA            98108                                         First Class Mail
29785647 Grass Advantage, Inc.                             220 Newport Center Drive, Suite 22       Newport Beach                CA            92660                                         First Class Mail
                                                           c/o Heitman LLC, 191 N. Wacker Dr.,
29777158 Great Hills Retail Inc.                           Suite 2500                               Chicago                      IL            60606                                         First Class Mail
29777159 Green Foods Corporation                           2220 Camino del Sol                      Oxnard                       CA            93030                                         First Class Mail
29777160 Green Imaging, LLC                                2020 Albans                              Houston                      TX            77005                                         First Class Mail
29777161 Green Park Snacks, Inc.                           245 Newtown Road, Suite 101              Plainview                    NY            11803                                         First Class Mail




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ADRID                                    NAME                       ADDRESS                               CITY                STATE        POSTALCODE            COUNTRY                       EMAIL          METHOD OF SERVICE
29777162 Green Pharmaceuticals                       591 Constitution Ave, #A                 Camarillo                  CA            93012                                                              First Class Mail
29625085 GREENFIELD PLAZA LLC                        1136 W BASELINE ROAD                     Mesa                       AZ            85210                                                              First Class Mail
29777163 Greenlane Search Marketing, LLC             148 WELLINGTON CT.                       Reading                    PA            19606                                                              First Class Mail
29783752 Greenleaf Medical AB                        Nybrogatan 59, 1tr                       Stockholm                                11440            Sweden                                            First Class Mail

                                                     New PM as of 1‐12‐18PM‐ Marvel
29648991 Greenridge Shops Inc.                       Tilghman, 191 Wacker Drive, Suite 2500   Chicago                    IL            60606                               marvel.tilghman@colliers.com   First Class Mail and Email
29777165 Greens Plus LLC                             1140 Highland Ave., #105                 Manhattan Beach            CA            90266                                                              First Class Mail
                                                     Nancy Doolan, Seth Bell, 4000 South
29651083 Greenspot Largo. LLC                        Poplar Street                            Casper                     WY            82601                               ndoolan@braemarhomes.com       First Class Mail and Email
29777167 Greenteaspoon Inc                           222 Bryant St                            Palo Alto                  CA            94301                                                              First Class Mail
29790786 Greenville Ave. Retail LP                   8400 Westchester                         Dallas                     TX            75225                                                              First Class Mail
29784393 Greenwood Brands, LLC                       4455 Genesee Street                      Cheektowaga                NY            14225                                                              First Class Mail
29784394 Greenwood Plaza Corp. of Delaware           2400 Miracle Lane                        Mishawaka                  IN            46545                                                              First Class Mail
29648993 Greenwood Vineyards LLC                     575 Maryville Centre Dr, Ste 511         Saint Louis                MO            63141                                                              First Class Mail
29784396 Gregory Poole Lift Systems                  PO BOX 60457                             Charlotte                  NC            28260                                                              First Class Mail
29784397 Grenade USA, LLC                            815 Reservoir Ave, Ste 1A                Cranston                   RI            02910                                                              First Class Mail
29784398 Grenera Nutrients Inc.                      1202 Gary Avenue Unit 12                 Ellenton                   FL            34222                                                              First Class Mail
29784399 Grewal Ventures, LLC                        1178 Grassy Oat Lane Southwest           Lawrenceville              GA            30045                                                              First Class Mail
                                                     c/o First Washington Realty Inc., 7200
29784400 GRI Brookside Shops, LLC                    Wisconsin Avenue, Suite 600              Bethesda                   MD            20814                                                              First Class Mail
29784401 Griffield Enterprises, LLC                  31778 N 123rd Ave                        Peoria                     AZ            85383                                                              First Class Mail
29784402 Ground‐Based Nutrition                      11412 Corley Ct.                         San Diego                  CA            92126                                                              First Class Mail
29784403 Group Nine Media, Inc.                      568 Broadway, Floor 10                   New York                   NY            10012                                                              First Class Mail
29784404 Groupon, Inc.                               600 W. Chicago Ave.                      Chicago                    IL            60654                                                              First Class Mail

29784405 Grove City Plaza, L.P.                      c/o Casto, 250 Civic Center Dr., Suite 500 Columbus                 OH            43215                                                              First Class Mail
29777169 Grubhub Holdings Inc.                       111 W. Washington St.                      Chicago                  IL            60602                                                              First Class Mail
29777170 GSR Realty, LLC                             6530 4th Ave,                              Brooklyn                 NY            11220                                                              First Class Mail
29777171 Güdpod Corporation                          4815 E Carefree Hwy #108‐184               Cave Creek               AZ            85331                                                              First Class Mail
29790787 Guider Global Limited                       8 Devonshire Square                        London                                 EC2M 4PL         United Kingdom                                    First Class Mail
29777172 GuideSpark, Inc.                            1350 Willow Rd. Suite 201                  Menlo Park               CA            94025                                                              First Class Mail
29777173 Gulf Coast Nutritionals DBA Ark Naturals    6166 Taylor Rd Ste 103                     Naples                   FL            34109                                                              First Class Mail
29777174 Gupton Marrs International, Inc.            100 Park Avenue                            New York                 NY            10017                                                              First Class Mail
29777175 Gurmeet Singh                               14‐A Oak Branch Drive                      Greensboro               NC            27407                                                              First Class Mail
29790788 Gurnee LM Properties, LLC                   1401 S Brentwood Blvd                      Brentwood                MO            63144                                                              First Class Mail
29776528 GURU Beverage Co.                           4200 St. Laurent Blvd., Suite 550          Montreal                 QC            H2W 2R2          Canada                                            First Class Mail

                                                     c/o Armstrong Development Properties,
29777177 Gustine BV Associates, Ltd.                 Inc., One Armstrong Place             Butler                        PA            16001                                                              First Class Mail
29791285 Gutrich, LLC                                16121 Haddam Ln                       Westfield                     IN            46062                                                              First Class Mail
29790789 Gym Source USA LLC                          DEPT 106042                           HARTFORD                      CT            06115                                                              First Class Mail
29784406 H&C Enterprise LLC                          749 Willoughby Ct.                    Winter Springs                FL            32708                                                              First Class Mail
29784407 H&C of Sanford LLC                          749 Willoughby Ct.                    Winter Springs                FL            32708                                                              First Class Mail
29790790 H.S.W. Associates Inc.                      3750 Gunn Highway                     Tampa                         FL            33618                                                              First Class Mail
29790791 Haelssen & Lyon North America Corporation   39 West 38th Street                   New York                      NY            10018                                                              First Class Mail
29790439 Haier America Company, LLC                  1800 Valley Road                      Wayne                         NJ            07470                                                              First Class Mail
29790792 Hain Celestial                              58 South Service Road                 MELVILLE                      NY            11747                                                              First Class Mail
29784411 Haines City Mall LLC                        20200 W DIXIE HWY STE 15G             AVENTURA                      FL            33810                                                              First Class Mail
29784413 HALEO Worldwide Inc.                        4901 Morena Blvd. #810                San Diego                     CA            92117                                                              First Class Mail
29784414 Halico Gold LLC                             19406 Merion Circle                   Huntington Beach              CA            92648                                                              First Class Mail
29791286 Halico Gold LLC                             5912 Edinger Avenue                   Huntington Beach              CA            92649                                                              First Class Mail
29784415 Hall Brands LLC                             16285 SW 85TH Ave Suite 103           Tigard                        OR            97224                                                              First Class Mail




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ADRID                                    NAME                             ADDRESS                                 CITY                STATE        POSTALCODE             COUNTRY                       EMAIL        METHOD OF SERVICE
29784416 HALLO WORLDWIDE                                  4901 Morena Blvd #810                       San Diego                  CA            92117                                                             First Class Mail
29784417 Halo, Purely for Pets, Inc.                      12400 Race Track Road                       Tampa                      Fl            33626                                                             First Class Mail
                                                          c/o Colliers International, 3 Park Plaza,
29784418 HAMC College Center LLC                          Suite 1200                                  Irvine                     CA            92614                                                             First Class Mail
29777180 Hanan Enterprise Sales                           411 Bell Street                             Piscataway                 NJ            08854                                                             First Class Mail
29777181 Handling Systems Inc                             9939 Norwalk Blvd.                          Santa Fe Springs           CA            90670                                                             First Class Mail
29777182 HANDLING SYSTEMS, INC.                           2659 E. Magnolia St                         Phoenix                    AZ            85034                                                             First Class Mail
29776548 HangZhou TianYuan Pet Products Co., Ltd          No.10‐1                                     Hangzhou                                 311100           China                                            First Class Mail
29611036 HANKINS REAL ESTATE PARTNERSHIP                  9889 PAGE AVE                               ST. LOUIS                  MO            63132                                                             First Class Mail
29790793 Hankins‐Kenny Ventures LLC                       151 Sawgrass Corners Drive                  Ponte Vedra Beach          FL            32082                                                             First Class Mail
         Hanley LM Properties, LLC c/o Lenette Realty &
29777184 Investments Co.                                  1401 S Brentwood Blvd. Suite 520,           St. Louis                  MO            63144                                                             First Class Mail
29790794 Hanoi Kim Lien Company Limited                   13 Lý Thai To                               Hanoi                                    100000           Vietnam                                          First Class Mail
29777185 Hapa Unlimited, Inc.                             18017 Chatsworth Street                     Granado Hills              CA            91344                                                             First Class Mail

29777186 Hardeep Dhaliwal (Entity Pending)                6205 N President George Bush, #1205         Garland                    TX            75044                                                             First Class Mail
29777187 Harley's Home, LLC                               8340 Queen Victoria Lane                    Tinley Park                IL            60477                                                             First Class Mail
29777188 Harmelin & Associates                            525 Righters Ferry Road                     Bala Cynwyd                PA            19004                                                             First Class Mail
29790795 Harmon Meadow Suites LLC                         199 Lee Avenue                              Brooklyn                   NY            11211                                                             First Class Mail
29790796 Harmonic Innerprizes                             PO BOX 530455                               Henderson                  NV            89053                                                             First Class Mail
29784419 Harmony Shopping Plaza, LLC                      3980 TAMPA RD #205                          OLDSMAR                    FL            34677                                                             First Class Mail
29784420 Harry & Ruth Ornest Trust                        3172 Abington Drive,                        Beverly Hills              CA            90210                                                             First Class Mail
29790797 Hart Miracle Marketplace                         925 South Federal Hwy.                      Boca Raton                 FL            33432                                                             First Class Mail
29784422 Hartel Properties LLC                            335 E 78th St                               Minneapolis                MN            55420                                                             First Class Mail
29478975 Hartford Fire Insurance Company                  One Hartford Plaza                          Hartford                   CT            06115                                                             First Class Mail
29648853 Hartville Station, LLC                           Scott Faloni, 11501 Northlake Drive         Cincinnati                 OH            45249                                sfaloni@phillipsedison.com   First Class Mail and Email
                                                          c/o Phillips Edison & Company, Attn:
                                                          Lease Administration Department, I
29784425 Harvest Station LLC                              1501 Northlake Drive                        Cincinnati                 OH            45249                                                             First Class Mail
29784426 Harvest Trading Group                            61 Accord Park Drive                        Norwell                    MA            02061                                                             First Class Mail
29784427 HatchBeauty Products LLC                         10951 Pico Blvd Suite 300                   Los Angeles                CA            90064                                                             First Class Mail
29784428 Hatteras Press Inc.                              56 Park Road                                Tinton Falls               NJ            07724                                                             First Class Mail
29784429 Haute Science, Inc. dba Clean Machine            6712 Frontier Lane                          Tampa                      FL            33625                                                             First Class Mail
29784430 Haven's Kitchen                                  109 West 17th Street                        New York                   NY            10011                                                             First Class Mail
29777191 Hawkeye Enterprises, LLC                         853 Bluff Brook Drive                       O'Fallon                   MO            63366                                                             First Class Mail

29777192 Hawkins Point Partners, LLC                      c/o Joe Holmes, 106 East 8th Avenue         Rome                       GA            30161                                                             First Class Mail

29777193 Hays Companies                                   6711 Columbia Gateway Drive, Suite 450 Columbia                        MD            21046                                                             First Class Mail
29777194 Hays Companies                                   BMO‐88, PO BOX 1414                    Minneapolis                     MN            55402‐1414                                                        First Class Mail
29790798 Hazel Dell & 78th Associates LLC                 19767 SW 72nd Avenue                   Tualatin                        OR            97062                                                             First Class Mail
29783710 HD Muscle (2714523 Ontario Inc.)                 5109 Harvester Rd Unit A2              Burlington                      ON            L7L 5Y9          Canada                                           First Class Mail
29790799 Healing Solutions LLC                            4635 W. McDowell Rd                    PHOENIX                         AZ            85035                                                             First Class Mail
29777198 Health Direct                                    16750 Hale Ave                         Irvine                          CA            92606                                                             First Class Mail
29777199 Health Matters America Inc                       125 Galleria Dr. #1482                 Cheektowaga                     NY            14225                                                             First Class Mail
29777200 Health Plus Inc                                  13837 Magnolia Ave                     Chino                           CA            91710                                                             First Class Mail
29777201 Health Specialties Manufacturing Inc.            2465 Ash Street                        Vista                           CA            92081                                                             First Class Mail
29784431 Health Warrior Inc.                              1707 Summit Avenue                     Richmond                        VA            23230                                                             First Class Mail
29784432 Healthforce, Inc.                                P.O. Box 27740                         Las Vegas                       NV            89126                                                             First Class Mail
29784433 Healthland LLC                                   560 W. Lambert Rd. Suite B             Brea                            CA            92821                                                             First Class Mail
29790800 Healthline Media, Inc.                           275 7th Avenue                         New York                        NY            10001                                                             First Class Mail
29784435 Healthsource International, Inc.                 1785 Erika Way                         Upland                          CA            91784                                                             First Class Mail
29784436 Healthy and Fit                                  P.O. Box 781580,                       PHILADELPHIA                    PA            19178                                                             First Class Mail




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29784437 Healthy Healing LLC                                       9821 Valley View Rd                     Eden Prairie                MN            55344                                                        First Class Mail
29784438 Healthy N' Fit Nutritionals                               435 Yorktown Road                       Croton‐On‐Hudson            NY            10520                                                        First Class Mail
29790801 Healthy Origins                                           206 West Bridge Drive                   Morgan                      PA            15064                                                        First Class Mail
29784440 Healthy Pets, LLC                                         4105 Sky Ranch Drive                    Glenwood Springs            CO            81601                                                        First Class Mail
29784441 Healy Family Trust                                        1167 Sunset Cliffs Blvd.,               San Diego                   CA            92107                                                        First Class Mail
         Hearst Magazines, a division of Hearst Communications,
29790802 Inc.                                                      300 West 57th Street                    New York                    NY            10019                                                        First Class Mail
29784443 HeartWise Incorporated                                    184 Clear Creek Dr. #1                  Ashland                     OR            97520                                                        First Class Mail
29777202 Heather Management, LLC                                   1165 Lakeview Rd.                       West Bend                   WI            53090                                                        First Class Mail
29777203 Hello Products LLC                                        363 Bloomfield Avenue, 2D               Montclair                   NJ            07042                                                        First Class Mail
29777204 Henry Thayer Company                                      PO Box 56                               Westport                    CT            06881                                                        First Class Mail
29777206 HERBACEUTICALS INC                                        35 EXECUTIVE ST.                        NAPA                        CA            94558                                                        First Class Mail
29790803 Herbaceuticals, Inc.                                      630 Airpark Rd.                         Napa                        CA            94558                                                        First Class Mail
29777208 Herbal Answers, Inc.                                      PO Box 1110                             Saratoga Springs            NY            12866                                                        First Class Mail
29777209 Herban Cowboy, LLC                                        PO Box 24025                            Edina                       MN            55424                                                        First Class Mail
29777210 Herbasway Laboratories, LLC                               857 N. Main St. Ext. Unit 6             Wallingford                 CT            06492                                                        First Class Mail
29791287 Heritage Seymour I, LLC                                   123 Prospect Street                     Ridgewood                   NJ            07450                                                        First Class Mail
29777212 Hero Brands, Inc                                          71 Sydney Ave                           Deal                        NJ            07723                                                        First Class Mail
29777213 Hero Nutritional Products LLC                             991 Calle Negocio                       San Clemente                CA            92673                                                        First Class Mail
29791889 Hewlett‐Packard Financial Services Company                200 Connell Drive                       Berkeley Heights            NJ            07922                                                        First Class Mail

29784444 HEWLETT‐PACKARD FINANCIAL SERVICES COMPANY                200 Connell Drive                       Berkley Heights             NJ            07922                                                        First Class Mail
29784445 Hiball Inc.                                               1862 Union St.                          San Francisco               CA            94123                                                        First Class Mail
29648823 Hickory Plaza Shopping Center, Inc.                       1051 Brinton Road                       Pittsburgh                  PA            15221                                agl@jjgco.com           First Class Mail and Email
29784447 HIGH BREW COFFEE                                          PO Box 1105                             La Mesa                     CA            91944                                                        First Class Mail
         High Cotton Palisades, LLC, High Cotton Shoals, LLC and
29487484 Pharo Palisades I, LLC                                    1425 Richard Arrington Jr BlvdSuite 100 Birmingham                  AL            35205                                                        First Class Mail
29784448 High Point Estates Inc.                                   210 Ellis Rd.                           Westminster                 MA            01473                                                        First Class Mail
29791288 High Youth Limited                                        No.616                                                                                             Taiwan (R.O.C.)                             First Class Mail
29790804 Highbridge Development BR LLC                             2165 Technology Drive                   Schenectady                 NY            12308                                                        First Class Mail
                                                                   c/o Aston Properties, Inc., 610 E.
29784450 Highland Commons‐Boone, LLC                               Morehead St., Suite 100                 Charlotte                   NC            28202                                                        First Class Mail
29790805 Highland Laboratories                                     110 South Garfield                      MT Angel                    OR            97362                                                        First Class Mail
29784452 Highland Traders, LLC                                     853 Highway 35                          Middleton                   NJ            07748                                                        First Class Mail
                                                                   c/o RREEF Management Company, 1406
29784453 HIGHLANDS 501 (C) (25) INC.                               Halsey Way, Suite 110                   Carrollton                  TX            75007                                                        First Class Mail
29784454 Hillmann Consulting, LLC                                  1600 Route 22 East ‐ First Floor        Union                       NJ            07083                                                        First Class Mail
29784455 Hill's Pet Nutrition Sales, Inc.                          P.O. Box 148                            Topeka                      KS            66601‐0148                                                   First Class Mail
29790806 Hilo Power Partners, LLC                                  18301 Von Karman Ave.                   Irvine                      CA            92612                                                        First Class Mail
29777215 Hip Happenings, LLC                                       1712 N 13th Street                      Boise                       ID            83702                                                        First Class Mail
29777216 HiTech/ALR                                                790 Spring St                           Oak View                    CA            93022                                                        First Class Mail
29777217 HiTech/BLR 6009                                           790 Sarnast                             Oak Views                   CA            93022                                                        First Class Mail
29777218 HK Southpoint, LLC                                        949 Orchard Ave.,                       Moscow                      ID            83843                                                        First Class Mail
29777219 HM Hillcroft Westheimer Ltd.                              3810 Westheimer,                        Houston                     TX            77027                                                        First Class Mail
29776572 Hoang Anh                                                 13 Ly Thai To                           Ha Noi                                    100000           Vietnam                                     First Class Mail
29777220 Hobe' Laboratories, Inc.                                  6479 S. Ash Avenue                      Tempe                       AZ            85283                                                        First Class Mail
29777221 Hodge RTO Group Inc.                                      605 Roy Coppley Road                    Lexington                   NC            27292                                                        First Class Mail
29777222 Hoffman Unlimited LLC                                     866 Prairie Drive                       Milliken                    CO            80543                                                        First Class Mail

                                                                   C/O Hogan Real Estate, Attn: W. Glenn
29762636 Hogan Holdings 56, LLC                                    Hogan, 9300 Shelbyville Rd, STE 1300    Louisville                  KY            40222                                                        First Class Mail
29777223 Hogan, Inc.                                               14240 Imboden Rd.                       Hudson                      CO            80642                                                        First Class Mail
29777224 Hollender Sustainable Brands, LLC dba Sustain             212 Battery St.                         Burlington                  VT            05401                                                        First Class Mail




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ADRID                                    NAME                                  ADDRESS                             CITY                STATE        POSTALCODE             COUNTRY                     EMAIL       METHOD OF SERVICE
29784456 Hollister Construction Services                         339 Jefferson Road                      Parsippany               NJ            07054                                                          First Class Mail
                                                                 c/o Kimco Realty Corporation, 500 North
29784457 Holmdel Commons LLC                                     Broadway, Suite 201                     Jericho                  NY            11753                                                          First Class Mail
29784458 HomeoPet, LLC                                           PO Box 147                              Westhampton Beach        NY            11978                                                          First Class Mail
29784459 Honestly pHresh Deodorant                               PO Box 3755                             Huntington Beach         CA            92647                                                          First Class Mail
29784460 Horizon Jajo, LLC                                       4112 Brookview Drive SE                 Atlanta                  GA            30339                                                          First Class Mail
29784461 Horizon Retail                                          1500 Horizon Drive                      Sturtevant               WI            53177                                                          First Class Mail
29784462 Horizontal Integration, Inc.                            1660 S. Highway 100                     St. Louis Park           MN            55416                                                          First Class Mail
29784463 Horizontal, Inc.                                        1660 S. Hwy 100 Suite 200               St. Louis Park           MN            55416                                                          First Class Mail
29784464 Horseshoe LLC dba Mancakes                              826 Garden Drive                        Highlands Ranch          CO            80126                                                          First Class Mail
29784465 HPF, LLC                                                2001 Makefield Rd                       Yardley                  PA            19067                                                          First Class Mail
29784466 HSA Corporation                                         17863 170th Avenue, Suite 101           Spring Lake              MI            49456                                                          First Class Mail
29784467 HSN Enterprise, Inc.                                    1361 Watertree Rd.                      Terre Haute              IN            47803                                                          First Class Mail
29790807 HSP EPI Acquisition, LLC dba Entertainment              1401 Crooks Road                        Troy                     MI            48084                                                          First Class Mail
29777226 Hub Group, Inc. d/b/a Unyson Logistics                  2000 Clearwater Drive                   Oak Brook                IL            60523                                                          First Class Mail
29777225 Hub Group, Inc. d/b/a Unyson Logistics                  3050 Highland Parkway, Suite 100        Downers Grove            IL            60515                                                          First Class Mail
29791289 Huber Management Corporation                            7333 Paragon Rd.                        Dayton                   OH            45459                                                          First Class Mail
29783743 Hugfun International Hong Kong Ltd.                     18/F.                                   KOWLOON                                                 Hong Kong                                     First Class Mail
29777228 Hughes Network Systems, LLC                             11717 Exploration Lane                  Germantown               MD            20876                                                          First Class Mail
29777229 Humphreys Pharmacal, Inc.                               31 East High Street                     East Hampton             CT            06424                                                          First Class Mail
29777230 Hundred Fires Ltd                                       106 Satsuma Drive                       Altamonte Springs        FL            32714                                                          First Class Mail
29777231 Hungry Fish Media, LLC dba NutraClick                   24 School Street, Suite 301             Boston                   MA            02108                                                          First Class Mail
29790808 Hunter Building Corp.                                   12440 Oxford Park Drive                 Houston                  TX            77082                                                          First Class Mail
         Hunter's Lake, J.M. Cox, Jr., Tracy Fleenor, and John
29790809 Speropulos                                              801 Sunset Drive                      Johnson City               TN            37604                                                          First Class Mail
29777234 Hutchison Enterprises, Inc.                             5360 Shoreview Avenue                 Minneapolis                MN            55417                                                          First Class Mail
29777235 HYALOGIC, LLC                                           600 NO PLATTEVALLEY DR                REVERSÃOELMO               MO            14150                                                          First Class Mail
29791890 HYG Financial Services, Inc                             600 South 4th Street Floor 10         Minneapolis                MN            55415                                                          First Class Mail
29784469 HYG FINANCIAL SERVICES, INC.                            5000 Riverside Dr, Suite 300 East     IRVING                     TX            75039                                                          First Class Mail
29784471 Hyland's, Inc.                                          PO BOX 61067                          Los Angeles                CA            90061                                                          First Class Mail
29790810 Hyper Network Solutions of Florida LLC                  11780 US Highway One                  Palm Beach Gardens         FL            33408                                                          First Class Mail
29784472 Hyper Network Solutions of Florida, LLC                 11780 US Highway One, Suite 400N      Palm Beach Gardens         FL            33408                                                          First Class Mail
29784473 I Heart Foods Corp                                      6552 N Oxford Ave                     Chicago                    IL            60631                                                          First Class Mail

29784474 I Nutrition USA Corp                                    4730 South Fort Apache Road, Suite 300 Las Vegas                 NV            89147                                                          First Class Mail
29784475 I won! nutrition                                        1350 Bayshore Hwy STE 665              Burlingame                CA            94010                                                          First Class Mail
29622977 Iacono Family LP                                        Paul Trautman, 1480 Dublin Rd.         Columbus                  OH            43215                                pault@krgre.com           First Class Mail and Email
29784477 Ibotta, Inc.                                            1801 California Street, Suite 400      Denver                    CO            80202                                                          First Class Mail
29784478 ICC Shaker Inc                                          587 Commerce St. Suite 100             Southlake                 TX            76092                                                          First Class Mail
29784479 Ice Chips Candy, LLC                                    818A 79th Ave SE                       Olympia                   WA            98501                                                          First Class Mail
29776551 Iceland Spring Inc.                                     GRJOTHALS 7‐11                         Reykjavik                               130              Iceland                                       First Class Mail
29784480 iCIMS, Inc.                                             101 Crawfords Corner Road              Holmdel                   NJ            07733                                                          First Class Mail
29784481 ICON MEALS, INC                                         4681 Ohio Drive Suite 108              Frisco                    TX            75035                                                          First Class Mail
29777236 ICU Eyewear, Inc.                                       1440 4 Street Suite A                  Berkeley                  CA            94710                                                          First Class Mail
29777237 Ideal Software Systems Inc                              3839 Highway 45 North                  Meridian                  MS            39301                                                          First Class Mail
29777238 IDR Marketing Partners LLC                              1125 Lancaster Avenue                  Berwyn                    PA            19312                                                          First Class Mail
29777239 IDRMP Marketing Partners, LLC                           1125 Lancaster Avenue                  Berwyn                    PA            19312                                                          First Class Mail
29777240 IFORCE Nutrition                                        2101 91st Street                       North Bergen              NJ            07047                                                          First Class Mail

29777241 Ignite USA                                              954 West Washington mc37 7th Floor    Chicago                    IL            60607                                                          First Class Mail
29611057 IH 35 LOOP 340 TIC                                      4560 BELTLINE ROADSUITE 400           Addison                    TX            75001                                                          First Class Mail
29487507 IH‐10 Hayden, Ltd.                                      2410 Polk Street Ste 200              Houston                    TX            77003                                                          First Class Mail
29790811 III Hugs LLC                                            1228 E. Morehead Street               Charlotte                  NC            28204                                                          First Class Mail



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29777243 IKPM Pet Supply, LLC                                    1515 Ralston Branch Way                   Sugar Land                  TX            77479                                        First Class Mail
                                                                 c/o RealtyLink Midwest, 201 Riverplace,
29777244 IL Galesburg Veterans, LLC                              Suite 400                                 Greenville                  SC            29601                                        First Class Mail
29777245 ILHWA NA Inc                                            PO Box 266                                Middletown                  NY            10940                                        First Class Mail
29777246 Illumis, Inc.                                           975 Johnnie Dodds Blvd. Ste B             Mt. Pleasant                SC            29464                                        First Class Mail
29784482 IMC Associates                                          673 Ridgewood Road                        Millburn                    NJ            07041                                        First Class Mail
29784483 IMG College, LLC                                        P.O. Box 843038                           Kansas City                 MO            64184‐3038                                   First Class Mail
29784484 Immune Health Basics                                    3388 Mike Collins Drive                   Eagan                       MN            55121                                        First Class Mail
29784485 Immune Tree, Inc.                                       2764 N 675 E                              Lehi                        UT            84043                                        First Class Mail
29790812 Impact Nutrition LLC                                    58 River Street                           Milford                     CT            06460                                        First Class Mail
29790813 Implus Footcare, LLC                                    2001 TW Alexander Drive                   Durham                      NC            27709                                        First Class Mail
29784488 Improve Commerce, Inc.                                  4301 Valley Blvd.                         Los Angeles                 CA            90032                                        First Class Mail
29784489 Incentify, LLC                                          125 Sierra St                             El Segundo                  CA            90245                                        First Class Mail
29784490 IncWorx, Inc. d/b/a IncWorx Consulting                  1901 N. Roselle Rd                        Schaumburg                  IL            60195                                        First Class Mail
                                                                 6433 Champion Grandview Way,
29784491 Indeed, Inc.                                            Building 1                                Austin                      TX            78750                                        First Class Mail
29784492 Independence Town Center, LLC                           6111A Burgundy Hill Drive                 Burlington                  KY            41005                                        First Class Mail
29648830 Indian Creek Commons LLC                                7600 Jericho Turnpike, Suite 402          Woodbury                    NY            11797                                        First Class Mail
29784494 Indiana Economic Development Corporation                One North Capitol Avenue                  Indianapolis                IN            46204‐2288                                   First Class Mail
29777247 Indigo Wild, LLC                                        3125 Wyandotte St                         Kansas City                 MO            64111                                        First Class Mail
29777248 IndiTex Ventures LLC                                    6742 FM 2187 Road                         Sealy                       TX            77474                                        First Class Mail
29777249 Indy‐C‐Kal, Inc.                                        2500 Westmont Circle,                     Sterling Heights            MI            48310                                        First Class Mail

29790814 Inergetics, Inc. DBA Millennium Biotechnologies, Inc.   550 Broad St.                             Newark                      NJ            07102                                        First Class Mail
29777251 Infinite Labs, LLC                                      7208 W Sand Lake Rd. Suite 208            Orlando                     FL            32819                                        First Class Mail
         Infinity Staffing Solutions, LLC dba Lyneer Staffing
29777252 Solutions                                               134 Franklin Corner Road, Suite 100       Lawrenceville               NJ            08648                                        First Class Mail
29777253 Inflow Communications, LLC.                             9450 SW Gemini Dr #54242                  Beaverton                   OR            97008‐7105                                   First Class Mail
29777254 InFocus                                                 P.O. BOX 1124                             BEDFORD PARK                IL            60499                                        First Class Mail
29777255 Infogroup Inc.                                          2 Blue Hill Plaza                         Pearl River                 NY            10965                                        First Class Mail
29776553 Infosys Limited                                         Electronics City, Hosur Road              Bangalore                                 560100           India                       First Class Mail
29790815 Infusion Sciences                                       2127 Espey Ct                             Crofton                     MD            21114                                        First Class Mail
29777257 Ingredion Incorporated                                  5 Westbrook Corporate Center              Westchester                 IL            60154                                        First Class Mail

29623163 Inland Commercial Real Estate Services LLC/Bldg. #75052 2901 Butterfield Road                     Oak Brook                   IL            60523                                        First Class Mail
29784496 Inner Armour                                            1399 Blue Hills Ave                       Bloomfield                  CT            06002                                        First Class Mail
29784497 Innerzyme                                               3659 E. CREST LANE,                       PHOENIX                     AZ            85050                                        First Class Mail
29784498 Innophos Nutrition, Inc.                                680 North 700 West                        North Salt Lake             UT            84054                                        First Class Mail
29790445 Innovation Realty IN, LLC                               484 E Carmel Drive                        Carmel                      IN            46032                                        First Class Mail
29784499 INRETURN STRATEGIES, LLC                                10308 Belinder RD                         Leawood                     KS            66206                                        First Class Mail
29784500 Inserra Supermarkets, Inc.                              20 Ridge Road                             Mahwah                      NJ            07430                                        First Class Mail
29790816 Insight Global, LLC                                     4170 Ashford Dunwoody Road                Atlanta                     GA            30319                                        First Class Mail
29790817 InSite Naperville, LLC                                  1400 16th Street                          Oak Brook                   IL            60523                                        First Class Mail
29790818 InSite Parma, LLC                                       1400 16th Street                          Oak Brook                   IL            60523                                        First Class Mail
29790819 InSource Technology Solutions, LLC                      2490 BOULEVARD OF THE GENERALS            Norristown                  PA            19403                                        First Class Mail
29784505 Inspiration Beverage Company                            7727 W. 6th Ave Unit H                    Lakewood                    CO            80214                                        First Class Mail
29784506 Instavit US LLC                                         3190 Martin Rd                            Walled Lake                 MI            48390                                        First Class Mail
29784507 Institute for the Future                                124 University Avenue                     Palo Alto                   CA            94301                                        First Class Mail
29777258 Integral Yoga Distribution Inc                          2168 Woodland Church Rd                   Buckingham                  VA            23921                                        First Class Mail
29790820 Integrity Express Logistics, LLC                        4420 Cooper Road                          Cincinnati                  OH            45242                                        First Class Mail
29777260 Integrity Retail Distribution, Inc.                     15221 Canary Ave                          La Mirada                   CA            90638                                        First Class Mail
29777261 Inteligent*Vitamin*C Inc                                24W500 Maple Ave STE 107                  Naperville                  IL            60540                                        First Class Mail
29777262 Intelligent Direct, Inc.                                10 First Street                           Wellsboro                   PA            16901                                        First Class Mail




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ADRID                                    NAME                               ADDRESS                              CITY                 STATE        POSTALCODE            COUNTRY                       EMAIL             METHOD OF SERVICE
29790821 Interactive Communications International, Inc.      250 Williams Street                      Atlanta                    GA            30303                                                                 First Class Mail
29790822 Interbrand                                          700 W. Pete Rose Way                     Cincinnati                 OH            45203                                                                 First Class Mail
29777265 InterHealth Nutraceuticals Incorporated             5451 Industrial Way                      Benicia                    CA            94510                                                                 First Class Mail
29790823 International Business Machines Corporation         1 New Orchard Road                       Armonk                     NY            10504                                                                 First Class Mail
29777267 International Franchise Professionals Group, Inc.   499 Ernston Road                         Parlin                     NJ            08859                                                                 First Class Mail
29777268 International Integrated Solutions, Ltd.            137 Commercial Street                    Plainview                  NY            11803                                                                 First Class Mail
29784508 International Licensing Group Corporation           9465 Wilshire Blvd. suite 300            Beverly Hills              CA            90212                                                                 First Class Mail
29784509 International Trade Routes                          645 Wemple Road                          Glenmont                   NY            12077                                                                 First Class Mail
29784510 Intersand America Corp.                             1880 Great Western Drive                 Windsor                    CO            80550                                                                 First Class Mail
29784511 Intertek                                            200 Westlake Park Blvd., #400            Houston                    TX            77079                                                                 First Class Mail
29790824 InterVision Global Inc                              L14 CIC One Broadway                     Cambridge                  MA            02142‐1147                                                            First Class Mail
29605643 INTRINSICS, INC. DBA NAMESTORMERS                   2201 EAST WINDSOR ROAD                   Austin                     TX            78703                                                                 First Class Mail
         Inversiones en Recreacion, Deporte y Salud S.A. ‐
29783737 BODYTECH                                            Cra. 20 #83‐20                           Bogota                                   110221           Colombia                                             First Class Mail
29784514 INW Living Ecology                                  240 Crouse Dr                            Corona                     CA            92879                                                                 First Class Mail
29784515 iPDG (Innomark Permanent Display Group)             3233 South Tech Blvd.                    Miamisburg                 OH            45342                                                                 First Class Mail
29790825 ips All Natural LLC                                 11911 San Vicente Blvd.                  Los Angeles                CA            90049                                                                 First Class Mail
29784517 IQ Formulations LLC, DBA Metabolic Nutrition        523 Sawgrass Corporate Parkway           Sunrise                    FL            33325                                                                 First Class Mail

29623166 IREIT North Myrtle Beach Coastal North, L.L.C.      Nicole Koudelik, 2901 Butterfield Road   Oak Brook                  IL            60523                               nicole.koudelik@inlandgroup.com   First Class Mail and Email
29479660 Ireland Corner, LLC                                 PO Box 53729                             Fayetteville               NC            28305                                                                 First Class Mail
29784519 Iron Mountain Information Management, Inc.          1101 Enterprise Drive                    Royersford                 PA            19468                                                                 First Class Mail
29777269 Iron Mountain Secure Shredding, Inc.                One Federal Street                       Boston                     MA            02110                                                                 First Class Mail
29777270 Iron‐Tek                                            180 Motor Parkway                        Hauppauge                  NY            11788                                                                 First Class Mail
29777271 Irwin Naturals                                      5310 Beethoven St.                       Los Angeles                CA            90066                                                                 First Class Mail
29777272 ISALTIS                                             56 rue Paul Cazeneuve                    Lyon                                     69008            France                                               First Class Mail
29777273 Isatori Technologies, LLC                           15000 West 6th Avenue, Suite 202         Golden                     CO            80401                                                                 First Class Mail
29777274 Iscott Enterprises, Inc.                            2649 E Grand River Ave                   Howell                     MI            48843‐8589                                                            First Class Mail
29777275 Islamic Services of America                         P.O Box 521                              Cedar Rapids               IA            52406                                                                 First Class Mail
29777276 ISO International, LLC                              2215 Auto Park Way,                      ESCONDIDO                  CA            92029                                                                 First Class Mail
29790826 ISO Venner Plaza Holdings, LLC                      Suntide Commercial Realty Inc. Inc.      Saint Paul                 MN            55114                                                                 First Class Mail
29777278 Istar, LLC                                          321D Lafayette Road,                     Hampton                    NH            03842                                                                 First Class Mail
29777279 ITO EN (North America) INC.                         20 Jay Street Suite 530                  Brooklyn                   NY            11201                                                                 First Class Mail

                                                             3025 Highland Parkway, Suite 350, Attn:
29623169 IVT Renaissance Center Durham I, LP                 Property Manager (Building #44740)      Downers Grove               IL            60515                                                                 First Class Mail
29784521 IYC Family LLC                                      2317 12th Ct. N.W.,                     Auburn                      WA            98001                                                                 First Class Mail
29784522 J & M Franchising, LLC                              400 Union Avenue SE, Suite 200          Olympia                     WA            98501                                                                 First Class Mail
29784523 J&C Pet Supply, LLC                                 1095 A Towbin Ave.                      Lakewood                    NJ            08701                                                                 First Class Mail
29790827 J&M Owners NY, LLC                                  33 East Camino Real                     Boca Raton                  FL            33432                                                                 First Class Mail
29784526 J.B. Hunt Transport, Inc.                           615 J.B. Hunt Corporate Drive           Lowell                      AR            72745                                                                 First Class Mail
29784525 J.B. Hunt Transport, Inc.                           9101 Tonnelle Ave                       North Bergen                NJ            07047                                                                 First Class Mail
29790828 J.M. Baker Properties LLC                           484 Washington Street                   Monterey                    CA            93940                                                                 First Class Mail
29784528 J.R. Carlson Laboratories, Inc                      600 W University                        Arlington Heights           IL            60004                                                                 First Class Mail
29784529 JA Adventurers, LLC                                 120 East Commons Dr.                    St. Simon's Island          GA            31522                                                                 First Class Mail
29791290 JA Adventurers, LLC                                 16121 Haddam Ln                         Westfield                   IN            46062                                                                 First Class Mail
29790829 JaceyCakes, LLC (DBA FlapJacked)                    960 W. 124th Ave.                       Westminster                 CO            80234                                                                 First Class Mail
29784531 Jack W. Eichelberger Trust                          3066 Kettering Blvd.                    Moraine                     OH            45439                                                                 First Class Mail
29777280 Jacklyn Janeksela                                   7719 Oakshot Lane                       Indianapolis                IN            46268                                                                 First Class Mail
                                                             c/o Pet Supplies Plus, 1300 MacDade
29777281 Jackson Investors, Inc.                             Boulevard                               Woodlyn                     PA            19094                                                                 First Class Mail
29791291 Jacquard Group Limited                              82 St John Street                       London                                    EC1M 4JN         United Kingdom                                       First Class Mail
29790830 JAHCO Stonebriar LLC                                1717 Main Street                        Dallas                      TX            75201                                                                 First Class Mail



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29777283 Jakemans Confectioners                               114 Bay Street                             Manchester                NH            03104                                                           First Class Mail

                                                              New LL as of 10‐14‐16PM‐ Peter Dilis,
29649001 Jamaica‐88th Ave., LLC                               PO Box 280‐275, Dyker Heights Station      Brooklyn                  NY            11228                        info@olympicpropertymgmt.com       First Class Mail and Email
29790831 James H. Batmasian                                   215 North Federal Highway                  Boca Raton                FL            33432                                                           First Class Mail
29777286 James Long (Entity Pending)                          177 Whistlers Cove Road                    Rockport                  TX            78382                                                           First Class Mail
29777287 Jamison Liggett (Entity Pending)                     3209 Springbriar Dr.                       Castle Rock               CO            80109                                                           First Class Mail
29777288 Japan Health Products, Inc.                          P.O. Box 472                               Tryon                     NC            28782                                                           First Class Mail
29777289 Jarrow Formulas                                      1824 South Robertson Blvd                  Los Angeles               CA            90035                                                           First Class Mail
29777290 Javazen                                              4505 Campus Drive                          College Park              MD            20742                                                           First Class Mail
29777291 Jay Robb Enterprises, Inc                            6339 Paseo Del Lago                        Carlsbad                  CA            92011                                                           First Class Mail
29649003 JBL Humblewood Center, LLC                           2028 Harrison Street, Suite 202            Hollywood                 FL            33020                                                           First Class Mail
29784534 JD Beauty Group                                      5 Adams Avenue                             Hauppauge                 NY            11788                                                           First Class Mail
29784535 JDA Software, Inc.                                   15059 N. Scottsdale Road, Suite 400        Scottsdale                AZ            75320‐2621                                                      First Class Mail
29790832 Jefferson Shrewsbury Limited Partnership             Heller Property Management                 Cambridge                 MA            02138                                                           First Class Mail
29784537 Jeffrey James, LLC                                   1627 Sunset Ave. SW                        Seattle                   WA            98116                                                           First Class Mail
29605686 JEMAL'S DAILY VITAMIN LLC                            33 LARCHWOOD AVENUE                        Oakhurst                  NJ            07755                                                           First Class Mail
29784541 JFI Enterprises, Inc.                                1366 Whitehouse Ct.                        Rochester Hills           MI            48306                                                           First Class Mail
29601885 JHG PROPERTIES, LLC                                  539 DUNMORELAND DRIVE                      Shreveport                LA            71106                                                           First Class Mail
29784542 JHS Natural Products Inc.                            1025 Conger St #6                          Eugene                    OR            97402                                                           First Class Mail
29784543 Jindilli Beverages LLC                               8100 S Madison Street                      Burr Ridge                IL            60527                                                           First Class Mail
29784544 JJ International, LLC                                24784 High Plateau Court                   Stone Ridge               VA            20105                                                           First Class Mail
29777292 JJS Champaign Inv LLC                                1370 School House Road,                    Santa Barbara             CA            93108                                                           First Class Mail
29649007 JKE Property, LLC                                    294 Paxton Way                             Glastonbury               CT            06033                                                           First Class Mail
29777294 JLIX Milford Crossing Master Tenant, LLC             PO Box 412638                              Boston                    MA            02241‐2638                                                      First Class Mail
29777296 JMH Holdings, LLC                                    16192 St. Lawrence Way                     Monument                  CO            80132                                                           First Class Mail
                                                              c/o Silbert Realty & Mgmt. Co. Inc., 152
29777297 JMP Marlboro Retail Unit 2, LLC                      Liberty Corner Road , Suite 203            Warren Township           NJ            07059                                                           First Class Mail
29790833 JMS Technical Solutions                              7600 JERICHO TPKE                          Woodbury                  NY            11797                                                           First Class Mail
29777299 Jochi Investments LLC                                106 Satsuma Drive                          Altamonte Springs         FL            32714                                                           First Class Mail
29777300 Joe Reizer                                           29 Woodview Dr.                            Howell                    NJ            07731                                                           First Class Mail
29777301 Johanneson's of North Dakota                         2301 Johanneson Drive NW                   Bemidji                   MN            56601‐4101                                                      First Class Mail
29777302 John Squared Capital LLC                             5 Tennis Terrace                           Sparta                    NJ            07871                                                           First Class Mail
29784545 John's Lone Star Distribution Inc.                   922 Hempstead Turnpike, Suite # 2          Franklin Square           NY            11010                                                           First Class Mail
29673292 Jones Naturals, LLC                                  4960 28th Avenue                           Rockford                  IL            61109                        d.burnside@jonesnaturalchews.com   First Class Mail and Email
                                                              c/o Joseph Brothers Company, 4133
29784547 Joseph Plaza, LLC                                    Talmadge Road                              Toledo                    OH            43623                                                           First Class Mail
29649009 Joseph Urbana Investments, LLC                       5001 N University Street                   Peoria                    IL            61615                                                           First Class Mail
                                                              c/o Raider Hill Advisors LLC, 757 Third
29784550 Joule Gilroy Crossing Owner, LLC                     Avenue, 15th Floor                         New York City             NY            10017                                                           First Class Mail
29784551 JP Associates LLC                                    9 Hastings Road                            Holmdel Township          NJ            07733                                                           First Class Mail

                                                              237 Park Avenue, 7th Floor, Attn: James
29791891 JPMorgan Chase Bank, N.A., as Administrative Agent   Knight, Franchise Group Credit Officer     New York                  NY            10017                                                           First Class Mail
29624841 JSM LAND GROUP, LLC                                  4535 S DALE MABRY HWY                      TAMPA                     FL            33611                                                           First Class Mail
29784552 JTM Foods LLC                                        2126 East 33 St.                           Erie                      PA            16502                                                           First Class Mail
29784553 JTSS Enterprises, Inc.                               15060 Eureka Rd.                           Southgate                 MI            48124                                                           First Class Mail
29784554 Jubilee Limited Partnership                          4300 E. Fifth Ave.,                        Columbus                  OH            43219                                                           First Class Mail
29784555 Jubilee‐‐Coolsprings LLC                             1800 Moler Road,                           Columbus                  OH            43207                                                           First Class Mail
29784556 Juicero, Inc.                                        2001 Bryant Street                         San Francisco             CA            94110                                                           First Class Mail
29777303 JUKI INC                                             99 Industrial DR                           Northampton               MA            01060                                                           First Class Mail
29777304 Jumpmind, Inc.                                       8999 Gemini Parkway, Suite 100             Columbus                  OH            43240                                                           First Class Mail
29777305 Just C Inc.                                          7700 Irvine Center Dr.                     Irvine                    CA            92618                                                           First Class Mail




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                                                                   C/O AZOSE COMMERCIAL PROPERTIES,
29629234 JWT LLC                                                   8451 SE 68TH STREET #200                Mercer Island              WA            98040                                     First Class Mail
29627810 Kaged Muscle                                              101 Main St., Suite 360                 HUNTINGTON BEACH           CA            92648                                     First Class Mail
29777308 Kaged Muscle, LLC                                         101 Main St. Suite 360                  Huntington Beach           CA            92648                                     First Class Mail
29777309 Kaitas Group International                                4083 E. Airport Drive                   Ontario                    CA            91761                                     First Class Mail

29777310 Kaitas Group International d.b.a. Organic Evolution USA   4083 E. Airport Drive                   Ontario                    CA            91761                                     First Class Mail
29777311 Kaizen Nutrition Inc NV                                   14936 S Figueroa Street                 Gardena                    CA            90248                                     First Class Mail
29777312 Kamerade Group, LLC                                       58 Brookfield Lenox Road                Tifton                     GA            31794                                     First Class Mail
29777313 Kancov Investment Limited Partnership                     27750 STANSBURY, STE 200                FARMINGTON                 MI            48334                                     First Class Mail
29784557 Kaneka North America LLC                                  6161 Underwood Rd.                      Pasadena                   TX            77507                                     First Class Mail
29784558 KAPPA Investments LLC                                     1099 Jefferson Drive West               Forest                     VA            24551                                     First Class Mail
29784559 Kare‐N‐Herbs                                              P.O. Box 99                             York Harbor                ME            03911                                     First Class Mail
29784560 Karma Culture, LLC                                        30‐A Grove Street                       Pittsford                  NY            14534                                     First Class Mail
29784561 KATE FARMS LLC                                            1621 Central Avenue                     Cheyenne                   WY            82001                                     First Class Mail
29623176 Katy Freeway Properties LLC                               1051 Halsey                             Houston                    TX            77015                                     First Class Mail
29784563 KAWIPS Delaware Cuyahoga Falls, LLC                       1590‐D Rosecrans Ave. PMB#259,          Manhattan Beach            CA            90266                                     First Class Mail
29784564 KC Sapphire Pets LLC                                      2245 Tracy Ave.                         Kansas City                MO            64108                                     First Class Mail
29784565 KC's House, LLC                                           208 St. James Avenue, Suite B           Goose Creek                SC            29445                                     First Class Mail

29784566 KDV Wealth Management LLC                                 3800 American Boulevard W, Suite 100 Bloomington                   MN            55431                                     First Class Mail
29784567 Keeki Pure and Simple                                     950 Vitality Drive NW, Suite C            Comstock Park            MI            49321                                     First Class Mail
29784568 KeHE Distributors LLC                                     1245 E, Diehl Road, Suite 200             Naperville               IL            60563                                     First Class Mail
29625482 Kelley Commercial Realty, LLC                             Attn: Jessi Miller, P. O. Box 990         Little Rock              AR            72201                                     First Class Mail
29784569 Kellogg Company                                           1 Kellogg Square                          Battle Creek             MI            49017                                     First Class Mail
29790453 KELMAR Safety Inc.                                        221 West Main                             Greenfield               IN            46140                                     First Class Mail
29790834 Kelsey Cannon                                             Address on File                                                                                                            First Class Mail
29777315 Kemin Foods, L.C. d/b/a Kemin Health, L.C.                600 East Court Ave.                       Des Moines               IA            50309                                     First Class Mail
29777316 Kemin Health, L.C.                                        600 E. Court Ave., Suite A                Des Moines               IA            50309‐2058                                First Class Mail
29777317 Kemin Industries, Inc.                                    1900 Scott Avenue                         Des Moines               IA            50317                                     First Class Mail
29790835 Kemin Industries, Inc.                                    2100 Maury Street                         Des Moines               IA            50301                                     First Class Mail
29777320 Kemin Industries, Inc.                                    600 E. Court Ave., Suite A                Des Moines               IA            50309                                     First Class Mail
29777319 Kemin Industries, Inc.                                    601 E. Locust., Suite 203                 Des Moines               IA            50309                                     First Class Mail
29777321 Kenbo, LLC                                                20525 N Plumwood Drive                    Kildeer                  IL            60047                                     First Class Mail
29790836 Kendall Village Associates Ltd.                           2665 South Bayshore Drive                 Miami                    FL            33133                                     First Class Mail
29777323 Kenneth Crowder (Entity Pending)                          910 Waterside View Drive                  Raleigh                  NC            27606                                     First Class Mail
                                                                   c/o Versa Real Estate, LLC, 326 E. Fourth
29777324 Kercheval Owner LLC                                       Street, Suite 200                         Rotal Oak                MI            48067                                     First Class Mail
                                                                   c/o Dorado Development Co., 19787
29784570 Kerrville Dodado Partners, LLC                            West Interstate 10, Suite 201             San Antonio              TX            78257                                     First Class Mail
29784571 Kessel Enterprises, LLC                                   G‐7750 South Saginaw St., Suite #5        Grand Blanc              MI            48439                                     First Class Mail
29784572 Kessel Investment Company, LLC                            G‐7750 South Saginaw St., Suite #5        Grand Blanc              MI            48439                                     First Class Mail
                                                                   C/O NATURAL ORGANICS, 548
29784573 Kesslersales the                                          BROADHOLLOW ROAD                          Melville                 NY            11747                                     First Class Mail
29784574 KetoLogic, LLC                                            300 W Morgan Street, Suite 1510           Durham                   NC            27701                                     First Class Mail
29784575 Ketologie LLC                                             5307 E. Mockingbird Lane, 5th Floor       Dallas                   TX            75206                                     First Class Mail
29784576 Kettle and Fire LLC                                       2643 Hyde Street                          San Francisco            CA            94109                                     First Class Mail
29784577 Keynote Systems, Inc.                                     777 Mariners Island Blvd.                 San Mateo                CA            94404                                     First Class Mail
29784578 Keystone Technology Management                            2221 Cabot Blvd W Ste D                   Langhorne                PA            19047                                     First Class Mail
         Keystone Technology Management, a division of
29784579 Keystone Memory Group LLC                                 2221 Cabot Blvd West ‐ Suite D          Langhorne                  PA            19047                                     First Class Mail
29784580 Keyview Labs, Inc.                                        5737 Benjamin Center Dr.                Tampa                      FL            33634                                     First Class Mail




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29784581 Kheper Games                               440 South Holgate                       Seattle                  WA            98134                                                          First Class Mail
29776549 Kids First Toys Co., Ltd                   No.39 Dazhou Road                       Nanjing City                           210012           China                                         First Class Mail
29777325 Kilambe Coffee                             5206‐B Lyngate Ct                       Burke                    VA            22015                                                          First Class Mail
29790837 Kill Cliff, LLC                            3715 Northside Parkway, Bldg 400        Atlanta                  GA            30327                                                          First Class Mail
29790838 Kim Investment Partners IV, LLC            1901 Ave of the Stars                   Los Angeles              CA            90067                                                          First Class Mail
29790839 Kimberly Capella                           Address on File                                                                                                                               First Class Mail
29623180 Kimco Brownsville, L.P.                    500 North Broadway, Suite 201           Jericho                  NY            11753                                                          First Class Mail
29790840 Kimco Webster Square, LLC                  500 North Broadway                      Jericho                  NY            11753                                                          First Class Mail
29777331 Kimmerle Newman Architects                 1109 Mt. Kemble Ave.                    Harding Twp              NJ            07976                                                          First Class Mail
29790841 Kimmerle Newman Architects, PA             264 South Street                        MORRISTOWN               NJ            07960                                                          First Class Mail
                                                    Attn: General Counsel, 185 NW Spanish
29648814 KIN Properties, Inc.                       River Blvd., Suite 100                  Boca Raton               FL            33431                                                          First Class Mail
29777335 kin+kind                                   220 E. 5th St. #2W                      New York                 NY            10003                                                          First Class Mail
29784582 Kinaia Family LLC                          2500 Westmont Circle                    Sterling Heights         MI            48310                                                          First Class Mail
29784583 KIND, LLC.                                 PO Box 705 ‐ Midtown Station            New York                 NY            10018                                                          First Class Mail
29784584 King Bio                                   3 Westside Drive                        Asheville                NC            28806                                                          First Class Mail
29622974 King City Improvements, LLC                565 Taxter Road, Suite 400              Elmsford                 NY            10523                                                          First Class Mail
29784586 King Fisher Media, LLC                     P.O. BOX 37                             Midvale                  UT            84047                                                          First Class Mail
29784587 King Hammy I, LLC                          12505 Memorial Drive, Suite 330         Houston                  TX            77024‐6051                                                     First Class Mail
29784588 King Hammy II, LLC                         12505 Memorial Drive, Suite 330         Houston                  TX            77024‐6051                                                     First Class Mail
29649012 Kings Highway Realty Corp.                 1326 Kings Highway                      Brooklyn                 NY            11229                                                          First Class Mail
29478961 Kingsport Green AC Managing Company, LLC   1500 HUGUENOT ROAD, SUITE 108           Midlothian               VA            23113                                                          First Class Mail
29784590 Kingsville Retail Group, LP                PO Box 204391                           Austin                   TX            78720                                                          First Class Mail
29784591 Kinker Press, inc.                         1681 Mountain Road                      Glen Allen               VA            23060                                                          First Class Mail
29625146 KINSMAN INVESTORS                          6514 ODANA RD SUITE 6                   MADISON                  WI            53719                                                          First Class Mail
29784592 Kinter (K International, Inc.)             3333 Oak Grove Ave                      Waukegan                 IL            60087                                                          First Class Mail
                                                    c/o Kimco Realty Corporation, 500 North
29784593 KIR Brandon 011, LLC                       Broadway, Suite 201                     Jericho                  NY            11753                                                          First Class Mail
                                                    c/o Kimco Realty Corporation, 500 North
29784594 KIR Smoketown Station, L.P.                Broadway, Suite 201                     Jericho                  NY            11753                                                          First Class Mail
29790842 KIR Torrance, L.P.                         500 North Broadway                      Jericho                  NY            11753                                                          First Class Mail
29777337 Kiran Patel (Entity Pending)               1166 Madison Hill Road                  Clark                    NJ            07066                                                          First Class Mail
29777338 Kirk Palmer Associates, Inc.               500 Fifth Avenue, 53rd Floor            New York                 NY            10110                                                          First Class Mail
29777339 Kirk's Natural LLC                         1820 Airport Exchange Blvd              Erlanger                 KY            41018                                                          First Class Mail
29790843 Kishan Enterprises LLC                     300 Galleria Parkway                    Atlanta                  GA            30339                                                          First Class Mail
29777341 Kiss My Face Corporation                   144 Main Street P.O. Box 224            Gardiner                 NY            12525                                                          First Class Mail
29777342 Kiss My Keto                               8066 Melrose Ave, Suite 3               Los Angeles              CA            90046                                                          First Class Mail
29790844 Kiss Nutraceuticals, LLC                   5151 Bannock Street                     Denver                   CO            80216                                                          First Class Mail
                                                    Attn: Darin Wright, CFO, 7155 State
29486513 Kith Furniture                             Highway 13                              Haleyville               AL            35565                              dwright@kithfurniture.com   First Class Mail and Email
29602234 Kitty Wells, Inc.                          2801 Richmond Road, #11                 Texarkana                TX            75503                                                          First Class Mail
29777344 KITU Life, Inc.                            1732 1st Ave #25614                     New York                 NY            10128                                                          First Class Mail
29649016 KK‐BTC LLC                                 5839 Via Verona View                    Colorado Springs         CO            80919                                                          First Class Mail
29777346 Klassische                                 117 West Napa St. Site                  Sonoma                   CA            95476                                                          First Class Mail
29790845 KLDiscovery                                8201 Greensboro Drive                   McLean                   VA            22102                                                          First Class Mail
29605781 KLDISCOVERY ONTRACK LLC                    PO BOX 845823                           DALLAS                   TX            75284‐5823                                                     First Class Mail
29784597 Klean Kanteen, Inc.                        4345 Hedstrom Way                       Chico                    CA            95973                                                          First Class Mail
                                                    c/o 450 Rt 10 Ledgewood LLC, 36 Route
29784598 Kloss Organization, LLC                    46, P.O. Box 197                        Montville                NJ            07058                                                          First Class Mail
29784599 KLS Pets, LLC                              602 Bainbridge Drive                    Mullica Hill             NJ            08062                                                          First Class Mail
29784600 KNM Lee Properties LLC                     999 High Street                         Wadsworth                OH            44281                                                          First Class Mail
29784601 Know Brainer Foods, LLC                    9960 Phillips Road                      Lafayette                CO            80026                                                          First Class Mail
29784602 Know Brands, Inc dba Know Foods            3035 Peachtree Road NE, Ste 200         Atlanta                  GA            30305                                                          First Class Mail




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ADRID                                    NAME                               ADDRESS                                CITY                 STATE        POSTALCODE            COUNTRY                       EMAIL                            METHOD OF SERVICE
29784603 Kodiak Cakes LLC                                    3247 Santa Fe Rd                            Park City                 UT            84098                                                                                First Class Mail
29784604 Kokoro                                              17731 Irvine Blvd. Suite 102                Tustin                    CA            92780                                                                                First Class Mail
29784605 KonaRed (Sandwich Isles Trading Co Inc.)            P.O Box                                     Kalaheo                   HI            96741                                                                                First Class Mail
29784606 KonaTex Ventures, LLC                               7911 Appomattox Drive                       Austin                    TX            78745                                                                                First Class Mail
29790846 Koosharem LLC dba Select Staffing                   16040 Christensen Road                      Tukwila                   WA            98188                                                                                First Class Mail
29777347 Koppe Management And Investment Co. Inc.            13826 SW 102 CT,                            Miami                     FL            33176                                                                                First Class Mail
29777348 Körber Supply Chain US, Inc.                        Dept Ch 17044                               Palatine                  IL            60055‐7091                                                                           First Class Mail
                                                                                                         EASTWOOD, South
29790847 Kosmea Australia Pty Ltd                            71 Glen Osmond Road                         Australia                               5063             Australia                                                           First Class Mail
29777349 Kount Inc.                                          917 South Lusk, 3rd Floor                   Boise                     ID            83706                                                                                First Class Mail
29790848 KP Macon, LLC                                       2500 Daniels Bridge Rd.                     Athens                    GA            30606                                                                                First Class Mail
29790849 KPM Enterprises Inc.                                1056 Saginaw Crescent                       Mississauga               ON            L5H 3W5          Canada                                                              First Class Mail
29777351 Krave Jerky                                         117 W Napa Street, Suite C                  Sonoma                    CA            95476                                                                                First Class Mail
29790850 KRCX Del Monte Plaza 1314, LLC                      500 North Broadway                          Jericho                   NY            11753                                                                                First Class Mail
29790851 KRCX Price REIT, LLC                                500 North Broadway                          Jericho                   NY            11753                                                                                First Class Mail
                                                             c/o Kite Realty Group, 30 South
29777354 KRG Avondale McDowell, LLC                          Meridian Street, Suite 1100                 Indianapolis              IN            46204                                                                                First Class Mail
29790852 KRG Brandenton Centre Point, LLC                    30 South Meridian Street                    Indianapolis              IN            46204                                                                                First Class Mail
                                                             c/o Kite Realty Group, 30 South
29777356 KRG Cedar Hill Pleasant Run, LLC                    Meridian Street, Suite 1100                 Indianapolis              IN            46204                                                                                First Class Mail
                                                             c/o Kite Realty Group, 30 South
29777357 KRG Houston Sawyer Heights, LLC                     Meridian Street, Suite 1100                 Indianapolis              IN            46204                                                                                First Class Mail
29623186 KRG King's Grant, LLC                               30 South Meridian Street, Suite 1100        Indianapolis              IN            46204                                                                                First Class Mail
29623187 KRG Pelham Manor, LLC                               30 South Meridian Street, Suite 1100        Indianapolis              IN            46204                                                                                First Class Mail
                                                             Asset Mgr.‐ Frank Kramer, Accts
                                                             Receivable‐ Kelly Miller, 30 S. Meridian,
29623188 KRG Pipeline Pointe LP                              Suite 1100                                  Indianapolis              IN            46204                               kmiller@kitrealty.com; fkramer@kiterealty.com    First Class Mail and Email

                                                             Frank Kramer, Asset Mgr.‐ Veronica
                                                             Soria, Accts. Recv. Spec. ‐ Kelly Miller, 30                                                                            fkramer@kiterealty.com; vsoria@kiterealty.com;
29623189 KRG Portfolio, LLC                                  South Meridian Street, Suite 1100            Indianapolis             IN            46204                               kmiller@kiterealty.com                           First Class Mail and Email
29790853 KRG Sunland, L.P.                                   30 South Meridian                            Indianapolis             IN            46204                                                                                First Class Mail
29790854 Kronos                                              900 Chelmsford Street                        Lowell                   MA            01851                                                                                First Class Mail
29784614 Kronos Incorporated                                 297 Billerica Road                           Chelmsford               MA            01824                                                                                First Class Mail
29630246 KRONOS INCORPORATED                                 PO BOX 743208                                Atlanta                  GA            30374‐3208                                                                           First Class Mail
29649021 KRT Property Holdings LLC                           200 Ridge Pike, Suite 100                    Conshohocken             PA            19428                                                                                First Class Mail
29784617 KS Pet Retail Five, LLC                             770 W. Bedford Euless Rd.                    Hurst                    TX            76053                                                                                First Class Mail
         KSF Acquisition Corp dba Slim Fast formerly Hyper
29784618 Network Solutions of Florida LLC                    11780 U.S. Highway One, Suite 400N          Palm Beach Gardens        FL            33408                                                                                First Class Mail
29622978 KSL Realty North Providence LLC                     1403 Douglas Avenue                         North Providence          RI            02908                               kharonian@wsretailers.com                        First Class Mail and Email
29777358 K‐Tec Inc., dba Blendtec                            1206 South 1680 West                        Orem                      UT            84058                                                                                First Class Mail
29777359 Kuhl Business Concepts, LLC                         8286 E Tumbleweed Drive                     Scottsdale                AZ            85266                                                                                First Class Mail
29777360 Kuli Kuli, Inc.                                     600 Grand Ave Suite 410B                    Oakland                   CA            94610                                                                                First Class Mail
29777361 KutKrew Productions                                 6123 Woodbine St                            Ridgewood                 NY            11385                                                                                First Class Mail
29777362 KW ABSC, Inc.                                       18655 Bishop Avenue                         Carson                    CA            90746                                                                                First Class Mail
29790855 KXP Advantage Services LLC                          11777 San Vicente Blvd                      Los Angeles               CA            90049                                                                                First Class Mail
29777364 Kyowa Hakko USA, Inc.                               600 Third Ave.                              New York                  NY            10016                                                                                First Class Mail
29777365 K‐Zoo Pet, Inc.                                     5062 Colony Woods Dr.                       Kalamazoo                 MI            49009                                                                                First Class Mail
29629301 L&D PARTNERSHIP, LLC                                929 KINGS HIGHWAY EAST                      FAIRFIELD                 CT            06825                                                                                First Class Mail
29777367 L.A. Aloe, LLC                                      80 W Sierra Madre Blvd Suite 364            Sierra Madre              CA            91024                                                                                First Class Mail
29790856 L.P. Corporation                                    5613 Lessburg Pike                          Bailey's Crossroads       VA            22041                                                                                First Class Mail
29479555 L.W. Miller Holding Company                         P.O. BOX 4697                               EAST LANSING              MI            48826                                                                                First Class Mail
29790857 La Gioia Two, LLC                                   3801 PGA Boulevard                          Palm Beach Gardens        FL            33410                                                                                First Class Mail




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ADRID                                    NAME                                 ADDRESS                              CITY                 STATE        POSTALCODE            COUNTRY                     EMAIL                METHOD OF SERVICE
29784621 La Quinta Inn & Suites                                 350 Lighting Way                        Secaucus                   NJ            07094                                                                  First Class Mail

29605800 LABCORP EMPLOYER SERVICES, INC.                        7221 LEE DEFOREST DRIVE, SUITE #600     Columbia                   MD            21046                                                                  First Class Mail
29784623 LABRADA NUTRITION                                      333 NORTHPARK CENTRAL DRIVE             HOUSTON                    TX            77073                                                                  First Class Mail
29784624 Lafe's Natural Bodycare                                8204 N. Lamar Blvd, Ste B‐12            Austin                     TX            78753                                                                  First Class Mail
29790858 Laguna Gateway Phase 2 L.P.                            2020 L Street                           Sacramento                 CA            95811                                                                  First Class Mail
29790859 Lahaina Gateway Property Owner, L.P.                   5743 Corsa Avenue                       Thousand Oaks              CA            91362                                                                  First Class Mail
29784627 Lakeland Crossing LLC                                  226 San Clemente                        Santa Barbara              CA            93109                                                                  First Class Mail
                                                                c/o Phillips Edison & Co., 11501
29784628 Lakewood (Ohio) Station LLC                            Northlake Drive                         Cincinnati                 OH            45249                                                                  First Class Mail
29790860 Lamas Beauty, Inc.                                     6222 Wilshire Boulevard                 Los Angeles                CA            90048                                                                  First Class Mail
29649028 Lane Investments                                       8104 E Freeport St.                     Broken Arrow               OK            74014                                                                  First Class Mail
29784631 LaneLabs ‐ USA, Inc.                                   3 North Street                          Waldwick                   NJ            07463                                                                  First Class Mail
29790861 Lansing Square, LLC                                    30600 Northwestern Hwy.                 Farmington                 MI            48334                                                                  First Class Mail
29790862 Larkspur Real Esate Partnership I                      Four Embarcadero Center                 Almensilla, Andalusia                    41111            Spain                                                 First Class Mail
29777370 Larrimore Family Partnership LLC                       3951 N Ocean Blvd #603                  Delray Beach               FL            33483                                                                  First Class Mail
29777371 LaserShip, Inc.                                        1912 Woodford Road                      Vienna                     VA            22182                                                                  First Class Mail
29777372 Laura's Original Boston Brownies, Inc.                 818 Vanderbilt Place                    San Diego                  CA            92110                                                                  First Class Mail
29790863 Laurel Lakes, LLC                                      2800 Quarry LakeDrive                   Baltimore                  MD            21209                                                                  First Class Mail

29790864 Layton Partners, LLC                                   Mid‐America Real Estate ‐ Wisconsin LLC Milwaukee                  WI            53203                                                                  First Class Mail
29629335 LBI GEORGIA PROPERTIES LLC                             7 PENNY LANE                              Woodbridge               CT            06525                                                                  First Class Mail
29790865 LC Real Estate, LLC                                    6601 Centerville Business Parkway         Dayton                   OH            45459                                                                  First Class Mail
29777377 LDI                                                    50 Jericho Quadrangle                     Jericho                  NY            11753                                                                  First Class Mail
29777378 LDI Color Toolbox                                      50 Jericho Quadrangle                     Jericho                  NY            11753                                                                  First Class Mail
29777379 Leaner Creamer, LLC                                    8659 Hayden Place                         Culver City              CA            90232                                                                  First Class Mail
29790866 Leap Agents                                            955 Shadeland Ave                         Burlington               ON            L7T 2M2          Canada                                                First Class Mail
29784633 Ledgers Pantry, LLC                                    14090 FM 2920, Ste. G551                  Tomball                  TX            77377                                                                  First Class Mail
                                                                c/o A.J. Dwoskin & Associates, Inc., 3201
29784634 Lee Harrison Limited Partnership                       Jermantown Road, Suite 700                Fiarfax                  VA            22030‐2879                                                             First Class Mail
29784635 LeFort Pet Supplies, Inc.                              1548 Breezeridge Dr.                      Des Peres                MO            63131                                                                  First Class Mail
29784636 Left Handed Libra LLC dba Jane Carter Solution         45 South 17th Street                      East Orange              NJ            07018                                                                  First Class Mail
29784637 Left Moon Consulting Group LLC                         478 Sylvester Trail                       Highlands Ranch          CO            80129                                                                  First Class Mail
29784638 LegacyPets Inc.                                        98 N Floral Leaf Cir                      The Woodlands            TX            77381                                                                  First Class Mail
29784639 Legendary Foods, LLC                                   10825 Queensland St                       Los Angeles              CA            90034                                                                  First Class Mail
29790867 Legion Athletics, Inc.                                 1255 Cleveland St                         Clearwater               FL            33755                                                                  First Class Mail
29784641 Lehigh Valley Industrial Park Lot 4 Owner, LLC         BCDPF Radar Distribution Center LLC       Denver                   CO            80202                                                                  First Class Mail

         Lehigh Valley Industrial Park Lot 4 Owner, LLCBCDPF
29791292 Radar Distribution Center LLCMiles TedderMatt Devitt   P.O. Box 9183433                        Chicago                    IL            60691‐3433                                                             First Class Mail
29601897 LELAND J3, LLC                                         304 EAST WARREN ST                      LEBANON                    OH            45036                                                                  First Class Mail
29790868 Lemmon Ave. Retail, LP                                 8400 Westchester                        Dallas                     TX            75225                                                                  First Class Mail
29790869 Lennox Station Exchange, LLC                           6499 E. Broad St.                       Columbus                   OH            43213                                                                  First Class Mail
29777380 Lenny & Larry's, Inc.                                  8803 Amigo Ave                          Northridge                 CA            91324                                                                  First Class Mail
29790538 Leon Bankier Family, LP                                101 SE 6th Avenue                       Delray Beach               FL            33483                                                                  First Class Mail
29623196 Leparulo Family Trust                                  205 S. Rodeo Drive                      Beverly Hills              CA            90212                               jockeyhollowmanagement@gmail.com   First Class Mail and Email
29777382 Leprino Performance Brands, LLC                        1830 W. 38th Avenue                     Denver                     CO            80211                                                                  First Class Mail
29777383 Leslie's Organics, LLC                                 298 Miller Ave.                         Mill Valley                CA            94941                                                                  First Class Mail
29777384 Lesser Evil LLC                                        83 Newtown Rd, 2nd Floor                Danbury                    CT            06810                                                                  First Class Mail
29777385 Level 10, LLC                                          2495 Pembroke Ave.                      Hoffman Estates            IL            60169                                                                  First Class Mail
29777386 Levlad LLC dba Nature's Gate                           9200 Mason Ave                          Chatsworth                 CA            91311                                                                  First Class Mail
29790870 Levo Healthcare Consulting, Inc.                       220 W 7TH AVENUE                        Tampa                      FL            33602                                                                  First Class Mail
29777388 Lexmark International, Inc.                            740 W. New Circle Road                  Lexington                  KY            40511                                                                  First Class Mail




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ADRID                                    NAME                  ADDRESS                             CITY                 STATE        POSTALCODE             COUNTRY                     EMAIL            METHOD OF SERVICE
29790459 LG ELECTRONICS USA INC.                 1000 Sylvan Avenue                       Englewood Cliffs         NJ            07632                                                               First Class Mail
                                                 c/o Milbrook Properties Ltd., 42 Bayview
29777389 LGM Equities, LLC                       Ave.                                     Manhasset                NY            11030                                                               First Class Mail
                                                 c/o National Shopping Plazas, Inc., 200
29777390 LH Bolingbrook Weber, L.L.C.            W. Madison St., Suite 4200               Chicago                  IL            60606                                                               First Class Mail
                                                 c/o National Shopping Plazas, Inc., 200
29784645 LH Crystal Lake, L.L.C.                 W. Madison St., Suite 4200               Chicago                  IL            60606                                                               First Class Mail
                                                 c/o National Shopping Plazas, Inc., 200
29784646 LH Grayslake, L.L.C.                    W. Madison St., Suite 4200               Chicago                  IL            60606                                                               First Class Mail
                                                 c/o National Shopping Plazas, Inc., 200
29784647 LH Homer Glen, L.L.C.                   W. Madison St., Suite 4200               Chicago                  IL            60606                                                               First Class Mail
                                                 c/o National Shopping Plazas, Inc., 200
29784648 LH LaPorte, L.L.C.                      W. Madison St., Suite 4200               Chicago                  IL            60606                                                               First Class Mail
                                                 c/o National Shopping Plazas, Inc., 200
29784649 LH Plainfield, L.L.C                    W. Madison St., Suite 4200               Chicago                  IL            60606                                                               First Class Mail
                                                 c/o National Shopping Plazas, Inc., 200
29784650 LH Villa Park, L.L.C.                   W. Madison St., Suite 4200               Chicago                  IL            60606                                                               First Class Mail
29783744 Li & FUNG (TRADING) LIMITED             LiFung Tower                             Kowloon                                                 Hong Kong                                          First Class Mail
29784651 Liberty Elevator Corporation            63 East 24th Street                      Paterson                 NJ            07514                                                               First Class Mail
29784652 Liberty Mountain Sports, LLC            9816 S Jordan Gateway (500W)             Sandy                    UT            84070                                                               First Class Mail
29784653 Liberty Mutual Insurance Company        175 Berkeley Street                      Boston                   MA            02116                                                               First Class Mail
                                                 Attn: Marissa Coon, 9300 Shelbyville Rd,
29762607 Lichtefield Development Trust           Ste. 1300                                Louisville               KY            40222                                                               First Class Mail
29790871 Liddell Laboratories Inc                201 Apple Blvd                           Woodbine                 IA            51579                                                               First Class Mail
29783758 Lien Nguyen Thi Kim                     13 Ly Thai To                            Ha Noi                                 100000           Vietnam                                            First Class Mail
29784655 Life Boost, LLC                         455 East Cady Street                     Northville               MI            48167                                                               First Class Mail
29784656 LifeAID Beverage Company, INC           2833 Mission St                          Santa Cruz               CA            95060                                                               First Class Mail
29777391 Lifefactory, Inc.                       3 Harbor Drive Suite 215                 Sausalito                CA            94965‐1491                                                          First Class Mail
29777392 Lifespan International dba Xendurance   PO Box 6088                              Carefree                 AZ            85377                                                               First Class Mail
29777393 Lifetime Brands Inc. Built Division     1000 Stewart Avenue                      Garden City              NY            11530                                                               First Class Mail
29777394 Lifeway Foods Inc.                      6431 W. Oakton St.                       Morton Grove             IL            60053                                                               First Class Mail
29790872 Lifeworks Technology Group, LLC         1412 Broadway                            New York                 NY            10018                                                               First Class Mail
29777396 Lily of the Desert                      1887 Geesling Rd                         Denton                   TX            76208                                                               First Class Mail
29601901 LINCOLN ASSOCIATES                      5755 GRANGER RD STE 825                  INDEPENDENCE             OH            44131                                                               First Class Mail
                                                 c/o Washington Properties, Inc., 400
29777397 Lincoln Grace Investments, LLC          Skokie Blvd., Suite 425                  Northbrook               IL            60062                                                               First Class Mail
29790873 Linden Construction South Carolina      100 Brigade Street                       Charleston               SC            29403                                                               First Class Mail
                                                 c/o Linear Retail Properties, LLC, 77
29777399 Linear Retail #9 LLC                    South Bedford Street, Suite 401          Burlington               MA            01803                                                               First Class Mail
                                                 Jon Maimon, 77 South Bedford Street,
29648835 Linear Retail Waltham #1 LLC            Suite 401                                Burlington               MA            01803                                jmaimon@keypointpartners.com   First Class Mail and Email
29790874 Liquid OTC, LLC                         PO Box 1351                              Walled Lake              MI            48390                                                               First Class Mail
29784657 Little Moon Essentials, LLC             2475 Lincoln Ave/PO BOX 771893           Steamboat Springs        CO            80487                                                               First Class Mail
29784658 Little Paws, LLC                        7911 Platinum Ct.                        Boerne                   TX            78015                                                               First Class Mail
29784659 Live Intent, Inc.                       100 Church, Floor 7                      New York                 NY            10007                                                               First Class Mail
                                                 560 South Winchester Boulevard, Suite
29784660 Liveclicker, Inc.                       500                                      San Jose                 CA            95128                                                               First Class Mail
29784661 Lively Holdings, LLC                    1170 Clover Hill Lane                    Elgin                    IL            60120                                                               First Class Mail
29784662 Lively Up Your Breath, LLC              4419 Cochran Street                      Simi Valley              CA            93063                                                               First Class Mail
29784663 LivePerson, Inc.                        462 Seventh Avenue, 3rd Floor            New York                 NY            10018                                                               First Class Mail
29790875 LiveRamp, Inc.                          667 Mission St                           San Francisco            CA            94105                                                               First Class Mail
29784665 Liverite Products, Inc.                 15495 Redwill ave, Suite C               Tustin                   CA            92780                                                               First Class Mail
29784666 LiveWire MC2, LLC                       1747 Douglass Rd Unit C                  Anaheim                  CA            92806                                                               First Class Mail
29784667 Living Ecology Manufacturing Inc.       240 Crouse Drive                         Corona                   CA            92879                                                               First Class Mail



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ADRID                                    NAME                                  ADDRESS                                 CITY                STATE        POSTALCODE            COUNTRY                     EMAIL         METHOD OF SERVICE
29790461 LIVING STYLE (SINGAPORE) PTE. LIMITED                   3 Kallang Junction, #05‐02                                                         339265           Singapore                                      First Class Mail
29784668 Living Well Innovations, Inc.                           115 Engineers Rd, 2nd Floor             Hauppauge                    NY            11788                                                           First Class Mail
29783713 Livingston International Inc.                           405 The West Mall                       Toronto                      ON            M9C 5K7          Canada                                         First Class Mail
29790876 LIVS Products                                           10388 W. State Road 84                  Fort Lauderdale              FL            33324                                                           First Class Mail
29790877 LIVS Products, LLC                                      3360 Enterprise Avenue                  Weston                       FL            33331                                                           First Class Mail
29623197 Lizben Enterprises, LLC                                 1776 West 7800 South                    West Jordan                  UT            84088                               brad.shepherd@comcast.net   First Class Mail and Email
29790878 LMR II ‐ Palm Pointe LLC                                212 E. 3rd Street                       Cincinnati                   OH            45202                                                           First Class Mail
29777406 Loadsmart, Inc.                                         150 N Michigan Ave., 19th Floor         Chicago                      IL            60601                                                           First Class Mail
29790879 Local Sandy IL, LLC                                     777 Brickell Ave.                       Miami                        FL            33131                                                           First Class Mail
29790880 Local Westgate LLC                                      777 Brickell Ave.                       Miami                        FL            33131                                                           First Class Mail
29777410 Locus Robotics Corp                                     PO Box 735537                           Chicago                      IL            60673‐5537                                                      First Class Mail
29777412 Logical Brands, Inc.                                    4900 Centennial Blvd.                   Nashville                    TN            37209                                                           First Class Mail
29784669 LogicSource, Inc.                                       20 Marshall Street                      Norwalk                      CT            06854                                                           First Class Mail
29790881 Logile, Inc.                                            2600 East Southlake Boulevard           Southlake                    TX            76092                                                           First Class Mail
29784671 LogMeIn, Inc.                                           320 Summer Street                       Boston                       MA            02210                                                           First Class Mail
29784672 Lonchas Enterprises LLC                                 13135 Danielson St Ste 211              Poway                        CA            92064                                                           First Class Mail
29784673 London Import S.A.                                      PO BOX 731178                           DALLAS                       TX            75373‐1178                                                      First Class Mail
29784674 Lonza Consumer Health Inc.                              5451 Industrial Way                     Benicia                      CA            94510                                                           First Class Mail
29776562 Lonza Ltd                                               Muenchensteinerstrasse 38               Basel                                      4002             Switzerland                                    First Class Mail
29790882 Lord Jameson                                            Address on File                                                                                                                                    First Class Mail
29783714 Lorna Vanderhaeghe Health Solutions, Inc.               106A 3430 Brighton Avenue               Burnaby                      BC            V5A 3H4          Canada                                         First Class Mail
29784676 los productos                                           19 W. 44th St. Suite 811                New York                     NY            10036                                                           First Class Mail
29784677 Lotus Brands, Inc.                                      1100 E. Lotus Dr. Bldg #3               Silver Lake                  WI            53170                                                           First Class Mail
         Louis Treiger Trustee of Samuel J Gree Grandson TRust
29784678 #1UTA dated 12/11/87                                    6100 57th Ave. S,                       Seattle                      WA            98118                                                           First Class Mail
29784679 Love You Foods, LLC                                     300 W Morgan Street, Suite 1510         Durham                       NC            27701                                                           First Class Mail
29784680 Love Your Neighbor Well, LLC                            10804 Bridgeport Drive                  Temple                       TX            76502                                                           First Class Mail
29784681 LoveBug Nutrition, Inc.                                 115 East 34th Street, Suite 1506        New York                     NY            10156                                                           First Class Mail
29625153 LOVELL 2.5, LLC                                         101 DALTON PLACE WAYSUITE 103           KNOXVILLE                    TN            37912                                                           First Class Mail
                                                                 c/o Regency Centers Corporation, One
29777413 Lower Nazareth Commons, LP                              Independent Drive, Suite 114            Jacksonville                 FL            32202                                                           First Class Mail
29777414 Loyalty 360, Inc.                                       PO BOX 54407                            Cincinnati                   OH            45254                                                           First Class Mail
29629365 LPK BRANDS INC                                          19 GARFIELD PLACE                       Cincinnati                   OH            45202                                                           First Class Mail
29777416 LPN Properties LLC                                      5000 E. Grand River,                    Howell                       MI            48843                                                           First Class Mail
29790883 LSREF6 Legacy LLC                                       6688 N. Central Expressway              Dallas                       TX            75206                                                           First Class Mail
29777418 Lucid Software Inc.                                     10355 S Jordan Gateway #150             South Jordan                 UT            84095                                                           First Class Mail
29777419 Lukaluk, LLC                                            5985 Chester Way                        Denver                       CO            80238                                                           First Class Mail
29777420 Lumina Health Products Inc.                             3693 Walden Pond Drive                  Sarasota                     FL            34240                                                           First Class Mail
29777421 Lumos Inc.                                              7 South 1550 West #600                  Lindon                       UT            84042                                                           First Class Mail

29777422 Luna Pharmaceuticals, Inc.                              244 Weybosset Street, 2nd Floor, Suite 3 Providence                  RI            02903                                                           First Class Mail
29777423 Lunada Biomedical                                       6733 S. Sepulveda Blvd # 115             Los Angeles                 CA            90045                                                           First Class Mail
29790884 Lustig Realty Corp                                      312 Washington Street                    Ethel                       LA            70730                                                           First Class Mail
29790885 M&J Wilkow Properties, LLC                              20 South Clark Street                    Chicago                     IL            60603                                                           First Class Mail
29784686 M&N Laurel Property, LLC                                3 South Infield Court,                   Potomac                     MD            20854                                                           First Class Mail
29784687 M.I. Industries, Incorporated                           55 Westport Drive                        St. Louis                   MO            63145                                                           First Class Mail
29784688 M2 Ingredients, Inc                                     5931 Priestly Drive                      Carlsbad                    CA            92008                                                           First Class Mail
29784689 M3 Ventures #4091, LLC                                  c/o 191 Alps Rd., Suite 13‐A             Athens                      GA            30606                                                           First Class Mail
29784690 M3 Ventures #4105, LLC                                  c/o 191 Alps Rd., Suite 13‐A             Athens                      GA            30606                                                           First Class Mail
29784691 M3 Ventures #8024, LLC                                  c/o 191 Alps Rd., Suite 13‐A             Athens                      GA            30606                                                           First Class Mail
29784692 M3 Ventures #8029, LLC                                  c/o 191 Alps Rd., Suite 13‐A             Athens                      GA            30606                                                           First Class Mail
29784693 M3 Ventures #8034, LLC                                  c/o 191 Alps Rd., Suite 13‐A             Athens                      GA            30606                                                           First Class Mail
29602366 M3 Ventures, LLC                                        P.O. Box 263                             Bryant                      AR            72089                                                           First Class Mail



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ADRID                                    NAME                             ADDRESS                              CITY                STATE        POSTALCODE          COUNTRY      EMAIL       METHOD OF SERVICE
29784694 MAAK Corp.                                         7907 Sendero Ridge                     Fair Oaks Ranch            TX            78015                                        First Class Mail
29790886 Macerich Lakewood, LP                              Agent for Macerich Lakewood LP         Santa Monica               CA            90401                                        First Class Mail
29479328 MACON CENTER LLC                                   1202 AVENUE U, SUITE 1117              BROOKLYN                   NY            11229                                        First Class Mail
29777425 MacroLife Naturals, Inc                            8477 Steller Drive                     Culver City                CA            90232                                        First Class Mail
29790887 Macy's China Limited                               2nd Floor, LiFung Tower                Kowloon                                  94107            Hong Kong                   First Class Mail
29790888 Mad River Development LLC                          240 Paramus Road                       Ridgewood                  NJ            07450                                        First Class Mail
29790889 Madaen Natural Products Inc.                       23811 Chagrin Blvd                     Beachwood                  OH            44122                                        First Class Mail
29777429 Madhava Natural Sweeteners                         14300 E. 1‐25 Frontage Rd              Longmont                   CO            80504                                        First Class Mail
                                                            c/o Pet Supplies Plus, 1300 MacDade
29777430 Madison Avery Partners , LLC                       Boulevard                              Woodlyn                    PA            19094                                        First Class Mail
29777431 Madjef, Inc.                                       45 Longview Dr.                        Scarsdale                  NY            10583                                        First Class Mail
29790890 Maggie McIntosh                                    Address on File                                                                                                              First Class Mail
29777433 Magnificent Seven LLC                              2671 Fort Trenholm Rd                  Johns Island               SC            29455                                        First Class Mail
                                                            c/o Pet Supplies Plus, 1300 MacDade
29777434 Magnifico Pet Holdings, LLC                        Boulevard                              Woodlyn                    PA            19094                                        First Class Mail
29784695 Magnolia Enterprises, LLC                          6847 83rd Ave SE,                      Mercer Island              WA            98040                                        First Class Mail
29784696 Magnolia Furniture, Inc.                           8848 Dawes Lake Road South             Mobile                     AL            36619                                        First Class Mail

29784697 Main Street Pet Supply, LLC                        31500 Northwestern Highway, Suite 175 Farmington Hills            MI            48334                                        First Class Mail
29784698 Malloy Properties Partnership No. 2                3 Wood Hill Drive,                    Redwood City                CA            94061                                        First Class Mail
29790891 Mamma Chia LLC                                     5205 Avenida Encinas                  Carlsbad                    CA            92008                                        First Class Mail
29784700 MAN Sports                                         PO Box 871202                         Mesquite                    TX            75187                                        First Class Mail
29784701 Management Resource Systems                        1907 Baker Road                       High Point                  NC            27263                                        First Class Mail
29790892 Manhattan Associates                               2300 Windy Ridge Parkway              Atlanta                     GA            30339                                        First Class Mail
29784703 Manhattan Associates, Inc.                         2300 Windy Ridge Parkway              Atlanta                     GA            30339                                        First Class Mail
29790893 Manitoba Harvest                                   Address on File                                                                                                              First Class Mail
29784705 MANNimals, Inc.                                    2517 2nd Avenue West                  Seattle                     WA            98119                                        First Class Mail
29776559 Manuka Health New Zealand Ltd                      66 Weona Court                        Te Awamutu                                3800             New Zealand                 First Class Mail
29784706 Manuka Lab North America, Inc                      859 East Sepulveda Blvd               Carson                      CA            90745                                        First Class Mail
29777435 MapQuest.com, Inc.                                 1730 Blake Street                     Denver                      CO            80202                                        First Class Mail
                                                            Corporation Trust Center, 1209 Orange
29777436 Marchan Enterprise, LLC                            Street                                Wilmington                  DE            19801                                        First Class Mail
29791293 Margand Enterprises, LLC                           1680 Route 23                         Wayne                       NJ            07470                                        First Class Mail
29777438 MaRick Inc.                                        566 Fiesta Court                      Fairfield                   CA            94533                                        First Class Mail
29776568 Marine Stewardship Council International Limited   Marine House, 1 Snow Hill             London                                    EC1A 2DH         United Kingdom              First Class Mail
29777439 Mark IV Operations, Inc.                           82 John Miller Way                    Kearny                      NJ            07032                                        First Class Mail
29790894 Mark Leevan Glendale LLC                           9454 Wilshire Boulevard               Beverly Hills               CA            90212                                        First Class Mail
                                                            c/o Mid‐America Asset Management
29777441 Market Place at Darien, LLC                        Inc., 9th Floor                       Villa Park                  IL            60181                                        First Class Mail
29479615 MarketFair North, LLC                              244 WEST 39TH STREETFLOOR 4           New York                    NY            10018                                        First Class Mail
29777442 MarketSpark, Inc.                                  750 B Street                          San Diego                   CA            92101                                        First Class Mail
29790895 MarkIV Transportation and Logistics                720 SOUTH FRONT STREET                Elizabeth                   NJ            07202                                        First Class Mail
                                                            Corporation Trust Center, 1209 Orange
29777444 Marla Enterprise, LLC                              Street                                Wilmington                  DE            19801                                        First Class Mail
29790896 Marlin Lesher                                      Address on File                                                                                                              First Class Mail
29784707 Marmaduke's Munchies, LLC                          9011 Sendera Dr.                      Magnolia                    TX            77354                                        First Class Mail
29784708 Marriott Hotel Services, Inc.                      11730 Preston Road                    Dallas                      TX            75230                                        First Class Mail
29784709 Mars Botanical                                     20425 Seneca Meadows Parkway          Germantown                  MD            20876                                        First Class Mail
29784710 Mars Petcare US, Inc.                              800 High Street                       Hackettstown                NJ            07840                                        First Class Mail
29784711 Marshfield Pets, LLC                               2295 Spring Rose Road                 Verona                      WI            53593                                        First Class Mail

29784712 Marz Holding Group LLC                             2795 Peachtree Street Northeast, #2108 Atlanta                    GA            30305                                        First Class Mail
29784713 Mass Probiotics, Inc.                              1397 Charles Street                    Boston                     MA            02114                                        First Class Mail




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ADRID                                    NAME                                   ADDRESS                                CITY                 STATE        POSTALCODE     COUNTRY         EMAIL       METHOD OF SERVICE
29784714 Mastek, Inc.                                            15601 Dallas Pkwy, Suite 250                Addison                   TX            75254                                      First Class Mail
29790897 Master Supplements, Inc.                                PO Box 240 1600 Arboretum BLVD              Victoria                  MN            55386                                      First Class Mail
29790898 Match.com Events LLC                                    8750 N. Central Expressway                  Dallas                    TX            75231                                      First Class Mail
29784717 Mate Revolution Inc.                                    PO Box 1192                                 Ashland                   OR            97520                                      First Class Mail
29627580 Matrix Absence Management, Inc.                         PO Box 953217                               Saint Louis               MO            63195                                      First Class Mail
29784719 Matrix Health Products                                  9700 NE 126 Ave.                            Vancouver                 WA            98682                                      First Class Mail
29777446 Matrix Healthwerks Inc.                                 P.O. Box 2051                               San Marcos                CA            92079                                      First Class Mail
29777447 Matthews Automation Solutions                           W229 N2510 Duplainville Road                Waukesha                  WI            53186                                      First Class Mail
29777448 Matthews Automation Systems                             N114 W18770 Clinton Drive                   Germantown                WI            53022                                      First Class Mail

29777449 Matthews International Corporation dba Lightning Pick   N114 W18770 Clinton Dr.                     Germantown                WI            53022                                      First Class Mail
29777451 Matthews International DBA Lightning Pick               N114 W18770 Clinton Drive                   Germantown                WI            53022                                      First Class Mail
29777450 Matthews International DBA Lightning Pick               W229 N2510 Duplainville Road                Waukesha                  WI            53186                                      First Class Mail
29777452 MAVEA LLC                                               675 Tollgate Road Suite G                   Elgin                     IL            60123                                      First Class Mail
29790899 Maverick Brands, LLC                                    2400 Wyandotte Street                       Mountain View             CA            94043                                      First Class Mail
29777454 Maverick Pets, LLC                                      4068 Lenox Drive                            Cincinnati                OH            45245                                      First Class Mail
29777455 Max Bull, Inc.                                          14240 Imboden Rd.                           Hudson                    CO            80642                                      First Class Mail
29777456 Max Pets Supplies, LLC                                  2214 Cortona Mist                           San Antonio               TX            78260                                      First Class Mail
29790900 Maxim Chambers II, LLC                                  1901 Avenue of the Stars                    Los Angeles               CA            90067                                      First Class Mail
29784721 Maximum International                                   500 NE 25th St #10                          Pompano Beach             FL            33064                                      First Class Mail
29784722 Mayer Laboratories, Inc.                                1950 Addison Street, Suite #101             Berkeley                  CA            94704                                      First Class Mail
29784723 Maypro Industries, LLC                                  2975 Westchester Avenue                     Purchase                  NY            10577                                      First Class Mail
29784724 Mayrich III, Ltd.                                       761 East 200th Street                       Euclid                    Oh            44119                                      First Class Mail
29784725 Maywood Mart TEI Equities                               55 Fifth Avenue,                            New York City             NY            10003                                      First Class Mail
29790901 MBB Gateway Associates                                  Pomegranate RE                              Ardmore                   PA            19003                                      First Class Mail
29784728 mbg                                                     13297 SCRUB JAY COURT                       Port Charlotte            FL            33953                                      First Class Mail
29791294 McCabe Way Irvine LLCMileski Living Trust               1971 W 190TH STREET                         TORRANCE                  CA            90504                                      First Class Mail
29784730 McCabe Way Irvine, LLC                                  1971 W 190TH STREET                         TORRANCE                  CA            90504                                      First Class Mail
29784731 McCrane Inc, DBA Harbinger                              801 Chadbourne Rd, Suite 103                Fairfield                 CA            94534                                      First Class Mail
29784732 McGriff Insurance Services, Inc.                        4309 Emperor Blvd, Ste 300                  Durham                    NC            27703‐8046                                 First Class Mail
29777457 Mckinsey & Company, Inc. United States                  55 East 52nd Street                         New York                  NY            10022                                      First Class Mail
29777458 McMurry/TMG, LLC                                        228 E. 45th Street                          New York                  NY            10017                                      First Class Mail
29777459 McPetsol, Inc.                                          33300 Five Mile Road, Suite 200             Livonia                   MI            48154                                      First Class Mail
29479625 McRae Mortgage & Investments, LLC                       PO BOX 7420                                 Little Rock               AR            72217                                      First Class Mail
29777460 MD Science Lab LLC                                      2131 Blount Road                            Pompano Beach             FL            33069                                      First Class Mail

29777461 MD2 Algonquin, LLC                                      c/o Tiffany Earl Williams, 417 1st Ave SE   Cedar Rapids              IA            52401                                      First Class Mail
29777462 ME Moringa LLC                                          15 Braemer Road                             East Setauket             NY            11733                                      First Class Mail
29791295 Meadowbrook Shopping Center Associates, LLC             30600 Northwestern                          Farmington Hills          MI            48334                                      First Class Mail
29777464 Meadowlands Fire Protection                             348 New County Road                         Secaucus                  NJ            07094                                      First Class Mail
29790902 Mears Oak Investors LLC & Mears Oak                     412 Oakmears Crescent                       Virginia Beach            VA            23462                                      First Class Mail
29790903 Media Brokers International                             555 North Point Center East                 Alpharetta                GA            30022                                      First Class Mail
29790904 Media Brokers International, Inc.                       555 North Point Center East                 Alpharetta                GA            30022                                      First Class Mail
29790466 MEDIA WORKS, LTD.                                       1425 Clarkview Road                         Baltimore                 MD            21209                                      First Class Mail
29605911 Medianug, LLC                                           545 Cypress Ave                             Hermosa Beach             CA            90254                                      First Class Mail
29790905 Mediaplanet Publishing House, Inc.                      350 7TH AVENUE                              New York                  NY            10001                                      First Class Mail
29790906 Medical Research Institute (MRI)                        444 De Haro                                 San Francisco             CA            94107                                      First Class Mail
29784736 MediNatura, Inc.                                        10421 Research Road SE                      Albuquerque               NM            87123                                      First Class Mail
29784737 Meditrend, Inc. DBA Professional Formulations           4820 Eubank Blvd NE                         Albuquerque               NM            87111                                      First Class Mail
29625088 MEDITRINA PROPERTIES LLC                                990 BLVD OF THE ARTSAPT 1203                Sarasota                  FL            34236                                      First Class Mail
29784738 Medport LLC                                             23 Acorn Street                             Providence                RI            02903                                      First Class Mail
29784739 Mega Kyon Inc.                                          64 N Mill Street                            Hopkinton                 MA            01748                                      First Class Mail




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ADRID                                    NAME                                    ADDRESS                                CITY                   STATE        POSTALCODE            COUNTRY                     EMAIL       METHOD OF SERVICE
                                                                 Attn: Michael Busenkell, Esq., 1201 N.
29715076 MEL Indiana, LLC                                        Orange Street, Suite 300                     Wilmington                  DE            19801                               mbusenkell@gsbblaw.com    First Class Mail and Email
29715342 MEL Indiana, LLC                                        700 Bishop Street Suite 1928                 Honolulu                    HI            96813                                                         First Class Mail
29784740 Melaleuca, Inc.                                         3910 South Yellowstone Highway               Idaho Falls                 ID            83402                                                         First Class Mail
29784741 Melian Labs Inc. dba MyTime                             600 California Street                        San Francisco               CA            94108                                                         First Class Mail
29784742 Melsa, Inc.                                             125 Leafwood Dr.                             Goldsboro                   NC            27534                                                         First Class Mail
29784743 Memphis Light, Gas and Water Division                   PO BOX 2440                                  SPOKANE                     WA            99210‐2440                                                    First Class Mail
29602211 Menard, Inc.                                            5101 Menard Drive                            Eau Claire                  WI            54703                                                         First Class Mail
29784744 Mendias & Milton, LLC d/b/a My Fit Foods                5000 Plaza on the Lake, Suite 380            Austin                      TX            78746                                                         First Class Mail
                                                                 Attn: Steve Belford, 6649 N. High St.,
29762618 Merchant 33, LLC                                        Ste. LL2                                     Worthington                 OH            43085                                                         First Class Mail
29602744 MERCHANT'S INVESTORS LLC                                3265 MERIDIAN PARKWAY SUITE 130              Weston                      FL            33331                                                         First Class Mail
29784745 MerchSource, LLC                                        15 Cushing                                   Irvine                      CA            92618                                                         First Class Mail
29777468 Mercola.com Health Resources LLC                        3200 West Higgins Road                       Hoffman Estates             IL            60169                                                         First Class Mail
                                                                 Attn: Craig M. Kay, 707 Virginia St. East,
29762626 Meredith, Inc                                           15th Floor                                   Charleston                  WV            25301                                                         First Class Mail
29777469 Meridian Place, LLC                                     C/O NEIL WALTER CO, PO BOX 2181,             Tacoma                      WA            98401                                                         First Class Mail
29783716 Merrithew International Inc.                            2200 Yonge Street, Suite 500                 Toronto                     ON            M4S 2C6          Canada                                       First Class Mail
29777470 Meshanticut Properties, Inc.                            1414 Atwood Ave.,                            Johnston                    RI            02919                                                         First Class Mail

29777471 METACAN, INC.                                             708 Gravenstein Hwy North Suite 188        Sebastopol                  CA            95472                                                         First Class Mail
29777472 Metro East PSP                                            664 Royal Crest Way                        O'Fallon                    IL            62269                                                         First Class Mail
29777473 Metropolitan Trucking Inc.                                6675 Low Street                            Bloomsburg                  PA            17815                                                         First Class Mail
29791296 MFB Glenville, LLC                                        RD Management LLC                          New York                    NY            10019                                                         First Class Mail
29777475 MHP, LLC d/b/a MuscleMeds                                 21 Dwight Place                            Fairfield                   NJ            07004                                                         First Class Mail
29777476 MIA of South Carolina, LLC                                208 St. James Avenue, Suite B              Goose Creek                 SC            29445                                                         First Class Mail
29777477 Michael's Health Products                                 6003 Randolph Blvd                         San Antonio                 TX            78233                                                         First Class Mail
29791297 Michelle Lambert (Entity Pending)                         Corporation Trust Center                   Wilmington                  DE            19801                                                         First Class Mail
29784746 Michiana Pets, Inc.                                       5062 Colony Woods Dr.                      Kalamazoo                   MI            49009                                                         First Class Mail
29784747 Michigan Office Solutions (MOS)                           40000 Grand River Ave. Ste 500             Novi                        MI            48375                                                         First Class Mail
         Michigan Office Solutions, Inc. (Xerox Business Solutions
29791299 Midwest)                                                  40000 Grand River Ave. Ste 500             Novi                        MI            48375                                                         First Class Mail

29791298 Michigan Office SolutionsIntegrity One Technologies     801 N Capitol Ave                            Indianapolis                IN            46204                                                         First Class Mail
29784750 Microsoft                                               6880 Sierra Center Parkway                   Reno                        NV            89511                                                         First Class Mail
29784751 Microsoft Corporation                                   6880 Sierra Center Parkway                   Reno                        NV            89511                                                         First Class Mail
29629457 MICROSOFT CORPORATION                                   P.O. BOX 842103                              DALLAS                      TX            75284‐2103                                                    First Class Mail
29784753 Microsoft Licensing, GP                                 1401 Elm Street                              Dallas                      TX            75202                                                         First Class Mail
29784754 MicroStrategy Services Corporation                      PO BOX 409671                                Atlanta                     GA            30384                                                         First Class Mail
29784755 MID Atlantic RTO, LLC                                   106 Umbrella Place                           Jupiter                     FL            33458                                                         First Class Mail
29784756 Midas                                                   2450 VILLAGE COMMONS DRIVE                   ERIE                        PA            16506                                                         First Class Mail
29605936 MID‐ATLANTIC‐LYNCHBURG, LLC                             13900 EASTBLUFF RD.                          MIDLOTHIAN                  VA            23112                                                         First Class Mail
29784758 Midtown Business Partners LLC                           1218 Hazel                                   Tulsa                       OK            74114                                                         First Class Mail
                                                                 Attn: Director of Leasing, 3611 14th
29648841 Midway Market Square Elyria LLC                         Ave., Suite 420                              Brooklyn                    NY            11218                               miriam@madisonprop.com    First Class Mail and Email
29777480 Midwestern Pet Foods, Inc.                              9634 Hedden Road                             Evansville                  IN            47725                                                         First Class Mail
29777481 Military Makeover, LLC                                  3860 N. Powerline Road                       Deerfield Beach             FL            33073                                                         First Class Mail
29790907 Millennium Coupon Redemption Services, Inc.             50 Mount Prospect Avenue                     Clifton                     NJ            07013                                                         First Class Mail
29777483 Millennium Sport Technologies                           P.O. BOX 1137, 303 W. COLVILLE,              CHEWELAH                    WA            99109                                                         First Class Mail
29777484 Milliman, Inc.                                          150 Clove Rd, 10th Fl                        Little Falls                NJ            07424                                                         First Class Mail
29777485 mindbodygreen, LLC                                      2980 McFarlane Rd                            Miami                       FL            33133                                                         First Class Mail
29790908 Minerva Research Labs Ltd.                              9465 Wilshire Blvd                           BEVERLY HILLS               CA            90210                                                         First Class Mail
29777487 Minisoft, Inc.                                          1024 First Street                            Snohomish                   WA            98290                                                         First Class Mail




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ADRID                                    NAME                     ADDRESS                               CITY                 STATE        POSTALCODE           COUNTRY                                EMAIL            METHOD OF SERVICE
29777488 Mission Pets                               986 Mission Street                       San Francisco              CA            94103                                                                        First Class Mail
                                                    Cook, Vetter, Doerhoff & Landwehr,
                                                    P.C., Attn: John D. Landwehr, 231
29714295 Missouri Boulevard Investment Company      Madison Street                           Jefferson City             MO            65101                                      jlandwehr@cvdl.net                First Class Mail and Email
29777489 MiTAC Digital Corp                         471 El Camino Real                       Santa Clara                CA            95050                                                                        First Class Mail
29790909 Mitsubishi Electric Power Products, Inc.   547 Keystone Drive                       Warrendale                 PA            15086                                                                        First Class Mail
29784760 MJC Enterprises, Inc.                      42241 Garfield Rd.                       Clinton Township           MI            48038                                                                        First Class Mail
29790910 MJF/Highland RE Holding Company, LLC       1622 Willow Road                         Winnetka                   IL            60093                                                                        First Class Mail
29784762 MJM Sourcing, LLC                          1137 Conveyor Lane #102                  Dallas                     TX            75247                                                                        First Class Mail
29784763 MJQ Enterprises, Inc.                      2501 Pennington Place                    Valparaiso                 IN            46383                                                                        First Class Mail
29790911 MK Kapolei Common, LLC                     MMI Realty Services Inc.                 Honolulu                   HI            96816                                                                        First Class Mail

                                                    New Property Mgmt as of 1‐1‐17PM‐
                                                    Nancy Sakamoto Ellen Fong Billing, 1288                                                                                      nsakamoto@mmirealty.com;
29649045 MK Kona Commons LLC                        Ala Moana Boulevard, Suite 208          Honolulu                    HI            96814                                      efong@mmirealty.com               First Class Mail and Email
29649046 MKPAC, LLC                                 2500 Westmont Circle                    Sterling Heights            MI            48310                                      mikekinaia@gmail.com              First Class Mail and Email

                                                    c/o MetLife Investment Management
29784767 MLM Chino Property, LLC                    LLC, 601 South Figueroa, Suite 2900      Los Angeles                CA            90071                                                                        First Class Mail
29790912 ML‐MJW Port Chester SC Owner LLC           20 South Clark Street                    Chicago                    IL            60603                                                                        First Class Mail
                                                    c/o Olshan Properties, 600 Madison
29784769 MLO Great South Bay LLC                    Avenue, 14th Floor                       New York City              NY            10022                                                                        First Class Mail
                                                    c/o Horizon Properties as agent, 18610
29784770 MMG Plantation CP, LLC                     NW 87th Avenue, Suite 204                Hialeah                    FL            33015                                                                        First Class Mail
29649051 MMG Plantation Square, LLC                 18610 NW 87th Avenue, Suite 204          Hialeah                    FL            33015                                                                        First Class Mail
29777491 MO Pet Retail Three, LLC                   770 W. Bedford Euless Rd.                Hurst                      TX            76053                                                                        First Class Mail
29777492 MO Pet Retail Two, LLC                     770 W. Bedford Euless Rd.                Hurst                      TX            76053                                                                        First Class Mail
29777493 Modern Products, Inc.                      6425 W. Executive Dr.                    Mequon                     WI            53092                                                                        First Class Mail
29790913 Modis, Inc.                                10151 DEERWOOD PARK BLVD                 Jacksonville               FL            32256                                                                        First Class Mail
29777495 Mohammad Tariq (Entity Pending)            1520 Eisenhower Street                   Dixon                      CA            95620                                                                        First Class Mail
29790914 Mohammed F Alhokair & Co.                  PO Box 1360                              Riyadh                                   11321            Kingdom of Saudi Arabia                                     First Class Mail
                                                    31700 MIDDLEBELT RD SUITE 225C/O
29602407 MONGIA CAPITAL MICHIGAN LLC                FARBMAN GROUP                            Farmington Hills           MI            48334                                                                        First Class Mail
29777496 Monona Pets, LLC                           2295 Spring Rose Road                    Verona                     WI            53593                                                                        First Class Mail
29790915 Monopoli Music Group LLC                   MONOPOLI MUSIC GROUP LLC                 Clifton                    NJ            07013                                                                        First Class Mail
29648842 Monroe Triple Net, LLC                     Josh Sterling, 12863 Eureka Rd.          Southgate                  MI            48195                                      josh@epicpropertymanagement.com   First Class Mail and Email
29777499 Monster Energy Company                     1 Monster Way,                           CORONA                     CA            92879                                                                        First Class Mail
29649052 Montgomery EastChase, LLC                  945 Heights Blvd                         Houston                    TX            77008                                                                        First Class Mail
29785648 Montgomery Trading LLC                     12 East 46th St ‐ Suite 301 D,           New York City              NY            10017                                                                        First Class Mail
29785649 Mood Media                                 2100 S. H.35                             AUSTIN                     TX            18104                                                                        First Class Mail
29791339 Moody's                                    7 World Trade Center                     New York                   NY            10007                                                                        First Class Mail
29785651 Moore Properties Capital Blvd LLC          8001 Skyecroft Commons Drive             Waxhaw                     NC            28173                                                                        First Class Mail
29605959 MORGAN LI LLC                              383 E 16TH STREET                        Chicago Heights            IL            60411                                                                        First Class Mail
29785653 Mori Burlington LLC                        16 Nolen Circle                          Voorhees Township          NJ            08043                                                                        First Class Mail
29785654 Morningstar Minerals                       22 Rd 3957,                              FARMINGTON                 NM            87401                                                                        First Class Mail
29790916 Moroccan Magic LLC                         33 Thompson Lane                         MILTON                     MA            02186                                                                        First Class Mail
29785656 Mosaic ATM, Inc. DBA Mosaic Data Science   540 For Evans Road, NE Ste. 300          Leesburg                   VA            20176                                                                        First Class Mail
29623211 Mosaic Reisterstown Road Owner LLC         2800 Quarry Lake Drive, Suite 340        Baltimore                  MD            21209                                      mkermisch@mfimgmt.com             First Class Mail and Email
29790917 Motherlove Herbal Company                  1420 Riverside Avenue                    FORT COLLINS               CO            80524                                                                        First Class Mail
29785659 Mount Franklin Nutritionals LLC            2720 Southgate Drive,                    SUMTER                     SC            29154                                                                        First Class Mail
                                                    Anthony Alcala, 5007 S Howell Avenue,
29622981 Mount Pleasant Investments, LLC            Suite 115                                Milwaukee                  WI            53207                                      tony.alcala@spm‐wi.com            First Class Mail and Email
29777502 Mountain Country Pet Care‐LLC              201 Industrial                           Okeene                     OK            73763                                                                        First Class Mail




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ADRID                                    NAME                                  ADDRESS                                CITY                STATE        POSTALCODE            COUNTRY                      EMAIL           METHOD OF SERVICE

29790918 Mountain High Organics, Inc., d/b/a Beveri Nutrition   9 South Main Street                      New Milford                 CT            06776                                                              First Class Mail
                                                                Property manager Karen Weber, 301
29622980 Mountain Laurel Plaza Associates                       Grant Street, Suite 4500                 Pittsburgh                  PA            15219                               kweber@oxforddevelopment.com   First Class Mail and Email
                                                                5 Bryant Park (1065 6th Avenue), 9th
29777506 Movable, Inc.                                          Floor                                    New York                    NY            10018                                                              First Class Mail
29777505 Movable, Inc.                                          5 Bryant Park (1065 Sixth Avenue)        New York                    NY            10018                                                              First Class Mail
29777507 Moysestra Enterprises, Inc.                            80 Valley View Terrace                   Montvale                    NJ            07645                                                              First Class Mail
29777508 MPM Belmont,, LLC                                      19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29777509 MPM Gastonia, LLC                                      19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29777510 MPM Greensboro, LLC                                    19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29777511 MPM Pecan, LLC                                         19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29784771 MPM Retail Holdings, LLC                               19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29784772 MPMFM, LLC                                             19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29784773 MPMRH, LLC                                             19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29784774 MPMSC, LLC                                             19154 Rosemary Road                      Spring Lake                 MI            49456                                                              First Class Mail
29784775 Mr Dark PSP, LLC                                       4688 N. Arrow Villa Way                  Boise                       ID            83703                                                              First Class Mail
29784776 MRM                                                    2665 Vista Pacific Dr.                   Oceanside                   CA            92056                                                              First Class Mail
29648863 MRV Dickson City, LLC                                  Bob Prendergast, P.O. Box 988            Sudbury                     MA            01776                               bprendergast@itgprop.com       First Class Mail and Email
29784778 MS Packaging and Supply Corp.                          50 Rocky Point Yaphank Road              Rocky Point                 NY            11778                                                              First Class Mail
29784779 MSG94, II,LLC                                          32680 Northwestern Highway,              Farmington                  MI            48334                                                              First Class Mail
29784780 MTM Ventures, LLC                                      1116 Patton Avenue                       Asheville                   NC            28806                                                              First Class Mail
                                                                c/o Kin Properties, 185 NW Spanish
29784781 Muffrey LLC                                            River Blvd., Suite 100                   Boca Raton                  FL            33431                                                              First Class Mail
29784782 Muhammad Kamran Awan                                   14‐A Oak Branch Drive                    Greensboro                  NC            27407                                                              First Class Mail
29629492 MULLENLOWE US INC                                      40 BROAD STREET                          Boston                      MA            02109                                                              First Class Mail
29791300 Mun Pets, LLC                                          16121 Haddam Ln                          Westfield                   IN            46062                                                              First Class Mail
                                                                c/o Shiner Group LLC, 3201 Old
29777513 Mundelein 83 LLC                                       Glenview Road, Suite 235                 Wilmette                    IL            60091                                                              First Class Mail
29790919 Mundy Street Square, L.P.                              1140 Route 315                           Wilkes‐Barre                PA            18702                                                              First Class Mail
29777515 MUNTECH PRODUCTS, INC.                                 1010 OBICI INDUSTRIAL BLVD.              SUFFOLK                     VA            23434                                                              First Class Mail
29777516 Musca Properties LLC                                   1300 E. 9th St.                          Cleveland                   OH            44114                                                              First Class Mail
29790920 Muscle Elements Inc.                                   6500 West Rogers Cir                     Boca Raton                  FL            33487                                                              First Class Mail
29777518 Muscle Foods USA                                       701 Hudson Ave.,                         SCRANTON                    PA            18504                                                              First Class Mail
29777519 Muscle Warfare, Inc.                                   3133 Fortune Way Ste 15                  Wellington                  FL            33414                                                              First Class Mail
29790921 MusclePharm Corp                                       4721 Ironton St.                         DENVER                      CO            80237                                                              First Class Mail
29777521 Mushroom Wisdom, Inc.                                  1 Madison Street, Bldg. F‐6              East Rutherford             NJ            07073                                                              First Class Mail
29777522 MW Management, Inc.                                    600 South Jefferson Street, Suite M      Athens                      AL            35611                                                              First Class Mail
29783717 My Matcha Life Products Inc                            108‐1857 West 4th Avenue,                Vancouver                   BC            V6J 1M4          Canada                                            First Class Mail
29784784 MYA Ventures, Inc.                                     43 Village Way, Suite 204                Hudson                      OH            44236                                                              First Class Mail
29784785 MyChelle Dermaceuticals LLC                            1301 Courtesy Rd,                        Louisville                  CO            50027                                                              First Class Mail
29784786 N & B, LLC                                             5681 E 56th Ave                          BIRMINGHAM                  AL            35202                                                              First Class Mail
29784787 N & P Realty Associates, LLC                           P.O. Box 590291,                         Newton Centre               MA            02459                                                              First Class Mail
29605973 N & R PASTOR LLC                                       2617 BEACON HILL                         Auburn Hills                MI            48326                                                              First Class Mail

29784789 N&S Developments 1, LLC                                7216 Southampton Lane                    West Chester Township       OH            45069                                                              First Class Mail

29784790 N&S Developments 2, LLC                                7216 Southampton Lane                    West Chester Township       OH            45069                                                              First Class Mail

29784791 N&S Developments 3, LLC                                7216 Southampton Lane                    West Chester Township       OH            45069                                                              First Class Mail
29784792 NAC Marketing Company, LLC                             95 Executive Dr., Suite 14               Edgewood                    NY            11717                                                              First Class Mail

                                                                c/o Centrecorp Management Services
29784793 NADG/SG Riverdale Village LP                           LLLP, 12761 Riverdale Blvd., Suite 104   Minneapolis                 MN            55448                                                              First Class Mail



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ADRID                                    NAME                                    ADDRESS                        CITY                 STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
29784794 Naked Earth, Inc.                                        PO Box 245                           Katonah                  NY            10536                                       First Class Mail
29784795 Naked Whey, Inc.                                         475 Brickell Ave #5408               Miami                    FL            33131                                       First Class Mail
29784796 NARS Capital LLC                                         3 Grace Court                        Plainsboro Township      NJ            08536                                       First Class Mail
29790922 National Delivery Systems, Inc.                          7021 Columbia Gateway Drive          Columbia                 MD            21046                                       First Class Mail
29790474 National Retail Properties, Inc.                         450 S. Orange Ave.                   Orlando                  FL            32801                                       First Class Mail
29777524 Nationwide Litho, Inc.                                   11728 Goldring Road                  Arcadia                  CA            91006                                       First Class Mail
29777525 Natren Inc.                                              3105 Willow Lane                     Westlake Village         CA            91361                                       First Class Mail
29790923 Natrient LLC                                             10624 S. Eastern Ave.                HENDERSON                NV            89052                                       First Class Mail
29777527 Natrol, Inc.                                             21411 Prairie Street                 Chatsworth               CA            91311                                       First Class Mail
29777528 NATULIQUE                                                27 BLAKE AVE.,                       LYNBROOK                 NY            11563                                       First Class Mail
29777529 Natural Alternatives International, Inc.                 PO BOX 149348                        Austin                   TX            78714                                       First Class Mail
29777530 Natural Chemistry L.P.                                   40 Richards Avenue                   Norwalk                  CT            06854                                       First Class Mail
29777531 Natural Dynamix Inc.                                     6351 Chalet Dr                       Los Angeles              CA            90040                                       First Class Mail
29777532 Natural Factors Nutritional Products Inc.                1111 80th St SW Suite 100            Everett                  WA            98203                                       First Class Mail
29777533 Natural Health International                             224 6th Street,                      SAN FRANCISCO            CA            94103                                       First Class Mail
29784797 Natural Health Partners, LLC                             125 SW 3rd Place                     Cape Coral               FL            33991                                       First Class Mail
29784798 Natural Motives LLC                                      P.O. Box 5265                        Miami                    FL            33256‐5265                                  First Class Mail
29784799 Natural Organics, Inc.                                   548 Broadhollow Road                 Melville                 NY            11747                                       First Class Mail
29784800 Natural Path / Silver Wings                              P.O. Box 210469                      Nashville                TN            37221                                       First Class Mail
29784801 Natural Sources                                          P.O. Box 4298,                       SAN CLEMENTE             CA            92674                                       First Class Mail
29784802 Natural Vitality                                         8500 Shoal Creek Blvd., Suite 208,   AUSTIN                   TX            78757                                       First Class Mail
29784803 Natural‐Immunogenics Corp.                               3265 W. McNab Rd.                    Pompano Beach            FL            33069                                       First Class Mail
29784804 Naturally Uncommon, LLC                                  14 Industrial Way Unit A             Atkinson                 NH            03811                                       First Class Mail
29790924 NaturaNectar LLC                                         1560 Sawgrass Coporate Pkwy          Sunrise                  FL            33323                                       First Class Mail
29784806 Nature Delivered, Inc.                                   36 West 25th Street                  New York                 NY            10010                                       First Class Mail
29784807 Nature's Answer                                          75 Commerce Drive                    Hauppauge                NY            11788                                       First Class Mail
29784808 Nature's Fusions, LLC                                    1405 W 820 N                         Provo                    UT            84601                                       First Class Mail
29784809 Nature's Godfather LLC                                   405 Waltham St. #168                 Lexington                MA            02421                                       First Class Mail
29777534 Nature's Sources, LLC                                    5665 W. Howard Street                Niles                    IL            60714                                       First Class Mail
29777535 Nature's Stance                                          13135 Danielson St Ste 211           Poway                    CA            92064                                       First Class Mail
29777536 Nature's Value, Inc.                                     468 Mill Road                        Coram                    NY            11727                                       First Class Mail
29777537 NaturMed Inc.                                            661 E. Howards Rd, Suite C           Camp Verde               AZ            86322                                       First Class Mail
29790925 Navitas LLC                                              9 Pamaron Way                        NOVATO                   CA            94949                                       First Class Mail
29777539 Nawgan Products, LLC                                     300 Hunter Ave. Ste #102             St. Louis                MO            63124                                       First Class Mail
29777540 NBTY                                                     2100 SMITHTOWN AVENUE,               RONKONKOMA               NY            11779                                       First Class Mail
29777541 Ndal Manufacturing Industries Inc.                       P.O. Box 2273                        Columbus                 GA            31902                                       First Class Mail
29625337 NDF III MJ Crossing LLC                                  1391 Speer Blvd Ste 800              Denver                   CO            80204                                       First Class Mail
29777542 NDM Enterprises, LLC                                     45243 Daniels Court                  Hollywood                MD            20636                                       First Class Mail
29777543 Needham Chestnut Realty, LLC                             1234 Boylston St.,                   Chestnut Hill            MA            02467                                       First Class Mail

29777544 Nella NT, LLC, Tower NT, LLC, Stephen and Anne NT, LLC   PO Box 1200                          Woodland                 CA            95776                                       First Class Mail
29783718 Nelmar Security Packaging Systems Inc.                   3100 rue des Batisseurs              Terrebonne               QC            J6Y 0A2          Canada                     First Class Mail
29784810 NeoCell Corporation                                      1301 Sawgrass Corporate Parkway,     FORT LAUDERDALE          FL            33323                                       First Class Mail
29784811 Neopost USA Inc.                                         478 Wheelers Farms Road              Milford                  CT            06461                                       First Class Mail
29784812 Netconcepts, LLC                                         2101 91st Street                     North Bergen             NJ            07047                                       First Class Mail
29784813 Netsertive, Inc.                                         2450 Perimeter Park Drive            Morrisville              NC            27560                                       First Class Mail
                                                                  800 Washington Avenue North, Suite
29784814 NetSPI, Inc.                                             670                                  Minneapolis              MN            55401                                       First Class Mail
29784815 Neuliven Health, Inc.                                    10171 Pacific Mesa Blvd, St 302      San Diego                CA            92121                                       First Class Mail
29784816 Never Too Hungover, LLC                                  4085 W. Nevso Drive                  Las Vegas                NV            89103                                       First Class Mail
29487504 New Bern Development LLC                                 PO BOX 6309                          Raleigh                  NC            27628                                       First Class Mail
29784817 New Chapter, Inc.                                        90 Technology Drive                  Brattleboro              VT            05301                                       First Class Mail
29791301 New Creek II LLC                                         500 N. Broadway                      Jericho                  NY            11753                                       First Class Mail



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ADRID                                    NAME                  ADDRESS                             CITY                 STATE        POSTALCODE     COUNTRY                      EMAIL            METHOD OF SERVICE
29791302 New Creek LLC                          500 N. Broadway                          Jericho                   NY            11753                                                        First Class Mail
29784820 New Horizons                           43 WEST 42ND ST.                         New York                  NY            10036                                                        First Class Mail
29790926 New Nordic US Inc.                     1000 N.W. Street                         Wilmington                DE            19801                                                        First Class Mail
                                                c/o Brixmor Property Group, 200 Ridge
29784822 New Plan Florida Holdings, LLC         Pike, Suite 100                          Conshohocken              PA            19428                                                        First Class Mail
                                                Miriam Velez, Pete Farr, 200 Ridge Pike,
29649056 New Plan of Arlington Heights, LLC     Suite 100                                Conshohocken              PA            19428                        peter.farr@brixmor.com          First Class Mail and Email
                                                c/o Brixmor Property Group, 200 Ridge
29777546 New Plan Property Holding Company      Pike, Suite 100                          Conshohocken              PA            19428                                                        First Class Mail
29777548 New Wave Enviro Products               6595 S. Dayton, Suite 1000               Denver                    CO            80246                                                        First Class Mail
29622985 New Westgate Mall LLC                  GM: Greg Farrington, 75 Park Plaza       Boston                    MA            02116                        gfarrington@nedevelopment.com   First Class Mail and Email
29777550 NEW WHEY NUTRITION, LLC                5707 DOT COM COURT, SUITE 1079           OVIEDO                    FL            32765                                                        First Class Mail
29777551 New York Bakery of Syracuse Inc        310 Lakeside Road                        Syracuse                  NY            13209                                                        First Class Mail
29777553 Newegg Inc.                            16839 E. Gale Avenue                     City of Industry          CA            91745                                                        First Class Mail
29649057 Newington Corner LLC                   7248 Morgan Road                         Liverpool                 NY            13088                                                        First Class Mail
29649058 Newport Property, LLC                  4016 Grand Avenue, Suite B               Chino                     CA            91710                                                        First Class Mail
29784823 Next Gen Health Solutions, LLC         500 Campus Drive Suite 203               Morganville               NJ            07751                                                        First Class Mail
29790927 Next Step Staffing LLC                 725 RIVER ROAD                           Edgewater                 NJ            07020                                                        First Class Mail
29790928 Nextag                                 PO BOX 620270 S. Carter St.              Okolona                   MS            38860                                                        First Class Mail
29784826 NextFoods, Inc.                        5480 Valmont Suite 250                   Boulder                   CO            80301                                                        First Class Mail
29784827 NGS Global Americas, LLC               2603 Camino Ramon, Suite 200             San Ramon                 CA            94583                                                        First Class Mail
29784828 Nicely Done Industries                 5206‐B Lyngate Ct                        Burke                     VA            22015                                                        First Class Mail
29790929 Nicklaus of Florida, Inc.              4615 Gulf Blvd.                          St. Petersburg            FL            33706                                                        First Class Mail
29784830 Niemann Foods, Inc.                    1501 N. 12th St.                         Quincy                    IL            62301                                                        First Class Mail
29622986 Nine & Mack Enterprises, LLC           42475 Garfield Road                      Clinton Twp.              MI            48038                        jeffbonanni@gmail.com           First Class Mail and Email
29790476 NISC UBP, LLC                          3131 Technology Drive NW                 Mandan                    ND            58554                                                        First Class Mail
29790477 NISC UBP, LLC dba Capturis             3131 Technology Drive NW                 Mandan                    ND            58554                                                        First Class Mail
29790930 Nitro Sports Supplements LLC           1445 N. Fiesta Blvd, STE #100            Gilbert                   AZ            85233                                                        First Class Mail
29784833 Nitta Gelatin NA, Inc.                 598 Airport Blvd., Suite 900             Morrisville               NC            27560                                                        First Class Mail
29784834 NL Chobee Center, LLC                  %SOUTHERN MGMT & DEV                     KNOXVILLE                 TN            37939                                                        First Class Mail
                                                Collections/Legal Dept.‐ Catrina
                                                Brannon,
                                                cbrannon@newmarkmerrill.com, 24025
29649060 NMC Melrose Park, LLC                  Park Sorrento                            Calabasas                 CA            91302                                                        First Class Mail
29777557 NMHG Financial Services, Inc.          2101 91ª STREET                          NORTH BERGEN              NJ            07047                                                        First Class Mail
29777558 NMHG Financial Services, Inc.          2101 91st Street                         North Bergen              NJ            07047                                                        First Class Mail
29791906 NMHG Financial Services, Inc.          PO Box 35701                             Billings                  MT            59107‐5701                                                   First Class Mail
29777559 NNC LLC                                1 City Blvd, West, Suite 1440            Orange                    CA            92868                                                        First Class Mail
29790931 NNN REIT, Inc.                         450 South Orange Avenue                  Orlando                   FL            32801                                                        First Class Mail
29777561 Noble Creek Partners LLC               PO Box 6147                              Fishers                   IN            46038                                                        First Class Mail
29777562 Non‐GMO Project                        1155 N State Street, Suite 502           Bellingham                WA            98225                                                        First Class Mail
                                                Attn: Jeffrey B. Gurian, 1540 E Dundee
29622987 Norcor‐Cadwell Associates LLC          Rd Suite 240                             Palatine                  IL            60074                                                        First Class Mail
29777566 Nordic Naturals, Inc.                  94 Hangar Way                            Watsonville               CA            95076                                                        First Class Mail
29784835 North American Herb & Spice            13900 W. Polo Trail Drive,               LAKE FOREST               IL            60045                                                        First Class Mail
29784836 North Attleboro Marketplace III, LLC   1414 Atwood Avenue,                      Johnston                  RI            02919                                                        First Class Mail
29790932 North Point Village Two, LLC           2964 Peachtree Road                      Atlanta                   GA            30305                                                        First Class Mail
29790933 North San Gabriel, LLC                 80 South Lake Avenue                     Pasadena                  CA            91101                                                        First Class Mail
                                                Attn: Steve Belford, 6649 N. High St.,
29762629 North Sky, LLC                         Ste. LL2                                 Worthington               OH            43085                                                        First Class Mail
29784839 NorthBound Nutrition, LLC              2015 S. Morgan St., Ste. 107             Granbury                  TX            76048                                                        First Class Mail
29791303 Northcliff I‐480 LLC                   30000 Chagrin Blvd.                      Cleveland                 OH            44124                                                        First Class Mail




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ADRID                                    NAME                                 ADDRESS                             CITY                 STATE        POSTALCODE     COUNTRY                      EMAIL       METHOD OF SERVICE
                                                                120 Palencia Village Drive, PMB 105 Box
29784841 Northeast Florida Pet Nutrition, LLC                   177                                     St. Augustine             FL            32095                                                   First Class Mail
29784842 Northglenn Plaza LLC                                   43 Inverness Drive East,                Englewood                 CO            80112                                                   First Class Mail
                                                                120 Palencia Village Drive, PMB 105 Box
29791304 Northridge Crossing L.P.                               177                                     St. Augustine             FL            32095                                                   First Class Mail
                                                                120 Palencia Village Drive, PMB 105 Box
29791305 Northtowne Associates                                  177                                     St. Augustine             FL            32095                                                   First Class Mail
29784845 Northwest Nutritional Foods LLC                        10522 Lake City Way NE, Suite C104      Seattle                   WA            98125                                                   First Class Mail
29791306 Novi Pet Expo                                          1207 W Hawthorne Street                 Arlington Heights         IL            60005                                                   First Class Mail
29777567 NOW Health Group, Inc. dba NOW Foods                   244 Knollwood Drive, Suite 300          Bloomingdale              IL            60108                                                   First Class Mail
                                                                Gina Clifton Lease Admin., 4010 82nd
29623220 NPC 2015, LLCc/o Graco Real Estate Development, Inc.   Street                                  Lubbock                   TX            79423                        gina@gracorealestate.com   First Class Mail and Email
                                                                c/o Last Mile Investments, 212 E 3rd
29777569 NRF ‐ Pennock LLC                                      Street, Suite 200                       Cincinnati                OH            45202                                                   First Class Mail
29790934 Nubreed Nutrition                                      28910 Ave Penn                          VALENCIA                  CA            91355                                                   First Class Mail
29777571 NuGo Nutrition                                         520 SECOND STREET,                      OAKMONT                   PA            15139                                                   First Class Mail
29777572 Nulab, Inc.                                            2151 Logan Street                       Clearwater                FL            33765                                                   First Class Mail
29777573 Nuline Nutritionals, LLC                               112 West 34th, 18th Floor               New York                  NY            10120                                                   First Class Mail
29777574 NuLiv Science USA, Inc.                                255 Paseo Tesoro                        Walnut                    CA            91789                                                   First Class Mail
29777575 Numi Inc. LLC                                          PO Box 20420                            Oakland                   CA            94620                                                   First Class Mail
29777576 Numina Group, Incorporated                             10331 Werch Drive                       Woodridge                 IL            60517                                                   First Class Mail
29790935 NuNaturals Inc                                         2220 W. 2nd Ave                         EUGENE                    OR            97402                                                   First Class Mail
29784847 Nutiva                                                 213 West Cutting Blvd,                  RICHMOND                  CA            94804                                                   First Class Mail
29784848 NutraBio Labs, Inc                                     564 Lincoln Boulevard                   Middlesex                 NJ            08846                                                   First Class Mail
29784849 Nutraceutical Corporation                              1400 Kearns Blvd,                       PARK CITY                 UT            84060                                                   First Class Mail
29784850 NutraFusion Nutritionals                               500 Memorial Dr                         Somerset                  NJ            08873                                                   First Class Mail
29784851 Nutramax Laboratories Consumer Care, Inc.              2208 Lakeside Blvd.                     Edgewood                  MD            21040                                                   First Class Mail
29784852 NutraSky LLC                                           P.O. BOX 6145                           INDIANAPOLIS              IN            46206‐6145                                              First Class Mail
29784853 Nutravail LLC                                          14790 Flint Lee Road                    Chantilly                 VA            20151                                                   First Class Mail
29784854 Nutrawise Corporation                                  9600 Toledo Way,                        IRVINE                    CA            92618                                                   First Class Mail

29784855 Nutrex Hawaii, Inc.                                    73‐4460 Queen Kaahumanu Hwy #102        Kailua‐Kona               HI            96740                                                   First Class Mail
29784856 Nutrex Research, Inc.                                  579 South Econ Circle                   Oviedo                    FL            32765                                                   First Class Mail
29784857 NutriBiotic                                            865 Parallel Dr,                        LAKEPORT                  CA            95453                                                   First Class Mail
29784858 Nutriforce Nutrition                                   14620 NW 60 AVENUE                      MIAMI LAKES               FL            33014                                                   First Class Mail
29784859 NutriGold Inc                                          1467 W 105N,                            OREM                      UT            84057                                                   First Class Mail
29790936 Nutrikel, LLC                                          65 Cardinal Drive                       GLASTONBURY               CT            06033                                                   First Class Mail
29777579 NutriScience Innovations, LLC                          2450 Reservoir Avenue                   Trumbull                  CT            06611                                                   First Class Mail
29777580 Nutrition 53, Inc.                                     3706 Mt. Diablo Blvd.                   Lafayette                 CA            94549                                                   First Class Mail
29777581 Nutrition Training Systems, LLC d/b/a Muscleology      3901 SW 47 AVE # 409                    Davie                     FL            33314                                                   First Class Mail
29777582 Nutritional Brands                                     1610 W. Whispering Wind Drive,          PHOENIX                   AZ            85085                                                   First Class Mail
29777583 Nutritional Supply Corp                                317 Industrial Circle,                  LIBERTY                   TX            77575                                                   First Class Mail
29777584 Nutritional Therapeutics, Inc.                         63 Mall Drive, Suite A                  Commack                   NY            11725                                                   First Class Mail
29606019 NUTRIVO LLC                                            1785 N. EDGELAWN DRIVE                  Aurora                    IL            60506                                                   First Class Mail
29777586 Nuts 'N More                                           10 Almeida Street                       East Providence           RI            02914                                                   First Class Mail
29777587 NUUN and CO. Inc.                                      800 Maynard Ave S Suite 102             Seattle                   WA            98122                                                   First Class Mail
29777588 NuVest Enterprises, LLC                                2670 W. Maple                           Troy                      MI            48084                                                   First Class Mail
29784860 NuWest Logistics, LLC                                  190 East Main Street                    Huntington                NY            11743                                                   First Class Mail
29784861 NuZee, Inc.                                            2865 Scott St #101                      Vista                     CA            92081                                                   First Class Mail
29790937 NWC Naturals Pet Products LLC                          27071 Cabot Rd.                         Laguna Hills              CA            92653                                                   First Class Mail
29784863 Nyla's Pantry, LLC                                     14090 FM 2920, Ste. G551                Tomball                   TX            77377                                                   First Class Mail
29790938 O.J.B. Investment Group LC                             4905 Del Ray Ave.                       Bethesda                  MD            20814                                                   First Class Mail
29790939 O.J.B./AJRE JV, LC                                     4905 Del Ray Ave.                       Bethesda                  MD            20814                                                   First Class Mail




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ADRID                                    NAME                         ADDRESS                              CITY                STATE        POSTALCODE            COUNTRY                      EMAIL               METHOD OF SERVICE
29790481 Oak Forest Group, LTD                          P.O. Box 3449                           Longview                  TX            75606                                                                  First Class Mail
                                                        Attn: Gregory Moross, 302 Datura St.,
29623004 Oak Lawn Joint Venture I, L.L.C.               Suite 100                               West Palm Beach           FL            33401                               gmoross@sterlingorganization.com   First Class Mail and Email
29648844 Oak Park Associates, Inc.                      8954 Hill Drive                         North Huntington          PA            15642                               cnicklow@colonyholding.com         First Class Mail and Email
29784868 Oakville Partners, LLC                         3012 Oakville Woods Court               St. Louis                 MO            63121                                                                  First Class Mail
29784870 Oceanblue LLC                                  6501 Congress Ave,                      BOCA RATON                FL            33487                                                                  First Class Mail
29790940 Oceanside Associates LLC                       591 Stewart Ave.                        Garden City               NY            11530                                                                  First Class Mail
29783698 Octopus Deploy Pty. Ltd.                       Level 4                                 South Brisbane                          QLD 4101         Australia                                             First Class Mail
                                                        c/o Nellis Corporation, 7811 Montrose
29784872 Odenton Shopping Center Limited Partnership    Road, Suite 420                         Potomac                   MD            20854                                                                  First Class Mail
29790482 ODP Business Solutions, LLC                    6600 North Military Trail               Boca Raton                FL            33496                                                                  First Class Mail
29777589 Office Depot, Inc.                             6600 North Military Trail,              Boca Raton                FL            33496                                                                  First Class Mail
29790941 Oglethorpe Associates LLLP                     3300 Cobb Parkway                       Atlanta                   GA            30339                                                                  First Class Mail
29777591 OGR Tanglewood LLC                             141 Robert E. Lee Blvd ‐ 253            New Orleans               LA            70124                                                                  First Class Mail
29777593 Oh My Spice, LLC.                              1599 Superior Ave. Unit B‐3             Costa Mesa                CA            92627                                                                  First Class Mail
29777594 Oil‐Dri Corporation of America                 410 N. Michigan Ave.                    Chicago                   IL            60611                                                                  First Class Mail
29777595 Ola Loa                                        1555 Burke Ave. Unit K,                 SAN FRANCISCO             CA            94124                                                                  First Class Mail
29790942 Old Brandon First Colonial Assoc., LLC         1700 Wells Fargo Center                 Norfolk                   VA            23510                                                                  First Class Mail
29487213 OLD ORCHARD LLC                                603 OAK HILL AVENUE                     HAGERSTOWN                MD            21740                                                                  First Class Mail
29606038 OLEINIK PROPERTY HOLDING CO LLC                PO BOX 1568                             Gillette                  WY            82717                                                                  First Class Mail

29777598 Oliver Wyman Actuarial Consulting, Inc.        1166 Avenue of the Americas, 28th Floor New York                  NY            10036‐2708                                                             First Class Mail
29790943 Olivina Napa Valley LLC                        3343 Aspen Grove Drive                  Franklin                  TN            37067                                                                  First Class Mail
29790944 Olly Public Benefit Corporation                1169 Gorgas Ave.                        SAN FRANCISCO             CA            94129                                                                  First Class Mail
29790945 Olympian Labs                                  16641 N 91st Street                     SCOTTSDALE                AZ            85260                                                                  First Class Mail
29784875 Omega Products, Inc.                           3355 Enterprise Avenue, Suite 160       Fort Lauderdale           FL            33331                                                                  First Class Mail

                                                        Cybertech House, Ground Floor, J B
29790946 OmniActive Health Technologies Ltd             Sawant Marg, Wagle Industrial Estate    Thane (West)              MH            400604           India                                                 First Class Mail
                                                        Phoenix House, Fifth Floor, 462, S B
29790947 OmniActive Health Technologies Ltd             Marg, Lower Parel                       Mumbai                                  400 013          India                                                 First Class Mail
29784876 Omojo Health USA Inc.                          333 North Hill Blvd.                    Burlington                WA            98233                                                                  First Class Mail
29790485 On Demand Technologies, Inc. (d/b/a OneRail)   8427 Southpark Circle SW                Orlando                   FL            32819                                                                  First Class Mail
29790948 On Shelf Availability Retail Services (OSA)    201 S 19TH ST                           Rogers                    AR            72758                                                                  First Class Mail
29784878 OnDemand Resources, LLC                        5863 Free Union Rd                      Free Union                VA            22940                                                                  First Class Mail
29784879 One Continental Avenue Corp.                   43‐29 Bell Boulevard,                   Queens                    NY            11361                                                                  First Class Mail
29625481 One Home Realty, Inc.                          16617 Hwy 71                            Savannah                  MO            64485                                                                  First Class Mail
29602375 One Land Company, LLC                          215 Union St Ste 400                    Jonesboro                 AR            72401                                                                  First Class Mail
29784880 One Point Logistics, Inc.                      159 4th Avenue North                    Nashville                 TN            37219                                                                  First Class Mail
29784881 One Source Technology, LLC dba Asurint         1111 Superior Avenue                    Cleveland                 OH            44114                                                                  First Class Mail
29784882 Onello Innovations, Inc.                       2745 Bankers Industrial                 Atlanta                   GA            30360                                                                  First Class Mail
29784883 OneStream Software LLC                         362 South Street                        Rochester                 MI            48307                                                                  First Class Mail
29790486 Onix Networking Corp.                          1991 Crocker Road                       Westlake                  OH            44145                                                                  First Class Mail
29784884 Only Natural, Inc.                             31 Saratoga Blvd                        Island Park               NY            11558                                                                  First Class Mail
29784885 Only What You Need, Inc.                       100 Passaic Avenue, Suite 100           Fairfield                 NJ            07004                                                                  First Class Mail
29790949 Onnit Labs                                     4401 Freidrich Lane                     AUSTIN                    TX            78744                                                                  First Class Mail
29777601 Onnit Labs, LLC                                4401 Freidrich Lane Suite 302           Austin                    TX            78744                                                                  First Class Mail
29790488 OnPoint Warranty Solutions LLC                 1400 Main St.                           Clarksville               IN            47129                                                                  First Class Mail
29777602 Ontario Refrigeration Service, Inc.            5824 South 25th Street                  Phoenix                   AZ            85040                                                                  First Class Mail
29777603 Oona Health                                    803 WASHINGTON STREET,                  NEW YORK                  NY            10014                                                                  First Class Mail
29783720 Opterus Inc.                                   525 Adelaide St. W                      Toronto                   ON            M5V ON7          Canada                                                First Class Mail
29629579 OPTIMIZE HIRE LLC                              7413 SIX FORKS ROAD, #144               Raleigh                   NC            27615                                                                  First Class Mail
29777605 Optimizely, Inc.                               631 Howard Street, Suite 100            San Francisco             CA            94105                                                                  First Class Mail




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ADRID                                    NAME                           ADDRESS                             CITY                STATE        POSTALCODE            COUNTRY                      EMAIL       METHOD OF SERVICE
29777606 Optimum Nutrition                                975 Meridian Lake Drive              Aurora                      IL            60504                                                          First Class Mail
29777607 Option Three Consulting Pvt. Ltd.                2101 915 St.                         North Bergen                NJ            07047                                                          First Class Mail
29777608 Optiv Security Inc.                              17197 N. Laural Park Drive           Livonia                     MI            48152                                                          First Class Mail
29777609 Optiv Security Inc.                              300 Harmon Meadow Blvd               Secaucus                    NJ            07094                                                          First Class Mail
29784886 Optiv, Inc.                                      1144 15th St.                        Denver                      CO            80202                                                          First Class Mail
29784887 Oracle                                           PO BOX 203448                        Dallas                      TX            75320‐3448                                                     First Class Mail
29784888 OracleAmerica, Inc.                              500 Oracle Parkway                   Redwood Shores              CA            94065                                                          First Class Mail
29784889 Oral Essentials, Inc.                            436 N. Roxbury Drive, Suite #202     Beverly Hills               CA            90210                                                          First Class Mail
29784890 Orange Peel Enterprises, Inc.                    2183 Ponce de Leon Circle            Vero Beach                  FL            32960                                                          First Class Mail
29784891 Orange‐WNW, LLC                                  26 Carriage Lane                     Troutville                  VA            24011                                                          First Class Mail
29784892 ORB Life Sciences, LLC                           221 S. Cherokee Street               Denver                      CO            80223                                                          First Class Mail
29629584 ORCHARD HILL PARK LLC                            83 ORCHARD HILL PARK DRIVE           Leominster                  MA            01453                                                          First Class Mail
                                                          Attn: David Dworkin, c/o JADD
29784894 Orchard ParkTK Owner LLC                         Management LLC, 415 Park Avenue      Rochester                   NY            14607                                                          First Class Mail
29784895 OrderGroove, Inc.                                75 Broad St., 23rd Floor             New York                    NY            10004                                                          First Class Mail
29784896 Oregon's Wild Harvest                            39831 HWY 26                         Sandy                       OR            97055                                                          First Class Mail
                                                          c/o Parth Munshi, General Counsel,
29784897 ORF IX Freedom Plaza, LLC                        5865 North Point PKWY, Ste 345       Alpharetta                  GA            30022                                                          First Class Mail
29784898 Orgain, Inc.                                     PO Box 4918                          Irvine                      CA            92616                                                          First Class Mail
29777611 Organic Food Bar, Inc.                           209 South Stephanie Street, B235     Henderson                   NV            89012                                                          First Class Mail
29777612 ORGANIC INDIA USA                                944 PEARL ST,                        BOULDER                     CO            80302                                                          First Class Mail
29777613 Organifi LLC                                     7535 Metropolitan Dr,                SAN DIEGO                   CA            92108                                                          First Class Mail
29777614 Origin Labs                                      946 US RT 2                          Wilton                      ME            04294                                                          First Class Mail
29777615 Orion, LLC                                       17863 170th Avenue, Suite 101        Spring Lake                 MI            49456                                                          First Class Mail
29777617 Orkin Pest Control                               10813 MIDLOTHIAN TURNPIKE            NORTH CHESTERFIELD          VA            23235                                                          First Class Mail
29791907 Osgood Bank                                      275 W Main Street, P.O. Box 69       Osgood                      OH            45351                                                          First Class Mail
29777618 Otava                                            825 Victors Way                      Ann Arbor                   MI            48108                                                          First Class Mail
         OU UNION OF ORTHODOX JEWISH CONGREGATIONS OF
29790540 AMERICA                                      11 Broadway                              New York                    NY            10004                                                          First Class Mail
29790950 Outer Drive 39 Development Co. LLC           One Town Square                          Southfield                  MI            48076                                                          First Class Mail
                                                      Max Garcia, 259 Turnpike Road, Suite
29648846 Oxford Crossing LLC                          100                                      Southborough                MA            01772                               propertymgr@cgpllc.net     First Class Mail and Email
29784899 Oxford Valley Road Associates                PO Box 935775                            Atlanta                     GA            30354                                                          First Class Mail
29784900 OxyLife Nutritional Supplements Inc.         P.O. Box 6451                            Chula Vista                 CA            91909                                                          First Class Mail
29602372 P&H Investments, LLC                         P.O. BOX 16787                           Jonesboro                   AR            72403                                                          First Class Mail
29784901 Pacific Health Labs                          100 Matawan Road Suite 150               Matawan                     NJ            07747                                                          First Class Mail
29790951 Pacific National Group, LLC                  2400 South Blvd.                         Charlotte                   NC            28202                                                          First Class Mail
29784903 Pacific World Corp.                          25800 Commercentre Drive                 Lake Forest                 CA            92630                                                          First Class Mail
29790952 Pacific/DSLA No.2                            One Corporate Plaza                      Newport Beach               CA            92660                                                          First Class Mail
29790953 Pacific/Youngman‐Woodland Hills              One Corporate Plaza                      Newport Beach               CA            92568                                                          First Class Mail
29479642 Pacifica Muskegon, LLC                       1775 HANCOCK ST #200                     San Diego                   CA            92110                                                          First Class Mail
29784906 Pacificore Construction                      18201 MCDURMOTT W STE B                  Irvine                      CA            92614                                                          First Class Mail
29784907 Pack Leader, LLC                             58734 Swing Beam Court                   South Lyon                  MI            48178                                                          First Class Mail
29790954 Package All Corp                             730 BEV ROADSUITE 2                      Boardman                    OH            44512                                                          First Class Mail
29784909 Package All Corporation                      655 Church Street                        Bayport                     NY            11705                                                          First Class Mail
29790955 Packaging Corporation of America             PO BOX 12406                             Newark                      NJ            07101‐3506                                                     First Class Mail
29784911 PAD4 PAD6 VV LLC                             6305 Gayton Place,                       Malibu                      CA            90265                                                          First Class Mail
29777622 Pahrump Group, LLC                           8901 Tierra Santa Ave.                   Las Vegas                   NV            89129                                                          First Class Mail
29791307 Paint Creek South LLC                        24255 West 13 Mile Road                  Bingham Farms               MI            48025                                                          First Class Mail
29783721 Paleo Ethics Inc.                            3318 Second Street                       Cornwall                    ON            KWH658           Canada                                        First Class Mail
29776529 PaleoEthics Inc.                             3318 Second Street                       Cornwall                    ON            KG#658           Canada                                        First Class Mail
29790491 Palladio US, LLC                             P.O. Box 10872                           West Palm Beach             FL            33419                                                          First Class Mail




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ADRID                                    NAME                               ADDRESS                             CITY                STATE        POSTALCODE     COUNTRY                    EMAIL             METHOD OF SERVICE
                                                                                                                                                                          IRex@nedevelopment.com;
                                                              Office Mgr.‐ Irma Rex, 75 Park Plaza,                                                                       jschultz@nedevelopment.com;
29651055 Palm Beach Outlets I, LLC                            Attn: Diane MacMillan                   Boston                   MA            02116                        dmacmillan@nedevelopment.com   First Class Mail and Email
                                                              c/o Acadia Realty Trust, 411 Theodore
29777625 Palm Coast Landing Owner LLC                         Fremd Avenue, Suite 300                 New York City            NY            10580                                                       First Class Mail
29790956 Palm Springs Mile Associates, LTD.                   419 West 49th Street                    Hialeah                  FL            33012                                                       First Class Mail
29777627 Pantera LLC                                          PO BOX 26657                            Scottsdale               AZ            85255                                                       First Class Mail
29777628 Panther Pets LLC                                     4343 Logan Ferry Road                   Murrysville              PA            15668                                                       First Class Mail
29777629 Panthera Pharmaceuticals                             11 A Lincoln Street,                    COPIAGUE                 NY            11726                                                       First Class Mail

29777630 Paoli Shopping Center Limited Parnership, Phase II   1301 Lancaster Ave.,                    Berwyn                   PA            19312                                                       First Class Mail
29790957 Papa & Barkley Essentials, LLC                       303 S Broadway                          Denver                   CO            80209                                                       First Class Mail
29777631 Papa & Barkley, Essentials, LLC                      303 S Broadway, Suite 200‐320,          DENVER                   CO            80209                                                       First Class Mail
         Papou Varvavas Anastasia Realty Trust u/a dated
29790958 September 23, 2020                                   Estelle Valsamis                        Memphis                  TN            38137                                                       First Class Mail
29784912 Paracelsus Labs Inc.                                 PO Box 7277                             Boulder                  CO            80306                                                       First Class Mail
29790959 Paradise Herbs & Essentials                          19051 Goldenwest St.                    HUNTINGTON BEACH         CA            92648                                                       First Class Mail
29784914 Paragon Pet Supplies, LLC                            30570 Park Vista Dr.                    Castaic                  CA            91384                                                       First Class Mail
29784915 Paragon School of Pet Grooming, Inc.                 110 Chicago Drive                       Jenison                  MI            49428                                                       First Class Mail
29784916 Paramount Beauty Distributing Associates Inc.        41 Mercedes Way Unit 34                 Edgewood                 NY            11717                                                       First Class Mail
                                                              c/o Paramount Newco Realty, 1195 Rt
29784917 Paramount Crossroads at Pasadena, LLC                70, Suite 2000                          Lakewood                 NH            08701                                                       First Class Mail
29784918 Parfums de Coeur, Ltd.                               6 High Ridge Park Floor C2              Stamford                 CT            06902                                                       First Class Mail
29784919 Paridiso 2911 LLC                                    241 McKinley Ave.                       Grosse Pointe Farms      MI            48236                                                       First Class Mail
                                                              C/O SSG MANAGEMENT LLC, 204 N
29784921 Park Place Technologies                              HOWARD                                  TAMPA                    FL            33606                                                       First Class Mail
                                                              c/o Knorr Management, Inc., 5525
29606067 PARKER PLACE GROUP LLC                               Rebecca Way                             Corning                  CA            96021                                                       First Class Mail

29784923 Parkridge Center Retail, LLC                         c/o Willard Retail, 4800 Hampden Lane   Bethesda                 MD            20814                                                       First Class Mail
29623233 PARM Golf Center, LLC                                1296 Rickert Drive, Suite 200           Naperville               IL            60540                                                       First Class Mail
29777634 Partnership Staffing Incorporated                    PO BOX 823461                           Philadelphia             PA            19182‐3461                                                  First Class Mail
29790960 Pasadena Hastings Center                             15250 Ventura Blvd.                     Sherman Oaks             CA            91403                                                       First Class Mail
29777636 Patts Pets, Inc.                                     9290 Cherry Brook Lane                  Frisco                   TX            75034                                                       First Class Mail
29790537 Pauhana Associates Limited                           194 Pugua Street                        Dededo                   Guam          96929                                                       First Class Mail
29777638 PAUL Naturals Pet Product                            27011 Cabot Rd # 117                    Laguna Hills             CA            92683                                                       First Class Mail
29790961 Pauling Labs Inc                                     4550 Birch‐bay Lynden Road              BLAINE                   WA            98230                                                       First Class Mail
29777640 Paw & Tails, Inc.                                    14 Oak Branch Drive, Suite A            Greensboro               NC            27407‐2120                                                  First Class Mail
29777641 Pawfect Pals, LLC                                    9420 Red Spruce Way                     Elk Grove                CA            95624                                                       First Class Mail
29777642 Pawsitive Return ‐ Marietta, LLC                     2037 Towne Lake Hills West              Woodstock                GA            30189                                                       First Class Mail
29777643 Pawsitive Return, LLC                                2037 Towne Lake Hills West              Woodstock                GA            30189                                                       First Class Mail
29784924 Pawsitively Pets LLC                                 103 S. 29th St.                         Wilmington               NC            28403                                                       First Class Mail
29784925 Pawsome Pets Okemos, LLC                             541 Wenonah Drive                       Okemos                   MI            48864                                                       First Class Mail
29784926 Pawsome Pets Plus, LLC                               541 Wenonah Drive                       Okemos                   MI            48864                                                       First Class Mail
29784927 Pawternity Leave Inc.                                1345 Grape Street                       Denver                   CO            80220                                                       First Class Mail
29790962 Paychex of New York LLC                              GENERAL POST OFFICE                     New York                 NY            10087‐9769                                                  First Class Mail
29784929 Paychex, Inc.                                        911 Panorama Trail South                Rochester                NY            14625                                                       First Class Mail
29784930 PAYCOM PAYROLL, LLC                                  7501 W Memorial Road                    Oklahoma City            OK            73142                                                       First Class Mail
29606074 PAYFLEX SYSTEMS USA INC                              10802 FARNAM DRIVE, SUITE 100           Omaha                    NE            68154                                                       First Class Mail
29784932 Payment Processing Services, LLC                     236 Carmichael Way, Suite 300           Chesapeake               VA            23322                                                       First Class Mail
29784934 Paymentech, LLC                                      14221 Dallas Parkway                    Dallas                   TX            75254                                                       First Class Mail
29790963 Paymentech, LLC                                      4 Northeastern Boulevard                Salem                    NH            03079                                                       First Class Mail
29784933 Paymentech, LLC                                      8181 Communications Parkway             Plano                    TX            75024                                                       First Class Mail




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ADRID                                    NAME                                    ADDRESS                               CITY                 STATE        POSTALCODE            COUNTRY                     EMAIL            METHOD OF SERVICE
         Paymentech, LLC for itself and on behalf of JPMorgan
29784936 Chase Bank, N.A.                                          8181 Communications Pkwy               Plano                        TX            75024                                                              First Class Mail
                                                                   Brunswick House, 44 Chipman Hill Suite
29776530 PayPal CA Limited                                         1000                                   Saint John                   NB            E2L 2A9          Canada                                            First Class Mail

29777644 PayPal, Inc.                                              eBay Park North, 2211 North First Street San Jose                   CA            35131                                                              First Class Mail
29777645 PBC Seguin, LLC                                           PO Box 19831                             Houston                    TX            77224                                                              First Class Mail
29777646 PC Connection Sales Corp.                                 730 Milford Road                         Merrimack                  NH            03054‐4631                                                         First Class Mail
         PC San Ysidro PB, LLC, PC International PB, LLC, and PC
29623235 Iagio PB, LLC                                             2601 Main Street                         Irvine                     CA            92614                                                              First Class Mail
29790964 PCCP/LDC Pearl Kai LLC                                    98‐199 Kamehameha Hwy.                   Aiea                       HI            96701                                                              First Class Mail
29791308 PDQ Israel Family Northtowne, LLC                         5300 W. Atlantic Avenue                  Delray Beach               FL            33484                                                              First Class Mail
         Peabody Center LLC, Chase Decatur LLC, and London         3333 Richmond Road Suite 320, Suite
29623237 Development Ltd.                                          320                                      Beachwood                  OH            44122                                                              First Class Mail
29777652 Peaceful Mountain, Inc.                                   201 Apple Blvd                           Woodbine                   IA            51579                                                              First Class Mail
29790965 Pear                                                      5995 Wilcox Place Suite A                Dublin                     OH            43016                                                              First Class Mail
29777654 Pear Therapeutics                                         1000 W. Maude Ave                        Sunnyvale                  CA            94085                                                              First Class Mail
29784937 Pear Therapeutics, Inc.                                   55 Temple Place, 3rd Floor               Boston                     MA            02111                                                              First Class Mail
                                                                   Dan Durr, 9500 Front Street South, Suite
29623238 Pearl Street Retail, T.I.C.                               200                                      Lakewood                   WA            98499                                                              First Class Mail
29784939 Peico, Inc.                                               16366 COLLECTION CENTER DRVIE            Chicago                    IL            60693                                                              First Class Mail
29629615 PELCO INC                                                 16366 COLLECTION CENTER DRVIE            Chicago                    IL            60693                                                              First Class Mail
29784941 PENformance                                               905 Shotgun Rd                           Sunrise                    FL            33326                                                              First Class Mail
29784942 Penta Water LLC                                           1601 E. Steel Road,                      COLTON                     CA            92324                                                              First Class Mail
29784943 Pentex Franchises, LLC                                    1345 George Jenkins Blvd.                Lakeland                   FL            33815                                                              First Class Mail
29629619 PERCEPTYX INC                                             28765 SINGLE OAK DRIVE, #250             Temecula                   CA            92590                                                              First Class Mail
29784945 Perfect Shaker Inc.                                       369 Lang Blvd                            Grand Island               NY            14072                                                              First Class Mail
29784946 Perficient                                                BOX 207094                               Dallas                     TX            75320‐7094                                                         First Class Mail
29790966 Perficient, Inc.                                          520 Maryville Centre Drive               St. Louis                  MO            63141                                                              First Class Mail
29790967 Perficient, Inc.                                          555 Maryville University Dr.             St. Louis                  MO            63141                                                              First Class Mail
29784949 Performance Brands                                        905 SHOTGUN RD.,                         FORT LAUDERDALE            FL            33326                                                              First Class Mail
29777655 PERFORMIX, LLC                                            221 South Cherokee Street                Denver                     CO            80223                                                              First Class Mail
29777656 Personal Zoo Supply, Inc.                                 1517 Lakeview Ave.                       Sylvan Lake                MI            48320                                                              First Class Mail
29777657 Pervine Foods, LLC                                        111 Terence Drive                        Pittsburgh                 PA            15236                                                              First Class Mail
29776531 Pestell Pet Products                                      141 Hamilton Road                        New Hamburg                              N3A 2H1          Canada                                            First Class Mail
29777658 Pet Blessing, Inc.                                        824 Woodington Drive                     Pataskala                  OH            43062                                                              First Class Mail
29791309 Pet Blitz, LLC                                            824 Woodington Drive                     Pataskala                  OH            43062                                                              First Class Mail
29777660 Pet Brands, LLC                                           425 Metro Place North                    Dublin                     OH            43017                                                              First Class Mail
29777661 Pet Bridge, Inc.                                          521 Potomac Road                         Joppatowne                 MD            21085                                                              First Class Mail
29777662 PET FACTORY, INC.                                         845 EAST HIGH STREET                     MUNDELEIN                  IL            60060                                                              First Class Mail
29777663 Pet Joy Baytown, LLC                                      4618 Stoney Ridge Court                  Sugar Land                 TX            77479                                                              First Class Mail
29777664 Pet Joy, LLC                                              4618 Stoney Ridge Court                  Sugar Land                 TX            77479                                                              First Class Mail
29777665 Pet Maab, Inc                                             15 Stirrup Lane                          Salonga                    NY            11768                                                              First Class Mail
29777666 Pet Plus Love, L.L.C                                      21 Cedar Grove Court                     Rosedale                   MD            21237                                                              First Class Mail
29784950 Pet Stark LLC                                             134 Derby Lane                           Bensalem                   PA            19020                                                              First Class Mail
29784951 Pet Supplies Plus Dallas II, LLC                          17863 170th Avenue, Suite 101            Spring Lake                MI            49456                                                              First Class Mail
29784952 Pet Supplies Plus Dallas, LLC                             17863 170th Avenue, Suite 101            Spring Lake                MI            49456                                                              First Class Mail
29784953 Pet Supplies Plus of Connecticut 203, LLC                 60 Orchard Road                          Woodbridge                 CT            06525                                                              First Class Mail
                                                                   Registered Agents, Inc., 7901 4th Street
29784954 Petcetera, Inc.                                           N, Suite 300                             St. Petersburg             FL            33702                                                              First Class Mail
29623239 Peters Development, LLC                                   645 N. Main Street                       High Point                 NC            27260                               dan@petersdevelopmentllc.com   First Class Mail and Email
29784956 PetIQ, LLC                                                230 East Riverside Drive                 Eagle                      ID            83616                                                              First Class Mail
29784957 Pets, Inc.                                                3858 Wabeek Lake Drive E                 Bloomfield Hills           MI            48302                                                              First Class Mail




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ADRID                                    NAME                          ADDRESS                           CITY                 STATE        POSTALCODE            COUNTRY                      EMAIL                       METHOD OF SERVICE
29784958 Pets4ever LLC                                   5541 Satinleaf Way                      San Ramon               CA            94582                                                                          First Class Mail
29784959 Petsway, Inc.                                   1669 St. Louis St.                      Springfield             MO            65802                                                                          First Class Mail
29648836 Pettinaro Management LLC                        234 North James St.                     Newport                 DE            19804                                                                          First Class Mail
29625523 PFW LLC (Eagle Capital Corporation)             PO Box 4215                             Tupelo                  MS            38803                                                                          First Class Mail
29649066 PHD @ Western, LLC                              14768 Enclave Lakes Drive               Delray Beach            FL            33484                                                                          First Class Mail
29776532 PhD Nutrition Inc                               19100 Airport Way #105,                 Pitt Meadows            BC            V3Y0E2           Canada                                                        First Class Mail
29777667 Phi Drinks, Inc.                                1855 Industrial St. #110                Los Angeles             CA            90021                                                                          First Class Mail
29777668 Philips Lighting North America Corporation      200 Franklin Square Drive               Somerset                NJ            08873                                                                          First Class Mail
29790968 Phoenicia Development, LLC                      3700 34th Street                        Orlando                 FL            32805                                                                          First Class Mail
29777671 Phoenix Fence Company                           PO BOX 21183                            Phoenix                 AZ            85036‐1183                                                                     First Class Mail
29790969 Phoenix Formulations, LLC                       4551 West 21st Street                   Tempe                   AZ            85282                                                                          First Class Mail
29622991 Phoenixville Town Center LP                     1055 Westlakes Dr., Ste 170             Berwyn                  PA            19312                                                                          First Class Mail
29791310 Phrasee Limited                                 Tintagel House                          London                                SE1 7TY          United Kingdom                                                First Class Mail
29777674 PHYLE INVENTORY CONTROL SPECIALISTS             4150 GRANGE HALL RD.                    Holly                   MI            48442                                                                          First Class Mail
29777675 Physical Enterprises, Inc.                      2101 91st Street                        North Bergen            NJ            07047                                                                          First Class Mail
29776533 Physical Enterprises, Inc.                      302‐2930 Arbutus St.                    Vancouver               BC            V6J 3Y9          Canada                                                        First Class Mail
29606085 PIER 1 SERVICES COMPANY                         100 PIER 1 PLACE                        Fort Worth              TX            76102                                                                          First Class Mail
29777677 Pierce RTO Enterprises, LLC                     106B Rock Quarry Road                   Stockbridge             GA            30281                                                                          First Class Mail
29784962 PinckDenny LLC                                  9924 Sorrel Avenue                      Potomac                 MD            20854                                                                          First Class Mail
29784963 Pines International, Inc.                       1992 East 1400 Road                     Lawrence                KS            66044                                                                          First Class Mail
29784964 Pinterest, Inc.                                 808 Brannan Street                      San Francisco           CA            94103                                                                          First Class Mail
29790970 PiperWai LLC                                    1430 Walnut St.                         PHILADELPHIA            PA            19102                                                                          First Class Mail
29784966 Pitney Bowes Inc.                               3001 Summer Street                      Stamford                CT            06926                                                                          First Class Mail
29776534 Pivotree Inc.                                   6300 Northam Drive                      Mississauga             ON            L4V 1H7          Canada                                                        First Class Mail
29784967 PJJD L.L.C.                                     1401 Wilderness Dr.                     Schererville            IN            46375                                                                          First Class Mail
29784968 PJS HOLDINGS LLC                                8 Greenfield Road,                      Syosset                 NY            11791                                                                          First Class Mail
29784969 PJUR GROUP USA, LLC                             1680 Michigan Ave Str. 920              Miami Beach             FL            33139                                                                          First Class Mail
29790971 PK I LA Verne Town Center LP                    500 North Broadway                      Jericho                 NY            11753                                                                          First Class Mail
29649071 PK II EL Camino North LP                        500 North Broadway, Suite 201           Jericho                 NY            11753                                                                          First Class Mail
                                                         c/o Kimco Realty Corporation, 500 North
29784971 PK II EL Camino North LP                        Broadway, Suite 201                     Jericho                 NY            11753                                                                          First Class Mail
                                                         New LL as of 3/10/15 Debbie Keating
                                                         Property Mgt Rhonda Fox Tenant
                                                         Account Analyst, 500 North Broadway,                                                                              dkeating@kimcorealty.com;
29649072 PL Dulles LLC                                   Suite 201                               Jericho                 NY            11753                               rfox@kimcorealty.com                       First Class Mail and Email
29784973 Placer Labs, Inc.                               340 S Lemon Ave #1277                   Walnut                  CA            91789                                                                          First Class Mail
29784974 planitretail, LLC                               360 Bloomfield Ave                      Windsor                 CT            06095                                                                          First Class Mail
29790972 Plant People, Inc.                              49 Elizabeth St                         New York                NY            10013                                                                          First Class Mail
29777679 Plantlife Natural Body Care                     961 Calle Negocio,                      SAN CLEMENTE            CA            92673                                                                          First Class Mail
29777680 Plantlife, Inc.                                 1030 Calle Recodo                       San Clemente            CA            92673                                                                          First Class Mail
29777681 Platinum Pet Supply, LLC                        310 Pinnacle Way, Suite 300             Eau Claire              WI            54701                                                                          First Class Mail
29790973 Platzer Family Limited Partnership              218 East Park Avenue                    Long Beach              NY            11561                                                                          First Class Mail
29777683 Playmaker Nutrition                             369 South Fair Oks Ave.,                PASADENA                CA            91105                                                                          First Class Mail
29777684 PlayNetwork, Inc.                               8727 148th Avenue NE                    Redmond                 WA            98052                                                                          First Class Mail
29777685 Plaza 15 Realty, LLC                            One Hospital Drive                      Lewisburg               PA            17837                                                                          First Class Mail
                                                         c/o WP Glimcher Inc., 180 East Broad
29777686 Plaza at Northwood, LLC                         Street, Attn: General Counsel           Columbus                OH            43215                                                                          First Class Mail
29649074 Plaza K Shopping Center, L.L.C.                 6 Prospect Street, Suite 2A             Midland Park            NJ            07432                                                                          First Class Mail
29790974 Plaza on Manhattan Associates, LLC              2555 Severn Ave                         Metairie                LA            70002                                                                          First Class Mail
                                                         Wendy Gallo, 30050 Chagrin Blvd., Suite
29622993 Pleasant Valley Shopping Center Ltd.            360                                     Pepper Pike             OH            44124                               wgallo@visconsi.com; mfratus@viconsi.com   First Class Mail and Email
29784977 PLH Products, Inc.                              6655 Knott Avenue                       Buena Park              CA            90620                                                                          First Class Mail
29784978 PLT Health Solutions‐Laila Nutraceuticals LLC   119 Headquarters Plaza                  Morristown              NJ            07960                                                                          First Class Mail




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ADRID                                     NAME                     ADDRESS                               CITY                STATE        POSTALCODE            COUNTRY                       EMAIL       METHOD OF SERVICE
29784979 Plum Tree, Inc.                            325 W. Huron St., Suite 215                Chicago                  IL            60654                                                           First Class Mail
29784980 Pluto's Pantry, LLC                        9011 Sendera Dr.                           Magnolia                 TX            77354                                                           First Class Mail
29649077 PMAT Orland, L.L.C.                        814 Commerce Drive, Suite 300              Oak Brook                IL            60523                                                           First Class Mail
29784983 PMX Agency LLC dba ForwardPMX              P.O. BOX #735131                           Chicago                  IL            60673                                                           First Class Mail
29784985 PNebel, Inc.                               9500 Dorchester Road, Suite 350            Summerville              SC            29485                                                           First Class Mail
                                                    c/o Riverview Management Co., 1765
29784986 Pocono Retail Associates, LLC              Merriman Road                              Akron                    OH            44313                                                           First Class Mail
                                                    c/o Sam Park & Co., One Center Plaza,
29777689 Point‐LCI, LLC                             Suite 910                                  Boston                   MA            02108                                                           First Class Mail
29777690 Points East, LLC                           7743 Mentor Avenue                         Mentor                   OH            44060                                                           First Class Mail
29777691 Polar Electro Inc.                         1111 Marcus Ave., Suite M15                Lake Success             NY            11042                                                           First Class Mail
29790975 Polar Fusion LLC                           10605 SE 240th St                          KENT                     WA            98031                                                           First Class Mail
29625956 POLK COUNTY PARTNERS LLC                   126 S FEDERAL HWYSUITE 200                 Dania                    FL            33004                                                           First Class Mail
29777693 Polyphenolics                              12667 Road 24                              Madera                   CA            93637                                                           First Class Mail
29777694 Ponder Jet Inc                             3325 NW 70th Avenue                        Miami                    FL            33122                                                           First Class Mail
29790976 PopTime LLC                                200 Clifton Boulevard                      CLIFTON                  NJ            07011                                                           First Class Mail
                                                    Current Capital Real Estate Group4000
29487394 Port St. Lucie Plaza I, II, III, LLC       Hollywood Blvd#765‐S                       Hollywood                FL            33021                                                           First Class Mail
                                                    Bill Oswald, 15941 S. Harlem Ave., PMB
29622995 Portage Commons LLC                        #108                                       Tinley Park              IL            60477                               bill@cambridgeltd.net       First Class Mail and Email
                                                    c/o Robert L. Stark Enterprises, Inc., 629
29777697 Portage Crossing, LLC                      Euclid Avenue, Suite 1300                  Cleveland                OH            44114                                                           First Class Mail
29777698 Portier, LLC ("Uber")                      PO Box 743080                              Los Angeles              CA            90074                                                           First Class Mail
                                                    Michael Kisielewski, 20010 Manderson
29623013 Portland Fixture Limited Partnership       Street Suite 101                           Elkhorn                  NE            68022                               michael@woodsonia.com       First Class Mail and Email
29784987 Posh Pets Acquisitions, LLC                9300 Shelbyville Rd., Suite 204            Louisville               KY            40222                                                           First Class Mail
29784988 Posh Pets MN, LLC                          9300 Shelbyville Rd., Suite 204            Louisville               KY            40222                                                           First Class Mail
29784989 Posh Pets NC, LLC                          9300 Shelbyville Rd., Suite 204            Louisville               KY            40222                                                           First Class Mail
29784990 Posh Pets WV, LLC                          9300 Shelbyville Rd., Suite 204            Louisville               KY            40222                                                           First Class Mail
29784991 Postmates Inc.                             201 3rd St                                 San Francisco            CA            94103                                                           First Class Mail
29784992 Potomac Environmental, Inc.                PO Box 1836                                Stafford                 VA            22555‐1836                                                      First Class Mail
29784993 Poughkeepsie Plaza LLC                     275 N. Franklin Turnpike,                  Ramsey                   NJ            07446                                                           First Class Mail
29790977 POWDER JET INC                             1800 North Bayshore Drive                  MIAMI                    FL            33132                                                           First Class Mail
29623241 Powell‐Five Corners Associates, L.L.C.     2625 Northup Way                           Bellevue                 WA            98004                                                           First Class Mail
29623242 Powell‐Maple Valley LLC                    2625 Northup Way                           Bellevue                 WA            98004                                                           First Class Mail
29784997 POWERFUL MEN LLC                           429 Lenox Av,                              MIAMI BEACH              FL            33139                                                           First Class Mail
29784998 Powerhouse Dynamics, Inc.                  1 Bridge St                                Newton                   MA            02458                                                           First Class Mail
29784999 Powerhouse Dynamics, LLC                   1 Bridge St                                Newton                   MA            02458                                                           First Class Mail
29777700 PowerReviews, Inc.                         440 North Wells Street, Suite 720          Chicago                  IL            60654                                                           First Class Mail

29629644 PP GASTON MALL LLC                         1422 BURTONWOOD DRIVE, SUITE 200         Gastonia                   NC            28054                                                           First Class Mail
29777702 PPG ARCHITECTURAL FINISHES, INC.           400 Bertha Lamme Drive                   Cranberry Township         PA            16066                                                           First Class Mail
29777703 Practica                                   2800 Patterson Ave                       Richland                   VA            23221                                                           First Class Mail
29777704 Pradhans Pets Empire 2, LLC                1039 Pitch Pine Street                   Hickory Creek              TX            75065                                                           First Class Mail
29777705 Pradhans Pets Empire, LLC                  1039 Pitch Pine Street                   Hickory Creek              TX            75065                                                           First Class Mail
29777706 Pradhan's Pets, Inc.                       1039 Pitch Pine Street                   Hickory Creek              TX            75065                                                           First Class Mail
29777707 Prairie Dog Pet Products, LLC              907 Avenue R                             Grand Prairie              TX            75050                                                           First Class Mail
29776535 Prana Biovegan Corp.                       1440 Jules Poitras                       Quebec                     QC            H4N 1X7          Canada                                         First Class Mail
29776536 Prana Biovegan Inc                         1440 Jules Poitras,                      Saint‐Laurent              QC            H4N 1X7          Canada                                         First Class Mail
29790978 Pratt (Allentown Corrugating), LLC         3535 Piedmont Road                       Atlanta                    GA            30305                                                           First Class Mail
29478952 Prattville Partners, Limited Partnership   PO Box 235021                            Montgomery                 AL            36123                                                           First Class Mail
29790979 Preet Kamal                                Address on File                                                                                                                                   First Class Mail
29790980 PREF Pasadena Collection, LLC              4370 La Jolla Village Drive              San Diego                  CA            92122                                                           First Class Mail




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ADRID                                    NAME                     ADDRESS                              CITY                 STATE        POSTALCODE             COUNTRY   EMAIL       METHOD OF SERVICE
29785000 Preferred Placement                        P.O Box 743176                           Los Angeles               CA            90074‐3176                                   First Class Mail
29785001 Preferred Placement, Inc.                  200 Concord Plaza Dr Ste 240             San Antonio               TX            78216‐6943                                   First Class Mail
29785002 Pregis                                     29690 NETWORK PLACE                      Chicago                   IL            60673                                        First Class Mail
29785003 Premer Enterprises, Inc.                   15330 Lynndale St.                       Goddard                   KS            67052                                        First Class Mail
29785004 Premier Nutrition                          6215 El Camino Real, Ste 101             Carlsbad                  CA            92009                                        First Class Mail
29785005 Premier Nutrition Company, LLC             1222 67th Street, Suite 210              Emeryville                CA            94608                                        First Class Mail
29790981 Premium Entertainment                      36 ALIZE DRIVE                           KINNELON                  NJ            07405                                        First Class Mail
29785007 Presidio Brands, Inc.                      500 Tamal Plaza, Suite 505               Corte Madera              CA            94925                                        First Class Mail
29790982 Presidio Towne Crossing LP                 16000 Dallas Parkway                     Dallas                    TX            75248                                        First Class Mail
29785009 Preston Elizabeth T Squared Alpha, LLC     5 Sherwood Ave.                          Madison                   NJ            07940                                        First Class Mail
29785010 Preston Elizabeth T Squared Beta, LLC      5 Sherwood Ave.                          Madison                   NJ            07940                                        First Class Mail
29785011 Preston Elizabeth T Squared Gamma, LLC     5 Sherwood Ave.                          Madison                   NJ            07940                                        First Class Mail
29785012 Pretty Puppy, LLC                          3309 Post View Drive                     O'Fallon                  MO            63368                                        First Class Mail
29777711 Prevention Magazine                        300 West 57th Street                     New York                  NY            10019                                        First Class Mail
29777712 Prevention Pharmaceuticals Inc.            142 Temple Street, Suite 205             New Haven                 CT            06510                                        First Class Mail
29777713 PRGX USA, Inc.                             PO BOX 116501                            Atlanta                   GA            30368                                        First Class Mail
29777714 PRI, LLC                                   210 Park Ave Ste 2175                    Oklahoma City             OK            73102‐5629                                   First Class Mail
29777715 Primal Nutrition, Inc                      1631 S Rose Ave                          Oxnard                    CA            93033                                        First Class Mail
29623246 Prime 86 Holdings LLC                      7916 5th Avenue                          Brooklyn                  NY            11209                                        First Class Mail
29790983 Prime Nutrition                            1120 Holland Drive                       Boca Raton                FL            33428                                        First Class Mail
29790984 Prime Retail Services                      3617‐SOUTHLAND DRIVE                     Flowery Branch            GA            30542                                        First Class Mail
                                                    c/o Federal Realty Investment Trust, 909
29777719 Prime/FRIT Mission Hills, LLC              Rose Avenue, Suite #200                  Rockville                 MD            20852                                        First Class Mail
29776552 Primex ehf                                 Óskarsgata 7                             Siglufjörour                            580              Iceland                     First Class Mail
29776537 Primus Health Inc.                         3456 rue Des Castors                     Laval                     QC            H7P 5W8          Canada                      First Class Mail
29777721 Prince of Peace Ent., Inc.                 3536 Arden Road                          Hayward                   CA            94545                                        First Class Mail
29785013 Prinova Solutions LLC                      315 E. Fullerton Ave.                    Carol Stream              IL            60188                                        First Class Mail
29785014 PrintComm, Inc                             2929 Davison Road                        Flint                     MI            48506                                        First Class Mail
29785015 Pristine Bay LLC DBA VIANDA                9898 Windisch Road,                      West Chester              OH            45069                                        First Class Mail
29790985 PRO Bottle LLC                             4942 Dawn Avenue                         EAST LANSING              MI            48823                                        First Class Mail
29785017 PROBAR, LLC.                               4752 W. California Ave.                  Salt Lake City            UT            84104                                        First Class Mail
29790986 Prodege                                    185 NW Spanish River BlvdSuite 100       Boca Raton                FL            33431‐4230                                   First Class Mail
29790987 Professional Supplements                   3665 East Bay Dr. Building 204           LARGO                     FL            33771                                        First Class Mail
29790988 ProFormance Foods LLC                      44 Dobbin St                             BROOKLYN                  NY            11222                                        First Class Mail
29785021 PROformance Vend USA INC                   PO BOX 6188                              Phoenix                   AZ            85005                                        First Class Mail
29785022 Project Healthy Living Inc DBA ALOHA       0 Exchange Place,                        NEW YORK                  NY            10005                                        First Class Mail
29785023 Project X Represents                       PO Box 870                               Old Forge                 NY            13420                                        First Class Mail
29785024 ProKarma, Inc.                             8705 SW Nimbus Avenue                    Beaverton                 OR            97008                                        First Class Mail
29785025 Prolab Nutrition, Inc.                     6 Dinglebrook Road                       Brookfield                CT            06804                                        First Class Mail
29790989 Promax Nutrition Corp                      100 Bayview Circle                       NEWPORT BEACH             CA            92660                                        First Class Mail
29777723 PromoLeaf                                  PO Box 681465                            Park City                 UT            84068                                        First Class Mail
29777724 Pronatura Inc.                             2474 East Oakton Street                  Arlington Heights         IL            60005                                        First Class Mail
29777725 Pronatura Inc.                             2474 E. Oakton St.                       Arlington Heights         IL            60005                                        First Class Mail
29777726 Propello Life, LLC                         7611 Coventry Woods Drive                Dublin                    OH            43017                                        First Class Mail
29777727 ProTec Laboratory, Inc.                    4300 FM 2225                             Quitman                   TX            75783                                        First Class Mail
29777728 Protection One Alarm Monitoring, Inc.      800 E. Waterman                          Wichita                   KS            67202                                        First Class Mail
29777729 Protein Brothers, LLC (dba Stryve Foods)   500 W. University Dr., Suite 108         Mckinney                  TX            75069                                        First Class Mail
29777730 Protexin, Inc.                             1833 NW 79th AVE                         Doral                     FL            33126                                        First Class Mail
29777731 Protiviti Inc.                             888 7th Ave ‐ 13th Floor                 New York                  NY            10019                                        First Class Mail
29777732 Protos Foods, Inc.                         449 Glenmeade Road                       Greensburg                PA            15601                                        First Class Mail
29785026 Proud Source Water Inc.                    307 Miners Way,                          MACKAY                    ID            83251                                        First Class Mail
29629658 PROVIDENCE HOLDINGS LLC                    6500 Utah Ave NW                         Washington                DC            20015                                        First Class Mail
29629659 Proximus Consulting Group LLC              111 Windsor Way                          Franklin                  TN            37069                                        First Class Mail



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ADRID                                    NAME                  ADDRESS                                CITY                STATE        POSTALCODE     COUNTRY                  EMAIL       METHOD OF SERVICE
29785029 PRP Pet Supplies Inc.                  900 Green Sea Trail                       Chesapeake                 VA            23323                                               First Class Mail
29785030 PS1 Rocky LLC                          167 Route 9                               Englishtown                NJ            07726                                               First Class Mail
29785031 PSP 7 Detroit LLC                      8508 Golfside Dr.                         Commerce Township          MI            48382                                               First Class Mail
29785032 PSP Anthem, LLC                        710 East Desert Ranch Rd.                 Phoenix                    AZ            85086                                               First Class Mail
29785033 PSP at CLT, LLC                        4340 Colwick Rd                           Charlotte                  NC            28277                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29785034 PSP Bolingbrook, L.L.C.                W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
29785035 PSP Collins, LLC                       3620 Cole Drive                           Baton Rouge                LA            70806                                               First Class Mail
29785036 PSP Dallas, LP                         17863 170th Avenue, Suite 101             Spring Lake                MI            49456                                               First Class Mail
29785037 PSP Fargo, LLC                         428 N. Highway 218, Suite #3              Aberdeen                   SD            57401                                               First Class Mail
29785038 PSP Fort Myers, LLC                    737 Lake Shore                            Grosse Pointe Shores       MI            48236                                               First Class Mail
29777733 PSP Gilbert LLC                        6735 E. Greenway Pkwy, Apt. 2020          Scottsdale                 AZ            85254                                               First Class Mail

29622996 PSP Investments LLC                    James Antonopoulos, 4117 Blake Lane       Glenview                   IL            60026                        JPANTONLAW@GMAIL.COM   First Class Mail and Email
29777735 PSP Lapeer, LLC                        737 Lake Shore                            Grosse Pointe Shores       MI            48236                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29777736 PSP LITH, L.L.C.                       W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29777737 PSP Montgomery, L.L.C.                 W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
29777738 PSP Moon Valley, LLC                   3814 S. Brush Arbor                       Flagstaff                  AZ            86005                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29777739 PSP Naperville Ogden, L.L.C.           W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29777740 PSP Naperville South, L.L.C.           W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29777741 PSP North Aurora, L.L.C.               W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
29777742 PSP North Scottsdale, LLC              3814 S. Brush Arbor                       Flagstaff                  AZ            86005                                               First Class Mail
29777743 PSP of Hollywood, LLC                  3719 Condor Ct.                           Weston                     FL            33331                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29785039 PSP Orland Park, L.L.C.                W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
29785040 PSP Oro Valley, LLC                    3814 S. Brush Arbor                       Flagstaff                  AZ            86005                                               First Class Mail
29785041 PSP Ortonville, LLC                    737 Lake Shore                            Grosse Pointe Shores       MI            48236                                               First Class Mail
29785042 PSP Redford, LLC                       737 Lake Shore                            Grosse Pointe Shores       MI            48236                                               First Class Mail
29785043 PSP Rockies, LLC                       336 Morning Star Way                      Castle Rock                CO            80108                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29785044 PSP Streamwood, L.L.C.                 W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
29785045 PSP TS, LLC                            16409 Lucia Gardens Lane                  Tampa                      FL            33625                                               First Class Mail
                                                c/o National Shopping Plazas, Inc., 200
29785046 PSP Yorkville, L.L.C.                  W. Madison St., Suite 4200                Chicago                    IL            60606                                               First Class Mail
29790990 Puerto Rico Telephone Company          PO Box 360998                             San Juan                   PR            00936                                               First Class Mail
29790991 Puerto Rico Telephone Company, Inc.    P.O. Box 71304                            San Juan                   PR            00939                                               First Class Mail
29790992 Pukka Herbs Ltd                        71 McMurray Road                          PITTSBURGH                 PA            15241                                               First Class Mail
                                                c/o LG Realty Advisors Inc141 South
29602929 Pullman Square Associates              Saint Clair Street, Suite 201             Pittsburgh                 PA            15206                                               First Class Mail
29785050 Pure Encapsulations, LLC               490 Boston Post Road                      Sudbury                    MA            01776                                               First Class Mail
29777744 Pure Essence Labs, Inc.                P.O. Box 95397                            Las Vegas                  NV            89193                                               First Class Mail
29790993 Pure Health Inc.                       229 Calle Duarte Suite 3A                 San Juan                   PR            00917                                               First Class Mail
29790994 Pure Inventions                        64 B Grant Street                         LITTLE SILVER              NJ            07739                                               First Class Mail
29790995 Pure Inventions LLC                    64 B Grant Street                         LITTLE SILVER              NJ            07739                                               First Class Mail
29777748 Pure Solutions INC                     13620 Wright Circle                       Tampa                      FL            33626                                               First Class Mail
29777749 PureFit Inc.                           2 Avellino                                Irvine                     CA            92620                                               First Class Mail
29790996 Puremedy, LLC                          1925 Angus Ave                            Simi Valley                CA            93063                                               First Class Mail
29777751 PureRED | Ferrara                      301 College Road East                     Princeton                  NJ            08540                                               First Class Mail
29777752 Pvolve LLC                             415 West Broadway,                        NEW YORK                   NY            10012                                               First Class Mail



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ADRID                                    NAME                                   ADDRESS                              CITY                STATE        POSTALCODE            COUNTRY                    EMAIL          METHOD OF SERVICE
29777753 Pyure Brands LLC                                        2277 Trade Cebter Way STE 101,            NAPLES                   FL            34109                                                           First Class Mail
                                                                 c/o Pearson Partners, Inc., 630 Fifth
29777754 PZ Southern Limited Partnership                         Avenue, Suite 2820                        New York                 NY            10111‐0202                                                      First Class Mail
29785051 QNT INTERNATIONAL, Inc.                                 82 Virginia Avenue                        Dobbs Ferry              NY            10522                                                           First Class Mail
29790997 QOL Labs, LLC                                           2975 Westchester Avenue                   Purchase                 NY            10577                                                           First Class Mail
29785053 Quadient, Inc.                                          478 Wheelers Farms Road                   Milford                  CT            06461                                                           First Class Mail
29791311 Quaker Malls, LLC                                       1680 Route 23                             Wayne                    NJ            07470                                                           First Class Mail
29785055 Quaker Sales & Distribution                             300 Harmon Meadow Blvd.                   Secaucus                 NJ            07094                                                           First Class Mail
29785056 Qualitas Health, Inc.                                   1800 West Loop South                      Houston                  TX            77027                                                           First Class Mail
29785057 Quality Pasta Company                                   100 Chamber Plaza,                        CHARLEROI                PA            15022                                                           First Class Mail
29785058 Quality Pet Food and Supply, LLC                        5543 Mahoning Avenue                      Austintown               OH            44515‐2316                                                      First Class Mail
29785059 Quantum, Inc.                                           754 Washington Street                     Eugene                   OR            97401                                                           First Class Mail
29785060 QueBIT Consulting LLC                                   P.O. BOX 713                              Katonah                  NY            10536                                                           First Class Mail
29785061 Queen Bee Properties, LLC                               41 W. Highway 14 #394                     Spearfish                SD            57783                                                           First Class Mail
29790998 Quest Diagnostics Health & Wellness LLC                 PO BOX 740709                             Atlanta                  GA            30374‐0709                                                      First Class Mail
29777755 Quest Nutrition, LLC                                    4712 Admiralty Way, Suite 670             Marina del Rey           CA            90292                                                           First Class Mail
29785063 Quest Nutrition, LLC                                    777 S. Aviation Dr.                       El Segundo               CA            90245                                                           First Class Mail
29790999 Quick Response Home Services                            2404 W. PHELPS RD                         Phoenix                  AZ            85023                                                           First Class Mail
29777757 Quikly®, Inc.                                           1505 Woodward Ave                         Detroit                  MI            48226                                                           First Class Mail
29777758 Quincy Bioscience Manufacturing Inc.                    301 S. Westfield Road, Suite 200          Madison                  WI            53717                                                           First Class Mail
29777759 R & R Real Properties, Inc.                             1801 Avenue of the Stars #900,            Los Angeles              CA            90067                                                           First Class Mail
29777760 R&R’s Dog House, LLC                                    505 S Forest Ridge                        Broken Arrow             OK            74014                                                           First Class Mail
29791000 R. R. Donnelley & Sons Company                          P.O. BOX 13654                            Newark                   NJ            07188‐0001                                                      First Class Mail

29777762 R.K. West Roxbury, LLC                                  c/o RK Centers, 50 Cabot St., Suite 200   Needham                  MA            02494                                                           First Class Mail
29777763 Radiant Pets Holdings, LLC                              220 Newport Center Drive 11‐252           Newport Beach            CA            92660                                                           First Class Mail
29777764 RADIUS Corporation                                      207 Railroad Street,                      KUTZTOWN                 PA            19530                                                           First Class Mail
29606129 RAHI LLC                                                3256 Westview DR                          Northbrook               IL            60062                                                           First Class Mail
29625364 Rainbow Investment Co                                   10620 Treena StreetSuite 110              San Diego                CA            92131                                                           First Class Mail
29785064 Rainbow Light Nutritional Systems                       100 Avenue Tea,                           SANTA CRUZ               CA            95060                                                           First Class Mail
29785065 Rainbow Research Corp                                   170 Wilbur Place,                         Bohemia                  NY            11716                                                           First Class Mail
29785066 Rainforest Distribution Corp                            360‐30 13th St,                           ASTORIA                  NY            11106                                                           First Class Mail
29649080 Rainier Triangle II, LLC                                23707 SE 221ST St                         Maple Valley             WA            98038                                                           First Class Mail
29791001 RAJDC NC Properties, LLC                                2719 Graves Drive                         Goldsboro                NC            27534                                                           First Class Mail
29791002 Rakuten Card Linked Offer Network, Inc.                 800 Concar Drive                          San Mateo                CA            94402                                                           First Class Mail
29785071 Ramsey Holdings, LLC                                    644 Pascack Road,                         Washington Township      NJ            07676                                                           First Class Mail

         Rancho Dos Hermanos, LLC, as to an undivided 88.1500%
         tenants in common interest and Desert Delite Citrus, LLC
29791003 as to an undivided 11.8500% tenants in common interest 2655 First Street                          Simi Valley              CA            93065                                                           First Class Mail
29785073 Randal Optimal Nutrients LLC                             P.O Box 7328,                            SANTA ROSA               CA            95407                                                           First Class Mail
29785074 Randstad Technologies, LP                                150 Presidential Way, 4th Floor          Woburn                   MA            01801                                                           First Class Mail
29791004 Rangle.io Inc.                                           18 York Street                           Toronto                  ON            M5J 2T8          Canada                                         First Class Mail
29785075 Rapid Restoration, LLC                                   1900 County Rd C West                    Roseville                MN            55113                                                           First Class Mail
                                                                  Stephanie Frazee, asset manager, One
29623014 RAR2 ‐ Wicker Park Commons, LLC                          Parkview Plaza, 9th Floor                Oakbrook Terrace         IL            60181                               SFrazee@MidAmericaGrp.com   First Class Mail and Email
29777767 RARI Nutrition LLC                                       3410 Davie Rd. Suite 405,                FORT LAUDERDALE          FL            33314                                                           First Class Mail
                                                                  C/O Green Earth Realty, 6220 Campbell
29487491 Ravi Randal Investment Group, LLC                        Road                                     Dallas                   TX            75248                                                           First Class Mail
29791005 Raw Elements LLC                                         201 Jefferson Ave.                       MIAMI BEACH              FL            33139                                                           First Class Mail
29777769 Raw Essentials Living Foods, LLC                         2934 1/2 N Beverly Glen Cir #176         Bel Air                  CA            90077                                                           First Class Mail
29777770 RAYMEX DISTRIBUTION, INC.                                8206 KILLAM INDUSTRIAL BLVD              LAREDO                   TX            78045                                                           First Class Mail
29791006 Raymond Handling Solutions, Inc.                         725 FAIRFIELD AVENUE                     Kenilworth               NJ            07033                                                           First Class Mail




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ADRID                                    NAME                       ADDRESS                                CITY                STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
29791909 Raymond Leasing Corporation                 22 South Canal Street                     Greene                     NY            13778                                       First Class Mail

29791908 Raymond Leasing Corporation                 Corporate Headquarters, PO Box 130        Greene                     NY            13778                                       First Class Mail
29603882 RB SEMINOLE LLC                             c/o RD MGT, 810 7TH AVE, FLOOR 10         NEW YORK                   NY            10019                                       First Class Mail
29777773 RBL Enterprise, LTD                         5062 Colony Woods Dr.                     Kalamazoo                  MI            49009                                       First Class Mail
29777774 RCA Novak                                   5020 Westridge Drive                      Fort Collins               CO            80526                                       First Class Mail
29629684 RCA NOVAK, LLC                              5020 WESTRIDGE DR.                        Fort Collins               CO            80526                                       First Class Mail
29791007 RCBA Nutraceuticals LLC                     635 Century Point                         LAKE MARY                  FL            32746                                       First Class Mail
29777777 RCBA Nutraceuticals, LLC                    2041 High Ridge Rd                        Boynton Beach              FL            33426                                       First Class Mail
                                                     c/o RCG‐Ventures LLC., 3060 Peachtree
29785076 RCG‐PSC Camp Creek Owner, LLC               Road NW, Suite 400                        Atlanta                    GA            30305                                       First Class Mail
                                                     c/o Acadia Realty Trust, 411 Theodore
29785077 RD Branch Associates, L.P.                  Fremd Ave., Suite 300                     Rye                        NY            10580                                       First Class Mail
29487508 RE Pecan, LLC                               200 Concord Plaza Dr Ste 240              San Antonio                TX            78216‐6943                                  First Class Mail
                                                     c/o Wafra Inc., 345 Park Avenue, 41st
29785078 RE Plus SP LLC                              Floor                                     New York City              NY            10154                                       First Class Mail
29785079 Ready Roast Nut Company, LLC.               2805 Falcon Drive                         Madera                     CA            93637                                       First Class Mail
29785080 Real Asset Management Inc.                  309 Court Avenue, Suite 244               Des Moines                 IA            50309                                       First Class Mail
29791008 REAL GOOD FOODS COMPANY LLC                 6316 Tapanga Canyon Blvd                  WOODLAND HILLS             CA            91367                                       First Class Mail

29785082 Realty Income Corporation                   Attn: Legal Dept., 11995 El Camino Real   San Diego                  CA            92130                                       First Class Mail
29791009 Reckitt Benckiser                           Address on File                                                                                                                First Class Mail
29785084 Recruiting Research, LLC                    420 Canterbury Lake                       Milton                     GA            30004                                       First Class Mail
29785085 Recycline, Inc.                             657 Main Street                           Waltham                    MA            02451                                       First Class Mail
29785086 Red Bull North America, Inc.                1630 Stewart Street                       Santa Monica               ia            90404                                       First Class Mail
                                                     1501 South Mo‐Pac Expressway Suite
29785087 Red Canary, Inc.                            400                                       Austin                     TX            78746                                       First Class Mail
29777778 Red Investments Corp                        106 Satsuma Drive                         Altamonte Springs          FL            32714                                       First Class Mail
29791010 Redbarry LLC                                605 W 47th St.                            Kansas City                MO            64112                                       First Class Mail
29791011 REDCON1 LLC                                 701 Park of Commerce                      BOCA RATON                 FL            33487                                       First Class Mail
29791012 Redcon1, LLC                                701 Park of Commerce Blvd.                Boca Raton                 FL            33487                                       First Class Mail
29777782 Redd Remedies, Inc.                         211 S. Quincy Ave.                        Bradley                    IL            60915                                       First Class Mail
29777783 Redefine Nutrition d.b.a FINAFLEX           1190 Tidwell Road Ste 304                 Alpharetta                 GA            30004                                       First Class Mail
29777784 REDEFINE NUTRITION LLC DBA FINAFLEX         3615 FRANCIS CIR STE 101                  ALPHARETTA                 GA            30004                                       First Class Mail
29791013 REDEFINE NUTRITION LLC dba FINAFLEX         3615 Francis Cir                          ALPHARETTA                 GA            30004                                       First Class Mail
29791014 Redlands Joint Venture LLC                  13191 Crossroads Parkway North            City of Industry           CA            91796                                       First Class Mail
29777787 Redmond Trading Company, dba Redmond Life   475 West 910 South                        Heber City                 UT            84032                                       First Class Mail
29776539 Reebee Inc.                                 305 King St W Suite 902                   Kitchener                  ON            N2G 1B9          Canada                     First Class Mail
29791312 Regency Centers                             28 Church Lane                            Westport                   CT            06880                                       First Class Mail
                                                     c/o Regency Centers Corporation, One
29785088 Regency Centers Corporation                 Independent Drive, Suite 114              Jacksonville               FL            32202                                       First Class Mail
29791015 Regency Centers Corporation                 One Independent Drive                     Jacksonville               FL            32202                                       First Class Mail
29785090 Rego Park II Borrower LLC                   210 Route 4 East,                         Paramus                    NJ            07652                                       First Class Mail
29791016 REI Asheville Rentas, LLC                   9553 Harding Avenue                       Miami Beach                FL            33154                                       First Class Mail
29785092 Reiber, Inc.                                14240 Imboden Rd.                         Hudson                     CO            80642                                       First Class Mail
29623252 Reliance Elm Holdings LLC                   120 Marvelle Road                         Fayetteville               NY            13066                                       First Class Mail
29625850 Reliance Standard Life Insurance Company    1700 Market StreetSuite 1200              Philadelphia               PA            19103‐3938                                  First Class Mail
29627154 RELIANCE STANDARD LIFE INSURANCE COMPANY    PO BOX 3124                               SOUTHEASTERN               PA            19398‐3124                                  First Class Mail
29785097 Renew Life Formulas, Inc.                   198 Alt. 19 South                         Palm Harbor                FL            34683                                       First Class Mail
29785098 Residence Inn Secaucus Hotel                PO BOX 49745                              Athens                     GA            30604                                       First Class Mail
29791017 Resonant Analytics                          5 VAUGHN DR                               Princeton                  NJ            08540                                       First Class Mail
29630281 RESOURCE 1 LLC                              1140 PARSIPPANY BLVD                      Parsippany                 NJ            07054                                       First Class Mail
29785100 Resource Management Group                   PO BOX 616                                West Frankfort             IL            62896                                       First Class Mail




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ADRID                                    NAME                                    ADDRESS                               CITY                  STATE        POSTALCODE             COUNTRY                        EMAIL       METHOD OF SERVICE
                                                                  C/O BGBC PARTNERS, LLP, 300 N.
29625293 Retail Logistics Excellence ‐ RELEX Oy                   MERIDAN STREET SUITE 1100                Indianapolis                 IN            46204                                                             First Class Mail
29790498 Retail Logistics Excellence ‐ RELEX Oy                   Postintaival 7                           Helsinki                                   230              Finland                                          First Class Mail
29777791 Retail Next                                              300 Harmon Meadow Blvd                   Secaucus                     NJ            07094                                                             First Class Mail
29777792 Retail Services WIS Corporation                          PO BOX 200081                            DALLAS                       TX            75320‐0081                                                        First Class Mail

29791337 Retail Services WIS Corporation, d/b/a WIS International 2000 Taylor Road                         Auburn Hills                 MI            48326                                                             First Class Mail

29791313 Retail Services WIS Corporation, d/b/a WIS International PO BOX 200081                            DALLAS                       TX            75320‐0081                                                        First Class Mail
29777796 RetailNext, Inc.                                         60 S. Market St. 10th FI                 San Jose                     CA            95113                                                             First Class Mail
29791018 RetailNext, Inc.                                         60 S. Market St.                         San Jose                     CA            95113                                                             First Class Mail
29777797 Return Path, Inc.                                        3 Park Avenue, 41st Floor                New York                     NY            10016                                                             First Class Mail
29791019 Revionics, Inc.                                          2998 Douglas Blvd                        Roseville                    CA            95661                                                             First Class Mail
29791020 Revival Labs                                             4255 CAMPUS DR.                          IRVINE                       CA            92616                                                             First Class Mail
29791021 Revolution Tea LLC                                       5080 N. 40th Street                      PHOENIX                      AZ            85018                                                             First Class Mail
29791022 Revolutionary Technology Nutrition                       30 Nixon Lane                            EDISON                       NJ            08837                                                             First Class Mail
29785103 Rexall Sundown                                           2100 SMITHTOWN ROAD,                     RONKONKOMA                   NY            11779                                                             First Class Mail
                                                                  c/o Meridian Realty Services, P.O. Box
29785104 Reynolda Manor, LLC                                      20429                                    Winston‐Salem                NC            27120                                                             First Class Mail
29785105 RGH Enterprises, LLC                                     1810 Summit Commerce Park                Twinsburg                    OH            44087                                                             First Class Mail
29785107 RGIS, LLC                                                2000 East Taylor Road                    Auburn Hills                 MI            48326                                                             First Class Mail
29785106 RGIS, LLC                                                2000 Taylor Road                         Auburn Hills                 MI            48326‐1771                                                        First Class Mail
29785108 Rhinomed Inc                                             1311 Vine Street                         Cincinnati                   OH            45202                                                             First Class Mail
29791023 Riceland Owner LLC                                       4601 Garth Road                          Baytown                      TX            77521                                                             First Class Mail
29785112 Ricoh USA, Inc.                                          300 Eagleview Blvd Ste 200               Exton                        PA            19341                                                             First Class Mail
29785113 RidgeCrest Herbals, Inc.                                 3683 West 2270 South, Suite #A           Salt Lake City               UT            84120‐2306                                                        First Class Mail

29487412 Ridgewater Commerce LLC                                  121 E 4th Streetc/o Curo Management      Covington                    KY            41011                                                             First Class Mail
29777800 Rightpoint Consulting, LLC                               29 North Wacker Drive                    Chicago                      IL            60606                                                             First Class Mail
29777801 Riley Holdings, Ltd.                                     1246 Rt. 20 East,                        Norwalk                      OH            44857                                                             First Class Mail
                                                                  924 Westpoint Parkway Suite 150;
29625335 Rini Realty Company                                      Westpoint Corporate Center               Westlake                     OH            44145                                                             First Class Mail
29777802 RioSoft Holdings, Inc.                                   9255 Towne Centre Drive, Suite 750       San Diego                    CA            92121                                                             First Class Mail
29777803 Rise Bar                                                 16752 Millikan                           Irvine                       CA            92606                                                             First Class Mail
29777804 Rishi Tea                                                185 S. 33rd Court,                       MILWAUKEE                    WI            53208                                                             First Class Mail
29777805 Risk Logic Inc.                                          48 Dimmig Road                           Upper Saddle River           NJ            07458                                                             First Class Mail
29791024 Riskified Inc.                                           220 5th Avenue                           New York                     NY            10001                                                             First Class Mail
29791025 Ritchie Interchange LLC                                  One South Street                         Baltimore                    MD            21202                                                             First Class Mail
29777808 River Drive Construction Co. Inc.                        200 Riverfront Boulevard                 Elmwood Park                 NJ            07407                                                             First Class Mail
29777809 River Oaks El Mercado, LLC                               5678 N. Mesa,                            El Paso                      TX            79912                                                             First Class Mail

29623257 Riverchase CC, LP and Mont Belvieu Properties, LLC       945 Heights Blvd.                        Houston                      TX            77008                                                             First Class Mail
29785114 Riverdale Square, LLC                                    61 West Palisade Avenue                  Englewood                    NJ            07631                                                             First Class Mail
29791026 Rivers Edge RBG, LLC                                     1598 Imperial Center                     West Plains                  MO            65775                                                             First Class Mail
29785116 Riverside Logistics, Inc.                                5160 Commerce Road                       Richmond                     VA            23234                                                             First Class Mail
29791027 RJ Two Notch LLC                                         215‐15 Northern Boulevard                Queens                       NY            11361                                                             First Class Mail
29791028 RJFP LLC                                                 635 W. 7th Street                        Cincinnati                   OH            45203                                                             First Class Mail
                                                                  C/O The Woodmont Company, 2100
29606164 RJS Marine, Inc                                          W.7th Street                             Fort Worth                   TX            76107                                                             First Class Mail
29785120 RJSB Pet Group II, LLC                                   5218 Rio Grande Drive                    Raleigh                      NC            27616                                                             First Class Mail
29785121 RJSB Pet Group, LLC                                      5218 Rio Grande Drive                    Raleigh                      NC            27616                                                             First Class Mail
29649092 RJSJ LLC                                                 PO Box 235965                            Encinitas                    CA            92023                                sobhanis@gmail.com           First Class Mail and Email
                                                                  c/o Regency Centers Corporation, One
29785123 RK Black Rock II, LLC                                    Independent Drive                        Jacksonville                 FL            32202                                                             First Class Mail



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ADRID                                    NAME                                   ADDRESS                              CITY                  STATE        POSTALCODE            COUNTRY                          EMAIL       METHOD OF SERVICE
29785124 RKR Ventures LLC                                        701 Mike's Pike Street, Suite B          Winslow                     AZ            86047                                                              First Class Mail
                                                                 c/o Bennet Williams Realty, Inc., 3528
29785125 RLGVS Partners, LLC                                     Concord rd.                              York                        PA            17402                                                              First Class Mail
29777811 RNU, Inc.                                               3859 Wabeek Lake Drive E                 Bloomfield Hills            MI            48302                                                              First Class Mail
29791029 Roanoke Venture II, LLC                                 2870 Peachtree Road NW                   Atlanta                     GA            30305                                                              First Class Mail
29777813 Robert Half International Inc.                          101 Hudson Street Suite 2102             Jersey City                 NJ            07032                                                              First Class Mail
29777814 Rocam, Inc.                                             1437 Cantoria Avenue                     Coral Gables                FL            33146                                                              First Class Mail
29791030 Rockfirm, LLC                                           3100 West End Avenue                     Nashville                   TN            37203                                                              First Class Mail
                                                                 Attn: Steve Belford, 6649 N. High St.,
29762617 Rodi Road 501, LLC                                      Ste. LL2                                 Worthington                 OH            43085                                                              First Class Mail
                                                                 Dr. Roger Herst, 6671 MACARTHUR
29649096 ROGER E HERST                                           BOULEVARD                               Bethesda                     MD            20816                               jrjprop@gmail.com              First Class Mail and Email
29487415 Rogers Commercial Properties, LLC                       60 NW SHERIDAN RDSUITE 1                Lawton                       OK            73505                                                              First Class Mail
29777817 Roland Inc.                                             3400 West Olympic Blvd.                 Los Angeles                  CA            90019                                                              First Class Mail
29777818 Roland Products, Inc.                                   3400 West Olympic Blvd                  Los Angeles                  CA            90019                                                              First Class Mail
         Roman PBS Acquisition Co LLC, D/B/A Paperless Business
29777819 Systems                                                3131 Elliott Ave, Suite 450              Seattle                      WA            98121                                                              First Class Mail
29649097 Romney Petroleum Inc                                   901 Kossuth St                           Lafayette                    IN            47905                               jmann765@yahoo.com             First Class Mail and Email
         Rookwood Exchange Operating LLC c/o Jeffrey R.
29777821 Anderson Real Estate, Inc.                             3825 Edwards Road                        Cincinnati                   OH            45209                                                              First Class Mail
29785127 Rooney CV, Inc.                                        34199A Road 144                          Visalia                      CA            93292                                                              First Class Mail
                                                                c/o Acadia Realty Trust, 639 W. Diversey
29785128 Roosevelt Galleria LLC                                 Parkway, Suite 202                       Chicago                      IL            60614                                                              First Class Mail

29669682 Rose & Rose LLC                                         Attn Janet Swart, 203 Country Club Rd    Jacksonville                NC            28546                               janetrswarte@yahoo.com         First Class Mail and Email
                                                                 c/o Investments Limited, 215 North
29785129 Rosebud VS Boca One, LLC                                Federal Highway, Suite 1                 Boca Raton                  FL            33432                                                              First Class Mail
                                                                 c/o Tanurb Developments Inc., 128A
29783722 Rosedale Commons LP                                     Sterling Road, Suite 203                 Toronto                     ON            M6R 2B7          Canada                                            First Class Mail
29791031 Roseville Village L.L.C.                                4198 Orchard Lake Road                   Orchard Lake Village        MI            48323                                                              First Class Mail
29785132 Roslyn Farm Corporation                                 P.O. Box 727,                            Colonial Heights            VA            23834                                                              First Class Mail
                                                                 c/o WestCom Properties Inc., 3130
29785133 Rowen Burlington OpCo, LLC                              Howe Place, 101                          Bellingham                  WA            98226                                                              First Class Mail
29791032 RREEF AMERICA REIT II CORP. HH                          3340 Peachtree Road NE                   Atlanta                     GA            30326                                                              First Class Mail
29785135 RRR and B, LLC                                          124 Featherstone Lane SE                 Owens Cross Roads           AL            35763                                                              First Class Mail
29785136 RSJ Ventures LLC                                        PO Box 110871,                           NAPLES                      FL            34108                                                              First Class Mail
29785137 RSP Nutrition                                           4953 SW 71 Pl.                           Miami                       FL            33155                                                              First Class Mail
29785138 RTi Research                                            3500 Lenox Road NE Suite 1500            Atlanta                     GA            30326                                                              First Class Mail
29777822 Rudra Pet Supplies Inc                                  900 Green Sea Trail                      Chesapeake                  VA            23323                                                              First Class Mail
29777823 Rumpke of Indiana, LLC                                  1510 E 4h Street                         Seymour                     IN            47274                                                              First Class Mail
29791033 Runa LLC                                                315 Flatbush Ave                         BROOKLYN                    NY            11217                                                              First Class Mail
29777825 Rush Direct, Inc.                                       890 North Wood Dale Road                 Wood Dale                   IL            60191                                                              First Class Mail
29777826 Rushmore Superfoods, LLC                                33971 Selva Road, Suite 240              Dana Point                  CA            92629                                                              First Class Mail
29777827 Russell Acoustics, LLC                                  170 Kinnelon Road, Suite 19M             Kinnelon                    NJ            07405                                                              First Class Mail
29777828 Russell Darrow III (Entity Pending)                     889 S Heathwood Drive                    Marco Island                FL            34145                                                              First Class Mail
29777829 Ryan Law, LLP                                           PO BOX 1939                              Lowell                      AR            72745                                                              First Class Mail
29777830 S & A Investment CO.                                    620 S. Wayfare Tr.                       Oconomowoc                  WI            53066                                                              First Class Mail
29791034 S and V, LLC,                                           450 Main Street                          Pleasanton                  CA            94566                                                              First Class Mail
29777832 S&P Global Ratings                                      55 Water Street                          New York                    NY            10041                                                              First Class Mail
29785139 S&S Singh Partners                                      555 East 28th Division Highway           Lititz                      PA            17543                                                              First Class Mail
29623266 SAB Investments LLC                                     PO Box 194                               Carmel                      IN            46082                                                              First Class Mail
29791035 Saba Software, Inc.                                     2400 Bridge Parkway                      Redwood City                CA            94065                                                              First Class Mail

29673172 Sabatine BK Development, LLC                            1305 Boardman Canfield Road, Suite 8     Boardman                    OH            44512                               trilogycre@gmail.com           First Class Mail and Email



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ADRID                                    NAME                  ADDRESS                             CITY                STATE        POSTALCODE            COUNTRY                     EMAIL       METHOD OF SERVICE
                                                c/o Saber Real Eatate North, LLC, 2453
29606184 SABER RIVERHEAD58 LLC                  Route 6                                  Brewster                 NY            10509                                                         First Class Mail
29785143 Sabona of London Unlimited, Inc.       609 Davis Blvd.                          Sikeston                 MO            63801                                                         First Class Mail
29791036 SafeSourcing Inc.                      28150 North Alma School Parkway          Scottsdale               AZ            85262                                                         First Class Mail
29783723 SAGE Engineering Services Ltd.         1200 SPEERS ROAD                         OAKVILLE                 ON            L6L2X4           Canada                                       First Class Mail
29785145 Sageflo, Inc.                          4111 E. Madison Street                   Seattle                  WA            98112                                                         First Class Mail
29783724 Sahah Naturals Inc.                    2244 46th Avenue                         Lachine                  QC            H8T 2P3          Canada                                       First Class Mail
29791037 Sahale Snacks, Inc.                    3411 S. 120 Place                        Seattle                  WA            98168                                                         First Class Mail
29785147 SAHB Enterprises, LLC                  18605 Arguello Avenue                    Morgan Hill              CA            95037                                                         First Class Mail
29487400 Saia Family Limited Partnership        2120 E. 6TH STREET UNIT 1                TEMPE                    AZ            85281                                                         First Class Mail
29785148 Salesforce, Inc.                       Salesforce Tower                         San Francisco            CA            94105                                                         First Class Mail
29785149 Samaya Capital Group, Inc.             14 Sunrise Hill Road                     Orinda                   CA            94563                                                         First Class Mail
29785150 Sambazon, Inc.                         1160 Calle Cordillera                    San Clemente             CA            92673                                                         First Class Mail
29791038 Samson Development Company, L.P.       636 Old York Road                        Jenkintown               PA            19046                                                         First Class Mail
29777833 Samson Distributing, Inc.              2309 A Street                            Santa Maria              CA            93455                                                         First Class Mail
29791039 Samson Management LLC                  97‐77 Queens Blvd                        Rego Park                NY            11347                                                         First Class Mail
29777835 Sancilio & Company, Inc.               3874 Fiscal Ct., Suite 200               Riviera Beach            FL            33404                                                         First Class Mail
29777836 Sang Rim Hwang & Chang Sook Hwang      1212 V St NW                             Auburn                   WA            98001                                                         First Class Mail
                                                c/o Carnegie Companies Inc, 6190
29777837 Sangamon North, LLC                    Cochran Rd, Suite A                      Solon                    OH            44139                                                         First Class Mail
29777838 Santa Barbara Essential Foods LLC.     233 E. Gutierrez Street                  Santa Barbara            CA            93101                                                         First Class Mail
29777839 Santa Rita GRF2, LLC                   973 Lomas Santa Fe Drive,                Solana Beach             CA            92075                                                         First Class Mail
29791040 Santikos Legacy, LLC                   4630 North Loop 1604 W.                  San Antonio              TX            78249                                                         First Class Mail
29777841 Sanvi Pet Supplies, Inc.               19 Madison Ave.                          New Hyde Park            NY            11040                                                         First Class Mail
29777842 Sanz Branz, LLC                        83 Dumbarton Dr.                         Delmar                   NY            12054                                                         First Class Mail
29487464 Sarabara Corp.                         2465 N McMullen Booth Rd                 Clearwater               FL            33759                                                         First Class Mail
29777843 Sauer Properties Inc.                  2000 West Broad Street,                  Richmond                 VA            23220                                                         First Class Mail
                                                Acct/Payroll‐ Maureen McCauley, 200
29649105 Saugus Hillside Realty                 Summit Drive, Suite 400                  Burlington               MA            01803                               maureen@gutierrezco.com   First Class Mail and Email
29785152 Savesta LifeSciences Inc.              9582 Topanga Canyon Blvd                 Chatsworth               CA            91311                                                         First Class Mail
29785153 Savills, Inc.                          520 Newport Center Drive                 Newport Beach            CA            92660                                                         First Class Mail
29791041 Sayville Plaza Development LLC         500 Old Country Road                     Garden City              NY            11530                                                         First Class Mail
29785155 SB Fateh LLC                           8355 Cinnamon Ridge Lane                 Reno                     NV            89523                                                         First Class Mail

29785156 SBB Sterling Heights, LLC              31500 Northwestern Highway, Suite 175 Farmington Hills            MI            48334                                                         First Class Mail
29785157 SC Department of Commerce              1201 Main Street                      Columbia                    SC            29201                                                         First Class Mail
29785158 Scales Industrial Technologies, Inc.   185 Lackawanna Avenue                 West Paterson               NJ            07424                                                         First Class Mail
29776570 SCB Global Ltd                         37th floor                            London                                    E14 5AA          United Kingdom                               First Class Mail
29649107 SCC Nassau Park Pavilion NJ LLC        3300 Enterprise Parkway               Beachwood                   OH            44122                                                         First Class Mail
29791042 Schaefer Systems International, Inc.   10125 Westlake Dr.                    Charlotte                   NC            28273                                                         First Class Mail
29785161 Schmidt's Deodorant                    5527 SE 71ST Ave                      Portland                    OR            97206                                                         First Class Mail
29791314 Schoolcraft Commons Unit 9, L.L.C.     150 W. 2nd Street                     Royal Oak                   MI            48067                                                         First Class Mail
29785163 Schreiber Translations, Inc.           51 Monroe Street, Suite 101           Rockville                   MD            20850                                                         First Class Mail
29777845 Schultz Pet Supply, LLC                2004 Schultz Rd.                      Franklin                    TX            77856                                                         First Class Mail
29777846 Schwabe North America                  825 Challenger Drive                  Green Bay                   WI            54311                                                         First Class Mail
29777847 Schwabe North America, Inc.            9672 Sweetleaf St                     Orlando                     FL            32827‐6804                                                    First Class Mail
29791315 Schwinge Village Plaza, LLC            2027 Mackenzie Place                  Wheaton                     IL            60187                                                         First Class Mail
29777849 Scitec USA Inc.                        17470 N. Pacesetter Way               Scottsdale                  AZ            85255                                                         First Class Mail
29777850 Scivation, Inc.                        1448 Industry Drive                   Burlington                  NC            27215                                                         First Class Mail
29777851 Scotlynn                               15671 San Carlos Blvd                 Fort Myers                  FL            33908                                                         First Class Mail
29777852 Scott Budd and Associates              PO BOX 460664                         CENTENNIAL                  CO            80015                                                         First Class Mail
29791316 Scottcin Enterprises, Inc.             15060 Eureka Rd.                      Southgate                   MI            48124                                                         First Class Mail
29777853 Scottcin Enterprises, Inc.             2621 S. Telegraph Rd.                 Dearborn                    MI            48124                                                         First Class Mail



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ADRID                                    NAME                        ADDRESS                           CITY                 STATE        POSTALCODE            COUNTRY                         EMAIL       METHOD OF SERVICE
29791043 ScoutRFP, Inc.                                318 Brannan Street                    San Francisco             CA            94107                                                             First Class Mail
29777855 Scribcor Global Lease Administration, LLC     2 Mid America Plaza, Suite 650        Oakbrook Terrace          IL            60181                                                             First Class Mail
29785164 Scully Dog Enterprises, Inc.                  3150 Woodwalk Dr SE, Unit 3201        Atlanta                   GA            30339‐8495                                                        First Class Mail
29791044 SDBUCKS, LLC                                  1901 Avenue of the Stars              Easley                    SC            29640                                                             First Class Mail
29785166 SDC Nutrition, Inc                            170 Industry Drive                    Pittsburgh                PA            15275                                                             First Class Mail
29791045 Sea Island‐Staples LTD                        900 Isom Road                         San Antonio               TX            78216                                                             First Class Mail
29648859 Sea Mist I, LLC                               George K Gesouras, PO Box 21381       Columbus                  OH            43211                                   gkgesouras@hotmail.com    First Class Mail and Email
29785169 Seafield Capital Partners II, LLC             1345 Ranch Road,                      Mount Pleasant            SC            29464                                                             First Class Mail
         Secure Talent, Inc. dba Eastridge Workforce
29785171 Management                                    PO Box 512220                         Los Angeles               CA            90051‐0220                                                        First Class Mail
29785172 SecureWorks, Inc.                             1 Concourse Pkwy                      Atlanta                   GA            30328                                                             First Class Mail
29785173 Securitas Security Services USA, Inc.         20465 State Highway 249 Suite 400     Houston                   TX            77070                                                             First Class Mail
29785174 Security 101 LLC                              1450 Centrepark Blvd.                 West Palm Beach           FL            33401                                                             First Class Mail
29791046 SED Development LLC                           Eagle Ranch Center                    Albuquerque               NM            87102                                                             First Class Mail
29785176 See.Spark.Go                                  815 N. CRAIG PL                       Addison                   IL            60101                                                             First Class Mail
29623269 SEI Buckhead Square One, LLC                  1100 Spring Street N.W.               Atlanta                   GA            30309                                                             First Class Mail
29777857 SEI, Inc.                                     6499 S. Kings Ranch Rd. #6‐80         Gold Canyon               AZ            85118                                                             First Class Mail
29777858 Seitenbacher America, LLC                     11505 Perpetual Drive                 Odessa                    FL            33556                                                             First Class Mail
29791047 Select Staffing                               999 NORTH PLAZA DRIVE                 Schaumburg                IL            60173                                                             First Class Mail
29790504 Seminole Mfg                                  274 Mackenzie Ave                     Ajax                      ON            L1S 2E9          Canada                                           First Class Mail
29777861 Sencha Naturals                               1101 Monterey Pass Rd,                Monterey Park             CA            91754                                                             First Class Mail
29777862 Sensible Organics Inc.                        3740 W. 4th Avenue                    Beaver Falls              PA            15010                                                             First Class Mail
29783725 Sequel Naturals Inc.                          33‐1833 Coast Meridian Road           Port Coquitlam            BC            V3C6G5           Canada                                           First Class Mail
29777863 Service Express                               3854 Broadmoor Ave. SE                Grand Rapids MI 49512     MI            49512                                                             First Class Mail
29777864 Set and Service Resources, LLC                2101 91st Street                      North Bergen              NJ            07047                                                             First Class Mail

                                                       c/o Watermark Property Management,
29777865 Set Point Properties, LLC                     LLC, 1030 W. Chicago Ave, Suite 300   Chicago                   IL            60642                                                             First Class Mail
29791048 Setter Partners, LLC                          244 W 39th St.                        New York City             NY            10018                                                             First Class Mail
29785177 Seven Oaks Ranch Inc                          2568 Channel Drive,                   VENTURA                   CA            93003                                                             First Class Mail
29791049 SGH & Associates                              4267 Marina City Drive                Marina del Rey            CA            90292                                                             First Class Mail
29785179 Shaina Fishman Photography LLC                149 Huron Street #2D                  Brooklyn                  NY            11222                                                             First Class Mail
29791317 Shamrock A Owner, LLC                         101 East Washington Street            Greenville                SC            29601                                                             First Class Mail
29785180 SHAMROCK A OWNER, LLC                         122 Palmetto Commerce Parkway         Orangeburg                SC            29115                                                             First Class Mail
29785182 SHANGHAI TONGHAO INDUSTRY LTD                 PO BOX 935723                         Atlanta                   GA            31193‐5723                                                        First Class Mail
29785183 Shanri Holdings Corp                          Post Office Box 160403                Mobile                    AL            36616‐1403                                                        First Class Mail
                                                       Shop #12, Mezzanine Floor, Sabkha
29791050 Shark Food Supplements Trading LLC            Street                                Deira, Dubai                            28394            United Arab Emirates                             First Class Mail
29791051 Shaw Industries, Inc.                         MAIL DROP ‐ 999                       CINCINNATI                OH            45263‐0862                                                        First Class Mail
29649927 Shaw Scott Inc                                1513 33rd Ave.                        Seattle                   WA            98122                                                             First Class Mail
29785187 Shea Terra Organics                           101 E Executive Drive,                Sterling                  VA            20166                                                             First Class Mail
29785188 Sheer Strength Labs, LLC                      7509 Manchaca St, Suite 201           Austin                    TX            78754                                                             First Class Mail
29777867 SheerID, Inc.                                 2451 Willamette Street                Eugene                    OR            97405                                                             First Class Mail
29791052 Shelby Boulevard Fiftynine LLC                300 Park Street                       Birmingham                MI            48009                                                             First Class Mail
29623273 Shelbyville Road Plaza LLC                    12911 Reamers Road                    Louisville                KY            40245                                                             First Class Mail
29776550 Shenzhen XingRisheng Industrial Co., Ltd      Baolong Ind. City                     Shenzhen                                                 China                                            First Class Mail
29791053 Sher Lane LLC                                 4957 Lakemont Blvd. SE                Bellevue                  WA            98006                                                             First Class Mail
                                                       ATT WENDY GONZALEZ, 500 HARBOR
29777871 Sheraton Lincoln Harbor Hotel                 BLVD                                  WEEHAWKEN                 NJ            07086                                                             First Class Mail
29777872 Sheridan Center, LLC                          6120 Lendell Road                     Sanborn                   NY            14132                                                             First Class Mail
29777873 SHERWIN‐WILLIAMS COMPANY                      101 West Prospect Avenue              Cleveland                 OH            44115                                                             First Class Mail
29777874 SHI                                           PO Box 952121                         Dallas                    TX            75395                                                             First Class Mail
29629802 SHI International Corp                        PO Box 952121                         Dallas                    TX            75395                                                             First Class Mail



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29777876 SHI International Corp.                            290 Davidson Avenue                       Somerset                    NJ            08873                                      First Class Mail
29791054 SHIBARI WANDS                                      28348 Constellation Road                  Valencia                    CA            91355                                      First Class Mail
29777878 Shikai Products                                    PO BOX 2866,                              SANTA ROSA                  CA            95405                                      First Class Mail
                                                            c/o Realty Resource Capital Corp., 7600
29785189 Shillington Partners, LLC.                         Jericho Turnpike, Suite 402               Woodbury                    NY            11797                                      First Class Mail
29785190 Shine Engineering, P.A.                            6 Renshaw Drive                           Montville                   NJ            07045                                      First Class Mail
29785191 Shine Holdings Ken Caryl, LLC                      15741 W Eureka Avenue                     Morrison                    CO            80465                                      First Class Mail
29785192 Shine Holdings, LLC                                15741 W Eureka Avenue                     Morrison                    CO            80465                                      First Class Mail
29785193 Shirazee, LLC Parviz and Maudie Samiee, Trustees   2418 13th Street SE,                      Salem                       OR            97302                                      First Class Mail
29785194 Shire City Herbals, Inc.                           15 Commercial Street                      Pittsfield                  MA            01201                                      First Class Mail
29785195 ShopperTrak RCT Corporation                        233 South Wacker, Suite 4100              Chicago                     IL            60606                                      First Class Mail
                                                            c/o ACF Property Management, 12411
29785196 Shoppes at Bedford 15 A, LLC                       Ventura Blvd                              Studio City                 CA            91604                                      First Class Mail
29791055 Shoppes at Tower Place LLC                         2530 Scottsville Rd.                      Bowling Green               KY            42104                                      First Class Mail
29785199 Shops at St. Johns LLC                             225 W. Washington Street,                 Indianapolis                IN            46204                                      First Class Mail
29785200 Shore Creek, LLC                                   21650 Burbank Blvd # 110                  Los Angeles                 CA            91367                                      First Class Mail
                                                            Phillips Edison & Co. Ltd., 11501
29777880 Shoregate Station LLC                              Northlake Drive                           Cincinnati                  OH            45249                                      First Class Mail
29777881 Shoreline Fruit LLC                                10850 E Traverse Hwy.,                    Traverse City               MI            49685                                      First Class Mail
29777882 Shoutlet, Inc.                                     One Erdman Place, Suite 102               Madison                     WI            53717                                      First Class Mail
29777883 Shred‐it USA ELC                                   5780 S. 40th Street, Suite 1              Phoenix                     AZ            85040                                      First Class Mail
29777884 Shred‐it USA LLC                                   5780 S. 40th Street, Suite 1              Phoenix                     AZ            85040                                      First Class Mail
29648862 Shrewsbury Commons, L.P.                           4750 Owings Mills Blvd.                   Owings Mills                MD            21117                                      First Class Mail
29777887 SI03, Inc.                                         P.O. Box 1715                             Cape Girardeau              MO            63702                                      First Class Mail
29606246 SIBLINGS ENTERPRISES LTD.                          49 OCEAN DRIVE                            Jupiter                     FL            33469                                      First Class Mail
29777889 Sibu, LLC                                          1098 S Union Avenue                       Midvale                     UT            84047                                      First Class Mail
29791056 Siddha Flower Essences, LLC                        21225 Pacific Coast Hwy                   Malibu                      CA            90265                                      First Class Mail
29785202 Sidecar Interactive, Inc.                          114 South 13th Street, 3rd Floor          Philadelphia                PA            19107                                      First Class Mail
                                                            c/o Olshan Properties, 600 Madison
29785203 Siegen Lane Properties LLC                         Avenue, 14th Floor                        New York City               NY            10022                                      First Class Mail
29785204 Siemens Industry, Inc.                             1000 Deerfield Parkway                    Buffalo Grove               IL            60089                                      First Class Mail
29785206 Sierra Sage Herbs                                  PO BOX 435                                Lyons                       CO            80540                                      First Class Mail
29785207 Sierra Sage Herbs LLC                              PO Box 439,                               LYONS                       CO            80540                                      First Class Mail
29785208 SignUp Software Inc.                               3500 South DuPont Highway                 Dover                       DE            19901                                      First Class Mail
29785209 Silicon Valley Pricing, LLC                        119 El Altillo                            Los Gatos                   CA            95032                                      First Class Mail
29791057 Silver Search, Inc.                                45 EISENHOWER DRIVE                       Paramus                     NJ            07652                                      First Class Mail
29785211 Silverman Properties LP                            PO Box 50378,                             Nashville                   TN            37205                                      First Class Mail
29785212 SilverSearch Consulting, Inc.                      2 Executive Drive, Suite 705              Fort Lee                    NJ            07024                                      First Class Mail
29785213 Similasan Corp.                                    1745 Shea Center Dr. Suite 380            Highlands Ranch             CO            80129                                      First Class Mail
29777890 Simmons Pet Food, Inc.                             601 N. Hico Street                        Siloam Springs              AR            72761                                      First Class Mail
29790505 Simon Data, Inc.                                   483 Broadway                              New York                    NY            10013                                      First Class Mail
29791058 Simple Mills Inc                                   444 N Wells St                            CHICAGO                     IL            60654                                      First Class Mail
29777892 Simply 7 Snacks                                    11300 S. Sam Houston Pkwy W.,             HOUSTON                     TX            77031                                      First Class Mail
29777893 Simply Gum                                         270 Lafayette Suite 1301                  New York                    NY            10012                                      First Class Mail
29791059 Simply Solutions LLC                               2949 Venture Drive                        Janesville                  WI            53546                                      First Class Mail
29777895 Since Cite LLC                                     2101 hongleaf To                          BLAC                        NJ            35243                                      First Class Mail
29777896 Sinclair Broadcast Group, Inc.                     10706 Beaver Dam Road                     Cockeysville                MD            21030                                      First Class Mail
29777897 Sinclair Institute                                 402 Millstone Drive,                      HILLSBOROUGH                NC            27278                                      First Class Mail
29777898 Singh Pets, LLC                                    7548 Morris Street #2                     Fulton                      MD            20759                                      First Class Mail
29777899 Single Touch Interactive, Inc.                     1200 Wright Ave                           Richmond                    CA            94804                                      First Class Mail
29777900 Sinister Labs LLC                                  275 Commerce St, Suite 100                Southlake                   TX            76092                                      First Class Mail
29791060 SIPOC Associates TIC                               7978 Cooper Creek Boulevard               Bradenton                   FL            34201                                      First Class Mail
29785215 Sipp Eco Beverage Company                          PO Box 159                                Uwchland                    PA            19480                                      First Class Mail



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ADRID                                    NAME                 ADDRESS                             CITY                    STATE        POSTALCODE            COUNTRY                     EMAIL                     METHOD OF SERVICE
29785216 Sitecore USA, Inc.                     101 California St Suite 1600            San Francisco                CA            94111                                                                       First Class Mail
29785217 Siterra, LLC                           10801‐2 N. Mopac Expressway             Austin                       TX            78759                                                                       First Class Mail
29785218 Six Foods LLC                          1885 Mission Street,                    SAN FRANCISCO                CA            94103                                                                       First Class Mail
                                                c/o MGM Management, 485 Metro
29785219 SJSS Powell, LLC                       Place South, Suite 270                  Dublin                       OH            43017                                                                       First Class Mail
29791318 SK Global Software LLC                 940 Gemini Street                       Houston                      TX            77058                                                                       First Class Mail
29785221 Skinnygirl Nutritional Concepts LLC    221 South Cherokee St.                  Denver                       CO            80223                                                                       First Class Mail
29785222 Skol Haus Pets L.L.C.                  8917 W Lakeside Drive                   Sioux Falls                  SD            57107                                                                       First Class Mail
29785223 Skoop, LLC                             2438 30th Street                        Boulder                      CO            80301                                                                       First Class Mail
29629819 SKY BOYNTON HOLDINGS LLC               763 RALEIGH STREET                      Woodmere                     NY            11598                                                                       First Class Mail
                                                Meir Pollak, 10101 Fondren Rd., Suite
29648865 Sky Cortland, LLC                      545                                     Houston                      TX            77096                               meir@fourpointspropertymanagement.com   First Class Mail and Email
29785226 Skyepets, LLC                          20619 Shadow Mill Court                 Katy                         TX            77450                                                                       First Class Mail
                                                c/o Cambridge Management, Ltd.,
29777901 SL Yorkhouse Commons LLC               15941 S. Harlem Ave. PMB 108            Tinley Park                  IL            60477                                                                       First Class Mail
29777902 Slickdeals, LLC                        6010 S. Durango Dr., Suite 200          Las Vegas                    NV            89113                                                                       First Class Mail
29777903 Slim & Goldie, LLC                     8345 Lake Burden Circle                 Windermere                   FL            34786                                                                       First Class Mail
29777904 SLIQUID, LLC                           2544 IRVING BLVD.                       DALLAS                       TX            75207                                                                       First Class Mail
29791061 SLJ Realty LLC                         1385 Broadway                           New York City                NY            10018                                                                       First Class Mail
                                                Property Manager: Mary Yelinek, 7200
29623000 SLN Bellgrade, L.L.C.                  Glen Forest Dr., Suite 300              Richmond                     VA            23226                               myelinek@slnusbaum.com                  First Class Mail and Email
29777907 Sloans of PSP, LLC                     5771 Myers Road                         Akron                        OH            43319                                                                       First Class Mail
29777908 Small World Trading Co.                15 A Koch Road                          Corte Madera                 CA            94925                                                                       First Class Mail
29649119 Smart Growth‐Spartanburg, LLC          343 NW Cole Terrace, Ste 201            Lake City                    FL            32055                                                                       First Class Mail
29777910 Smart Wear Group LLC                   1705 Singleton Ave                      Austin                       TX            78702                                                                       First Class Mail
29777911 SmartBargains, Inc.                    20 Channel Center ‐ 3rd Floor           Boston                       MA            02210                                                                       First Class Mail
29785227 Smartgroup M. Nilsson AB               Skrapan 1890                            Vasteras                                   72210            Sweden                                                     First Class Mail
29785228 SmartyPants, Inc.                      827 Marco Place                         Venice                       CA            90291                                                                       First Class Mail
29785229 Smash My Trash                         925 W. 127th Ste 100                    Avondale                     AZ            85323                                                                       First Class Mail
29785230 SmashMallow, LLC.                      153 W Napa Street                       Sonoma                       CA            95476                                                                       First Class Mail
29791062 Smith Arnold Partners                  3 LANDMARK SQUARE                       Stamford                     CT            06901                                                                       First Class Mail
29785232 Smith Land & Improvement Corporation   1810 Market Street                      Camp Hill                    PA            17011                                                                       First Class Mail
29791063 Smitty Bee Honey                       208 Main Ave                            Defiance                     IA            51527                                                                       First Class Mail
29785233 Smitty Bee Honey                       208 Main St.                            Defiance                     IA            51527                                                                       First Class Mail
29785235 SNAC System, Inc.                      1551 INDUSTRIAL RD.,                    SAN CARLOS                   CA            94070                                                                       First Class Mail
29791064 Sneakers Plus                          318 HIGHWAY 202 NORTH                   Flemington                   NJ            08822                                                                       First Class Mail
29785237 SNI LLC                                220 Smith St.,                          FARMINGDALE                  NY            11735                                                                       First Class Mail
29630284 SNOWFLAKE INC                          450 CONCAR DRIVE                        San Mateo                    CA            94402                                                                       First Class Mail
29785239 SO Ten. LLC                            5129 SUNSET RIDGE LN                    LIBERTY TWP                  OH            45011                                                                       First Class Mail
29777912 SoapBox Soaps                          226 N Adams Street, Floor 2             Rockville                    MD            20850                                                                       First Class Mail
29777913 SOCi, Inc.                             8605 Santa Monica Blvd PMB 47149        West Hollywood               CA            90069‐4109                                                                  First Class Mail
29777914 Social Edge Consulting, LLC            300 Harmon Meadow Blvd                  Secaucus                     NJ            07094                                                                       First Class Mail
29777915 Social Edge Consulting, LLC            7 Stark Drive                           Robbinsville                 NJ            08691                                                                       First Class Mail

29777916 SocialWise, Inc., d.b.a. Rallio        400 Spectrum Center Drive Suite 1250    Irvine                       CA            92618                                                                       First Class Mail
29777917 SOEMI Pet Supplies, Inc.               2027 Mackenzie Place                    Wheaton                      IL            60187                                                                       First Class Mail
29777918 SOFAR Americas, Inc.                   141 H Street, STE A                     Petaluma                     CA            94952                                                                       First Class Mail
29777919 Sole Pet, LLC                          29 Long Hill Road                       New Vernon                   NJ            07976                                                                       First Class Mail
29791065 Somerset Shoppes Fla LLC               8903 Glades Road                        Boca Raton                   FL            33434                                                                       First Class Mail
29777921 Somersets USA, LLC                     65 Pleasant Street                      Cohasset                     MA            02025                                                                       First Class Mail
29777922 SORA Laboratories, LLC                 15366 U.S. Highway 160                  Forsyth                      MO            65653                                                                       First Class Mail
29777923 SOTRu.LLC                              697 N. Denver Ave                       Loveland                     CO            80537                                                                       First Class Mail
29785240 South Merrick Road Corp.               12‐A Filmore Place,                     Freeport                     NY            11520                                                                       First Class Mail




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ADRID                                    NAME                               ADDRESS                                CITY                STATE        POSTALCODE            COUNTRY                      EMAIL          METHOD OF SERVICE
29785241 South Pacific Elixirs, LLC.                         7559 Woodshire Cove                    Scottsdale                    AZ            85258                                                             First Class Mail
                                                             c/o Namdar Realty Group, 150 Great
29785242 South Park Mall Realty LLC                          Neck Road, Suite 304                   New York City                 NY            11021                                                             First Class Mail
                                                             c/o National Realty & Development
29785243 South Plainfield Properties, L.P.                   Corp., 225 Liberty Street, 31st Floor  New York City                 NY            10281                                                             First Class Mail
29785244 South River Mills Investments, LLC                  56 Mills Gap Road                      Asheville                     NC            28803                                                             First Class Mail
29791066 South Shore Mall Realty LLC                         150 Great Neck Road                    New York City                 NY            10021                                                             First Class Mail
                                                             Attn: Brenda Urner , 7170 South Braden
29602377 South Tulsa Storage, LLC                            Ave, Ste 200                           Tulsa                         OK            74136                                                             First Class Mail
29785247 Southbay Ventures, LLC                              1231 Horseshoe Drive                   Greensboro                    GA            30642                                                             First Class Mail
                                                             c/o Carnegie Companies, 6190 Cochran
29785248 Southpark Retail LLC                                Rd, Suite A                            Solon                         OH            44139                                                             First Class Mail
29791067 Southport Services Group, LLC                       20098 ASHBROOK PLACE                   Ashburn                       VA            20147                                                             First Class Mail
                                                             3350 RIVERWOOD PKWY, SUITE 1800,
29629836 SP EAST LLLP                                        ATTN JIM BAKER                         Atlanta                       GA            30339                                                             First Class Mail
29630289 SPACEE INC                                          3752 ARAPAHO RD                        Addison                       TX            75001                                                             First Class Mail
29791068 Spark:red, Inc.                                     11241 Willows Rd. N.E.                 Redmond                       WA            98052                                                             First Class Mail
29777926 Sparklehearts LLC                                   16364 UNDERHILL LANE,                  HUNTINGTON BEACH              CA            92647                                                             First Class Mail
29623282 Sparrow Ridge Properties, LLC                       1835 Knapp Drive                       Crest Hill                    IL            60403                               dan@cambiumre.com             First Class Mail and Email
29791069 Sparta Nutrition LLC                                25 Pier Ln W                           FAIRFIELD                     NJ            07004                                                             First Class Mail
29777929 Spartan Brands, Inc.                                451 Park Avenue South Fifth Floor      New York                      NY            10016                                                             First Class Mail
29791319 Spartan Square Limited Partnership                  1463 West Main Street                  Salem                         VA            24153                                                             First Class Mail
29777931 Special D Events, Inc.                              1420 Washington Boulevard              Detroit                       MI            48220                                                             First Class Mail
29791070 Spencer Stuart                                      Address on File                                                                                                                                      First Class Mail
         Spencer Technologies, Inc. d/b/a Certified Retail
29777933 Solutions                                           One Quality Way                            Dover                     NH            03820                                                             First Class Mail
29777934 SPI West Port, Inc                                  377 Swift Ave                              South San Francisco       CA            94080                                                             First Class Mail
29785252 Spiceologist, Inc.                                  125 S. Cowley St.                          Spokane                   WA            99202                                                             First Class Mail
29783726 SpiderTech Inc.                                     115 Riesston Road                          Toronto                   ON            M1F 4W9          Canada                                           First Class Mail
29785253 Spike Enterprises, Inc.                             18914 IH 20                                Cisco                     TX            76437                                                             First Class Mail
29791071 SPINS LLC                                           222 W HUBBARD STREET                       Chicago                   IL            60654                                                             First Class Mail
29785255 Sport Specifics, Inc.                               168 Solon Road                             Chagrin Falls             OH            44022                                                             First Class Mail
29785256 Sports Nutrition International                      10100 NW 116th Way Suite #10               Medley                    FL            33178                                                             First Class Mail
29785257 Sports Nutrition International                      1401 BUCHANAN RD                           Evansville                IN            47720                                                             First Class Mail
29785258 Sports Research Corporation                         784 W. Channel St.,                        SAN PEDRO                 CA            90731                                                             First Class Mail
29785259 Spray Innovations, LLC                              39 Long View Road                          Trabuco Canyon            CA            92679                                                             First Class Mail
                                                             Accounting‐ Eileen Shuman, 5924 Fried
29623283 Spring Mall Square LLC                              Farm Road                                  Crozet                    VA            22932                               eshuman@friedcompanies.com    First Class Mail and Email
29785261 Spring Ridge LP                                     217 W. Springville Road,                   Boiling Springs           PA            17007                                                             First Class Mail
                                                             Leslie Alley, Scott Bicking, 901 Wabash                                                                                lalley@thompsonthrift.com;
29623285 Springdale Pointe LLC                               Ave. Suite 300                             Terre Haute               IN            47807                               sbicking@thompsonthrift.com   First Class Mail and Email

29785263 Springinvest LLC                                    c/o Eurinvest, 407 Lincoln Road, Suite 8   Miami Beach               FL            33139                                                             First Class Mail
29785264 Sprocket Staffing Services                          35 Colby Avenue                            Manasquan                 NJ            08736                                                             First Class Mail
29777935 Sprout a Revolution, Inc.                           386 Troutman Street, 2R                    Brooklyn                  NY            11237                                                             First Class Mail
29791072 Sprout Social, Inc.                                 131 S. Dearborn Street                     Chicago                   IL            60603                                                             First Class Mail
29777937 SPS Commerce                                        500 Harmon Meadow Blvd                     Secaucus                  NJ            07094                                                             First Class Mail
29777938 SPS Properties LP                                   11 Cleveland Circle                        Skillman                  NJ            08558                                                             First Class Mail
29777941 Squarebar                                           2420 Central Avenue, #3                    Alameda                   CA            94501                                                             First Class Mail
29777942 Squatty Potty, LLC                                  1664 S. Dixie Drive, Ste F102              Saint George              UT            84770                                                             First Class Mail
29777943 SRBK Investments, Inc.                              16 Agawam Dr.                              Wayne                     NJ            07470                                                             First Class Mail
29791073 SRK Lady Lake 21 SPE, LLC                           4053 Maple Road                            Buffalo                   NY            14226                                                             First Class Mail
                                                             c/o Benchmark Management Corp.,
29777945 SRK Painesville Associates, LLC                     4053 Maple Road                            Amherst                   NY            14226                                                             First Class Mail



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ADRID                                    NAME                                    ADDRESS                             CITY                 STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
                                                                 c/o Professional Property Mgmt. Co. of
29785265 SSC Associates Limited Partnership                      Michigan, Inc., 115 W. Brown             Birmingham                 MI            48003                                       First Class Mail
29791074 SSK Investments, Inc.                                   1600 Executive Parkway                   Eugene                     OR            97401                                       First Class Mail
                                                                 SSS Eldridge Square Investors LLC, SKJ
                                                                 Eldridge Square LLC, Peach Eldridge LLC,
         SSS Eldridge Marketplace, LLC, SSS Eldridge Town Center c/o Wu Properties Inc., 3657 Briarpark
29785267 LLC                                                     Drive, Suite 188                         Houston                    TX            77042                                       First Class Mail
29785268 SSSCR, Inc.                                             208 St. James Avenue, Suite B            Goose Creek                SC            29445                                       First Class Mail
29785269 St. Croix Valley Holdings, Inc.                         4751 Hiawatha Avenue                     Minneapolis                MN            55406                                       First Class Mail
29785270 St. Louis Cardinals, LLC                                1 Timber Valley Cove                     Little Rock                AR            72204                                       First Class Mail
29785271 ST. TROPICA Inc.                                        5348 Vegas Drive Suite 1487              Las Vegas                  NV            89108                                       First Class Mail
29783727 StackAdapt Inc.                                         210 King St East ‐ Suite 500             Toronto                    ON            M5A 1J7          Canada                     First Class Mail
29791075 Stafford Park Commercial IILLC                          500 Barnegat Boulevard North             Barnegat Township          NJ            08005                                       First Class Mail
29791076 STAG Industrial Holdings, LLCc/o STAG Avondale          One Federal Street                       Boston                     MA            02110                                       First Class Mail
29791077 STAG Industrial, Inc.                                   One Federal Street                       Boston                     MA            02110                                       First Class Mail

29785275 Stanley J. Kozicki dba SK Holdings ‐ Wilmington, L.L.C.   31104 Mills Chase Drive,              Lewes                       DE            19958                                       First Class Mail
29777946 Star Industries, LLC d/b/a STAR Building Services         167 Avenue at the Common              Shrewsbury                  NJ            07702                                       First Class Mail
29777947 Star Nutrition Inc dba Incrediwear                        3120 Thorntree drive                  Chico                       CA            95973                                       First Class Mail
29777948 StarChem Labs                                             2035 New Highway                      Farmingdale                 NY            11735                                       First Class Mail
29777949 Starco Impex, Inc.                                        2710 S. 11th Street                   Beaumont                    TX            77701                                       First Class Mail
                                                                   c/o Pet Supplies Plus, 1300 MacDade
29777950 Stardust Partners, LLC                                    Boulevard                             Woodlyn                     PA            19094                                       First Class Mail
29791078 Starjack Investments L.L.C.                               1349 S. Rochester Road                Rochester                   MI            48307                                       First Class Mail
         STATE OF RHODE ISLAND AND PROVIDENCE
29791910 PLANTATIONS                                               Department of Labor, ONE CAPITAL HILL PROVIDENCE                  RI            02908‐5802                                  First Class Mail
29649129 Staten Island Richmond Avenue, LLC                        7248 Morgan Road, PO Box 220          Liverpool                   NY            13088                                       First Class Mail
29791079 Stavitsky & Associates LLC                                350 PASSAIC AVENUE                    Fairfield                   NJ            07004                                       First Class Mail
29791080 SteadFast Digital LLC                                     48 MOLLY PITCHER DRIVE                MANALAPAN                   NJ            07726                                       First Class Mail
29777955 Stealth Dog, Inc.                                         382 Adams St.                         Plymouth                    MI            48170                                       First Class Mail
29777956 Stearns Product Inc. dba Derma E                          2130 Ward Ave                         Simi Valley                 CA            93065                                       First Class Mail
29785277 Stepan Specialty Products LLC                             100 West Hunter Avenue                Maywood                     NJ            07607                                       First Class Mail
29791081 Stephanie Valente                                         Address on File                                                                                                             First Class Mail
29791082 Sterling Infosystems, Inc.                                NEWARK POST OFFICE                    Newark                      NJ            07193‐5626                                  First Class Mail
29791083 Sterling Technology                                       NEWARK POST OFFICE                    Newark                      NJ            07193‐5626                                  First Class Mail
29785281 Steven Di Salvatore                                       345 HEATHER COURT                     YORKTOWN HIGHTS             NY            10598                                       First Class Mail
29785282 Stevens Point Pets, LLC                                   2295 Spring Rose Road                 Verona                      WI            53593                                       First Class Mail
29791084 Stevenson Investors, LLC                                  2187 Newcastle Ave                    Cardiff‐by‐the‐Sea          CA            92007                                       First Class Mail
29791085 STICKY BE APPARELS                                        1112 Montana Ave                      Santa Monica                CA            90403                                       First Class Mail
29785285 STM Investments, LLC                                      3106 Southern Hills Drive             Des Moines                  IA            50321                                       First Class Mail
29791086 Stony Brook Realty, LLC                                   3201 N Federal Highway                Fort Lauderdale             FL            33306                                       First Class Mail
29785287 Store Master Funding IV, LLC                              8501 E Princess Drive                 Scottsdale                  AZ            85255                                       First Class Mail
29785288 Store Property Marble, LLC                                110 Hidden Pass                       San Antonio                 TX            78323                                       First Class Mail
29785289 Stored Value Solutions, a division of Comdata Inc.        101 Bullitt Lane, Suite 305           Louisville                  KY            40222                                       First Class Mail
29777957 STRAIGHT PATH IT SOLUTIONS, LLC                           12 E. Side Road                       Sanbornville                NH            03872                                       First Class Mail
         Strategic Cost Control, Inc., d/b/a Corporate Cost
29777958 Control, an Experian company                              475 Anton Boulevard                   Costa Mesa                  CA            92626                                       First Class Mail
29777959 Strategic Defense Corporation                             30 N Gould St Ste R                   Sheridan                    WY            82801                                       First Class Mail

29777961 Strategic Pharmaceutical Solutions Inc., dba Vetsource    2005 SE 192nd Ave.                    Camas                       WA            98607                                       First Class Mail
         Strategic Pharmaceutical Solutions Inc., dba
29791320 VetsourceVet Success Inc.V2P2, LLC dba Vet2Pet            2005 SE 192nd Ave.                    Camas                       WA            98607                                       First Class Mail
29777963 Strategic Products Group, Inc.                            450 Van Pelt Lane                     Pensacola                   FL            32505                                       First Class Mail
29791087 StrategIQ Commerce LLC                                    217 N JEFFERSON STREET                Chicago                     IL            60661                                       First Class Mail



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ADRID                                    NAME                         ADDRESS                             CITY                STATE        POSTALCODE            COUNTRY    EMAIL       METHOD OF SERVICE
29777965 Stretch Wrap Systems Inc.                      65 ABERDEEN ROAD                         York                    PA            17406                                        First Class Mail
29777966 Structural Plastics Corporation                3401 Chief Dr                            Holly                   MI            48442                                        First Class Mail
29777967 Suddath Relocation Systems of New York, Inc.   20 Hanes Drive                           Wayne                   NJ            07470                                        First Class Mail
29783753 Sudic AS Tassone Enterprises                   Runebergsgatan 8                         Stockholm                             11345            Sweden                      First Class Mail
29783754 Sudie AB                                       Runebergsgatan G                         Stockholm                             11345            Sweden                      First Class Mail
29783755 Sudio AB                                       Runebergsgatan 6                         Stockholm                             11345            Sweden                      First Class Mail
29791088 Sudio AB Tassone Enterprises                   Runebergsgatan 6                         Stockholm                             11345            Sweden                      First Class Mail
29785290 SUGARLAND PLAZA INC.                           165 SOUTH LEE ST, SUITE 100              LABELLE                 FL            33935                                        First Class Mail
29785291 Suki, Inc.                                     99 Industrial Dr.                        Northampton             MA            01060                                        First Class Mail
29791089 Suluta Corp                                    56 E PINE STREET                         Orlando                 FL            32801                                        First Class Mail
29785294 Suluta Corp DBA AffiliateManager.com           1126 Wilde Drive                         Celebration             FL            34747                                        First Class Mail
29785293 Suluta Corp DBA AffiliateManager.com           2101 91st Street                         North Bergen            NJ            07047                                        First Class Mail
29791911 Summit Funding Group, Inc.                     4680 Parkway Drive, Suite 300            Mason                   OH            45040                                        First Class Mail
29791090 Sun Brothers, LLC                              2250 N. Coral Canyon Blvd                Washington              UT            84780                                        First Class Mail
29785296 Sun Chlorella USA                              3305 Kashiwa Street                      Torrance                CA            90505                                        First Class Mail
                                                        C/O COLLIERS INTERNATIONAL, 2550
29629890 SUN LIFE ASSURANCE COMPANY OF CANADA           WEST TYVOLA ROAD, SUITE 300              Charlotte               NC            28277                                        First Class Mail
29791091 Sun Life Assurance Company of Canada           MetroNorth Retail Center                 Atlanta                 GA            30326                                        First Class Mail
29785299 Sun Print Management                           1101 N. Ward St.                         Tampa                   FL            33607                                        First Class Mail
29785300 Sun Warrior                                    PO Box 870                               Overton                 NV            89060                                        First Class Mail
29785301 Sundesa, LLC                                   284 South 700 West                       Pleasant Grove          UT            84062                                        First Class Mail
29777968 SunflowerMetro, LLC                            3191‐D Airport Loop Dr.                  Costa Mesa              CA            92626                                        First Class Mail
29791092 Sunfood Corporation                            1830 GILLESPIE WAY                       EL CAJON                CA            92020                                        First Class Mail
29777970 Sunfoods Superfoods                            1830 Gillespie Way, Suite 101            El Cajon                CA            92020                                        First Class Mail
29777971 Sunrise Technologies, Inc.                     525 Vine Street                          Winston Salem           NC            27101                                        First Class Mail
                                                        c/o Gatski Commercial Real Estate
29777972 Sunset Plaza, LLC & Sunset Collection, LLC     Services, 4755 Dean Martin Drive         Las Vegas               NV            89103                                        First Class Mail
                                                        c/o Milbrook Properties Ltd., 42 Bayview
29777973 Sunshine Lake Shore Associates, LLC            Ave.                                     Manhasset               NY            11030                                        First Class Mail
29777974 Sunshine State Trading Company, Inc.           6643 NE 25 AVE                           Portland                OR            97211                                        First Class Mail
29777975 Sunsweet Growers                               901 North Walton Avenue,                 YUBA CITY               CA            95993                                        First Class Mail
                                                        c/o Sterling Retail Services, Inc., 302
29777976 SUP II Red Top Plaza, LLC                      Datura Street, Suite 100                 West Palm Beach         Fl            33401                                        First Class Mail
29783734 Super Design Manufacture Co., Ltd              3rd Floor                                Zhongshan City                        528467           China                       First Class Mail
29777977 Super Nutrition                                1925 Brush St.                           Oakland                 CA            94612                                        First Class Mail
29791093 Superior Building Group                        2350 SOUTH 7TH STREET                    Saint Louis             MO            63104                                        First Class Mail
29785302 Superior Consulting Services, LLC              350 W Burnsville Pkwy                    Burnsville              MN            55337‐4900                                   First Class Mail
29785303 Supplement Safety Solutions, LLC               5312 Thompson Farm                       Bedford                 MA            01730                                        First Class Mail
29785304 SupplyLogic, LLC                               1400 Universal Avenue                    Kansas City             MO            64120                                        First Class Mail
29785305 SupplyOne                                      90 Packaging Drive                       Weyers Cave             VA            24486                                        First Class Mail
29791094 SupplyOne Weyers Cave, Inc.                    90 Packaging Drive                       Weyers Cave             VA            24486                                        First Class Mail
29785307 SureFed Plus, L C                              300 W. Central Texas Expressway          Killeen                 TX            76541                                        First Class Mail
29785308 SureSource LLC                                 20 Constitution Blvd South               Shelton                 CT            06484                                        First Class Mail
29785309 Surf City Pets, LLC                            16152 Whitecap Lane                      Huntington Beach        CA            92649                                        First Class Mail
29791095 Surprise TC II Holdings LLC                    2415 E. Camelback Road                   Phoenix                 AZ            85016                                        First Class Mail
29785311 Surveying and Mapping, LLC                     4801 SOUTHWEST PARKWAY                   AUSTIN                  TX            78735                                        First Class Mail
29785312 Surya Nature                                   1327 Second Avenue                       New Hyde Park           NY            11040                                        First Class Mail
                                                        c/o Slate Asset Management L.P., 121
29783728 SUSO 1 Summit Ridge, LP                        King Street West, Suite 200              Toronto                 ON            M5H 3T9          Canada                      First Class Mail
29785313 Sutherland Products, Inc.                      203 N 1st Ave.                           Mayodan                 NC            27027                                        First Class Mail
29785314 Suuna Life Inc DBA Extreme Health USA          1249 Boulevard Way                       Walnut Creek            CA            94595                                        First Class Mail
29791096 SVAP II Park North, LLC                        302 Datura Street                        West Palm Beach         FL            33401                                        First Class Mail
29623292 SVF Riva Annapolis, LLC                        515 South Flower Street                  Los Angeles             CA            90071                                        First Class Mail




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ADRID                                    NAME                                   ADDRESS                              CITY                 STATE        POSTALCODE     COUNTRY         EMAIL       METHOD OF SERVICE
                                                                 Attn: Steve Belford, 6649 N. High St.,
29762606 SW 17th Street 1010, LLC                                Ste. LL2                                   Worthington              OH            43085                                      First Class Mail
29791097 Swan De La Rosa                                         Address on File                                                                                                              First Class Mail
29777984 Sweet Harvest Foods Company                             15100 Business Parkway                     Rosemount                MN            55068                                      First Class Mail
29777985 Sweet Home Pets, LLC                                    1345 George Jenkins Blvd.                  Lakeland                 FL            33815                                      First Class Mail
29777986 Sweet Tree Holdings 1, LLC                              One Sweet Tree Lane                        Island Pond              VT            05846                                      First Class Mail
29791098 sweetriot                                               131 Varick St.                             NEW YORK                 NY            10013                                      First Class Mail
                                                                 c/o Garner Group, 3715 Northside
29777988 SWG‐Reynoldsburg, LLC                                   Parkway, Suite 4‐325                       Atlanta                  GA            30327                                      First Class Mail
29777989 Swift Transportation Services, LLC                      2200 South 75th Avenue                     Phoenix                  AZ            85043                                      First Class Mail
29785660 SWISSE WELLNESS INC                                     1735 W Diveresy Pkwy,                      CHICAGO                  IL            60622                                      First Class Mail
29785661 Switchbacks Entertainment                               11 W. Cimarron St.                         Colorado Springs         CO            80900                                      First Class Mail
29785662 SWNS Media Group                                        1111 Sixth Ave #300                        San Diego                CA            92101                                      First Class Mail
29785663 Swoffle, LLC.                                           252 Shadyside Ave                          Concord                  MA            01742                                      First Class Mail
29785664 Swole Sports Nutrition, LLC                             4100 N Powerline RD Suite Z‐3              Pompano Beach            FL            33073                                      First Class Mail
29791099 SY WALDORF INVESTMENTS LC                               1115 Broadway                              New York City            NY            10010                                      First Class Mail
29785666 Sydney's Pantry, LLC                                    14090 FM 2920, Ste. G551                   Tomball                  TX            77377                                      First Class Mail
29785667 Sylvan Bio, Inc.                                        90 Glade Drive                             Kittanning               PA            16201                                      First Class Mail
29791100 Symantec                                                1621 N Kent St                             Arlington                VA            22209                                      First Class Mail
                                                                 C/O Danly Properties Inc, 11940 Jollyville
29649747 Synergy Center Ltd                                      Rd Suite 300 S                             Austin                   TX            78759                                      First Class Mail

29785670 Synergy Franchising Corp. d/b/a Jani‐King of Columbia   720 Gracern Road                         Columbia                   SC            29210                                      First Class Mail
                                                                 c/o AZT Corporation, 16600 Dallas
29785671 T Palmdale Mkt CA, LLC                                  Parkway, Suite 300                       Dallas                     TX            75248                                      First Class Mail
29791321 T PITTSTON PA CROSSINGS, LLC                            T Pittston Crossings P A, LLC            Dallas                     TX            75248                                      First Class Mail
         T Voorhees GPL NJ, LLC, T Voorhees BER NJ, LLC, and T
29791101 Voorhees AMC NJ, LLC                                    16600 Dallas Parkway                     Dallas                     TX            75248                                      First Class Mail
29777992 T&C Stillwaters, Inc.                                   11930 Partridge Road Court N             Stillwater                 MN            55082                                      First Class Mail
29479543 T.B.R. Property Group, LLC                              9401 bay pines blvd.                     ST PETERSBURG              FL            33703                                      First Class Mail
29777993 T.E. Neesby, Inc.                                       9909 N. Meridian Ave.                    Fresno                     CA            93720                                      First Class Mail
29629895 T2M CONSULTING SERVICES INC                             399 CAMPUS DRIVE, SUITE 150              Somerset                   NJ            08873                                      First Class Mail
29777995 Tabib Kashi Partnership                                 574 West Lancaster Avenue,               Bryn Mawr                  PA            19010                                      First Class Mail
29791102 Tahiti Naturel USA                                      24 Commerce Rd                           FAIRFIELD                  NJ            07004                                      First Class Mail
29777997 Tahoe Capital, LLC                                      1410 Curtin St.                          Houston                    TX            77018                                      First Class Mail
29791103 TAISTech Corporation                                    14841 Dallas Parkway                     Dallas                     TX            75254                                      First Class Mail
29791104 TAISTech LLC                                            15601 DALLAS PKWY                        Addison                    TX            75001                                      First Class Mail
29778000 Taiyo International, Inc.                               5960 Golden Hills Drive                  Minneapolis                MN            55416                                      First Class Mail
29791105 Takeya USA Corporation                                  5301 GRANT AVENUE                        CLEVELAND                  OH            44125                                      First Class Mail
29785316 Talal Maatouk (Entity Pending)                          1211 Lavender Lane                       Foley                      AL            36535                                      First Class Mail
29785317 Talaria Digital                                         12400 ALCANZA DR                         Austin                     TX            78739                                      First Class Mail
                                                                 C/O PARAGON MGMT GRP LLC, 276
29785318 Talent Hub 360 LLC                                      POST ROAD WEST, SUITE 201                Westport                   CT            06880                                      First Class Mail
29785319 Tallwave LLC                                            4110 N. Scottsdale Rd. Suite 300         Scottsdale                 AZ            85251                                      First Class Mail
29785320 Talon Professional Services                             PO BOX 6030                              Carol Stream               IL            60197                                      First Class Mail
29791106 Tango Analytics, LLC                                    6225 N State Hwy. 161                    Irving                     TX            75038                                      First Class Mail
29785322 TapFwd, Inc.                                            PO BOX 909                               Cherryville                NC            28021                                      First Class Mail
29785323 Tar Hong Melamine USA Inc.                              780 S. Nogales                           City of Industry           CA            91748                                      First Class Mail
                                                                 c/o Jeffrey Taratoot, 2472 Jett Ferry
29785324 Tara Acworth Holdings, LLC                              Road, Suite 400 ‐ 133                    Atlanta                    GA            30338                                      First Class Mail
29791107 Tax Compliance, Inc.                                    300 Harmon Meadow Blvd.                  Secaucus                   NJ            07094                                      First Class Mail
29785326 Tax Compliance, Inc.                                    502 CHURCHMANS ROAD                      New Castle                 DE            19720                                      First Class Mail
29791108 Tax Matrix Technologies, LLC                            1011 Mumma Road                          Wormleysburg               PA            17043                                      First Class Mail




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ADRID                                    NAME                     ADDRESS                             CITY                 STATE        POSTALCODE            COUNTRY                      EMAIL           METHOD OF SERVICE
29791109 TaxStream, LLC                             95 River Street                        Hoboken                    NJ            07030                                                              First Class Mail
29778002 Taylor C. Wallace of Think Healthy Group   1301 20th Street, NW, #413             Washington                 DC            20036                                                              First Class Mail
29778003 Tayney Store 2 L.L.C.                      8703 Black Cherry Crossing             Katy                       TX            77494                                                              First Class Mail
29778004 Tayney Store 3, LLC                        8703 Black Cherry Crossing             Katy                       TX            77494                                                              First Class Mail
29778005 Tayney Ventures, LP                        8703 Black Cherry Crossing             Katy                       TX            77494                                                              First Class Mail
29626181 TBF Group Battle Creek LLC                 175 Great Neck RoadSuite 201           Great Neck                 NY            11021                                                              First Class Mail
29778006 TBK Bank, SSB d/b/a TriumphPay             12700 Park Central Drive, Suite 1700   Dallas                     TX            75251                                                              First Class Mail
29649134 TCB‐Elston, LC                             353 North Clark Street, Suite 3625     Chicago                    IL            60654                                                              First Class Mail
                                                    c/o Newport Capital Partners, 353 N.
29778008 TCB‐Stonebrook, LLC                        Clark Street, Suite 3625               Chicago                    IL            60654                                                              First Class Mail
29778009 Tea Forte, Inc.                            23 Bradford Street                     Concord                    MA            01742                                                              First Class Mail
29778010 TEA TREE THERAPY, INC                      6019 OLIVAS PARK DR, # E               VENTURA                    CA            93003                                                              First Class Mail
29790520 Teamsters Local Union No. 243              39420 Schoolcraft Road                 Plymouth Township          MI            48170                                                              First Class Mail
29778011 Ted Lewis (Entity Pending)                 440 Winters Ct.                        Gridley                    CA            95948                                                              First Class Mail
29791110 Teikametrics, LLC                          280 Summer St                          Boston                     MA            02210                                                              First Class Mail
                                                    1700 GEORGE BUSH DRIVE EASTSUITE
29625219 TEJAS CENTER LTD                           240                                    College Station            TX            77840                                                              First Class Mail
29791111 TEKsystems, Inc.                           1941 BISHOP LANESUITE 403              Louisville                 KY            40219                                                              First Class Mail
29785329 TEKsystems, Inc.                           7437 Race Road                         Hanover                    MD            21076                                                              First Class Mail
                                                    Attn: Thomas Abernathy, 2055 North
29785331 Telvita, LLC                               Brown Road, Suite 225                  Lawrenceville              GA            30043                                                              First Class Mail
29791112 Temberton Analytics, Inc.                  2701 DALLAS PARKWAYSUITE 550           Plano                      TX            75093                                                              First Class Mail
29606349 TEMK INVESTMENTS‐VISALIA 1 LLC             1265 MARTIN AVE                        San Jose                   CA            95126                                                              First Class Mail
29785334 Tempur‐Pedic North America, LLC            1000 Tempur Way                        Lexington                  KY            40511‐1386                                                         First Class Mail
29785335 Tempus Technologies, Inc.                  120 E. Seventh St.                     Auburn                     IN            46706                                                              First Class Mail
29606350 TEN THOUSAND OLDE US 20 LLC                1428 ALBON ROAD                        Holland                    OH            43528                                                              First Class Mail
29785337 TENGA USA, Inc.                            2807 Oregon Court Unit D‐6             Torrance                   CA            90503                                                              First Class Mail
                                                    401 Old Pleasant Grove Road,
29785338 Tennessee Yankee, LLC                      Apartment 821                          Mount Juliet               TN            37122‐7315                                                         First Class Mail
29785339 Terra Kai Organics                         3312 157th PL SE,                      BOTHELL                    WA            98012                                                              First Class Mail
29791322 TerraCycle US LLC                          121 New York Ave                       Trenton                    NJ            08638                                                              First Class Mail
29778012 Terravate Beauty                           2361 Rosecrans Ave, Suite 150          El Segundo                 CA            90245                                                              First Class Mail
29783729 TETRAD COMPUTER APPLICATIONS INC.          Suite 318 ‐ 1788 West 5th Avenue       Vancouver                  BC            V6J1P2           Canada                                            First Class Mail
29778013 Texas Pet Supplies Inc.                    9672 E Balancing Rock Rd               Scottsdale                 AZ            85262                                                              First Class Mail
29778014 Thakur Dangal (Entity Pending)             824 Woodington Drive                   Pataskala                  OH            43062                                                              First Class Mail
29778015 The American National Red Cross            431 18TH Street NW                     Washington                 DC            20006                                                              First Class Mail
29791113 The Atlantic Building LLC                  2320 N. Atlantic                       Spokane                    WA            99205                                                              First Class Mail
29778017 The Birds Nest Corp                        9855 Business Way                      Manassas                   VA            20110                                                              First Class Mail
29778018 The Blind Sebastian Corporation            3471 Wheatland Road                    Bedford                    VA            24523                                                              First Class Mail
29778019 The Bramton Company, LLC                   P. O. Box 655450                       Dallas                     TX            75265‐5450                                                         First Class Mail
29778020 The Carlson Group, Inc.                    350 E 22nd Street                      Lombard                    IL            60148                                                              First Class Mail
29778021 The Chill Group, Inc.                      11825 Major Street Suite 106           Culver City                CA            90230                                                              First Class Mail
29778022 The Clorox Sales Company                   1221 Broadway,                         OAKLAND                    CA            94612                                                              First Class Mail
29602594 THE COLLINS INVESTMENT TRUST               729 GRAPEVINE HWY SUITE 227            Hurst                      TX            76054                               renee@burkcollinscompany.com   First Class Mail and Email
29785341 The Color Run, LLC                         1957 South 4800 West                   Salt Lake City             UT            84104                                                              First Class Mail
29791114 The Commons at Willowbroook Inc.           5910 N. Central Expressway             Dallas                     TX            75206                                                              First Class Mail
29785343 The Cookie Department, Inc.                710 Channing Way                       Berkeley                   CA            94710                                                              First Class Mail

29649138 The Crossings at Hobart I LLC              Jennifer Copley, 1798 Frebis Avenue    Columbus                   OH            43206                               tenantrelations@spgroup.com    First Class Mail and Email
29785345 The Curiosity Compass                      PO Box 630491                          CINCINNATI                 OH            45263‐0491                                                         First Class Mail
29785346 The Die Shop                               7302 ADAMS STREET                      Paramount                  CA            90723                                                              First Class Mail
29785347 The Educe Group, Inc.                      7201 Wisconsin Avenue, Suite 630       Bethesda                   MD            20814                                                              First Class Mail
29785348 The Execu|Search Group, LLC                114 NORTH BROAD STREET                 Salem                      VA            24153                                                              First Class Mail




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ADRID                                    NAME                     ADDRESS                            CITY                   STATE        POSTALCODE            COUNTRY   EMAIL       METHOD OF SERVICE
29785349 The Fort Companies, LLC                    12512 Gracie Lane                      Spanish Fort                AL            36527                                       First Class Mail
29791115 The Fountains at Farah, LP                 8235 Douglas Ave.                      El Paso                     TX            79901                                       First Class Mail

29785351 The Gap‐US, LLC                            411 Theodore Fremd Avenue, Suite 230   Rye                         NY            10580                                       First Class Mail
29785352 The Garmon Corporation dba NaturVet        27461 Via Industrial St                Temecula                    CA            92590                                       First Class Mail
29783730 The Good Fats Co. LTD                      8 Market Street, Suite 600             Toronto                     ON            M5E 1M6          Canada                     First Class Mail
29791116 The Goodkind Group, LLC                    6155 Huntley Rd Suite F                Columbus                    OH            43229                                       First Class Mail
29778023 The Grocery Pup, LLC                       1401 Lavaca Street #204                Austin                      TX            78701                                       First Class Mail
29778024 The Hain Celestial Group                   58 South Service Road, Suite 250       Melville                    NY            11747                                       First Class Mail
29778025 The Herbalist Inc.                         2106 NE 65th ST                        Seattle                     WA            98115                                       First Class Mail
29778026 The Hershey Co.                            117 West Napa St. Site                 Sonoma                      CA            95476                                       First Class Mail
29778027 The Hertz Corporation                      8501 Williams Road                     Estero                      FL            33928                                       First Class Mail
29778028 The Hillman Group, Inc.                    10590 Hamilton Avenue                  Cincinnati                  OH            45231                                       First Class Mail
29778029 The Himalaya Drug Company                  1101 Gillingham Ln.                    Sugar Land                  TX            77478                                       First Class Mail
29778030 The Himalayan Drug Company                 1101 Gillingham Lane                   Sugar Land                  TX            77478                                       First Class Mail

29778031 The Honest Company                         2700 Pennsylvania Avenue, Suite 1200   Santa Monica                CA            90404                                       First Class Mail
29778032 The Hygenic Corporation                    1245 Home Ave,                         AKRON                       OH            44310                                       First Class Mail
29778033 The Isopure Company LLC                    195 Engineers Road                     Hauppauge                   NY            11788                                       First Class Mail
29785354 The J Austria Project, LLC                 10705 Seneca Spring Way                Gaithersburg                MD            20886                                       First Class Mail
29791117 The John Maxwell Company                   2170 Satellite Boulevard               Duluth                      GA            30097                                       First Class Mail
29785356 The Midas Exchange, Inc.                   825 Seventh Avenue                     New York                    NY            10019                                       First Class Mail
29785357 The Natural Citizen, LLC                   1108 Lavaca St, Suite 110‐186          Austin                      TX            78701                                       First Class Mail
29785358 The New Primal, LLC                        100 Bucksley Lane, Unit 102            Daniel Island               SC            29492                                       First Class Mail
29785359 The Nielsen Company (US), LLC              85 Broad Street                        New York                    NY            10004                                       First Class Mail
29791118 The Non‐GMO Project                        1155 N State Street                    Bellingham                  WA            98225                                       First Class Mail
29785361 The Non‐GMO Project                        PO Box 5606                            Bellingham                  WA            98227                                       First Class Mail
29785362 The Numina Group                           P.O. Box 490                           Fayetteville                TN            37334                                       First Class Mail
29785363 The Partnering Group                       8170 Corporate Park Drive, Suite 310   Cincinnati                  OH            45242                                       First Class Mail
29791119 The Partnering Group                       8170 Corporate Park Drive              Cincinnati                  OH            45242                                       First Class Mail
29785364 The Partnering Group, Inc.                 8170 Corporate Park Drive Suite 310    Cincinnati                  OH            45242                                       First Class Mail
29791120 The Partnering Group, Inc.                 8170 Corporate Park Drive              Cincinnati                  OH            45242                                       First Class Mail
29785365 The Philipose Group of Connecticut , LLC   1768 Chaladay Lane,                    East Meadow                 NY            11554                                       First Class Mail
29629942 THE PINES CENTER LLC                       553 EAST MAIN STREET                   Bowling Green               KY            42101                                       First Class Mail
29778034 The Procter & Gamble Distributing LLC      2 P&G Plaza                            Cincinnati                  OH            45202                                       First Class Mail
29783731 The PUR Company                            23 Kodiak Crescent,                    North York                  ON            M3J3E5           Canada                     First Class Mail
29791121 The Quarry Center, LP                      307 Fellowship Road                    Mount Laurel                NJ            08054                                       First Class Mail
29791122 The Real Good Foods Company, LLC           6316 Tapanga Canyon Blvd               WOODLAND HILLS              CA            91367                                       First Class Mail
29778037 The Rosemyr Corporation                    231 South Garnett Street,              Henderson                   NC            27536                                       First Class Mail
29649144 The Shoppes at North Brunswick, L.L.C.     6 Prospect Street, Suite 2A            Midland Park                NJ            07432                                       First Class Mail
29629947 THE SHOPPES AT RACEWAY LLC                 ATTN PATTY SCOTT, PO Box 933           Evansville                  IN            47706                                       First Class Mail
                                                    c/o The Broadbent Company, 117 E.
29778040 The Shoppes, LP                            Washington St, Suite 300               Indianapolis                IN            46204                                       First Class Mail
29778041 The Shubert Organization, Inc.             234 West 44th Street,                  New York City               NY            10036                                       First Class Mail
29791323 The Taxman Corporation                     5125 Old Orchard Rd                    Skokie                      IL            60077                                       First Class Mail
29785367 The Tea Spot, Inc.                         4699 Nautilus Ct S., Ste. 403          Boulder                     CO            80301                                       First Class Mail
29785368 The Terracon Group                         5601 S.W. 8th Street                   Miami                       FL            33134                                       First Class Mail
29785369 The Triple M Partnership 2, LLC            PO BOX 2550                            VICTORIA                    TX            77902‐2550                                  First Class Mail
29785370 The Ultimate Life                          P.O. Box 4308                          Santa Barbara               CA            93140                                       First Class Mail
29785371 The Ultimate Software Group Inc.           2000 Ultimate Way                      Weston                      FL            33326                                       First Class Mail
29785372 The Uplifters' Prima, PBC                  2633 Lincoln Blvd, #224                Santa Monica                CA            90048                                       First Class Mail




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ADRID                                    NAME                              ADDRESS                                 CITY                STATE        POSTALCODE            COUNTRY                        EMAIL        METHOD OF SERVICE

                                                            c/o Rappaport Management Company,
29785373 The Vienna Shopping Center Limited Partnership     8405 Greensboro Drive, 8th Floor          McLean                      VA            22102‐5121                                                        First Class Mail
29785374 The Weeks‐Lerman Group, LLC                        300 Harmon Meadow Blvd                    Secaucus                    NJ            07094                                                             First Class Mail
29785375 The Whalen Corp.                                   1213 Keith Road,                          Wake Forest                 NC            27587                                                             First Class Mail
29783732 The Winning Combination USA Inc.                   Unit #6 ‐ 1099 Wilkes Ave.                Winnipeg                    MB            R3P 2S2          Canada                                           First Class Mail
29785376 The Wiseman Group                                  2164 ASHTON AVE                           Menlo Park                  CA            94025                                                             First Class Mail
29785377 Theo Chocolate, Inc.                               3400 Phinney Avenue N                     Seattle                     WA            98103                                                             First Class Mail
         Thermopylae Sciences & Technology, LLCIntergraph
29791324 Corporation Hexagon Geospatial                     1911 N. Fort Myer Dr. Suite 700           Arlington                   VA            22209                                                             First Class Mail
                                                            c/o THF Realty, 2127 Innerbelt Business
29778045 THF Clarksburg Development Two, LLC                Center Dr, Suite 200                      St. Louis                   MO            63114                                                             First Class Mail
29778046 ThinkFun, Inc.                                     1321 Cameron Street                       Alexandria                  VA            22314                                                             First Class Mail
29778047 ThinkOperations, LLC                               3112 Windsor Rd A342                      Austin                      TX            78703                                                             First Class Mail

29778048 thinkThin LLC                                      12211 W. Washington Blvd, Suite 120       Los Angeles                 CA            90066                                                             First Class Mail
29778049 Thirty Three Threads, Inc.                         1330 Park Center Drive                    Vista                       CA            92081                                                             First Class Mail
29778050 Thomas Family Pet Supply, Inc.                     37 Overbrook Road                         Painted Post                NY            14870                                                             First Class Mail
29778051 Thompson Brands LLC                                80 South Vine Street                      Meriden                     CT            06451                                                             First Class Mail
29791123 ThreeJerks LLC                                     300 Heron Drive                           SWEDESBORO                  NJ            08085                                                             First Class Mail
29778053 Threshold Enterprises LTD                          P.O Box 775191,                           CHICAGO                     IL            60677‐5191                                                        First Class Mail
29791124 Thrift‐Cascade Investment LLC                      808 SW Alder Street                       Portland                    OR            97205                                                             First Class Mail
29778055 Thunderbird Energetica, LLC                        PO BOX 684581                             Austin                      TX            78768                                                             First Class Mail
29651040 TIA Holdings ETY LLC                               John Chess, 4263 Gavin Lane               Columbus                    OH            43220                               jchess@invest‐in‐realty.com   First Class Mail and Email
29785380 TIA Holdings Mill Run, LLC                         2503 East Broad Street                    Columbus                    OH            43209                                                             First Class Mail
29791125 Tiesta Tea Company                                 730 N.Fanklin Street                      CHICAGO                     IL            60654                                                             First Class Mail
29791325 Tiffin Ave 2023 LLC                                2407 Columbia Pike                        Arlington                   VA            22204                                                             First Class Mail
29785383 TiLu Pets, Inc.                                    1517 Lakeview Ave.                        Sylvan Lake                 MI            48320                                                             First Class Mail
29791326 Timber Springfield Properties, LLC                 1060 W State Rd. 434                      Longwood                    FL            32750                                                             First Class Mail
29623302 Times Plaza Development L.P.                       562 State Street                          Brooklyn                    NY            11217                                                             First Class Mail
29791126 Timlin Properties, LLC                             6632 Telegraph Road                       Bloomfield Hills            MI            48301                                                             First Class Mail
29791127 Timmons Group                                      1001 Boulders Parkway                     Richmond                    VA            23225                                                             First Class Mail
29479617 TKC CCXXXIX, LLC                                   4500 Cameron Valley PkwySuite 400         Charlotte                   NC            28211                                                             First Class Mail

29479692 TKG Colerain Towne Center, LLC                     211 N. STADIUM BOULEVARD; Suite 201 COLUMBIA                          MO            65203                                                             First Class Mail
29625104 TKG CRANSTON DEVELOPMENT                           211 N STADIUM BLVDSUITE 201         Columbia                          MO            65203                                                             First Class Mail
29625582 TKG FAIRHAVEN COMMONS, LLC                         211 N. STADIUM BLVDSUITE 201        Columbia                          MO            65203                                                             First Class Mail
29791327 TKG Management, Inc                                211 N. Stadium Boulevard            Columbia                          MO            65203                                                             First Class Mail
29791128 TKG Paxton Towne Center Development, L.P.          215 N. Stadium Boulevard            Columbia                          MO            65203                                                             First Class Mail

29762609 TLP 4782 Muhlhauser LLC                            Mike Meyers, 2215 York Road, Ste. 405     Oak Brook Terrace           IL            60523                                                             First Class Mail
                                                            Accountant‐ Daniel Gauen, 223 W.
29623306 TMO Lincolnwood AM, LLC                            Jackson Blvd.                             Chicago                     IL            60606                               dan@jhmproperties.com         First Class Mail and Email
29778056 T‐Mobile USA, Inc.                                 12920 SE 38th Street                      Bellevue                    WA            98006                                                             First Class Mail
29790524 TMS Hollywood Properties LLC                       2673 S. Park Lane                         Pembroke Park               FL            33009                                                             First Class Mail
29778057 To Go Brands                                       65 East Ave 3rd floor                     Norwalk                     CT            92121                                                             First Class Mail
29791129 To‐Go Ware                                         743 Addison Street                        Berkeley                    CA            94710                                                             First Class Mail
                                                            Brandi Schmidt, 7150 W. Central Ave.,
29648819 Tolson Investments, LLC                            Suite 200                                 Toledo                      OH            43617                               bschmidt@tolsonent.com        First Class Mail and Email
29778060 Tom Graff                                          4125 Earnings Way                         New Albany                  IN            47150                                                             First Class Mail
29778061 Toma Investments, LLC                              11801 Larkins,                            Brighton                    MI            48114                                                             First Class Mail
29778062 Tomar Industries, Inc.                             300 Commerce Dr.                          Freehold                    NJ            07728                                                             First Class Mail
29778063 Tommie Copper, Inc.                                74 South Moger Avenue                     Mount Kisco                 NY            10549                                                             First Class Mail




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ADRID                                    NAME                           ADDRESS                                CITY                 STATE        POSTALCODE             COUNTRY                     EMAIL            METHOD OF SERVICE
29778064 Tom's Of Maine                                   302 Lafayette Center                      Kennebunk                  ME            04043                                                               First Class Mail
29778065 Tone it Up, Inc.                                 1110 Manhattan Avenue                     Manhattan Beach            CA            90266                                                               First Class Mail
29778066 Top Secret Nutrition, LLC                        11341 Interchange Circle S.               Miramar                    FL            33025                                                               First Class Mail
29785392 Topical BioMedics, Inc.                          PO Box 494                                Rhinebeck                  NY            12572                                                               First Class Mail
29785393 Torberg Holdings, LLC                            737 Lake Shore                            Grosse Pointe Shores       MI            48236                                                               First Class Mail
29785394 Total Pet Supply Depot Inc.                      9601 Humboldt Avenue South                Bloomington                MN            55431                                                               First Class Mail
29785395 TPGBHF, LLC                                      2100 N Lake Eloise Drive                  Winter Haven               FL            33884                                                               First Class Mail
29791333 Trace Minerals Opco, LLC                         1996 W. 3300 S                            Ogden                      UT            84401                                                               First Class Mail
29785396 Trader Joe's Company                             PO Box 71770                              Chicago                    IL            60694‐1770                                                          First Class Mail
29785397 Tradesmen International, LLC                     9760 Shepard Rd                           Macedonia                  OH            44056                                                               First Class Mail
29785398 Training Mask LLC                                1140 Plett Rd,                            CADILLAC                   MI            49601                                                               First Class Mail
29791130 Trane U.S. Inc.                                  19 Chapin Rd                              Pine Brook                 NJ            07058                                                               First Class Mail
29785400 Transplace Texas, LP                             3010 Gaylord Parkway                      Frisco                     TX            75034                                                               First Class Mail
29791131 Tranxition Corporation                           516 SE Morrison St                        Portland                   OR            97214                                                               First Class Mail
                                                          c/o First Martin Corporation, 115 Depot
29785402 Traver Village Limited Partnership               Street                                    Ann Arbor                  MI            48104                                                               First Class Mail
29785403 Treeco/Elwood Limited Partnership                10 E. Palisade Avenue                     Englewood                  NJ            07631                                                               First Class Mail
29785404 Trident4, Inc.                                   4885 Ketchum Court                        Granite Bay                CA            95746                                                               First Class Mail
29778067 Trilliant Food & Nutrition, LLC                  1101 Moasis Drive                         Little Chute               WI            54140                                                               First Class Mail
29791132 Trimr LLC                                        230 South 500 West                        Salt Lake City             UT            84101                                                               First Class Mail
29623308 Trindle Run LLC                                  3528 Concord Road                         York                       PA            17402                                                               First Class Mail
29778070 Trinity Properties, LLC                          PO Box 445                                Raymond                    ME            04071                                                               First Class Mail
                                                          Helen Latchford, 224 St. Charles Way,
29651039 Triple Bar Kendig Square, LLC                    Suite 290                                 York                       PA            17402                                helen@jcbarprop.com            First Class Mail and Email
29791133 Triple Leaf Tea, Inc.                            1564 Rollins Road                         Burlingame                 CA            94010                                                               First Class Mail
29778073 Trixie's Treats, LLC                             9011 Sendera Dr.                          Magnolia                   TX            77354                                                               First Class Mail
29649146 TRM Venture Real Estate, LLC                     2409 West 104th Street                    Chicago                    IL            60655                                                               First Class Mail
29791134 TRP Company, Inc.                                1575 Delucchi Lane                        Reno                       NV            89502                                                               First Class Mail
29778076 TRR Enterprises Inc.                             14851 South 27th Street                   Phoenix                    AZ            85048                                                               First Class Mail
29778077 Tru Table                                        8954 SE Bridge Road,                      HOBE SOUND                 FL            33455                                                               First Class Mail
29778078 TRUDERMA, LLC                                    8840 W. RUSSELL RD. STE. 245              LAS VEGAS                  NV            89148                                                               First Class Mail
29791135 TRUE NATURE GROUP INC                            13611 NE 126th Place                      Kirkland                   WA            98034                                                               First Class Mail
                                                          88 East Beaver Creek Road, Building A,
29783733 True North Nutrition Limited                     Unit 1                                    Richmond Hill              ON            L4B 4A8          Canada                                             First Class Mail
29785406 Truly Natural Marketing                          90 Main St.                               Bradford                   NH            03221                                                               First Class Mail
                                                          Office Mgr.‐ Whitney Lyne, 744 South
29649147 Truse Plaza LLCc/o Fogelman Investment Company   White Station Road                        Memphis                    TN            38117                                wml@normandyroadventures.com   First Class Mail and Email
                                                          c/o Schottenstein Property Group, 4300
29785408 Truss Greenwood IN LLC                           E. Fifth Ave.                             Columbus                   OH            43219                                                               First Class Mail
29785409 TryBudCoLLC                                      6200 Mountain Brook Lane NW               Atlanta                    GA            30328                                                               First Class Mail
29791136 TSO Winchester Station, LP                       1170 Peachtree Street                     Atlanta                    GA            30309                                                               First Class Mail

                                                          c/o Rappaport Management Company,
29785411 TT Mt. Airy, LLC                                 8405 Greensboro Drive, Suite 830          Mclean                     VA            22102                                                               First Class Mail
29783759 Tuan Hoang Anh                                   13 Ly Thai To                             Hoan Kiem                                100000           Vietnam                                            First Class Mail
29625171 TURFWAY BACELINE, LLC                            511 BROADWAY                              Denver                     CO            80203                                                               First Class Mail
29649150 Turkey Creek Holdings, LLC                       814 Commerce Drive, Suite 300             Oak Brook                  IL            60523                                                               First Class Mail
29791137 Turnersville Landing, LP                         100 Front Street                          Conshohocken               PA            19428                                                               First Class Mail
29785414 Tuscany Town Center Management, LLC              7420 GOLDEN POND                          ARMARILLO                  TX            79121                                                               First Class Mail
29785415 Tuskatella LLC                                   P.O. Box 5544,                            Orange                     CA            92863                                                               First Class Mail
29649153 TVS & Associates (Charleston), LLC               1620 Scott Avenue                         Charlotte                  NC            28203                                jay@chambers‐group.com         First Class Mail and Email
29778079 Twin Holdings Corp.                              10547 Meridian Place Northeast            Lake Stevens               WA            98258                                                               First Class Mail
29791138 Two Nuts LP et al. c/o Midwood                   430 Park Ave.                             New York City              NY            10022                                                               First Class Mail




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ADRID                                    NAME                                    ADDRESS                            CITY                STATE        POSTALCODE     COUNTRY         EMAIL       METHOD OF SERVICE
29791139 Tyler Broadway/Centennial LP                             2525 McKinnon Street                   Dallas                    TX            75201                                      First Class Mail
29778082 Tyrone Enterprises, LLC                                  5576 Bridgetown Road                   Cincinnati                OH            45248                                      First Class Mail
29778083 U.S. Bank National Association                           550 South Tryon Street 14th Floor      Charlotte                 NC            28202                                      First Class Mail
29778084 U.S. Doctors' Clinical                                   15568 Brookhurst Street STE 374        Westminster               CA            92683                                      First Class Mail
29778085 UAS Laboratories                                         555 N 72nd Avenue,                     WAUSAU                    WI            54401                                      First Class Mail
29778086 UCL Development, LLC                                     1725 S 94th Street                     Omaha                     NE            68124                                      First Class Mail
29623310 UE Gateway Center LLC                                    210 Route 4 East                       Paramus                   NJ            07652                                      First Class Mail
29778088 UE Tonnelle Commons LLC                                  210 Route 4 East,                      Paramus                   NJ            07652                                      First Class Mail
29778089 UKG Inc.                                                 900 Chelmsford St                      Lowell                    MA            01851                                      First Class Mail
29785417 Ultima Health Products, Inc.                             PO Box 444                             Southampton               NY            11969                                      First Class Mail
29791140 Ultimate Nutrition, Inc.                                 PO BOX 643                             Farmington                CT            06032                                      First Class Mail
29785419 Ultimate Superfoods, Inc.                                5455 Endeavour Court                   Moorpark                  CA            93021                                      First Class Mail
29785420 Ultra Laboratories, Inc.                                 20611 Belshaw Ave.                     Carson                    CA            90746                                      First Class Mail
29785421 Ultralab Nutrition, Inc.                                 3100 NW Boca Raton Blvd. #213          Boca Raton                FL            33431                                      First Class Mail
                                                                  c/o DLC Management Corp., 565 Taxter
29785423 Union Consumer Improvements, LLC                         Road, Suite 400                        Elmsford                  NY            10523                                      First Class Mail

29791141 Union of Orthodox Jewish Congregations of America        11 Broadway                            New York                  NY            10004                                      First Class Mail
29785425 Unique Petz Treatz, LLC                                  10 West 33rd Street                    New York                  NY            10001                                      First Class Mail
29785426 United Laboratories Manufacturing, LLC                   1541 Champion Drive                    Carrollton                TX            75006                                      First Class Mail
29785427 United Natural Foods, Inc.                               313 Iron Horse Way                     Providence                RI            02908                                      First Class Mail
29785428 UNITED PARCEL SERVICE                                    PO BOX 650116                          DALLAS                    TX            75265‐0116                                 First Class Mail
29785429 United Parcel Service, Inc.                              643 W 43rd St.                         New York                  NY            10036                                      First Class Mail
29790527 United Service Protection, Inc.                          11222 Quail Roost Drive                Miami                     FL            33157                                      First Class Mail
29778090 Unitrex Ltd.                                             5060 Taylor Rd.                        Cleveland                 OH            44128                                      First Class Mail
29778091 Universal Biosciences                                    500 Wall Street,                       GLENDALE HEIGHTS          IL            60139                                      First Class Mail
29778092 Universal Nutrition                                      3 Terminal Road                        New Brunswick             NJ            08901                                      First Class Mail
29791142 Universal Park                                           5 River Park Place West                Fresno                    CA            93720                                      First Class Mail
29778094 University of Phoenix, Inc.                              4025 South Riverpoint Parkway          Phoenix                   AZ            85040                                      First Class Mail
                                                                  c/o Nigro Companies, 20 Corporate
29778095 University Plaza Associates, LLC                         Woods Blvd.                            Albany                    NY            12211                                      First Class Mail
29778096 Unleashed Brands, LLC                                    2350 Airport Freeway, Suite 505        Bedford                   TX            76022                                      First Class Mail
29778097 UpSpring, Ltd.                                           4209 South Industrial Dr. Suite 200    Austin                    TX            78744                                      First Class Mail
29778098 Upstream Commerce Inc.                                   228 Park Ave S. #89632                 New York                  NY            10003‐1502                                 First Class Mail
29791328 Upstream CommerceClient                                  228 Park Ave S. #89632                 New York                  NY            10003‐1502                                 First Class Mail
29778100 UPTIME Energy, Inc.                                      7930 Alabama Ave                       Canoga Park               CA            91304                                      First Class Mail
29785430 UR Energy, Inc.                                          210 Clay Avenue, Suite 380             Lyndhurst                 NJ            07071                                      First Class Mail
29623313 Urban Edge Properties LP                                 210 Route 4 East                       Paramus                   NJ            07652                                      First Class Mail
29785432 Urban Moonshine, Inc.                                    1 Mill Street Suite 110                Burlington                VT            05401                                      First Class Mail
29785433 US Pet Goods LLC                                         3535 Inland Empire Blvd.               Ontario                   CA            91764                                      First Class Mail
29785434 US Retail, Inc.                                          17863 170th Avenue, Suite 101          Spring Lake               MI            49456                                      First Class Mail
29785435 USA Truck, Inc.                                          3200 Industrial Park Rd.               Van Buren                 AR            72956                                      First Class Mail
29785436 USPG PORTFOLIO FIVE LLC                                  PO BOX 64‐3906                         Cincinnati                OH            45264                                      First Class Mail
29785437 USPlabs, LLC                                             10761 King William Drive               Dallas                    TX            75220                                      First Class Mail
29785438 USR Tennessee, LLC                                       17863 170th Avenue, Suite 101          Spring Lake               MI            49456                                      First Class Mail
29785439 USR Virginia, LLC                                        17863 170th Avenue, Suite 101          Spring Lake               MI            49456                                      First Class Mail
29785440 USRH JV3, LLC                                            17863 170th Avenue, Suite 101          Spring Lake               MI            49456                                      First Class Mail
29785441 Utrition, LLC                                            247 State Route 12                     Flemington                NJ            08822                                      First Class Mail
29785442 V.S. Royal Jelly/Honey Farm Inc                          2774 N 4351 Road                       Sheridan                  IL            60551                                      First Class Mail
         VA C 12266 Jefferson, LLC, as to an undivided 30.96%
         interest, VA T 12266 Jefferson, LLC, as to an undivided
         48.87% interest, and VA FT 12266 Jefferson, LLC, as to an Virginia Management Entity LLC as
29791143 undivided 20.17% interest                                 Managing Agent                        Los Angeles               CA            90004                                      First Class Mail




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ADRID                                    NAME                                      ADDRESS                                  CITY                STATE        POSTALCODE            COUNTRY       EMAIL       METHOD OF SERVICE
29778102 VAA Improvements, LLC                                      565 Taxter Road,                           Elmsford                    NY            10523                                           First Class Mail
29778103 Val Vasilet Vital Products LLC                             515 27th St E. Suite 7                     Bradenton                   FL            34208                                           First Class Mail
29778104 VALASSIS COMMUNICATIONS, INC.                              275 7th Ave                                New York                    NY            10018                                           First Class Mail
29778105 Valassis Direct Mail, Inc                                  PO Box 7678                                San Francisco               CA            94120                                           First Class Mail
29778106 Valassis Direct Mail, Inc.                                 PO BOX 200324                              Dallas                      TX            75320‐0324                                      First Class Mail
29778107 Valley Properties, Inc.                                    875 East Street                            Tewksbury                   MA            01876                                           First Class Mail
29778108 VALLEY STREAM GREEN ACRES                                  2034 Green Acres Mall                      Valley Stream               NY            11581                                           First Class Mail
29791338 Valsoft Corporation Inc dba GbBIS                          7405 Rte Transcanadienne, Suite 100        Montreal                    QC            H4T 1Z2          Canada                         First Class Mail
29623317 Vann Drive Partners                                        1001 Greystone Square                      Jackson                     TN            38305                                           First Class Mail
29778111 Vantage One Tax Solutions, Inc.                            6310 LBJ Fwy, Ste. 116                     Stirling                    TX            75240                                           First Class Mail
29790528 Vantage One Tax Solutions, Inc.                            6310 LBJ Freeway                           Dallas                      TX            75240                                           First Class Mail
29791144 VASWANI INC                                                75 CARTER DRIVE                            Edison                      NJ            08817                                           First Class Mail
29785445 Vatic Outsourcing, LLC                                     1827 Powers Ferry Road                     Atlanta                     GA            30339                                           First Class Mail
29785447 VBNET Investments I, LLC                                   33478 US Highway 19 North,                 Palm Harbor                 FL            34684                                           First Class Mail
29785450 VDF FutureCeuticals, Inc.                                  2692 N. State Rt. 1‐17                     Momence                     IL            60954                                           First Class Mail
29791145 VDF FutureCeuticals, Inc.                                  300 Harmon Meadow Blvd.                    Secaucus                    NJ            07094                                           First Class Mail
         Vector Intelligent Solutions, LLC, d/b/a Vector Security
29785451 Networks                                                   2000 Ericsson Dr                           Warrendale                  PA            15086                                           First Class Mail
29785452 Vector Security, Inc.                                      2000 Ericsson Dr                           Warrendale                  PA            15086                                           First Class Mail
29791146 VEI Manager LLC                                            605 South Eden Street                      Baltimore                   MD            21231                                           First Class Mail
29785455 Velosio, LLC                                               5747 Perimeter Drive, Suite 200            Dublin                      OH            43017                                           First Class Mail

                                                                    c/o Robertson Properties Group, 120
29778112 Ventura Gateway LLC                                        North Robertson Boulevard, 3rd Floor       Los Angeles                 CA            90048                                           First Class Mail
         Ventura Petit LLC and La Cienga Shopping Center
29791147 Development LLC                                            2121 Avenue of the Stars                   Los Angeles                 CA            90067                                           First Class Mail
29791148 Vera Roasting Company, Inc.                                75 Congress St, STE L05                    Portsmouth                  NH            03801                                           First Class Mail
                                                                    c/o VEREIT, Inc., 2325 E. Camelback Rd.,
29778117 VEREIT Real Estate, L.P.                                   9th Floor                                  Boston                      MA            02110                                           First Class Mail
                                                                    c/o VEREIT, Inc., 2325 E. Camelback Rd.,
29778118 VEREIT Real Estate, L.P.                                   9th Floor                                  Phoenix                     AZ            85016                                           First Class Mail

29791149 VEREIT Real Estate, L.P.                                   VEREIT c/o Realty Income Corporation       San Diego                   CA            92130                                           First Class Mail
29791150 Veriditas by Pranarom                                      2301 Nevada Ave N                          MINNEAPOLIS                 MN            55427                                           First Class Mail
29606709 VERITIV OPERATING COMPANY                                  PO BOX 57006                               Los Angeles                 CA            90074‐7006                                      First Class Mail
29791151 VerMints Inc.                                              106 Finnell Drive, Unit 19                 Weymouth                    MA            02188                                           First Class Mail
29778121 VERO BEACH GRAND OAKS 2 LLC                                500 Skokie Blvd                            Northbrook                  IL            60062                                           First Class Mail
29791152 Vertex, Inc.                                               1041 Old Cassatt Road                      Berwyn                      PA            19312                                           First Class Mail
29791153 Vestiage, Inc.                                             2901 W. Coast Highway                      Newport Beach               CA            92663                                           First Class Mail
29785459 VF9 MATT2 LLC                                              2330 Ponce de Leon Blvd.                   Miami                       FL            33134                                           First Class Mail
29785460 VH Nutrition                                               51 Zaca Lane                               San Luis Obispo             CA            93401                                           First Class Mail
29791154 VH Nutrition LLC                                           51 Zaca Lane Suite 90                      San Luis Obispo             CA            93401                                           First Class Mail
29791155 Vibrant Health                                             1 Waterview Dr                             SHELTON                     CT            06484                                           First Class Mail
29791156 Victory Village, LLC                                       GD Commercial Real Estate Inc.             Milpitas                    CA            95035                                           First Class Mail
29791157 Vida Lifescience, LLC                                      16691 Noyes Avenue                         Irvine                      CA            92606                                           First Class Mail
29783746 VIGOR S.A.                                                 Teodoro S. Mongelos 3373                   Asuncion                                  1228             Paraguay                       First Class Mail
29791158 Vigor S.A.                                                 Teodoro S. Mongelos 3373                   Asuncion                                  1228             Republic of Paraguay           First Class Mail
                                                                    c/o Neyer Management, 3927
29785465 Village at the Mall Holdings LLC                           Brotherton Road, Suite 200                 Cincinnati                  OH            45209                                           First Class Mail
                                                                    c/o Phillips Edison & Company, 11501
29785466 VILLAGE MOORESVILLE STATION LLC                            Northlake Drive                            Cincinnati                  OH            45249                                           First Class Mail
29791159 Viobin U.S.A. div of McShares, Inc.                        P.O. Box 1460                              Salina                      KS            67402‐1460                                      First Class Mail
29778124 Violet’s Pet Domain, LLC                                   208 St. James Avenue, Suite B              Goose Creek                 SC            29445                                           First Class Mail




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ADRID                                    NAME                                   ADDRESS                              CITY                 STATE        POSTALCODE            COUNTRY                       EMAIL       METHOD OF SERVICE
29791160 Virgin Pulse, Inc.                                      139 Newbury Street                         Framingham               MA            01701                                                           First Class Mail
29649164 Virginia Center Virginia Associates, L.L.C.             1620 Scott Avenue                          Charlotte                NC            28203                                 jay@chambers‐group.com    First Class Mail and Email
29625852 Vishal Kalmia Plaza, LLC                                5675 Jimmy Carter Blvd.Suite 500           Norcross                 GA            30071                                                           First Class Mail
29778128 Vishal Sudera (Entity Pending)                          1419 Looomus Drive                         Watertown                NY            13601                                                           First Class Mail
29778129 Vitakraft Sun Seed, Inc.                                20584 Long Judson Road                     Weston                   OH            43569                                                           First Class Mail
29791161 Vital Amine Inc.                                        1431 Pacific Hwy Suite 4                   San Diego                CA            92101                                                           First Class Mail
29791162 Vital Pharmaceuticals, Inc.                             1600 North Park Drive                      Weston                   FL            33326                                                           First Class Mail
29791163 Vital Planet, LLC                                       133 Candy Ln.                              Palm Harbor              FL            34683                                                           First Class Mail
29778132 Vital Proteins LLC                                      939 W Fulton Market,                       CHICAGO                  IL            60607                                                           First Class Mail
29791164 Vitalah LLC                                             111 Jennings Dr                            WATSONVILLE              CA            95076                                                           First Class Mail
29778134 Vitalize Labs LLC DBA EBOOST                            560 Broadway Ste 606                       New York                 NY            10012                                                           First Class Mail
29785468 Vitamin and Supplement Wholesalers Inc.                 3600 W. Commercial Blvd                    Fort Lauderdale          FL            33309                                                           First Class Mail
29791165 Vitamin and Supplement Wholesalers, Inc.                3600 West Commercial Blvd.                 Fort Lauderdale          FL            33309                                                           First Class Mail
29785470 Vitamin Friends, LLC                                    5300 Beethoven Street                      Los Angeles              CA            90066                                                           First Class Mail
29791166 Vitamin Science, Inc.                                   755 Park Avenue, Suite 100                 Huntington               NY            11743                                                           First Class Mail
29791167 Vitamin Shoppe Industries Inc.                          2101 91st Street                           North Bergen             NJ            07047                                                           First Class Mail
29791168 Vitamin Well USA LLC                                    3865 Grand View Blvd                       Los Angeles              CA            90066                                                           First Class Mail
                                                                 Corregimiento de BELLA VISTA,              Panama, Provincia de
                                                                 Urbanization MARBELLA, Edificio TORRE PANAMA, Distrito de
29791169 Vitaminas Y Suplementos, S.A.                           MMG, Apartamento 16                        PANAMA                                 Calle 53         Panama                                         First Class Mail
29791170 Vitamins International Inc.                             6721 Discovery Blvd                        Mableton                 GA            30126                                                           First Class Mail
29791171 Vitanica                                                PO Box 1299                                TUALATIN                 OR            97062                                                           First Class Mail
                                                                 100 King Street West, Suite 6100, 1 First:
29791172 Vitapath Canada Limited                                 Canadian Place                             Toronto                  ON            M5X 1B8          Canada                                         First Class Mail
29791173 VitaPath, Inc.                                          2101 91st Street                           North Bergen             NJ            07047                                                           First Class Mail
29791174 Vitargo Global Sciences, LLC                            32565 B Golden Lantern St PMB 232          Dana Point               CA            92629                                                           First Class Mail

29783740 Vitasalud                                               Avenida Nuñez De Caceres Esq. Sarasota Cornwall                                                    Dominican Republic                             First Class Mail
29791175 VIVO BRAND MANAGEMENT INC.                              830 Campbell, Unit 2                   Cornwall                     ON            K6H 6L7          Canada                                         First Class Mail
29791176 Volo Vitamins LLC                                       229 East 85th Street                   New York                     NY            10028‐1614                                                      First Class Mail
29791177 VORESNOLD ENTERPRISES LTD                               23 Janis Way                           SCOTTS VALLEY                CA            95066                                                           First Class Mail
29791178 Voss Production AS                                      236 W 30th st, FL 12                   NEW YORK                     NY            10001                                                           First Class Mail
29791179 VS Camelback LLC                                        1101‐3557 Sawmill Crescent             Vancouver                    BC            V5SOE2           Canada                                         First Class Mail
29791180 VSC Holdings, Inc.                                      10516 Route 116, Suite 200             Hinesburg                    VT            05461                                                           First Class Mail
29791181 W.B. Mason                                              300 Harmon Meadow Blvd                 Secaucus                     NJ            07094                                                           First Class Mail
29791182 W.B. Mason                                              Lockbox 735178PO Box 735178            Chicago                      IL            60673‐5178                                                      First Class Mail
29791183 W.S. Badger Co., Inc.                                   768 Route 10                           Gilsum                       NH            03448                                                           First Class Mail
29791329 W/S Asset Management, Inc.                              33 Boyleston Street                    Chestnut Hill                MA            02467                                                           First Class Mail
29778143 Wagging Tails, LLC                                      18336 Santa Belinda Circle             Fountain Valley              CA            92708                                                           First Class Mail
29778144 Wagsalot, LLC                                           61 Boxwood Lane                        Dover                        NH            03820                                                           First Class Mail
29791184 Wakunaga of America Co., Ltd.                           23501 Madero                           Mission Viejo                CA            92691                                                           First Class Mail
29606513 WALKER ‐ CLAY INC                                       211 Station Street                     Hanson                       MA            02341                                                           First Class Mail
29791185 Wal‐Mart.com USA, LLC                                   850 Cherry Avenue                      San Bruno                    CA            94066                                                           First Class Mail
29785482 Wal‐Mart.com USA, LLC                                   850 Cherry Avenue                      San Fruno                    CA            94066                                                           First Class Mail
                                                                 C/O WALPERT PROPERTIES12295 Olive
29625366 Walpert Properties ETERNIA LLC                          Blvd                                   Saint Louis                  MO            63141                                                           First Class Mail
         Walt Whitman Road, LLC sucessor in interest to Gerald   C/o Natural Organics Inc., 548
29785483 Kessler                                                 Broadhollow Road                       New York City                NY            11747                                                           First Class Mail
29785484 WAOP LLC                                                721 Boardman‐Poland Road,              Youngstown                   OH            44512                                                           First Class Mail
29785485 Ware Manufacturing Inc.                                 1439 S 40th Ave                        Phoenix                      AZ            85009                                                           First Class Mail
29791187 Warehouse Solutions Inc. d/b/a Intelligent Audit        10025 BUNKUM ROAD                      Fairview Heights             IL            62208                                                           First Class Mail
29791186 Warehouse Solutions Inc. d/b/a Intelligent Audit        365 West Passaic Street, Suite 455     Rochelle Park                NJ            07662                                                           First Class Mail
29791188 Warren Laboratories LLC                                 1656 IH 35 S                           Abbott                       TX            76621                                                           First Class Mail




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ADRID                                    NAME                                  ADDRESS                                CITY                STATE        POSTALCODE           COUNTRY                      EMAIL              METHOD OF SERVICE
                                                                 Denise Waters, 200 Old Forge Lane,
29651047 Warwick Devco, LP                                       Suite 201                               Kennett Square              PA            19348                              dewaters@watersretailgroup.com    First Class Mail and Email
29785491 Watchung UE LLC                                         210 Route 4 East,                       Paramus                     NJ            07652                                                                First Class Mail
29791189 Watkins Incorporated                                    150 LIBERTY STREET                      WINONA                      MN            55987                                                                First Class Mail
29791190 Wave Naturals Pet Products                              Cabot Rd ‐ 117                          Laguna Hills                CA            91653                                                                First Class Mail
                                                                 1051 BRINTON ROADC/O JJ GUMBERG
29487460 Waverly Plaza Shopping Center, Inc.                     CO                                      Pittsburgh                  PA            15221                                                                First Class Mail
                                                                 Dan Giorgi, 6151 Wilson Mills Road,
29651048 Wayne Towne Enterprises, Ltd.                           Suite 100                               Highland Heights            OH            44143                              dan@omegarem.com                  First Class Mail and Email
         WBR 27810 Chagrin II, LLC, WRB 27810 Chagrin III, LLC &
29791191 RRR Ohio, LLC                                           2400 Chagrn Blvd.                       Chagrin Falls               OH            44022                                                                First Class Mail
                                                                 Matt Mittenthal, Paige Allegree, Lauren
                                                                 Hamlett‐Carter, 3904 Boston St., Suite                                                                               pallegree@ggcommercial.com;
29623320 WCS PROPERTIES BUSINESS TRUST                           402                                     Baltimore                   MD            21224                              lhamlettcarter@ggcommercial.com   First Class Mail and Email
                                                                 c/o Weitzman, 3102 Maple Avenue,
29778151 WDG Dallas, LLC and JSE Dallas, LLC                     Suite 500                               Dallas                      TX            75201                                                                First Class Mail
29778152 WdR Investments, LLC                                    6 Stone Chimney Drive                   Wildwood                    MO            63038                                                                First Class Mail
29778153 We Heart Pets II, LLC                                   18184 Shinniecock Hills Place           Leesburg                    VA            20176                                                                First Class Mail
29778154 We Heart Pets, LLC                                      18184 Shinniecock Hills Place           Leesburg                    VA            20176                                                                First Class Mail
29778156 Weber Group Pets, LLC                                   4277 Murfreesboro Rd.                   Franklin                    TN            37067                                                                First Class Mail
29791192 WEBER LOGISTICS, LLC                                    13265 Valley Blvd.                      Fontana                     CA            92335                                                                First Class Mail
29785492 WebNoz Pets, Inc.                                       4277 Murfreesboro Rd.                   Franklin                    TN            37067                                                                First Class Mail
29785493 Webster Bank                                            145 Bank Street                         Waterbury                   CT            06702                                                                First Class Mail
29627737 Wedderspoon Organic                                     334 Central Ave                         MALVERN                     PA            19355                                                                First Class Mail
29785495 Wee Pets 1, LLC                                         118 Galvin Circle                       Kennett Square              PA            19348                                                                First Class Mail
29785496 Wee Pets 2, LLC                                         118 Galvin Circle                       Kennett Square              PA            19348                                                                First Class Mail
                                                                 Attn: Senior VP ‐ Real Estate &
                                                                 Development, 1500 Brooks Ave., Box
29785497 Wegmans Food Markets, Inc.                              30844                                   New York                    NY            14603                                                                First Class Mail
                                                                 Attn: Senior VP, Real Estate
                                                                 Development, 1500 Brooks Avenue, P.O.
29785498 Wegmans Food Markets, Inc.                              Box 30844                               Rochester                   NY            14603‐0844                                                           First Class Mail
                                                                 New billing contact as of 6/6/17PM‐ Liz
                                                                 Baez Rhonda Neubauer Billing, 500
29623323 Weingarten Northcross JV                                North Broadway, Suite 201               Jericho                     NY            11753                              rneubauer@weingarten.com          First Class Mail and Email
29791193 Wellements LLC                                          8901 E. Pima Center Parkway             Scottsdale                  AZ            85258                                                                First Class Mail
29791194 Wellgenix, LLC                                          118 W. Julie Dr                         Tempe                       AZ            85283                                                                First Class Mail
                                                                 c/o Carlyle Management Corp, 5355
29785503 Welling Realty, LLC                                     Town Center Road, Suite 430             Boca Raton                  FL            33486                                                                First Class Mail
29778158 Wellington Foods, Inc.                                  1930 California Avenue                  Corona                      CA            92881                                                                First Class Mail
29791912 Wells Fargo Financial Leasing, Inc                      800 Walnut Street, F0005‐044            Des Moines                  IA            50309                                                                First Class Mail
29778160 Wells Fargo Financial Leasing, Inc.                     800 Walnut                              Des Moines                  IA            50309                                                                First Class Mail
29623325 Wells Property Number Five, LLC                         PO Box 30067                            Charlotte                   NC            28230                                                                First Class Mail
29783735 Wenzhou Yuanfei Pet Toy Products Co; Ltd.               No.1 Chongle Road                       Zhejiang                                  325405           China                                               First Class Mail
29791195 Wess Hottenstein                                        Address on File                                                                                                                                        First Class Mail
29791196 Wess Hottenstein                                        Address on File                                                                                                                                        First Class Mail
29625728 West County Investors, LLC                              3265 Meridian ParkwaySuite 130          Weston                      FL            33331                                                                First Class Mail

29778164 West Orlando Pets, LLC                                  2502 Lake Debra Drive, Apartment 304    Orlando                     FL            32835                                                                First Class Mail
29651024 WestBay Plaza, LLC                                      Matt Finkle, 13 West Hanna Lane         Bratenahl                   OH            44108                              carterproperties13@yahoo.com      First Class Mail and Email
29791197 Westech Recyclers                                       220 S. 9th St. Suite 400B               Phoenix                     AZ            85034                                                                First Class Mail
                                                                 c/o The Kroenke Group, 211 N. Stadium
29778167 Western Skies Management, Inc.                          Blvd., Suite 201                        Columbia                    MO            65103                                                                First Class Mail
29791198 Westgate Marketplace Developers, LLC                    7725 W. Reno Ave.                       Oklahoma City               OK            73127                                                                First Class Mail



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ADRID                                    NAME                                  ADDRESS                                 CITY                STATE        POSTALCODE          COUNTRY                      EMAIL                METHOD OF SERVICE
29625320 Weston SCIP 2 LLC                                       4760 Richmond RoadSuite 200              Cleveland                   OH            44128                                                                 First Class Mail
                                                                 Attn: Kevin Keefner, Real Estate                                                                                     kkeefner@westphalinvestments.com;
29725750 Westphal Leasing, LLC                                   Manager, 109 N. 6th Street               Fort Smith                  AR            72901                             kstocks@jjmlaw.com                  First Class Mail and Email
29791199 Wetmore Plaza Shops, LLC                                6298 E. Grant Road                       Tucson                      AZ            85712                                                                 First Class Mail
                                                                 Laurie Wheatland Trustee for the
29791200 Wheatland Family Trust                                  Wheatland Family Trust                   Houston                     TX            77027                                                                 First Class Mail
29602252 Wheaton Plaza Regional Shopping Ctr LLC                 2049 Century Park East; 41st Floor       Los Angeles                 CA            90067                                                                 First Class Mail
29790533 Whirlpool Corporation                                   2000 North M‐63                          Benton Harbor               MI            49022‐2692                                                            First Class Mail
29790532 Whirlpool Corporation                                   2000 North M‐63                          Benton Harbor               MI            49022‐2693                                                            First Class Mail
29785506 Whirlpool Corporation                                   553 Benson Road                          Benton Harbor               MI            49022                                                                 First Class Mail
                                                                 c/o Corporation Service Company, 251
29785507 Whiskers & Tails, LLC                                   Little Falls Drive                       Wilmington                  DE            19808                                                                 First Class Mail
29791201 White Cloud Nutrition LLC                               PMB 2599                                 CASTRO VALLEY               CA            94546                                                                 First Class Mail
29791202 White Egret                                             950 West Kershaw                         OGDEN                       UT            84401                                                                 First Class Mail
                                                                 c/o Whitestone REIT, 2600 South
29785510 Whitestone REIT                                         Gessner Rd                               Houston                     TX            77063                                                                 First Class Mail
29791203 Wholesome Sweeteners, Inc.                              8016 Highway 90A                         Sugar Land                  TX            77478                                                                 First Class Mail
29791204 Wibbitz Inc.                                            85 Broad St.                             New York                    NY            10002                                                                 First Class Mail
29785512 WIDEN ENTERPRISES, INC.                                 6911 Mangrove Lane                       Madison                     WI            53713                                                                 First Class Mail
                                                                 Attn: Lease Administration, 5845
29623015 Widewaters Country Squire Company, LLC                  Widewaters Parkway, Suite 100            East Syracuse               NY            13057                             PM@widewaters.com                   First Class Mail and Email
29785514 Wig Properties, LLC‐LKPL                                4811 ‐ 134th Place Southeast,            Bellevue                    WA            98006                                                                 First Class Mail
29791205 Wild Squirrel LLC dba/Wild Friends Foods                22265 SW Taylors Drive                   Tualatin                    OR            97062                                                                 First Class Mail
29778169 Wildcat Pets NC, LLC                                    9300 Shelbyville Rd., Suite 204          Louisville                  KY            40222                                                                 First Class Mail
29791206 Wiley's Finest LLC                                      PO Box 1665                              Coshocton                   OH            43812                                                                 First Class Mail
29778171 William J. Swanson Trustee of the                       Address on File                                                                                                                                          First Class Mail
29791330 Wilmann Companies                                       9601 Katy Freeway                        Houston                     TX            77024                                                                 First Class Mail
         Wilmington Trust, National Association, as Collateral
29791913 Agent and Administrative Agent                          1100 North Market Street                 Wilmington                  DE            19890                                                                 First Class Mail
29778173 Wilshire Yale Enterprises c/o The Eberly Company        8383 Wilshire Blvd. Suite 906,           Beverly Hills               CA            90211                                                                 First Class Mail
                                                                 333 Ludlow Street, 8th Floor, South
29649172 Wilson Amcap II, LLC                                    Tower                                    Stamford                    CT            06902                                                                 First Class Mail
29778175 Wilson PSP, LLC                                         4135 W 9860 North Street                 Cedar Hills                 UT            84062                                                                 First Class Mail
29778176 Wilson Wags & Whiskers, LLC                             28419 Wild Mustang Lane                  Fulshear                    TX            77441                                                                 First Class Mail
29778177 Wilson, Inc.                                            14240 Imboden Rd.                        Hudson                      CO            80642                                                                 First Class Mail
29791207 Windecker Contruction LLC                               2101 91st Street                         North Bergen                NJ            07047                                                                 First Class Mail
29785516 Windecker LLC                                           39‐30 Sycamore Drive                     Fairlawn                    NJ            07410                                                                 First Class Mail
29791208 Windmill Health Products                                6 Henderson Drive                        West Caldwell               NJ            07006                                                                 First Class Mail
                                                                 Karen Richardson, Sandra McCabe,
                                                                 Tammy Burris, 9102 N Meridian Street,                                                                                karen.richardson@cbre.com;
29649173 Windsong Indianapolis, LLC                              Suite 230                                Indianapolis                IN            46260                             sandy.mccabe@cbre.com               First Class Mail and Email
29791209 Windsor Marketing Group, Inc.                           100 Marketing Drive                      Suffield                    CT            06078                                                                 First Class Mail
                                                                 Flat/ RM B BLK 8 10/F Sea Crest Villa
29791331 Winner Field Development Limited                        Phase 318 Castle Peak Road                                                         999077           Hong Kong                                            First Class Mail
29785520 Winston I & II, LLC                                     P.O. Box 20429,                          Winston‐Salem               NC            27120                                                                 First Class Mail
                                                                 c/o TriGate Capital, 1717 Main Street,
29785522 Wiregrass HoldCo, LLC                                   Suite 2600                               Dallas                      TX            75201                                                                 First Class Mail
29785523 Wisconsin Pets, LLC                                     2295 Spring Rose Road                    Verona                      WI            53593                                                                 First Class Mail
29791210 Wisconsin Specialty Protein, LLC                        1605 John StreetSuite 201A               Fort Lee                    NJ            07024                                                                 First Class Mail
29791211 Wisdom Natural Brands                                   1203 W. SanPedro Street                  GILBERT                     AZ            85233                                                                 First Class Mail
29791212 WishGarden Herbs, Inc.                                  3100 Carbon Pl. #103                     Boulder                     CO            80301                                                                 First Class Mail
29791213 Wishire Plaza Limited Partnership                       3333 Richmond Road                       Beachwood                   OH            44122                                                                 First Class Mail
29649769 WKA Fairfax LLC                                         2213 Concord Pike                        Wilmington                  DE            19803                                                                 First Class Mail
29630140 WLM‐CB, LLC                                             370 E. ROWLAND AVE.                      Covina                      CA            91723                                                                 First Class Mail



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ADRID                                    NAME                   ADDRESS                            CITY                    STATE        POSTALCODE           COUNTRY                     EMAIL                      METHOD OF SERVICE
29778180 WNW Pet, LLC                             1345 George Jenkins Blvd.              Lakeland                     FL            33815                                                                       First Class Mail
29778181 Wochit, Inc.                             12 East 33rd Street, 4th Floor         New York                     NY            10016                                                                       First Class Mail
29791214 WOMEN'S BEST USA, LLC                    215 S. Monroe Street, Suite 200        Tallahassee                  FL            32301                                                                       First Class Mail
29778184 Wood Fayette Center, LLC                 321 Henry Street                       Lexington                    KY            40508                                                                       First Class Mail
29791215 Woodbolt Distribution, LLC               715 N. Main Street                     Bryan                        TX            77803                                                                       First Class Mail
29791216 Woods Bagot                              Address on File                                                                                                                                               First Class Mail
29791217 World Nutrition Inc                      200 % N. SCOTTSPACE RD                 SCOTTSDALE                   AZ            85253                                                                       First Class Mail
29791218 World Sports Expo                        1920 Booth Circle, Suite 100           Longwood                     FL            32750                                                                       First Class Mail
                                                  3407 W. DR. MARTIN LUTHER KING JR.
29791219 World Triathlon Corporation              BLVD                                   Tampa                        FL            33607                                                                       First Class Mail
29778190 World Wide Imports Enterprises, Inc.     5315 NW 10th Terrace                   Fort Lauderdale              FL            33309                                                                       First Class Mail
29791220 WorldWide/Pure Protein                   241 Bellwood Drive                     West Mifflin                 PA            15122                                                                       First Class Mail
29785529 WorQFlow Solutions                       650 California St                      San Francisco                CA            94108                                                                       First Class Mail
                                                  c/o wpg, 4900 East Dublin Granville
29785530 WPG Wolf Ranch, LLC                      Road, 4th Floor                        Westerville                  OH            43081                                                                       First Class Mail
29785531 WRCT Investments, LLC                    1036 Glendalyn Circle                  Spartanburg                  SC            29302                                                                       First Class Mail
                                                  Liz Baez, Rhonda Neubauer, 500 North                                                                                 lbaez@weingarten.com;
29623331 WRI Trautmann, LP                        Broadway, Suite 201                    Jericho                      NY            11753                              rneubauer@weingarten.com                 First Class Mail and Email
29785533 Wrike, Inc.                              9171 Towne Center Drive                San Diego                    CA            82122                                                                       First Class Mail
29623332 WSG Arundel One LLC                      75 Hook Road                           Bayonne                      NJ            07002                                                                       First Class Mail
29785535 WW International, Inc.                   675 Avenue of the Americas             New York                     NY            10023                                                                       First Class Mail
29623333 Wyndham Southlake Retail, LLC            18484 Preston Road, Suite 208          Dallas                       TX            75252                                                                       First Class Mail
29791221 Xlear Inc.                               723 S. Auto Mall Drive                 American Fork                UT            84003                                                                       First Class Mail
29785539 XNZ Pets, LLC                            10010 NW 27th Terrace                  Doral                        FL            33172                                                                       First Class Mail
29791222 XPO Logistics, LLC                       13777 Ballantyne Corporate PL          Charlotte                    NC            28277                                                                       First Class Mail
29791223 XTREME BEAUTY INTERNATIONAL              15400 NW 34 AVENUE                     MIAMI GARDENS                FL            33054                                                                       First Class Mail
29791224 Yerba Prima Inc                          740 Jefferson Avenue                   Ashland                      OR            97520                                                                       First Class Mail
29791225 YES 18 INC                               655 4THE 2ND FLOOR                     SAN FRANSVERS                CA            94107                                                                       First Class Mail
29791226 Yes To Inc.                              655 Fourth Street Second Floor         San Francisco                CA            94107                                                                       First Class Mail
29778193 Yeshaira Robles                          709 Guido Dr                           Middletown                   DE            19709                                                                       First Class Mail
29791227 YogaRat                                  2703 Pico Blvd                         Santa Monica                 CA            90405                                                                       First Class Mail
29791332 Yong Zhen Rubber & Plastic Co., Ltd.     No. 2 Hong Teng Road                                                              214403           China                                                      First Class Mail
                                                  Sara Hall Leasing , Araseli Avila
                                                  Statement Inquires, 12411 Ventura
29623334 Yosemite Park Shopping Center 05 A LLC   Boulevard                              Studio City                  CA            91604                              aavila@acfpm.com; LeaseAudit@acfpm.com   First Class Mail and Email
29606562 YOU BAR INC                              597 MONTEREY PASS RD                   Monterey Park                CA            91754                                                                       First Class Mail
29791228 You Fresh Natural Vending, LLC           3240 Corporate Way                     Miramar                      FL            33025                                                                       First Class Mail
29791229 YUP Brands LLC                           3960 Howard Hughes Pkwy Suite 500      Las Vegas                    NV            89169                                                                       First Class Mail
29791230 Zarbee's Naturals                        11650 South State Street #101          Draper                       UT            84020                                                                       First Class Mail
29791231 Zeavision                                680‐F Crown Industrial Court           Chesterfield                 MO            63005                                                                       First Class Mail
29791232 Zeb Jafri                                Address on File                                                                                                                                               First Class Mail
29791233 ZEG Ventures, LLC                        3331 Severn Ave.                       Metairie                     LA            70002                                                                       First Class Mail
29791234 Zeikos                                   86 Northfield Ave.                     EDISON                       NJ            08837                                                                       First Class Mail
29791236 Zenrin USA, Inc.                         1350 Bayshore Highway                  Burlingame                   CA            94010                                                                       First Class Mail
29791235 Zenrin USA, Inc.                         851 Traeger Avenue Suite 210           San Bruno                    CA            94066                                                                       First Class Mail
29785546 Zephyr, LLC                              7162 Reading Road                      Cincinnati                   OH            45327                                                                       First Class Mail
29791237 Zhena's Gypsy Tea                        6041 Triangle Dr.                      Commerce                     CA            90040                                                                       First Class Mail
29785549 Zhong Bi (Entity Pending)                20525 N Plumwood Drive                 Kildeer                      IL            60047                                                                       First Class Mail
29791238 Zhou, Inc.                               1777 Sun Peak Drive                    Park City                    UT            84098                                                                       First Class Mail
29791239 Zing Anything LLC                        1760 Wadsworth Rd                      Akron                        OH            44320                                                                       First Class Mail
29791240 Zint LLC                                 334 County Route 49                    MIDDLETOWN                   NY            10940                                                                       First Class Mail
29791241 Zionhealth Incorporated                  430 E Grand Avenue                     South San Francisco          CA            94080                                                                       First Class Mail




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ADRID                                    NAME                 ADDRESS                            CITY               STATE          POSTALCODE     COUNTRY                    EMAIL       METHOD OF SERVICE

29791242 Zipfizz Corporation                    18303 Bothell‐Everett Hwy, Suite 140   Mill Creek                WA            98012                                                 First Class Mail
29778202 ZippyApp                               440 N Wolfe Rd # Ms177                 Sunnyvale                 CA            94085                                                 First Class Mail
29778203 ZipRecruiter Inc.                      604 Arizona Avenue                     Santa Monica              CA            90401                                                 First Class Mail
29778204 Zmags                                  332 Congress St                        Boston                    MA            02210                                                 First Class Mail
29778205 Zmags Corporation                      332 Congress St                        Boston                    MA            02210                                                 First Class Mail
29791243 ZOA Energy LLC                         5301 Wisconsin Ave. NW Suite 570       WASHINGTON                DC            20015                                                 First Class Mail
29778207 Zoetis US LLC                          10 Sylvan Way                          Parsippany                NJ            07054                                                 First Class Mail
29630314 ZOHO CORPORATION                       4141 HACIENDA DRIVE                    Pleasanton                CA            94588‐8519                                            First Class Mail
29791244 ZoomInfo                               275 Wyman St.                          Waltham                   MA            02451                                                 First Class Mail
29791245 Zorb Naturals, LLC dba HCP Formulas    2700 N. 3rd St. Suite 2014             Phoenix                   AZ            85004                                                 First Class Mail
29778211 ZR&J Enterprises, LLC                  4304 Prestwick Dr.                     Erie                      PA            16506                                                 First Class Mail
                                                Ziff Properties Inc., 200 Wingo Way,
29623016 ZRP Fishers Crossing LLC               Suite 100                              Mt. Pleasant              SC            29464                        jcorsi@zpi.net           First Class Mail and Email
29791246 zulily, llc                            2601 Elliott Ave                       Seattle                   WA            98121                                                 First Class Mail




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